            Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 1 of 257
i . .   ~




        Thll document contains somCA USE       #1384 794-A
        ~il@bd that are of poor qualiilf .
        at thl tiM& of Imaging.
                                    POST CONVICTION




             FROM:                   337TH DISTRICT COURT



                                                OF



                                     HARRIS COUNTY, TEXAS


                                                                           iEGI::IVt:D II\
                                       OBEL CRUZ-GARCI~OURT ()I= (;QIMII\IAt             APPEALS
                                                                           FEB 02 2017
                                           APPLICANT
                                                             . Abel Acosta, Clerk

                                               vs.


                                      THE STATE OF TEXAS


                                          RESPONDENT




             VOLUMEVOFV

                                                               '       '
             PAGE I OF I                                      ~:£r':v:                REV.   01-02-04
,..
                                   •                                         •
             Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 2 of 257




                                                    NO. 1384794-A

        EX PARTE                                            §    IN THE DISTRICT COURT
                                                            §
                                                            §    337tb JUDICIAL DISTRICT
                                                            §                          . -   ~   ..   -   ·-
        OBEL CRUZ GARCIA,                                   §    HARRISCOUNTY,TEXAS
        Applicant


                                       AFFIDAVIT OF DEFENSE COUNSEL


            STATE OF TEXAS                                   §
                                                             §
            COUNTY OF HARRIS                                 §


                   On this date, November 25, 2016 was placed under oath and stated the following after

            being duly sworn:

                   "My name is ·Mario Madrid.· I am·over the age of eighteen, and I am competent to make

            this affidavit. I am an attorney licensed to practice in the State of Texas since 1996. My bar card

            number is 00797777. M~. office address is 440 Louisiana, Suite 1225, Houston~ Texas 77002.';

            and my office telephone number is 713-877-9400.
                                                  '
                   "I have been ordered by the CoUrt to provide an affidavit responding to ten questions; I

            did represent Obel Cruz Garcia in the ·capacity as Second Chair. R.P. C6rnelius was lead counsel.

            I am answering these questions to the best of my recollection without the benefit of my file or the

            file of R.P. Cornelius as we both loaned our files to the writ lawyers with the understanding that

            the files would be returned. However, at the time of the writing of this affidavit, the files have

            not been returned.

              FlLED
               Chris Daniel
                 Drstrlct Clerk

      11me:
                NOV 28 2016 //.~
      By,       m~rtor· ~
                      DeputY
                                   .                                                  R~C~RDER'S MEMORANDUM
                                                                                      Th1s mstrum~nt is ~f poor quality
                                                                                                 at the time of Imaging
,.
                             •                                          •
      Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 3 of 257




     State whether counsel considered hiring a DNA expert to assist before and/or during trial,
     and counsel's reasoning for his ultimate decision not to retain such an expert.

            "Lead counsel R.P. Cornelius made the decision regarding whether'or not to hire a DNA_

     expert. Neither of us believed that we would win that issue with the jury. I agree with him that

     the besftrial strategy and the strategy   we discUssed, was to create a reasonable dotibfto-show
     how Cruz Garcia's DNA could be present without him being involved in the murder. We

     attempted to do this by arguing a consensual sexual relationship. We were hampered in our

     defense because our client would not discuss any facts of the case. He insisted that God would

     set him free·but refused to discuss the case.

     State whether counsel investigated the allegation that the applica11t and Diana Garcia had a
     consensual sexual relationship, whether counsel was aware or should have been aware that
     the defendant had a sexual relationship with Diana Garcia.

            "We attempted to development the theory of a consensual relationship through cross

     examination and argument. As I stated previously, Mr. Cruz Garcia would not discuss ~y facts .,

     of the case with defense counsel or our investigator. We could not offer direct proof a consensual

     relationship. without the defendant's testimony ·or any witnesses to support the possible

     relationship. Our investigator, J.J. Gradoni made efforts to spealc with.all witnesses. However,.

     there were no witnesses who could provide testimony of a consensual sexual relationship

     betweer Obel <;:ruz Garcia and Diana Garcia.

     State whether any source provided the names of potential witnesses Cesar Rios, Jose
     Valdez and Hector Saavedra, whether counsel was aware of these witnesses, and whether
     counsel interviewed these witnesses in preparation for trial.

            "Mr. Cruz Garcia never mentioned any of these witnesses. As I mentioned previously, I

     do not have the benefit of my file or Mr. Cornelius' file, but per the affidavit of investigator

     Gradoni, Cesar Rios was listed in the offense report. Mr. Gradoni made efforts to locate Cesar

     Rios but was unsuccessful.
                        Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 4 of 257

                                                                                                            •                                                                                                                    •
               S~ate           whether counsel reviewed the State's file in preparation for trial.

                                     "Yes:


              Statewhether counsel in\r~stigated the issue of the applicant's future dangerousness and
              whether counsel made contact with any potential witnesses in Puerto Rico or Dominican
              /Republic~        ·            , ·                          ·           ·
                '        .     "'~   .            ..


                                     ·"We did rrtake cont~ctwith Witnesses located in Puerto Rico and the Dominican

          ., R~imblic:A~
          .    ..·.. . .:·: .-
                               I r~caltwe
                                   . ,. .
                                          presented
                                              ..
                                                    evidence of
                                                              '
                                                                courses or bil?le
                                                                              .  .
                                                                                  classes
                                                                                    .
                                                                                          that Mr. Cruz Garcia
                                                                                                  '   ''                         .                          . .·             "   .             '




               a~ended while in prison:. We alsd presented a witness that testified to Mr. Cruz Garcia's positive
;'1•




                         :,          :'    ,•.'                ':                                                 ·',"                 '       ''                                    •             I,                                                         '


                                     .    .                                                                        .                 .                               .
               influence: on him while he was an imnate at the Harris County Jail.
                                         :. !··:



                                     .            '
                Explah1:~otinsePsdec~si~n not to persomilly travel to Puerto Rico or the Dominican
              . Republic.- ...to iilve~tiga:te the applicant's
                                              .      .
                                                               background
                                                               '       ,,
                                                                          •:.-           .                         .                                        ~                                  .



                              , ."I.; along with,, lead counsel R.P. Cornelius were·'confident that the investigators would do ·

               apro(essional ~nd~tompetentjob and.nothing has convinced me otherwise, ·
                    .                •            •,                .'               .•. ,_                                      c         '           •   ·,   ·•                       •                               •

                                                                                                           '!>-        :         ·••       :       t




                                     ,:.:              ·,. •'                                                                                                                                                       ·.<-·-


                . St~t~ wh.ether c~~nset·consid~red usl~g a mitigati~n. spe~ialist, anthropologist, or
              ·' sociologist to assist.at trial and explain counsel's decision regarding hiring such' an. expert. '
                                                                         ... <.



:-.,.''                                  "Lead·C~unsel Com~lius made the decjsion on the hiring ofapsychologist and arr
                                                         : :               ••                 ~                        :..                             .    •· ·.•       •               ·,\            '   •                '       •   '   _J:: • •   ·.'       ;




               investig~tor that worked on th~ mitigation, apart from another investigator working on

               investigating criminal case. I was in court when Mr. Corneliu~ spoke with the Judge regarding

               the difficulty of hiring a "Mitigation Expert" after the Harris County Commissioners Court cut

               indigent defense spending. Mr. Cornelius could not find a mitigation expert willing to accept the

               case under the County's new pay rate. The Judge agreed to pay for psychologist to consult with
                                                                                                                             '                 '                                                                '




               any of matter of mitigation and an investigator devoted to mitigation evidence.
                           •
  Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 5 of 257

                                                                                          •
Defendant's Consulate

       "The defendant expressed no interest at all in receiving any help of any kind from his

consulate. He   ~as   given his warnings about thi~ and i! \Vas reiterated by us. He had no interest in

having us contact the consulate.


Explain counsel's reasoning in choosing not to object to or specifically request the trial
court to report its conversation with juror Angela Bowman on the record.

       "My recollection is that the Judge informed us of the situation and that we were told that·

the Judge would speak with the juror in chambers with the court reporter present to make a

record for appellate purposes.

Explain counsel's reasoning for not personally calling attorney Michael Casaretto to ·
investigate the conversation he claimed to have overheard between two jurors on the
elevator.


       "My recollection is that the Judge informed tis of the event and gave us a thorough

description as related by Mr. Casaretto. I recall that speaking with Mr. Cornelius about it and



forming the opinion that it is was   insignifican_·~-·~./L---f-~·
                                                              ·~0....::::-:::::::.      _·---'·-·-------.------'-

                                                  Mario/Madrid,
                                                        ./
                                                                Affiant .




       Sworn to and subscribed before me on this the 25th day ofNovember, 2016.



                                                       NO~R~P BLIC

                                                              ~-··~~~~~!~•,,,     JACQUELINE VANESSA KAMAIE
                                                             {.?:':!;J{)Jl\    Notary PubliC. St(Jte of Texas
                                                             ~.:;.·,~··=~~       My Commission Expires
                                                              "·:.1'61',\":·~·      March 31 i 2018
                                                         L\;;;;;.;'';"';;"''~;;;;;;;;;;;;;;~;;;;-;:"-·;;;;·;;;;;;;;;;;;;;;;;;;;;g;;;;;;.t_. -~---
                                                 •
                      Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 6 of 257

                                                                             CHRIS DANIEL
                                                                   HARRIS COUNTY DISTRICT CLERK
                                                                                                           •
                        Novemper 29, 2016

                        DEVON ANDERSON
                        DISTRICT ATTORNEY
                        HARRIS COUNTY, TEXAS
                                                 .      .. -· ..   -


                        To Whom It May Concern:

                        Pursuant to Article 11.07 of the Texas Code of Criminal Procedure, please tind enclosed
                        copies of the documents indicated below concerning the Post Conviction Writ tiled in
                        cause number 1384794-A in the 337tl:t District Court.


·- ..    ,
                        D .. State's Original Answer Filed
              . ,·:     rg] Affidavit Novemb.er. 28, 2016
'   ·~   ..

                        D    Court Order Dated

                        0    Respondent's Proposed Order Designating Issues and Order For Filing Atlidavit.

                        0    Respondent's Proposed Findings of Fact and Order

                        D    Other




                         Enclosure(s)- AFFIDAVIT OF MARIO MADRID·




                                      1201   FRANKLIN   •    P.O.      BOX   4651 •   HOUSTON, TEXAS   77210-4651   • (888) 545-5577

                        PAGE I OF I                                                                                               REV: 01-02-04
                                                                                 •
                                                       Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 7 of 257


                                                                                                              CHRIS DANIEL
                                                                                                HARRIS COUNTY DISTRICT CLERK
                                                                                                                                                              •
                                                          November 29, 2016

                                                           JOANNE HEISEY
                                                           ATTORNEY FOR APPLICANT
                                                           OFFICE OF CAPITAL AND FORENSIC WRITS _ _ __ ....
                                                         - "1700 i\CCONGRESS- A v·ENUE:suitE46o___ -- -
                                                           AUSTIN, TEXAS 7870 I
\
~_··
       ...
                                                          To Whom It May Concern:

                                                          Pursuant to Article 11.07 of the Texas Code of Criminal Procedure, please tind enclosed
                                                          copies of the documents indicated below concerning the Post Conviction Writ tiled in
       ,.
                                                          cause number 1384794-Ain the 337th District Court
        '>,•




                                                          0   State's Original Answer Filed
   ..,.
 . ''1"·:
       •,.
·.'
                                                          ~ Aftidavit November 28, 2016

                                                          D   Court Order Dated

                                                          0   Respondent's Proposed Order Designating Issues and Order For Filing Aftidavit.
               '   .   .   ~~


                                                         .0   Respondent's Proposed Findings of Fact and Order

                                                          D   Other


                                                                                             .. ·--------------------···-- ------ --------- --- ··---·--- ----------·------- -------- ..   ·-------·------------------·-------,-'7··'·;·~--




                                      '    ....   ·-
                                .   ,~.:




                                                          Enclosure(s)- AFFIDAVIT OF MARIO MADRID




                                                                       1201   FRANKLIN   •   P.O. Box 4651 •                HOUSTON. TEXAS              77210-4651           • (888) 545-5577

                                                         PAGE I OF I                                                                                                                                    REV: 0 1-02-04
          ...


                                        •
                Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 8 of 257



                                                  13~4-794-                   A
                                                                                             •
                                                             3 .37-+k \)i-:rlri c        + Gc:.. . .r-{
                                                    SWORN AFFIDAVIT

                     STATE OF TEXAS                                 §                   KNOW ALL MEN BY
                                                                    §
                                                                    §       ../   ·--
                     COUNTY OF HARRIS                               §                   THESE PRESENTS


                         . My n·affie is JJ G~adoni. I          run
                                                                 the o\vner of Gradoni & Associates and
                     have operated a State of Texas licen-sed investigative finn since 1988 (28 years).
                     Prior to entering• the private sec.tor I worked as a police officer for 12 years. I have
                     a great deal of experience in ii1Vestigatirtg criminal cases and have worked with
                     Mr. R.P. Skip Cornelius on a g~eatnumber of cases over the last 20 years, with
;,
                     emphasis O!J capital rrnirder
                                                ' -
                                                      cases.
                                                         .
                                                              V/e have had great succe·ss
                                                                        .             .
                                                                                            on many of our
                     cases: .

                              In 2011, I was the lead investigator on the Obel Cruz Garcia capital
                     murder case. It was at a time when Harris Coooty was cutting .back on paying
                     mitigation experts and investigators. iri the Crui: Garcia case I had an agreement
                     with Mr. Cornelius to do both the criminal investigation. and the mitigation
                     investigation . .I assigned Edna .Velez, a native of Puerto Rico, as th~. lead on the
                     mitigation ~speCt because' of her backgroulld;~ specificaily her experience as a
                     Customs agent, her Spanish speaking skills, and her knowledge ofPuerto Rico
                     and the Dominican Republic. Edna reported directly to me and Mr. Cornelius and
                     had' nr:susan~ Ro,sin, ~4~.D· to. confer '\yith if she cho~e to;' I~ mysetfand virtually
                     all ofrriy'staff, worked on' the facts and legal defense~ ofthe·case.

                      . .      Edn~ and I went. to. the Dominican R.epu~lic .and loc~ted and. h1terviewed
                     witnesses; took photographs and obtained ·very useful arid important information
                     fo.r the. lawyers to use in mi.tigation. we· attempteq to 'locate'any knoWn relatives
                     or friends of the defendant.· · ·                     ·                 · :'

                            Cruz Garcia was visited 7 times at the Ha£ris'Couilty. Jail by. Edna Velez. I
                     was present during two of the interviews, and Attorney R.P. Skip Cornelius was
                     present on two of the interviews. We gave Cruz Garcia every opportunity to tell
                     us about any person that could possibly say anything good about him, which                                            I"\·
                     produced negative results. Cruz Garcia was not very forthcoming about. much of                                        S
                     anything with respect to the case because, as he informed me, God and Jesus were                                          t!J
                     going to deliver him and he. was notreally conc.erned.about being conviCted. Cruz                                         S
                     Garcia told me, amongst other things, that God would change the witnesses'                                                ~
                F!   ti;u.JE in.Dsnakes and they would not testify against him. Cruz Garcia was not

                 ~~~~                                                                                .
                 District Cferlr

     nme:.~NOj;i;;V~27008 ;;;;20T;;:i6~r~
     B                                                                                                   RECORDER'S MEMORA           .
         Y.---t;:H~~@:=:::..__                            \ C{i \                                        This Instrument is of poo ND~M
                                                    '(1                                                        at the time ~f~~~:'!
                                                                                                                       ::   ~'iWP'   .._e: ~   ~
                     •                                           •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 9 of 257




   interested in contacting his consulate in the Dominican Republic or anyone else,
   to my knowledge.

          Cruz Garcia never told myself or Edna Velez anything about Jose Valdez
   or Hector Saavedra._ _ ________ _

           Cesar Mala Rios was identified in the offense report as an associate of
   Diana Garcia. As a result of this documentation we _conducted database searches
   to identify current addresses and phone numbers for Cesar Mala Rios, along with
   establishing his criminal history and rap photograph. Efforts to make contact _with
   Cesar Mala Rios at addresses we developed wer~ not successful. Attempts to
   make contact with Cesar Mala Rios by the phone numbers we develope4 were hot
   successful. Cruz Garcia never asked us to locate -ai?-d contact Cesar Mala Rios. -

          Because Cruz Garcia's DNA was found.: in the rape kkof Diana Garcia,
   the w~man whose son was killed (she said he raped- her that night); we ~sked Cruz
   Garcia if he could explain how his semen was found in the rape kit on 'more than
   one occasion. On May 2, 2013 Cruz Garcia responded by saying "the day of the
   alleged incident there was a lot of people in her aj:n1rtment (referring to-Diana's)
   and a lot of things happened .. The truth will com~ o~t· 4uring tryal." The second
   time Cruz Garcia wa5 a8ked about the DNA, on May 20, 2013-, Cruz GarCia was
   asked if he had had' consensual sex with Garcia. He respond_ed by_ sayillg,"there
   was always lots of people at Diana's apartment and everyone entered 'every room
   without asking permission." When Cruz Garcia was told that his response was not
   acceptable he ~ontinued to avoid answering the question. Cruz Garcia then stated
   that when Diana testifies it will be noted that. it was him that took care of the little
   boy when she did her thing. Everything will be revealed in the· trial because God
   will convert their tongues into snakes and they will only. be. able to tell the truth. ·

           On June 3, 2013 when asked about the DNA, Cruz Garcia answ~req again
   that the truth ·was going to come out during trial and Diana had to tell th.e truth.
   Cruz Garcia also questioned the reason the DNA wa5 such a "big deal," because
   the rape was not one of his charges.

          Each and every time members of the defense team spoke to Cruz Garcia it
   was with the assistance of Edna Velez, who was a certified interpreter with the
   Customs Service. I have no reason to believe that our questions to Cruz Garcia
   were not clear and concise nor were his responses to our questions not translated
   properly into the English language.
                     •                                         •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 10 of 257




           I can read and write the English language. I have read the foregoing
    Affidavit, which I have made and the statements are true and correct to the best of
    my knowledge and belief.

    FURTHER THE AFFIANT SAYETH NOT: _




                                  Printed Name


    Subscribed and sworn to before me, a Notary Public, in and for the State of Texas,    .,,-   .
    County of Harris, on_ this the I La -+tl -day" of /J,I:ly ~20--J.-li



                                   ~~
                                  N-Pub"?
                                     ~h.ai~      -
                                  County                        State
           ,..                                     •
                 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 11 of 257

                                                                       CHRIS DANIEL
                                                               HARRIS COUNTY DISTRICT CLERK
                                                                                                       •
                    November 29, 2016

                     DEVON ANDERSON
                     DISTRICT ATTORNEY
                     HARRIS
                    -- ---- ·-----
                                   COUNTY,    TEXAS
                                       -- ----------- - ---
                                         ~-----




                    To Whdm It May Concern:

                    Pursuant to Article 11.07 of the Texas Code of Criminal Procedure. please tind enclosed
                    copies of the documents indicated below concerning the Post Conviction Writ filed in
                    cause number 1384794-A in the 337th District Court.

                    0      State's Original Answer Filed

                    ~ Affidavit November 28, 2016

                    D      Court Order Dated

.'   ,t'
                    0      Respondent's Proposed Order Designating Issues and Order For Filing Affidavit.

                    0      Respondent's Proposed Findings of Fact and Order

                    D      Other




                    Enclosure(s)- AFFIDAVIT OF JJ GRADONI




                                        1201   FRANKLIN   •   P.O. Box 4651   •   HOUSTON. TEXAS   77210-4651   • (888) 545-5577

                    PAGE   I   OF   I                                                                                         REV: 01-02-04
       '   '

                                        •
               Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 12 of 257

                                                             CHRIS DANIEL
                                                     HARRIS COUNTY DISTRICT CLERK
                                                                                            •
                   November 29, 2016

                   JOANNE HEISEY
                   ATTORNEY FOR APPLICANT
                   OFFICE OF CAPITAL AND FORENSIC WRITS
                   170<H·rCONGRESS AYENtlE, SUITE 460-  - - -- - - - -- - - -- -
                   AUSTIN, TEXAS 78701

                   To Whom It May Concern:

                   Pursuant to Article 11.07 ofthe Texas Code of Criminal Procedure, please tind enclosed
                   copies of the documents indicated below concerning the Post Conviction Writ tiled in
                   cause number 1384794-A in the 337th District Court.

                   D   State's Original Answer Filed

·, '               1:8] Affidavit November 28, 20 16

                   D   Court Order Dated

                   D   Respondent's Proposed Order Designating Issues and Order For Filing Affidavit.

                   D   Respondent's Proposed Findings of Fact and Order

                   D   Other




                  Criminal Post Trial



                  Enclosure(s)- AFFIDAVIT OF JJ GRADONI




                                1201 FRANKLIN   •   P.O. BOX 4651   •   HOUSTON, TEXAS   77210-4651   • (888) 545-5577

                  PAGE I OF I                                                                                       REV: () 1-02-04
           .,,
           y
                 -~~· --~-·
                        '
                           \




                                                        •                Cause No. 1384794-A
                                                                                                       •
                               Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 13 of 257


                                                                                                                                                                            J/) 5 ·- ·-
                                                                                                                                                                            r -------
                    ....

                               EX PARTE                                        §          IN THE 337TH DISTRICT COURT

                                                                               §          OF

                               OBEL'CRUZ-GARCIA,~­                             §          HARRIS COUNTY, TEXAS
                                      Applicant

                               STATE'S MOTION REQUESTING THE TRIAL COURT TO SET DATE FOR FILING
                                                 OF PROPSED FINDINGS OF FACT

,·.   ..
      _
                                      COMES THE State of Texas by and through its undersigned Assistant District Attorney

                               and respectfully request that the Court order       th~   parties to submit proposed findings of fact in

                               cause no. 1384794-A to the Court on or before December 22, 2016:

                                                                                    I.
                                      On August 8, 20 16, the Court designated issues of alleged ineffective assistance of

                               counsel that the Court ordered be addressed by affidavits of trial counsel R. P. (Skip) Cornelius

                               and trial counsel Mario Madrid in cause no. 1384794-A. On November 28, 2016, trial counsel

                               Cornelius and trial counsel Madrid filed the ordered affidavits responding to the allegations of

                               ineffective assistance oftrial counsel.

                                      Therefore, the State respectfully requests that the Court order both parties to submit

                               proposed findings of fact in cause no. 1384794-A on or before December 22, 2016.                                                                   •!
                                                                                                                                                                                       '0
                                                                                                                                                                                        ,...,.. .
                                                                                                                                                                                         ,..,.,




                                                                                          Respectfully submitted,
                                                                                                                                                                                  . ·o. .
                                                                                                                                                                                         ~·
                                                                                          ~~~
                                                   E~f{'~~?l~
                                                                                          LORI DEANGELO
                                                 p                                        deangelo lori@dao.hctx.net
                                           DISJRIC _CLE K OFFICE
                                                    1
                                                  NOV . · 2016
                                         Time:_~~~~~~--
                                                                  0                                         FILED
                                                                                                                  Chris Daniel
                                                                                                                 District Clerk
                                         ~~-\--~~~~-----
                                                                                                               NOV ttl~6a..
                                                                                                      1lme:_   _,H,.,..a_rr,...la...,;C:..;.ou-n-:-'tyr...:,T=-e"""xa~.--

                                                                                    1                 BY.------~~~~pu~~~;r~tf---
                                                                                                                                               :0~95~
                      •                                      •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 14 of 257




                            II. CERTIFICATE OF SERVICE

       A copy of this instrument was sent via email on November 29, 2016 to applicant's

counsel: Joanne Heisey; 1700 North Congress Ave., Suite 460; Austin, Texas 78701.


                                                 -~~-~~-
                                                 LORI DEANGELO
                                                 deangelo lori@dao.hctx.net




                                             2
                       •                                       •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 15 of 257




                                     Cause No. 1384794-A

EX PARTE                                    §       IN THE 337TH DISTRICT COURT

                                            §       OF

OBEL CRUZo.GARCIA, -                        §       HARRIS COUNTY, TEXAS
     Applicant

          ORDER FOR PARTIES TO FILE PROPOSED FINDINGS OF FACT

       The Court ORDERS that the applicant and the- State submit to the Court proposed

findings of fact in cause no. 1384794-A ort or before December 22, 2016.

SIGNED the   JO   day of November, 2016.'




                                                3
             .... ~·

                                                    •
                       Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 16 of 257


                                                                        CHRIS DANIEL
                                                                 HARRIS COUNTY DISTRICT CLERK
                                                                                                      •
                          November 30, 2016

                          DEVON ANDERSON
                          DISTRICT ATTORNEY
                          HARRIS COUNT'Y,-TEXAS


                          To Whom It May Concern:

                          Pursuant to Article 11.07 oftheTexas Code of Criminal Procedure, please find enclosed
                          copies of the documents indicated below concerning the Post Conviction Writ filed in
                          cause number 1384794-A in the 337th District Court.

'       ·(                D      State's Original Answer Filed

                          D      Affidavit

                          D      Court Order Dated

                          D      Respondent's Proposed Order Designating Issues and Order For Filing Affidavit.

                         ·o Respondent's Proposed Findings of Fact and Order
                          ~ Other
    .    ·;




                          Enclosure(s)- STATE'S MOTION I ORDER FOR PARTIES TO FILE PROPOSED FINDINGS OF
                          FACT




                                          120 I FRANKLIN   •   P.O. Box 4651 •   HOUSTON, TEXAS   77210-4651 • (888) 545-5577

                          PAGE   I OF I                                                                                    REV: 01-02-04
                                 •
       Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 17 of 257


                                                     CHRIS DANIEL
                                              HARRIS COUNTY DISTRICT CLERK
                                                                                •
          November 30, 2016

          JOANNE HEISEY
          ATTORNEY FOR APPLICANT
          1700-NORTH.CONGRESS AVE., SUITE 460
          AUSTIN, TEXAS 78701

          To Whom It May Concern:

          Pursuant to Article 11.07 of the Texas Code of Criminal Procedure, please find enclosed
          copies of the documents indicated below concerning the Post Conviction Writ filed in
          cause number 1384794-A in the 337th District Court.

          D   St~te's Original Answer Filed
.J.·

          D   Affidavit

          D   Court Order Dated

          D   Respondent's Proposed Order Designating Issues and Order For Filing Affidavit.

          D   Respondent's Proposed Findings of Fact and Order

          I2$J Other




          Enclosure(s)- STATE'S MOTION I ORDER FOR PARTIES TO FILE PROPOSED FINDINGS OF
          FACT                                            I




                       120 I fRANKLIN   •   P.O. BOX 4651 • HOUSTON, TEXAS 77210-4651 • (888) 545-5577

         PAGE I OF I                                                                                REV: 01-02-04
                                                                                                         •
                                                                                                         ~
                                                                                                             m!f~g~~
                                                                                                             ~~...,t;_,;;l~
                      ••                                   •
  Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 18 of 257




                 IN THE 337TH JUDICIAL DISTRICT COURT
                         HARRIS COUNTY, TEXAS                            FILED
                                                                           Chris Daniel
                                                                          District Clerk

                                                                         DEC - 1 20.16
                                               Trial Caus_e _No,
                                                                 Thne:    H            .   17, d.0
                                        ).                                    arrl'f...c   - -
                                               13 84 794 -A      BY.-    - - 1J? ounty, Texas
 EX PARTE                               )                                          Deputy
 Obel Cruz-Garcia,                      )
            APPLICANT                   )
                                        )
                                        )

 APPLICANT'S OPPOSITION TO STATE'S MOTION REQUESTING THE
    TRIAL COURT. TO SET.DATE FOR FILING OF PROPSED [SIC]
                  .  FINDINGS OF FACT

        Obel Cruz-Garcia, by and through his attorneys of record the Office of Capital

 and .Forensic Writs (OCFW), respectfully requests that this Court deny the State's

 Motion Requesting the Trial Court Set Date for FilingPropsed [sic] Findings of

 Fact. The State's Motion is both premature and based on incorrect presumptions.

 The motion should be denied.

                              RELEVANT BACKGROUND

       At a hearing held on August 8, 2016, this Court signed an order requiring Mr.

 Cruz-Garcia's trial counsel to submit affidavits responding to the allegations of

· ineffective assistance of counsel raised in Mr. Cruz-Garcia's Initial Application. At

 that same hearing, Mr. Cruz-Garcia urged a motion asking the Court to designate

 controverted issues of material fact to be resolved pursuant to Article 11.071 of the

 Texas Code of Crimimil-Procedure before proceeding with findings of fact based                      ~




                                                                                                \~
                     •                                    •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 19 of 257




solely on pleadings that included plainly contradictory assertions of material fact.

See Tex. Code Crim. Proc. Art. 11.071 § 8(a) ("[A]fter the last date the state answers

the application, the convicting court shall determine whether controverted,

previously unresolved factual issues material to the legality of applicant's

confinement exist and shall issue a written order of the determination."). At that .

time, the Court indicated that the necessity of designating issues not resolved by the

affidavits from trial counsel would be addressed only after trial counsel's affidavits

had been submitted. 1 Thus, Mr. Cruz~Garcia's motion for an order designating

disputed issues of fact, filed on August 5, 2016, remains pending before this court.

                                    ARGUMENT


      The State's request is premature. The State's current motion indicates that trial

counsel have now filed the affidavits responding to the allegations of ineffective

assistance of counsel raised in Mr. Cruz-Garcia's Initial Application as ordered.

Undersigned counsel have not, however, yet been served with said affidavits and,

therefore, cannot know what factual disputes remain.

      The State's request is also based on a misapprehension of the affidavits'

scope. Again, Mr. Cruz-Garcia, unlike counsel for the State, has not yet been served

with copies of the trial counsel affidavits in question. But the affidavits from trial


1
  Undersigned counsel has left several messages with the court reporter over the past
several months since the hearing requesting a transcript of the hearing but has not
yet received a response.
                           •                                   •
         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 20 of 257




     counsel cannot be sufficient to address all disputed claims raised in Mr. Cruz-

     Garcia's Initial Application. Several claims do not implicate trial counsel's conduct;

     thus trial counsel's personal knowledge could not reach those claims. For instance,

     the affidavits from trial counsel will be insufficient to resolve the issue of whether

If   jurors discussed the evidence in the case outside of deliberations because,

     presumably, trial counsel were not in the jury room.         Thus, the designation of

     remaining disputed factual issues will be required-even in the unlikely event that

     this Court were to find that the trial counsel affidavits are entirely credible in every

     aspect, address all ineffectiveness issues raised in the Initial Application on their

     face, and thus somehow warrant depriving Mr. Cruz-Garcia of his due process right

     to cross-examine, via hearing or deposition, and otherwise test the veracity of the

     affiants. 2

             Moreover, at the August 8 hearing, the Court indicated that Mr. Cruz-Garcia

     would be afforded an opportunity to submit evidence in support ofthe claims raised

     in his Initial Application, as due process requires. Mr. Cruz-Garcia has not yet had

     this opportunity.

             Even without having been afforded at this juncture the opportl)nity to review

     the affidavits of trial counsel, however, it merits noting as a general matter that



     2
      See Motion for Order Designating Factual Issues Pursuant to Texas Code of
     Criminal Procedure, Article 11.071 Sections 8(A) And 9(A), filed August 5, 2016.
                     •                                    •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 21 of 257




affidavits are an improper method of taking evidence where a district court judge

must resolve disputed factual issues involving credibility determinations. See, e.g.,

Manzi v. State, 88 S.W.3d 240,255 (Tex. Crim. App. 2002) (Cochran, J., concurring)

("Trial judges who are confronted with contradictory affidavits, each reciting a

plausible version of the events, ought to convene. an evidentiary hearing to see and

hear the witnesses and then make a factual decision based on an evaluation of their

credibility."); see also id. at 250 (Womack, J., concurring) ("That the statute

authorizes a court to make decisions on affidavits does not mean it can make

decisions of every kind on affidavit. The statute can be construed to allow some

issues to be decided by written evidence when credibility determinations are not

involved."); Ex parte Armstrong, No. WR-78,106-01, 2015 WL 7354084, at *4-*5

(Tex. Crim. App. Nov. 18, 2015) (recognizing that where the record is comprised

solely of evidence offered through affidavits, the record does not contain enough

information on which to base credibility determinations. to resolve controverted

issues of fact, and remanding for specific findings of fact regarding credibility).

      In the post-conviction context where a claim of ineffective assistance of trial

counsel is alleged, trial counsel occupy a position that is ·adverse to their former

client. This reality implicates additional concerns. Cf Christeson v. Roper, 135 S.

Ct. 891, 894-95 (20 15) (recognizing the importance of policing conflicts of interest

that can arise in capital post-conviction representation).     As adverse witnesses,
                        •                                  •
    Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 22 of 257




defense counsel become interested parties, 3 and affidavits from interested witnesses

are an inadequate fact-finding mechanism.          As the Court of Criminal Appeals

observed in Charles v. State:

         Affidavits ... are widely and appropriately used in criminal and civil
         proceedings to determine if there are material disputed facts and to
         define exactly which facts are disputed. They are not always well-
         suited for resolving disputed facts.

Charles v. State, 146 S.W.3d 204,210 (Tex. Crim. App. 2004), citingManziv. State.

88 S.W. 3d 240, 250 (Tex. Crim. App. 2002) (Cochran, J., concurring).               The

statements in affidavits of interested witnesses concerning their own state of mind

are   incont~stable,   because "the mental workings of an individual's mind are matters

about which adversaries have no knowledge or ready means of confirming                or
controverting." /d. For that reason, rather than blindly crediting the incontestable

affidavits of interested witnesses, such as trial counsel, the Court ,of Criminal

Appeals has held that a trial judge has the discretion to discount any factual

allegations offered by these witnesses in affidavit form. See id.; see also Manzi, 88

S. W.3d at 250-51 (Cochran, J., cortcurring) ("When ... one affiant says, 'the light

was green,' while another affiant says, 'the light was red,' a hearing at which the



3
  If a court were to find either trial counsel to have rendered ineffective assistance of
counsel, trial counsel would be ineligible for appointment in future cases. See TEX.
Gov'T CODE§ 78.056(a)(2). Thus, each trial counsel had an irremediable conflict of
                                            I

interest with respect to Mr. Cruz-Garcia's allegations, since a finding for Mr. Cruz-
Garcia would adversely impact their reputational and pecuniary interests.
                      •                                  •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 23 of 257




witnesses testify, are cross-examined, and have their credibility assessed by the fact

finder is usually required.").

      Finally, even were it appropriate to set a deadline to file proposed findings of

fact and conclusions of law at this stage-which it is not-undersigned counsel

would be unable to comply with the December 22, 2016, deadline the State has

proposed. Undersigned counsel has a week-long evidentiary capital post-conviction

hearing set to commence on December 12, 2016, in Fort Bend County. At the close

of the evidentiary hearing, undersigned counsel, Joanne Heisey, will travel to

Indianapolis to attend a memorial service for her deceased uncle on December 18.

The earliest date when counsel are available for a hearing on the State's motion is

December 22, 2016.

                                   CONCLUSION

      For the foregoing reasons, Mr. Cruz-Garcia respectfully requests that the

Court deny the State's Motion.
                     •                             •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 24 of 257




                                   Respectfully submitted,



DATED: November 30,2016
                                   J a e eisey ___________ _
                                   Texas Bar No. 24087704
                                   Gretchen S. Sween
                                   Texas Bar No. 24041996
                                    1700 Congress, Suite 460
                                   Austin, TX 78701
                                  ,Telephone: (512) 463-8502
                                   Facsimile: (512) 463-8590
                                   joanne.heisey@ocfw.texas.gov
                                   gretchen.sween@ocfw. texas. gov


                _;
                                   Post-Convic'tion Attorneys for Mr. Cruz-
                                   Garcia
                     •                                   •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 25 of 257




                         CERTIFICATE OF SERVICE

I, the undersigned, declare and certify that I have served the foregoing to:

Paula Gibson                                         Judge Renee Magee
Criminal Post-Trial                                  337th District Court
Harris County District Clerk                         1201 Franklin Street
1201 Franklin Street, 3rd Floor                      15th Floor
Suite 3180                                           Houston~ TX 77002
Houston, TX 77002                                    (One courtesy copy, via email)


Harris County District Attorney
c/o Lori DeAngelo
1201 Franklin
Suite 600
Houston, TX 77002
(One copy, via email)

Obel Cruz-Garcia
TDCJ # 999 584
TDCJ Polunsky Unit
3872 FM 350 South
Livingston, TX 77351
(One copy)
                           •                              •
  Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 26 of 257




                      IN THE 337TH JUDICIAL DISTRICT COURT
                              HARRIS COUNTY, TEXAS




  EX PARTE
  Obel Cruz-Garcia,
             APPLICANT




    APPLICANT'S MOTION TO RECONSIDER IMPROPER ORDER FOR
          PARTIES TO FILE PROPOSED FINDINGS OF FACT

                                       BENJAMIN WOLFF (No. 24091608)
                                       Director, Office of Capital and Forensic Writs
                                     · (E-Mail: Benjamin.Wolff@ocfw.texas.gov)
                                       GRETCHEN SWEEN (No. 24041996)
                                       (E-Mail: Gretchen.Sween@ocfw.texas.gov)
                                       JOANNE HEISEY (No. 24087704)
                                       (E-Mail: J oanne.Heisey@ocfw. texas.gov)
                                       Post-Conviction Attorneys
                                       Office of Capital and Forensic Writs
                                       1700 N. Congress Avenue, Suite 460
                                       Austin, Texas 78701
                                       (512) 463-8600
                                       (512) 463-8590 (fax)

                                      Attorneys for Applicant




       FILED
          Chris Daniel
          District Clerk

nme:     DEC 2 2 2016 Y'25
       Jr!'la County, Texas   > -

BY.-----I~'!J-f3~loft:.A;fn}d~----
               Deputy                       1
                   •                                    •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 27 of 257




               IN THE 337TH JUDICIAL DISTRICT COURT
                       HARRIS COUNTY, TEXAS



                                      )       Trial Cause No.
EXPA.RTE___ -                         )       1384794 --·
Obel Cruz-Garcia,                     )
           APPLICANT                  )
                                      )
                                      )
                         '.

  APPLICANT'S MOTION TO RECONSIDER IMPROPER ORDER FOR
        PARTIES TO FILE PROPOSED FINDINGS OF FACT

      Obel Cruz-Garcia, by and through his attorneys of record, the Office of

Capital and Forensic Writs (OCFW), respectfully requests that this Court reconsider

its improper Order, directing the parties to file proposed findings of fact and

conclusions of law (FFCL) as the State had prematurely requested. The timing and

circumstances of the Order reflect a failure to comply with the governing statutory

directives. The Order should be rescinded.

                                 INTRODUCTION

      The sequence of events that culminated in the Court's issuing the Order in

question suggest an alarming assertion of power and even collusion with counsel for

the State at the expense of due process and proper statutory construction. The rule

of law does not countenance these developments. Thus, the Order should be

reconsidered and rescinded.



                                          1
                    •                                          •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 28 of 257




      The Order in question was signed on November 30, 2016. See Exhibit A.

However, the Order was not received by Mr. Cruz-Garcia's counsel until December

6, 20 16-a week later. The Order demands that the parties submit proposed FFCL
                                                       ----   ---------·----·-----·-- - - - - - -
by_a_ specific cfafe-(IYecemberi2~ -2016faith~~gh -Mr. Cruz-Garcia had opposed the
State's premature request for such an Order and has not yet been given an

opportunity to be heard with respect to this matter.

      Although Mr. Cruz-Garcia's opposition was made in a written motion, duly

filed on December 1, the Court seemingly overlooked (and implicitly denied) that

opposition and instead ordered the parties to appear on December 22, 2016, with

proposed FFCL in hand. These developments seem to have more to do with

gamesmanship in the wake of an election lost-actions particularly untoward in a

post-conviction habeas proceeding challenging the constitutionality of a conviction

and death sentence in a capital case.

      The specific events that have culminated m the current impropriety are

outlined below.

                             RELEVANT BACKGROUND

      At a hearing held on August 8, 2016, this Court signed an order requiring Mr.

Cruz-Garcia's trial counsel to submit affidavits responding to the allegations of

ineffective assistance of counsel raised in Mr. Cruz-Garcia's Initial Application. At

that same hearing, Mr. Cruz-Garcia asked the Court to designate controverted issues


                                          2
                     •                                    •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 29 of 257




of material fact to be resolved pursuant to Article 11.071 of the Texas Code of

Criminal Procedure before proceeding with findings of fact based solely on

pleadings that included plainly contradictory assertions of material fact, as state law

requires. See TEX. CODE CRIM. PROC. art. 11.071 § 8(a) ("[A]fter the last date the

 state answers the application, the convicting court shall determine whether

controverted, previously unresolved factual issues material to the legality of

 applicant's confinement exist and shall issue a written order of the determination.").

 At that time, the Court indicated that it would determine the necessity of designating

 issues after trial counsel's affidavits were submitted. 1 Thus, Mr. Cruz-Garcia's

· motion for an order designating disputed issues of fact, filed on August 5, 2016,

 remained pending.

       Meanwhile, on November 8, 2016, Judge Renee McGee, the current judge

 presiding over this Court, narrowly lost her bid for reelection. In addition, current

 Harris County District Attorney Devon Anderson was defeated by Kim Ogg, who

 ran on a reform platform.

       Soon thereafter, on November 18, 2016, counsel for the State em ailed counsel

 for Mr. Cruz-Garcia, asking about setting a hearing on proposed FFCL on November




 1
   Mr. Cruz-Garcia's counsel has left several messages with the court reporter over
 the past several months since that hearing, requesting a transcript of the hearing, but
 has not yet received a response.
                                           3
                    •                                     •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 30 of 257




28 or 29. Exhibit B. At that point, trial counsel affidavits had not yet been filed and

Mr. Cruz-Garcia's pending motion had not yet been revisited.

      A few days later, on November 21, counsel for Mr. Cruz-Garcia responded



talking about FFCL since the parties had not yet received the trial counsel affidavits.
             I




Exhibit C.

      A week later, on November 28, the State's counsel again emailed counsel for

Mr. Cruz-Garcia stating that the trial counsel had filed their affidavits that day, and

State's counsel again pushed for an immediate hearing on proposed FFCL. Exhibit

D. Without waiting for an answer from Mr. Cruz-Garcia, the State's counsel filed

the State's boilerplate motion for proposed FFCL the next day, on November 29.

      Counsel for Mr. Cruz-Garcia responded to these developments promptly,

restating that counsel was not available until December 20. Exhibit E.

      The next day, Mr. Cruz-Garcia served his opposition to the State's motion

regarding proposed FFCL on counsel for the State and Judge Magee and sent the

original to the clerk's office via express mail. Exhibit F.

      Later that same day, November 30, counsel for the State conveyed copies of

the trial counsel affidavits to Mr. Cruz-Garcia's counsel that the State, seemingly,

had previously had in its possession.




                                           4
                           •                               •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 31 of 257




         On December 1, Judge McGee's court coordinator then emailed Mr. Cruz-

Garcia's counsel stating that the Judge wanted to set the State's motion for a hearing

on December 7th or 9th. Exhibit G. Again, presumably, the objective was to require
 -------~----   -- · - -                                             ~-   - -··· --   ---   -·-   -- -·.-   ~




Mr. Cruz-Garcia to prematurely file proposed FFCL even though: ( 1) disputed issues

of material fact were (and remain) evident from the face of the pleadings; (2) most

material facts are not resolved by the trial counsel affidavits; and (3) an order either

finding no issues under Section 8(a) of Article 11.071 or an order designating issues

under Section 9(a) is a prerequisite for an order requiring the parties to submit

proposed FFCL. Mr. Cruz-Garcia's counsel responded to the Court's directive,

restating that counsel was not available either of those dates but was available on

December 22 at the earliest. Exhibit H.

          Counsel for the State then chimed in, suggesting that the director of the OCFW

or another attorney could cover the hearing. OCFW's director, Benjamin Wolff, then

addressed this unnecessary push to set an immediate hearing, explaining that he was

not available and that counsel on this case would not be available until December 21

at the earliest. Exhibit I.

          On December 5, a hearing was then set-but not on the contested motion.

Instead, the Court set a hearing for December 22 at which time the Court expected

to be presented with proposed FFCL from both sides. The Order at issue here

followed the next day. Exhibit A.

                                            5
                    •                                    •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 32 of 257




        On December 16, 2016, incoming District Attorney-elect Kim Ogg

announced that she intended to take the office in a "new direction" and that "change

is coming" to the Office of the District Attorney, and dismissed 37 prosecutors, over

ten percent of the prosecutors in the office. See, e.g., Brian Rogers, "Shake-ups

begin at DA's office as Ogg moves toward taking office," HOUSTON CHRONICLE,

December      16,   2016,       available   at   http://wwW.chron.com/news/houston-

texas/article/Shake-ups-begin-at-DA-s-office-as-Ogg-moves-1 0801298. php.         In

announcing the staffing changes, District Attorney-elect Ogg stated that her

administration will "not have a win-at-all-costs mentality, that we would prize

fairness and transparency and equality" and that "the leadership decisions that I

made are directed to that view." Meagan Flynn, Incoming DA Kim Ogg Prepares to

Fire Dozens of Prosecutors, HOUSTON PRESS, December 16, 2016, available at:

http://www .houstonpress .com/news/incoming-da-kim -ogg -prepares-to-fire-dozens-

of-prosecutors-9034289.



                                       ARGUMENT


        The push to set a hearing for the presentation of premature proposed FFCL

seems to be animated more by the recent election results and less by the interests of

justice or the governing law.

   I.     The Texas Code of Criminal Procedure Outlines the Process That
          Must Proceed Any Order Seeking Proposed FFCL.
                                            6
                     •                                    •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 33 of 257




      This proceeding is governed by Article 11.071 of the Texas Code of Criminal

Procedure. Article 11.071 provides just two distinct pathways through which a court



      Section 8 applies when the claims raised by the application, and answered by

the state, fail to raise any disputed issues of fact material to the constitutionality of

confinement. These     ar~   claims that are either purely matters of law-such as a

challenge to Texas's   Speci~l   Issues as unconstitutionally vague-or claims based on.

facts that are entirely uncontested. With such claims, no fact-finding is requir.ed

before the convicting court can proceed to resolve the claims and make

recommendations. To the extent that the court finds that Section 8 applies, and only

after the convicting court has found there to be no material issues of fact and issued

a written order of that determination, it may then order the parties to submit proposed

FFCL.

        Section 9, by contrast, applies when ther,e are disputed factual issues material

to claims of the allegedly unconstitutional confinement. In this situation, the statue

requires the convicting court to designate the specific factual issues that need to be

resolved and announce the manner of fact-finding. Additionally, the Constitution

requires that both sides be permitted to present and test evidence. Panetti v.

Quarterman, 551 U.S. 930, 949 (2007) (same); see also TEX. CODE CRIM. PROC. art.

11.071 § I 0 (applying the Texas Rules of Criminal Evidence to a hearing under
                                            7
                       •                                   •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 34 of 257



Article 11.071 ). To the extent that the convicting court finds that Section 9 applies,

the convicting court must first issue an order designating factual issues and then

allow the parties to present evidence through the specified methods in support of, or

in "opposition to, the chtims raised, that a court may order-that the parties to submit

proposed FFCL.

         At the invitation of the outgoing District Attorney in the last few days of her

tenure before a new District Attorney will take office and before that District

Attorney has the opportunity to take the Office in a new direction, the Court has

engaged in an entirely extra-statutory, illegal procedure. A court may not order

FFCL without first designating factual issues, or the lack thereof, pursuant to either

Section 8 or 9. There has been no Order, per the statute, that serves as a predicate

for any FFCL. Because no such order was issued in this case, Mr. Cruz-Garcia has

not proposed FFCL.

   II.      The Court's Chosen Process Disregards the Specific Claims at Issue
            and How Article 11.071 Directs Courts to Resolve Such Claims.

         The specific allegations and circumstances of this case preclude the

application of Section 8 because the Initial Application and the Answer contain

disputed factual issues. The State conceded as much in seeking the production of

trial counsel's affidavits. Had Section 8 been    applicabl~,   which it is not, the court

would not be able to consider the trial counsel affidavits or any other post-filing

evidentiary development at all because, by definition, the court would have
                                            8
                       •                                    •
  Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 35 of 257




 concluded that the claims could all be adjudicated based on the face of the pleadings:

 the Initial Application and the Answer. Because, however, most claims at issue here

 fall under the rubric of Section 9, notice of the disputed factual issues is required, as

--Ts the opportunity to present evidence and to test any evidence offen~~d by the State.
 The attempt to truncate the process is improper.

        Seemingly, the State's goal from the outset has been to deprive Mr. Cruz-

 Garcia of the process described in Section 9. The State sought to set a hearing on

  proposed FFCL even before trial counsel had filed affidavits responding to the

  allegations of ineffective assistance of counsel raised in Mr. Cruz-Garcia's Initial

  Application. More critically, the State's motion and the Court's Order granting that

  motion ignore the affidavits' scope. The affidavits from trial counsel are insufficient

  to address all disputed claims raised in Mr. Cruz-Garcia's Initial Application.

  Several claims do not implicate trial counsel's conduct; thus trial counsel's personal

  knowledge cannot and does not reach those claims. For instance, the affidavits from

  trial counsel cannot resolve the. issue of whether jurors discussed the evidence

  outside of deliberations because, presumably, trial counsel were not in the jury room

  during the deliberations or otherwise privy to the jurors' discussions.
                                      '
        The affidavits do not even permit resolution of all disputed issues of material

  fact relevant to the ineffective assistance of counsel claim. That is, even if the trial

  counsel affidavits were deemed credible in every aspect, on their face, these


                                             9
                      •                                    •
    Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 36 of 257




affidavits do not address all Issues of deficit performance raised m the Initial

Application.

         Thus, the Court still needs to designate the disputed factual issues to be

resolved and the mam1er whereby those issues wouid be. resolve(f. The-Court's Order

reflects an intent to jump precipitously toward a resolution before issues have even

been identified. The short-circuiting of the process is designed-intentionally or

otherwise-to deprive Mr. Cruz-Garcia of his due process right to cross-examine,

via hearing or deposition, and to otherwise test the veracity of the affiants. 2

         Moreover, at the August 8 hearing, the Court indicated that Mr. Cruz-Garcia

would be afforded an opportunity to submit evidence in support of the claims raised

in his Initial Application, as due process requires. Mr. Cruz-Garcia has nnt yet had

this opportunity. No intervening events, other than the recent election, suggest a

reason for the Court's change in course. Moreover, it is improper for the outgoing

regime of the District Attorney's office to tie the hands of the incoming District

Attorney, and encourage this Court to make hasty and unwise decisions, contrary to

the statutory scheme, all designed to deprive Mr. Cruz-Garcia of the opportunity to

prove his allegations of unconstitutional confinement.




2
 See Motion for Order Designating Factual Issues Pursuant to Texas Code of
Criminal Procedure, Article 11.071 Sections 8(A) And 9(A), filed August 5, 2016.
                                           10
                    •                                   •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 37 of 257




      Further, as a general matter, one-sided, incomplete affidavits, such as those

procured by the State in this case from trial counsel, are an improper method of

taking evidence where a district court judge must resolve disputed factual issues

involving credibility determinations. See, e.g., Manzi v. State, 88 S.W.3d 240, 255

'(Tex. Crim. App. 2002) (Cochran, J., concurring) ("Trial judges who are   confronte~


with contradictory affidavits, each reciting a plausible version of the events, ought

to convene an evidentiary hearing to see and hear the witnesses and then make a

factual decision based on an evaluation of their credibility."); see also id. at 250

(Womack, J., concurring) ("That the statute authorizes a court to make decisions on

affidavits does not mean it can make decisions of every kind on affidavit. The statute

can be construed to allow some issues to be decided by written evidence when.

credibility determinations are not involved."); Ex parte Armstrong, No. WR-78, 106-

01,2015 WL 7354084, at *4-*5 (Tex. Crim. App. Nov. 18, 2015) (recognizing that

where the record is comprised solely of evidence offered through affidavits, the

record does not contain enough information on which to base credibility

determinations to resolve controverted issues of fact, and remanding for specific

findings of fact regarding credibility).

      In the post-conviction context, where a claim of ineffective assistance of trial

counsel is alleged, trial counsel occupy a position that is adverse to their former

client. This reality implicates additional concerns. Cf Christeson v. Roper, 135 S.

                                           11
                             •                                    •
           Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 38 of 257




        Ct. 891, 894-95 (20 15) (recognizing the importance of policing conflicts of interest

        that can arise in capital post-conviction representation). As adverse witpesses,

        defense counsel become interested parties, 3 and affidavits from interested witnesses
                                             -·        -      -
        are ~ui inadequate fact-finding mechanism. As the Court of Criminal Appeals

        observed in Charles v. State:

                Affidavits ... are widely and appropriately used in criminal and civil
                proceedings to determine if there are material disputed facts and to
, ..            define exactly which facts are disputed. They are not always well-
'               suited for resolving disputed facts.

        Charles v. State, 146 S.W.3d 204,210 (Tex. Crim. App. 2004) (citingManziv. State.

        88 S.W. 3d 240, 250 (Tex. Crim. App. 2002) (Cochran, J., concurring)). The

        statements in affidavits of interested witnesses concerning their own state of mind

        are incontestable, because "the mental workings of an individual's mind are matters

        about which adversaries have no knowledge or ready means of confirming or

       · controverting." !d. For that reason, rather than blindly crediting the incontestable

        affidavits of interested witnesses, such as trial counsel, the Court of Criminal

        Appeals has held that a trial judge has the discretion to discount any factual

        allegations offered by these witnesses in affidavit form. See id.; see also Manzi, 88



       3
         If a court were to find either trial counsel to have rendered ineffective assistance of
       counsel, trial counsel would be ineligible for appointment in future cases. See TEX.
       Gov'T CODE§ 78.056(a)(2). Thus, each trial counsel had an irremediable conflict of
       interest with respect to Mr. Cruz-Garcia's allegations, since a finding for Mr. Cruz-
       Garcia would adversely impact their reputational and pecuniary interests.
                                                  12
                       •                                  •
  Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 39 of 257




 S.W.3d at 250-51 (Cochran, J., concurring) ("When ... one affiant says, 'the light

 was green,' while another affiant says, 'the light was red,' a hearing at which the

 witnesses testify, are cross-examined, and have their credibility assessed by the fact

. finder is usually required.").

        Even if it were appropriate to order production of proposed FFCL at this

 stage-'-which it is not-undersigned counsel expressly conveyed to the Court and

 to counsel for the State specific details as to why counsel for Mr. Cruz-Garcia were· .

 not even available to attend a hearing on the State's contested motion until December

 21. To then hastily enter an Order requiring the production of FFCL by that date

 would seem to further no legitimate purpose. Moreover, less than three weeks to

 prepare proposed findings of fact and conclusions of law is an uncommonly short

 period oftime in which to prepare proposed findings of fact and conclusions oflaw.

 In all other cases the OCFW has handled in Harris County, the district courts have

 allowed counsel at least 50 and often 100 or more days. See, e.g., Ex parte Carl

 Buntion, cause no. 588227 (178th District Court) (allowing 127 days to file proposed·

 findings of fact and conclusions of law); Ex parte Jaime Cole, cause no. 1250754

 (23 Oth District Court) (allowing 100 days to file proposed findings of fact and

 conclusions oflaw); Ex parte Joseph Jean, cause no. 1302120 (230th District Court)

 (allowing 100 days to file proposed findings of fact and conclusions of law); Ex

 parte Garland Harper, cause no. 1272085 (182nd District Court) (allowing 57 days

                                          13
                            •                                   •
       Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 40 of 257




       to file proposed findings of fact and conclusions oflaw); Ex parte Brian Davis, cause

       no. 616522 (230th District Court) (allowing 56 days to file proposed findings of fact

       and conclusions of law). Respectfully, the only purpose the Order accomplishes is a

       race to a predetermined finish line before a new judge and a new distriCt attorney

       take office office-absent any regard to the substance of Mr. Cruz-Garcia's claims

       and their merit. It also does not comport with the articulated policy of District

       Attorney-elect Ogg, who has indicated that her office would replace a "win-at-all-
'\·.




       costs mentality" with one that "prize[s] fairness and transparency and equality."

       Fairness, transparency and equality demand that Mr. Cruz-Garcia be given the

       opportunity to prove his claims in a proceeding that accords with the clear statutory

       lat?-guage of Article 11.071.

              As the Court must understand, the tenure of any particular district attorney or

       judge is not the correct parameter for assessing what process is warranted. The

       requisite process that precedes the submission of proposed FFCL is described in

       plain statutory text. See TEX. CODE OF CRIM. PROC. art. 11.071, §§ 8 & 9, described

       above. Circumventing that process is arbitrary and capricious as well as a clear

       violation of Mr. Cruz-Garcia's right to due process under the U.S. Constitution and

       state law.

                                           CONCLUSION




                                                14
                    •                                   •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 41 of 257




      For the foregoing reasons, Mr. Cruz-Garcia respectfully requests that the

Court rescind its Order for Parties to File Proposed Findings of Fact, and rule on the

pending motion to designate issues, as it indicated it would at the August 8 hearing,

or, in the alternative, withhold ruling on the pending motions until the Court can

address them in January.



                                       Respectfully submitted,

                                                  ,CAPITAL AND FORENSIC WRITS

DATED: December 21,2016
                                       Jo nne eisey
                                       Texas Bar No. 24087704
                                       Gretchen S. Sween
                                       Texas Bar No. 24041996
                                        1700 Congress, Suite 460
                                       Austin, TX 78701
                                       Telephone: (512) 463-8502
                                       Facsimile: (512) 463-8590
                                       joanne.heisey@ocfw.texas.gov
                                       gretchen.sween@ocfw. texas.gov


                                       Post-Conviction Attorneys for Mr. Cruz-
                                       Garcia




                                         15
                    •                                    •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 42 of 257




                          CERTIFICATE OF SERVICE

I, the undersigned, declare and certify that I have served the foregoing to:

Paula Gibson                                         Judge Renee Magee
Criminal Post-Trial                                  337th District Court
Harris County District Clerk                         1201 Franklin Street
1201 Franklin Street, 3rd Floor                      15th Floor
Suite 3180                                         , Houston, TX 77002
Houston, TX 77002                                    (One courtesy copy, via email)


Harris County District Attorney
c/o Lori DeAngelo
1201 Franklin
Suite 600
Houston, TX 77002
(One copy, via email)

Obel Cruz-Garcia
TDCJ # 9995 84
TDCJ Polunsky Unit
3872 FM 350 South
Livingston, TX 77351
(One copy)




                                         16
                 •                                •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 43 of 257




                      Exhibit A
•,.
                            •                                         •
      Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 44 of 257




                                             Cause No. 1384794-A

        EX PARTE                                   §       IN THE 337TH DISTRICT COURT

                                                   §       OF

        OBEL CRUZ-GARCIA,                          §       HARRIS COUNTY, TEXAS
             Applicant


                  ORDER FOR PARTIES TO FILE PROPOSED FINDINGS OF FACt

               The Court ORDERS that the applicant and the State submit to the Court proposed

        findings of fact in cause no. 1384794-A on or before December 22, 2016.

        SIGNED the   JO   day of November, 2016.




                                                       3
                                 •                                •
                Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 45 of 257




                                      Exhibit B
:   .       .




i       '
Joanne Heisey

From:
                                 •                                            •
           Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 46 of 257




                                   DeAngelo, Lori < DEANGELO_LORI@dao.hctx.net>
Sent:                              Friday, November 18, 2016 2:37 PM
To:                                Joanne Heisey
Subject:                           Obel Cruz-Garica



Hey there. I would like to get this case on the docket to discuss findings with Judge Magee. I haven't checked with the
court yet, but are you available Nov. 29th or 30th? Please let me know asap and I'll contact the court coordinator. Thanks!




                                                             1
                            •                                •
          Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 47 of 257




,"•   '




                                Exhibit C
Joanne Heisey

From:
                                              •
             Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 48 of 257




                                                Joanne Heisey <Joanne.Heisey@ocfw.texas.gov>
                                                                                                           •
Sent:                                           Monday, November 21, 2016 9:31 AM
To:                                             DeAngelo, Lori
Subject:                                        RE: Obel Cruz-Garica



Hi Lori. I am not available either of those dates. I've got a hearing in Williamson County on the 29 1h and will be traveling
with an expert interviewing witnesses the rest of the week. It seems premature to be talking about findings since we
-~~~~t.Y~.!-~~y~_th~ a!j'id_~yi_~s_ fr_?~_!ti_~-~-~-~-~~~~-! ~~!~_r__a.~ l_k_rJ()"-".: .................... ____ _
                                                                                                 ... __ .. --" ...... _ .... .
From: DeAngelo, Lori [mailto:DEANGELO LORI@dao.hctx.net]
Sent: Friday, November 18, 2016 2:37 PM
To: Joanne Heisey
Subject: Obel Cruz-Garica
Hey there. I would like to get this case on the docket to discuss findings with Judge Magee; I haven't checked with the
court yet, but are you available Nov. 29 1h or 301h? Please let me know asap and I'll contact the court coordinator, Thanks!




                                                                                    1
                 •                                •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 49 of 257




                      Exhibit D
   ,·




Joanne Heisey

From:
                                  •DeAngelo, Lori <DEANGELO_LORI@dao.hctx.net>
                                                                                •
         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 50 of 257




Sent:                              Monday, November 28, 2016 11:51 AM
To:                                Joanne Heisey
Subject:                           RE: Obel Cruz-Garica



Good morning. Both attorneys filed their affidavits with the clerk's office today. Are you still booked all of this week? If
so, how about Monday, Dec. 5th?

                                                     ·------·------
 From: Joanne Heisey [mailto:Joanne.Heisey@ocfw.texas.gov]
 Sent: Monday, November 21, 2016 9:31AM
To: DeAngelo, Lori
Subject: RE: Obel Cruz-Garica

Hi Lori. I am not available either of those dates. I've got a hearing in Williamson County on the 29th and will be traveling
with an expert interviewing witnesses the rest of the week. It seems premature to be talking about findings since we
don't yet have the affidavits from trial counsel as far as I know.


From: DeAngelo, Lori [mailto:DEANGELO LORI@dao.hctx.net]
Sent: Friday, November 18, 2016 2:37 PM
To: Joanne Heisey
Subject: Obel Cruz-Garica

Hey there. I would like to get this case on the docket to discuss findings with Judge Magee. I haven't checked with the
court yet, but are you available Nov. 29th or 30th? Please let me know asap and I'll contact the court coordinator. Thanks!




                                                              1
                 •                                •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 51 of 257




                      Exhibit E
 Joanne Heisey

 From:
                                   • Joanne Heisey
                                                                                  •
            Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 52 of 257




 Sent:                               Tuesday, November 29, 2016 3:25 PM
 To:                                 'DeAngelo, Lori'
 Subject:                            RE: Obel Cruz-Garica



 Hi Lori,

 I am out of pocket the next couple weeks because I have a week-long evidentiary hearing starting December 12. I will be
 attending a memorial service for my uncle in Indianapolis on December 18 and flying back to Austin on the 19th, so the
 earliest I could do would be the 20th. I'll also be traveling December 23 and 26 for Christmas. Let me know what date will
 work for you.

 Thanks,
 Joanne


 From: DeAngelo, Lori [mailto:DEANGELO_LORI@dao.hctx.net]
 Sent: Monday, November 28, 2016 11:51 AM
 To: Joanne Heisey
 Subject: RE: Obel Cruz-Garica

  Good morning. Both attorneys filed their affidavits with the clerk's office today. Are you still booked all of this week? If
' so, how about Monday, Dec. 5th?


  From: Joanne Heisey [mailto:Joanne.Heisey@ocfw.texas.gov]
. Sent: Monday, November 21, 2016 9:31 AM
  To: DeAngelo, Lori
  Subject: RE: Obel Cruz-Garica

  Hi Lori. I am not available either of those dates. I've got a hearing in Williamson County on the 29th and will be traveling
  with an expert interviewing witnesses the rest of the week. It seems premature to be talking about findings since we
. don't yet have the affidavits from trial counsel as far as I know.


 From: DeAngelo, Lori [mailto:DEANGELO LORI@dao.hctx.net]
 Sent: Friday, November 18, 2016 2:37 PM
 To: Joanne Heisey
 Subject: Obel Cruz-Garica

 Hey there. I would like to get this case on the docket to discuss findings with Judge Magee. I haven't checked with the
 court yet, but are you available Nov. 29th or 30th? Please let me know asap and I'll contact the court coordinator. Thanks!




                                                                1
.·

                      •                                •
     Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 53 of 257




                            Exhibit F
 Joanne Heisey

 From:
                                    •Joanne Heisey
                                                                                 •
           Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 54 of 257




 Sent:                               Wednesday, November 30, 2016 2:13 PM
 To:                                 'DeAngelo, Lori'
 Cc:                                 Magee, Judge Renee (DCA)
 Subject:                            RE:
 Attachments:                        33 - Opposition to State's Motion for Findings of Fact.pdf



 Dear Lori and Judge Magee,

 Please find attached our opposition to the State's motion for findings of fact, which I FedExed to the clerk today .

. Best regards,

   Joanne Heisey
 • Post-Conviction Attorney
. Office of Capital and Forensic Writs
   1700 Congress Avenue, Suite 460
   Austin, Texas 78701
   512.463.8509
   joanne.heisey@ocfw.texas.gov



 :..----Original Message-----
 From: DeAngelo, Lori [mailto:DEANGELO_LORI @dao.hctx.net]
 Sent: Tuesday, November 29, 2016 9:38AM
 T9: Joanne Heisey
 Cc: Magee, Judge Renee (DCA)
 Subject: FW:

 Please see attached motion filed today in the Obel Cruz-Garcia case.

 Lori DeAngelo
'Assistant District Attorney
 Post-Conviction Writs Division
 713-274-5990

 -----Original Message-----
 From: xx@dao.hctx.net [mailto:xx@dao.hctx.net]
 Sent: Tuesday, November 29, 2016 9:34AM
 To: DeAngelo, Lori
 Subject:

 Please open the attached document. This document was digitally sent to you using an HP Digital Sending device.
                    ,·

                                          •                                •
                         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 55 of 257




 '           ·,·
~; ~   '   .'-. .




                                               Exhibit G
   .·




From:
                                   •                                              •
           Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 56 of 257


Joanne Heisey

                                   Callis, Leah (DCA) < Leah_Callis@Justex.net>
Sent:                              Thursday, December 01, 2016 3:57 PM
To:                                Joanne Heisey
Cc:                                DeAngelo, Lori (HCDA)
Subject:                           OBEL CRUZ GARCIA COURT DATE

Importance:                        High


Good afternoon to you both.

The Judge has requested for the matter to be placed on the docket for mid-week of next week. The best dates I have are
Wednesday, 12/7/16 or Friday, 12/9/16.

Please let me know which date works for you.

Thank you, Leah Callis

-----Original Message-----
From: Joanne Heisey [mailto:Joanne.Heisey@ocfw.texas.gov]
Sent: Wednesday, November 30, 2016 2:16PM
To: Callis, Leah (DCA) <Leah_Callis@Justex.net>
Subject: FW:

Hi Ms. Callis,

I meant to cc you on the below email--just sending a courtesy copy to Judge Magee of a motion I filed today in Obel
Cruz7Garcia's case.

Many thanks,
Joanne

-----Original Message-----
From: Joanne Heisey
Sent: Wednesday, November 30, 2016 2:13 PM
To: 'DeAngelo, Lori'
Cc: Magee, Judge Renee (DCA)
Subject: RE:

Dear Lori and Judge Magee,

Please find attached our opposition to the State's motion for findings of fact, which I FedExed to the clerk today.

Best regards,

Joanne Heisey
Post-Conviction Attorney
Office of Capital and Forensic Writs
1700 Congress Avenue, Suite 460

                                                             1
  Austin, Texas 78701
  512.463.8509
  joanne. heisey@ocfw. texas.gov
                                    •                                           •
            Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 57 of 257




  -----Original Message-----
  Fra,m: DeAngelo, Lori [mailto:DEANGELO_LORI@dao.hctx.net]
  Sent: Tuesday, November 29, 2016 9:38AM
  To: Joanne Heisey
  Cc: Magee, Judge Renee (DCA)
  Subject: FW:

 . Please see attached motion filed today in the Obel Cruz-Garcia case.

   Lori DeAngelo
   Assistant District Attorney
 · Post-Conviction Writs Division
   713-274-5990

 . ~----Original Message-----
   From: xx@dao.hctx.net [mailto:xx@dao.hctx.net]
   Sent: Tuesday, November 29, 2016 9:34AM
 ·To: DeAngelo, Lori
   Subject:

·.. Please open the attached document. This document was digitally sent to you using an HP Digital Sending device.




                                                              2
.   ,


                          •                                •
        Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 58 of 257




                              Exhibit H
     .·




  From:
                                    •                                           •
              Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 59 of 257


  Joanne Heisey

                                    Joanne Heisey
  Sent:                             Friday, December 02, 2016 6:36 AM
  to:                               'Callis, Leah (DCA)'
  Cc:                               DeAngelo, Lori (HCDA)
  Subject:                          RE: OBEL CRUZ GARCIA COURT DATE



  Hi Ms. Callis,

  I am not available either of those dates, as I have a week-long evidentiary hearing in another capital case set to
 ·commence on Dec. 12. Following the hearing, I am traveling to Indianapolis for my uncle's funeral. The earliest I'm
  available would be Dec. 22.


... Thanks,
     '",

  Joanne

  -----Original Message-----
  From: Callis, Leah (DCA) [mailto:Leah_Callis@Justex.net]
  Sent: Thursday, December 01, 2016 3:57 PM
  To: Joanne Heisey
  Cc: DeAngelo, Lori (HCDA)
  Subject: OBEL CRUZ GARCIA COURT DATE
  Importance: High

  Good afternoon to you both.

  The Judge has requested for the matter to be placed on the docket for mid-week of next week. The best dates I have are
  Wednesday, 12/7/16 or Friday, 12/9/16.

  Please let me know which date works for you.

  Thank you, Leah Callis

  -----Original Message-----
  From: Joanne Heisey [mailto:Joanne.Heisey@ocfw.texas.gov]
  Sent: Wednesday, November 30, 2016 2:16 PM
  To: Callis, Leah (DCA) <Leah_Callis@Justex.net>
  Subject: FW:

  Hi Ms. Callis,

  I meant to cc you on the below email--just sending a courtesy copy to Judge Magee of a motion I filed today in Obel
  Cruz-Garcia's case.

  Many thanks,
  Joanne

  -----Original Message-----
  From: Joanne Heisey

                                                              1
   ,-
   •/


                                   •
Sent: Wednesday, November 30, 2016 2:13PM
To: 'DeAngelo, Lori'
Cc: Magee, Judge Renee (DCA)
Subject: RE:
                                                                                •
          Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 60 of 257




Dear Lori and Judge Magee,

Please find attached our opposition to the State's motion for findings of fact, which I FedExed to the clerk today.

Best regards,

 Joanne Heisey
. Post-Conviction Attorney
 Office of Capital and Forensic Writs
  1700 Congress Avenue, Suite 460
 Austin, Texas 78701
 512.463.8509
 joanne.heisey@ocfw.texas.gov



  -----Original Message-----
  From: DeAngelo, Lori [mailto:DEANGELO_LORI@dao.hctx.net]
  Sent: Tuesday, November 29, 2016 9:38AM
  To: Joanne Heisey
  Cc: Magee, Judge Renee (DCA)
. Subject: FW:

Please see attached motion filed today in the Obel Cruz-Garcia case.

Lori DeAngelo
Assistant District Attorney
Post-Conviction Writs Division
713-274-5990

-----Original Message-----
From: xx@dao.hctx.net [mailto:xx@dao.hctx.net]
Sent: Tuesday, November 29, 2016 9:34AM
To: DeAngelo, Lori
Subject:

Please open the attached document. This document was digitally sent to you using an HP Digital Sending device.




                                                             2
(   ~~   1




                           •                               •
         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 61 of 257




                                 Exhibit I
    .~
    •!




 Joarine Heisey

 From:
                                    •Benjamin Wolff
                                                                                  •
            Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 62 of 257




 Sent:                               Friday, December 02, 2016 10:26 AM
 To:                                 'DeAngelo, Lori'; 'Leah_Callis@Justex.net'
 Cc:                                 Gretchen Sween; Joanne Heisey
 Subject:                            Obel Cruz-Garcia court setting



 Ms. Callis,

 I am writing in reference to the scheduling of a motions argument and conference in Ex parte Obel Cruz-Garcia. This case
 is handled by Joanne Heisey and Gretchen Sween from our office. Because of a capital post-conviction hearing in .
 another county, Ms. Heisey and Ms. Sween are unavailable until after December 20. In addition, Ms. Heisey will.~e out
.of the state for her uncle's memorial service follo~ing this hearing, so the earliest she could appear would be qecember
 22. So, the earliest Ms. Sween could appear would be December 21, and the earliest MS. Heisey could appear would be
 December 22. And, contrary to Ms. DeAngelo's suggestion, I cannot appear in their place. My name appears onth~
 pleadings in this case, as well as the case of every client represented by our office, because I am the Director of our . .
 office. This does not mean, however, that I am a lawyer directly involved in the litigation of every case, or avaiiable to·
 argue contested motions on every case, much like how Devon Anderson's name appears on pleadings filed by the Office
 of the District Attorney, but is not available to conduct the trial of every case prosecuted by the Harris County District
 Attorney.

  We are a small state agency in Austin. We currently have six staff attorneys working in our office, and represent the vast
. majority of death-sentenced persons in Texas initial state habeas proceedings and have cases pending throughout the·
  state. In addition to the aforementioned evidentiary hearing, we have three initialstate habeas application due over.the
  n~xt six weeks. Unfortunately, we simply do not have the staffing that would allow another lawyer to take over the
  representation of Mr. Cruz-Garcia at this juncture, even for a limited purpose.

 Please let us know if there is a date convenient for the court on or after December 21. Alternatively, please let us know
 whether there is a date after the holidays that would work for the court. Thanks so much.

 Best,

  13enjam!n B. Wolff
··Director, Office of Capital and Forensic Writs
  1700 Congress, Suite 460
  Austin, TX 78701
  (512) 463-8502




            Office of Capital and Forensic 1Nrits




                                                                1
                 •                                  •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 63 of 257

                                                             Filed 16 December 27 P4:09
                                                             Chris Daniel - District Clerk
                                                             Harris County
                                                             FAX16559060

               IN THE 337TH JUDICIAL DISTRICT COURT
                       HAl~RIS COUNTY, TEXAS




                                   )     Trial Cause No.
  EX PARTE                         )     1384794
  Obel Cruz-Garcia,                )
             APPLICANT             )
                                   )
                                   )


  APPLICANT'S RENEWED OBJECTION TO ORDER FOR PARTIES TO
              FILE PROPOSED FINDINGS OF FACT

                                BENJAl\tHN WOLFF (No. 24091608)
                                Director, Office of Capital and Forensic Wdts
                                (E-Mail: Benjamin. Wolff@ocfw.texas.gov)
                                GRETCHEN SWEEN (No. 24041996)
                                (E-M ai I: Gretchen. Sween~]oc fw. texas.gov)
                                JOANNE HEISEY (No. 24087704)
                                (E-Mail: Joanne.Heisey@ocfw.texas.gov)
                                Post-Conviction Attorneys ,
                                Office of Capital and Forensic Writs
                                1700 N. Congt;ess Avenue, Suite 460
                                Austin, Texas 78701
                                (512) 463-8600
                                (512) 463-8590 (fax)

                                Attorneys for Applicant
                            •                                      •
        Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 64 of 257




                          IN THE 337TH JUDICIAL DISTRICT COURT
                                  HARRIS COlJNTY, TEXAS



                                                 }     Trial Cause No.
          EX PARTE                               )     1384794
          Obel Cruz-Garcia,                      )
                     APPLICANT                   )
                                                 )
                                                 )

           APPLICANT'S RENE\VED OBJECTION TO ORDKR li'OR PARTlli~S TO
                        FILE PROPOSED FINDINGS OF FACT

                Obel Cruz-Garcia, by and through his attotneys of record, the Oftice of

          Capital and Forensic Writs (OCFW), renews his objection to the Order directing the

          parties to file proposed findings of fact (FFCL) by December 27, 2016. The Order

          should be rescinded because it deprives Mr. Cruz-Garcia of due process. In support

          of his objection, Mr. Cruz-Garcia respectfully show·s the followirig:

                1.    This proceeding arises in a capital case in which Mr. Cruz-Garcia has·
·....


          asserted numerous cognizable claims challenging the constitutionality of his

          conviction and death sente11cc under Article 11.071 of the Texas Code of Criminal

          Procedure and in which he seeks relief through issuance of a writ of habeas corpus.

                2.    This Court has yet to make a determination as to whether each of the

          various claims at issue in this Article 1 1.071 proceeding are governed by Section 8

          or by Section 9 of the governing statute. In August, the Court signed the Stale's

          Proposed Order for Filing Aftidavits, which designated ten tactual issues relevant to
                          •                                     •
     Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 65 of 257




       Mr. Cruz-Garcia's ineffective assistance of counsel claim that the State believed

       needed to be resolved and believed could be resolved via atiidavits from trial

       counsel. At that time, the Court tabled the question of what additional disputed

       factual issues also needed to be resolved. 1

             3.     At a hearing held in this Court on December 22, 2016, the Court

       notified 1\tfr. Cruz-Garcia for the first time that the Court considered the August 8

       Order for Filing Affidavits to be an Order Designating Issues for all puqJoses and

      all claims, notwithstanding the presence of other disputed factual issues based on the

('
      face of the parties·· pleadings. For instance, Mr. Cruz-Garcia has alleged that

      members of the jury discussed the evidence in the case outside of deliberations. See

      Claim Nine of the Initial Application. The State has denied this allegation. See

      State's Answer at 66. The Order for Filing Atlidavits does not address this

      controverted fact issue, nor could affidavits from trial couns~l constitute competent

      evidence to resolve this controverted fact issue, as trial counsel, presumably, were

      not present with each juror at all times throughout the course of the trial. Moreover,

      the affidavits from trial counsel are inadequate to address all of the allegations

      supporting the ineffective assistance of counsel claim. While the affidavits purport




      1
        Undersigned counsel has left several messages with the couti reporter over the past
      several months since the hearing requesting a transcript of that hearing but has not
      yet received a response.

                                                 2
                      •                                       •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 66 of 257




  to explain counsel's reasons for not pursuing certain avenues of investigation, they

  are incapable of addressing what evidence was available had counsel pursued these

  avenues of investigation-an issue that is crucial to resolving the question of

  prejudice that constitutes step two of the two-prong Strickland analysis. See

  Strickland v. Washington, 466 U.S. 668, 687 (1984 ).

        4.     Trial counsel filed the ordered affidavits on November 28, 2016, but

  did not serve Mr. Cruz-Garcia's current counsel. But a subsequent review of those

  affidavits demonstrates that, even if deemed credible in all respects, those affidavits

  do not resolve all issues of fact material to the ineffective assistance of counsel claim,

  let alone the other tact-based claims in the Initial Application.

        5.     Rather than addressing what controverted issues of fact remain, as the

  Court had indicated at the August 8 hearing that it eventually would, the Court

  instead signed an Order two days later, on November 30, 2016, directing the patties

  to submit proposed FFCL by December 22, 2016. !vfr. Cruz-Garcia did not receive

  the Order until December 6, 2016.

        6.     The same day that the Court entered the Order, November 30, Mr. Cruz-

  Garcia had filed a written opposition to the State's request for such an order. The

  Order granting the State's request was entered before any hearing on the State's




                                             3
                     •                                      •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 67 of 257




  motion that rvlr. Cruz-Garcia opposed. 23 Therefore, he filed a motion seeking

  reconsideration of the Order, explaining how it was at odds with the requisite

  statutory mandates and asking for an opportunity to be heard. That motion was heard

  on December 22, 2016.

          7.    On December 22, 2016, the Court denied Nlr. Cruz-Garcia's motion

  seeking reconsideration and again ordered the parties to submit proposed FFCL-

  this time by December 27, 2016.

          8.    December 22 was a Thursday. During the four intervening clays

  between that date and December 27, the OCFW was closed for the Christmas

  holidays. 1\lloreover, it would be impossible for counsel for Mr. Cruz-Garcia to

  prepare proposed FFCL under this unnecessarily and unreasonably compressed time

  frame. Drafting proposed FFCL is a painstaking process that involves, in this case,

 the review of 35 volumes of the Repmter's Record, which consists of over 5,500

 pages of text, plus three volumes of the Clerk's Record, to substantiate factual


 2
  Only after that opposition was filed, in which Mr. Cruz-Garcia noted that he had
 not yet been served with the affidavits from trial counsel, counsel for the State served
 copies of those aHidavits on the OCFW.
 3
     It has been consistently represented to the OCFW by both members of the IJarris
 County District Attorney's Office and various Harris County cou11 staff that it is the
 regular practice in Harris County that judges will not rule on a motion unless it is
 presented in person by the attorney sponsoring the motion. Counsel for Mr. Cruz-
 Garcia were not present when the Court signed the State's proposed Order, which
 suggests that either the State approached the Court with its motion ex parte or the
 Court broke with established protocol in order to grant the State's premature motion.

                                            4
                           •                                   •
     Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 68 of 257




      assertions. It should also be noted that the process of drafting FFCL is, or at least

      should be, a painstaking, time-consuming process for the Cmni as well, which must

      read not only hundreds of pages of proposed submissions, but compare them to the

      record.

            9.     Mr. Cruz-Garcia's counsel, the OCFW, has represented numerous other

      applicants in Article 11.071 proceedings in Han-is County. Routinely, the OCF\V is

      given 50-150 days to prepare proposed FFCL. Five days, which include a holiday

      weekend, is facially unreasonable to undertake this important task in a capital case.

            I 0.   Additionally, the problem with ordering proposed FFCL has not been

      remedied in the interim, as myriad controverted issues of fact have yet to be

      designated tor resolution by this Court, and as the evidence currently before the

      Cmui is inadequate to address either the factual issues that hav:e been designated or

      those that remain.

            11.    bven assuming that the Cmu1's Order tor Filing Affidavits constitutes

      a proper Order Designating Issues covering all of the claims raised in Mr. Cruz-
,S

      Garcia's Initial Application, the only evidence cunently submitted to the Cout1 tor

      consideration-and the only evidence that the Cout1 has permitted to be submitted-

      are the self-serving affidavits from trial counsel. As a general matter, one-sided,

      incomplete affidavits, such as those procured by the State in this case from tri<ll

      counsel, are an improper method of taking evidence where a district court judge must


                                               5
                     •                                        •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 69 of 257




 resolve disputed factual issues involving credibility determinations. See, e.g., l'vfanzi

 v. State, 88 S.WJd 240, 255 (Tex. Crim. App. 2002) (Cochran, J., concuning)

 ("Trial judges who are confi·onted with contradictory affidavits, each reciting a

 plausible version of the events, ought to convene an evidentiary hearing to see and

 hear the witnesses and then make a factual decision based on an evaluation of their

 credibility."); see also id. at 250 (Womack, J., concurring) ("That the statute

 authorizes a court to make decisions on aftidavits does not mean it can make

 decisions of every kind on affidavit. The statute can be construed to allow some

 issues to be decided by written evidence when credibility determinations are not

 involved."); Ex parte Armstrong, No. WR-78,106-01, 2015 WL 7354084, at *4-*5

 (Tex. Crim. App. Nov. 18, 201 5) (recognizing that where the record is comprised

 solely of evidence ofiered through affidavits, the record does not contain enough

 information on which to base credibility determinations to resolve controverted

 issues of fact, and remanding for specific findings of fact regarding credibility). And

 here, the affidavits from trial counsel are nota_ble for their bald assertions of strategy,

 as well as their inadequacy. For instance, the affidavits from trial counsel do not

 address what efforts were made to contact Cesar Rios, who knew of Mr. Cruz-

 Garcia's ongoing sexual relationship with Diana Garcia, only that their "cfTot1s to

 find him were unsuccessful,'' see Affidavit of Skip Comelius at 4; thus, the atTidavits

 are inadequate t9r the Court to determine whether trial counsel's investigation in lhis

                                             6
                     •                                       •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 70 of 257




  respect was reasonable. Nor do the affidavits fi·om trial counsel address what

  awareness trial counsel had that l\lfs. Garcia and Arturo Rodriguez were still selling

  drugs for Mr. Cruz-Garcia at the time of the otiense, in contradiction to their trial

  testimony, nor what steps they took to investigate this fact. Nor do the affidavits

  fi·om trial counsel address what reasons, if any, counsel had for not conducting any

  investigation in Puerto Rico, where Mr. Cruz-Garcia spent most of his adult life:t As

  noted above, the affidavits from trial counsel are .also inadequate to address claims

  that do not implicate trial counsel's conduct, for example, allegations of juror

  misconduct.

        12.     In sum, the affidavits recently submitted by Mr. Cruz-Garcia's trial

  counsel do not resolve all disputed issues of material fact raised by the face of the

  pleadings (Mr. Cruz-Garcia's Initial Application and the State's Answer). Those

  affidavits do not even resolve all disputed issues of material fact relevant to resolving

  the ineffective assistance of counsel claim. Therefore, the Court has not yet engaged

  iri a process that would permit it to resolve all disputed issues of material fact, a



  4
   lt is also worth noting that the aftidavits contain facially incorrect representations.
  For instance, Mr. Cornelius states in his affidavit that counsel for Mr. Cruz-Garcia
  "have refused to return" Mr. Cruz-Garcia's tile to him. Mr. Cornelius has never
  asked counsel to return Mr. Cruz-Garcia's file to him. This misrepresentation
  underscores the unreliability of the trial counsei affidavits and the necessity of being
  afforded the right to confront these adverse witnesses.



                                             7
                    •                                       •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 71 of 257




  precursor to adopting any FFCL as part of making recommendations to the Court of

  Criminal Appeals as to the disposition of Mr. Cruz-Garcia's Initial Application

  under Article 11.071 .

        13.    While it is the burden of a habeas applicant-and his right-to plead

  and prove his case, Mr. Cruz-Garcia has to this point been denied any opp01iunity

  to prove his claims of unconstitutional confinement.

        14.    For the foregoing reasons, as well as those articulated in his Motion l~>r

 Order Designating Factual Issues Pursuant to Texas Code of Criminal Procedure,·

 Article 11.071 Sections 8(A) And 9(A), filed August 5, 2016; his opposition to. the

 State's motion seeking proposed FFCL, filed on December 1, 2016; his motion

 seeking reconsideration of the Coutt's Order to submit proposed FFCL, tiled on

 December 22, 20 16; and arguments made during the hearing before this Court on

 December 22, 2016, Mr. Cruz-Garcia objects to the Order requiring the submission

 of proposed FFCL by December 27,2016.

                                      CONCLUSION

        For the foregoing reasons, Mr. Cruz-Garcia respectfully objects to the order

 requiring the parties to submit FFCL by December 27, 2016, and requests that the

 Court rescind its Order for Parties to File Proposed Findings of Fact.




                                            8
                          •                                  •
        Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 72 of 257




                                           Respectfully submitted,


                                           ~1};1/'\l=Al, ~D          :::SIC WRITS
         DATED: December 27,2016
                                           JLJ;1~nc Heisey
                                           Texas Bar No. 24087704
                                           Gretchen S. Sween
                                           Texas Bar No. 24041996
·:,i:
                                           1700 ·Congress, Suite 460
                                           Austin, TX 78701
                                           Telephone: (512)463-8502
                                           Facsimile: (512) 463-8590
                                           joanne.heisey@ocfw.texas.gov
                                           gretchen.sween@ocfw.texas.gov


                                           Post-Conviction Attorneys for Mr. Cruz-
                                           Garcia




                                             9
                    •                                       •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 73 of 257




                            CEH.TlFlCATE OF SERVICE

  I, the undersigned, declare and certify that I have served the foregoing to:

  Paula Gibson                                         Judge Renee Magee
  Criminal Post-Trial                                  337th District Court
  Harris County District Clerk                         120 I Franklin Street
  1201 Franklin Street, 3rd Floor                      15th Floor
  Suite 3180                                           Houston, TX 77002
  Houston, TX 77002                                    (One courtesy copy, via email)


  Harris County District Attorney
  c/o Lori DeAngelo
  I 20 I Frank I in
  Suite 600
  Houston, TX 77002
  (One copy, via email)

 Obel Cmz-Garcia
 TDCJ # 999584
 TDCJ Polunsky Unit
 3872 FM 350 South
 Livingston, TX 77351
 (One copy)




                                             J~~-isey        .     - - ---------




                                           10
                              •                                  •
            Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 74 of 257

                                                                          Filed 16 December 27 P4:09
                                                                          Chris Daniel - District Clerk
                                                                          Harris County
                                                                          FAX16559060

                            IN THE 337TH .JUDICIAL DISTRICT COURT
                                    HARRIS COUNTY, TEXAS



                                               )      Trial Cause No.
              EX PARTE                         )      f384794
              Obel Cruz-Garcia,                )
   ;
 ".\
       ..                APPLICANT             )
                                               )
                                               }


                APPLICANT'S MOTION TO PRESENT EVIDENCE IN SUPPORT OF
                 CLAlMS RAISED UND.ER ARTICLE 11.071 AND OBJECTIONS TO
                          EVIDENCE PRESENTED BY THE STAtE

                                            BENJAlviiN WOLFF (N 9 . 24091608)
                                            Director, Office of Capital and Forensic Writs
                                            (E-Mail: Benjamin.Wolff@ocfw.texas.gov)
                                            GRETCHEN SWEEN (No. 2404l996)
                                            (E-Mail: Gretchet1.S ween(qJocfw .texas.gov)
···.(
                                            JOANNE HEISEY (No. 24087704}
                                            (E~Mail: Joanne.Heisey@ocfw.texas.gov)
                                            Post-Conviction Attorneys
                                            Office of Capital and Forensic Writs
                                            1700 .N. Congress Avenue, Suite 460
                                            Austin, Texas 78701
                                            (512) 463-8600 '
                                            (512) 463-8590 (fax)

                                            Attorneys for Applicant
                      •                                    •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 75 of 257




                    IN THE 337TH JUDICIAL DISTRICT COURT
                            HARRIS COUNTY, TEXAS



                                         )       Trial Cause No.
  EX PARTE                               )       1384794
  Obel Cruz-Garcia,                      )
             APPLICANT                   )
                                         )
                                         )

    APPLICANT'S MOTION TO PRESENT EVIDENCE IN SUPPORT OF
     CLAIMS RAISED UNDER ARTICLE 11.071 AND OBJECTIONS TO
              EVIDENCE PRESENTED BY THE STATE

            Obel Cruz-Garcia, by and through his attorneys of record, the Office of

 Capital and Forensic Writs (OCFW), moves to present evidence in support of hls

 claims raised under Article 11.071 of the Texas Code of Criminal Procedure, and
       ..
 raises the following objections to evidence presented by the State in opposition to

 his claims.

                                RELEVANT BACKGROUND


        Mr. Cruz-Garcia's Initial Application for Writ of Habeas is currently pending

 before this Court. Following the State's Answer to Mr. Cruz-Garcia's Initial

 Application, Mr. Cruz-Garcia moved this Court to enter an order designating

 controverted issue·s of fact to be resolved in this case, pursuant to Atiicle 11.071,

 Sections 8 and 9(a). This Court denied the motion and instead signed the State's

 Proposed Order for Filing Affidavits, which ordered trial counsel Skip Cornelius and


                                             1
                                •                                    •
        Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 76 of 257




          Mario Madrid to tile affidavits responding to ten of numerous factual allegations

          pettaining to the claim of ineffective assistance of counsel raised in the Initial

          Application. At that time, the Court indicated that it would address the necessity of

          designating issues not resolved by the affidavits from trial counsel after trial

          counsel's affidavits had be~n submitted. 1 Instea.d, two days after trial counsel filed

          the ordered affidavits, and on the same day that counsel for Mr. Cruz-Garcia was
                                                                            I




          served with the affidavits,this'Court entered an order for the parties to file proposed

          findings of fact. 2

                 Mr. Cruz-Garcia has not yet been afforded an oppottu~ity to present evidence

          in support of the claims raised in his Initial Application or to make objections to the

          evidence submitted by the ~tate in the form of the affidavits from trial counsel.

          Accordingly, Mr. Cruz-Garcia hereby moves this Court to ,admit evidence in support
·.,..

          of the claims raised in his Initial Application and makes the following objections to

          evidence presented by the State in opposition to his claims.




          1
           Undersigned counsel has left several messages with the court reporter over the past
          several months since the hearing requesting a transcript of the hearing but has not
          yet received a response.
          2
            Mr. Cruz-Garcia objected to the State's Motion Requesting the Trial Court to Set
          Date for Filing ofPropsed [sic] Findings of Fact. His objection was denied without
          a hearing.

                                                    2
                      •                                     •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 77 of 257




                                       ARGUMENT


     I.      Mr. Cruz-Garcia Must Be Afforded an Opportunity to Present
             Evidence in Support of His Claims for Relief

          While the convicting court enjoys considerable discretion to determine the

  manner of fact-finding through which· it wishes to resolve issues of fact detennined

  under §8(a), this discretion is not unlimited. Due process requires that a habeas

  applicant be afforded the opportunity to present evidence, confront adverse

  witnesses, and object to and challenge the substance of evidence oftered by the State.

  See, e.g., Townsend v. Sain, 372 U.S. 293, 312 (1963), overruled on other ground

  by Keeney v. Tamayo-Reyes, 504 U.S. 1, 5 (1992); Ford v. Wainwright, 477 U.S.

  399 ( 1986) (explaining that due process requires that a capital defendant be allowed

 to substantiate a claim with her own evidence and be given the opportunity to

 challenge and respond to the State's evidence against them before such a claim is

 rejected); Panetti v. Quarterman 551 U.S. 930, 949 (2007) (same); see also TEX.

 CODE CRIM. PROC      art. 11.071 § 10 (applying the Texas Rtiles of Criminal Evidence

 to a hearing under art. I l. 071 ).

          The Due Process Clause requires, at a minimum, that ''deprivation of life,

 liberty or prope1ty by adjudication be preceded by notice and opportunity for hearing

 appropriate to the nature of the case." Armstrong v. Manzo, 380 U.S. 545, 550

 ( 1965); see also Goldberg v. KelZv, 397 U.S. 254, 267 (1970) ("The fundamental

 requisite of due process of law is· the opportunity to be heard" (quoting Grannis v.
                                            3
                    •                                        •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 78 of 257




 Ordean, 234 U.S. 385, 394 (1914)). In the context presented here-an application

 for habeas corpus review-due process requires, indeed, "presupposes," "the

 opportunity to be heard, to argue and present evidence." Townsend, 372 U.S. at 312.

       Mr. Cruz-Garcia's only burden at the pleading stage was to allege specific

 facts, which, if tme, entitle him to relief. See, e.g., Ex parte Afedina, 361 S.W.3d

 633, 637 (Tex. Crim. App.2011) ("Texas. law has long requi_red all post-conviction

 applicants for writs   ofhabea~   corpus to plead specific facts which, if proven to be

 true, might call for relief."); Ex parte Armstrong, No. WR-78, 106-01, 2015 WL

 7354084, at *2 (Tex. Crim. App. Nov. 18, 2015) (noting that the Applicant had

 "alleged facts that, if true, might entitle him to relief'). Cf Rules Governing§ 2254

 Cases in the United States District Courts, Rule 2 (A petitioner must "specify all the

 grounds for relief available" and ''state the facts supporting each ground."); Fed. R.

 Civ. Proc. 12(b)(6). There is no requirement that habeas applicants plead "evidence."

 See 1\t/edina, 361 S.W;]d at 639.

       When applicants do attach affidavits and other documentary evidence to

 pleadings, it is not for the purposes of seeking to have such "evidence" coi1sidered

 under Article 11.071 §9; rather, it is to meet the factually specific pleading burden.

 See id. at 637-38 ("The application may, and frequently does, also contain affidavits,

 associated exhibits, and a memorandum of law to establish specific facts that might

 entitle the applicant to relief"); see also Rouse v. State, 300 S. W.3d 754, 762 (Tex.

                                             4
                       •                                      •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 79 of 257




     Crim. App. 2009) ("[P]ost trial motions ... are not self-proving and any allegations

     made in support of them by way of affidavit or otherwise must be offered into

     evidence at a hearing."). 3 In this case, Mr. Cruz-Garcia attached various affidavits

  and documentary evidence to his Initial Application as evidentiary proffers to satisfy

     the specific factual pleading burden recognized by the Court of Criminal Appeals in

 A!'edina. That these evidentiary proffers were in the form of affidavits does not mean

 that Mr. Cruz-Garcia has been provided the oppmtunity to present evidence in

 suppmt of his allegations pursuant to § 9. 4

           Accordingly, Mr. Cruz-Garcia hereby moves for the introduction of all

 affidavits attached as evidentiary proffers to his Initial Application, Exhibits 1-24,

 36, as well as Exhibit 37, which was submitted post-filing in support of Claim Three.

 Mr. Cruz-Garcia also moves this Court to find that E;:xhibits 25-35 are properly



 3
    Notwithstanding the pleading requirement, post-conv1ct1on counsel have a
 prudential duty to attach all available proof to an Application. 5'ee State Bar ofTexas
 Gitidelines and Standards for Texas Capital Counsel, Guideline 12.1 (B)(7)( d)
 (Duties of Post-Trial Counsel) (2006) ("Habeas counsel should attach all available
 proof to the application (afticlavits, documentary evidence, etc.) even though doing
 so is not technically required by state law. Failing to attach proof in state court will
 likely waive the client's ability to present it in tecleraJ court. When proof is
 unavailable, habeas counsel should plead all factual allegations with the greatest
 possible specificity.").
 4
   Indeed, were it otherwise, a habeas applicant, by mere vi1tue of the appendices to
 his or her application, would inevitably.anogate the Court's authority under §9 (a)
 to determine the manner in which evidence would be received to resolve
 controverted tactual issues.

                                              5
                                •                                      •
         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 80 of 257




          authenticated under Rule 90 l of Lhe Texas Rules of Evidence, and admissible as

          evidence, and moves for admission of those exhibits as well. Yir. Cruz-Garcia further

          n1oves to depose trial· counsel, submit intenogatories, and/or hold an evidentiary
:   '\


          hearing where trial counsel may be cross-examined.

             II.      This Proceeding is Governed by the Texas Rules of Evidence, and 1\tlr.
                      Cruz-Garcia Ac~ordingly Makes the Following Objections to the
                      State's Evidentiary Proffers

                   This proceeding is governed by the Texas Rules ofEvidence. See TEX. CODE

          CRIM. PROC. Art. I 1.071 §I 0. Accordingly, Mr ..      Cruz-Ga~cia   raises the following

          objections to evidence subinitted by the State in the fonn of affidavits from trial

          counsel.

                   Mr. Cruz-Garcia spe~ifically objects to all statements in the affidavits from

          trial counsel pertaining to statements made to counsel or other members of the

          defense team by Mr. Cruz-Garcia and to what Mr. Cruz-Garcia did or did not

          communicate to counsel or other members of the defense team, as these statements

          constitute a breach of the attorney-client privilege as to matters not relevant to claims

          raised in the Initial Application and are outside of the scope of matters to be

          addressed in the order for trial counsel affidavits.

                   When the State moved this Court for an order for affidavits from trial counsel,

          Mr. Cruz-Garcia objected to lan-guage in the State's proposed order that would have

          required counsel to state what Mr. Cruz-Garcia had communicated to them regarding


                                                      6
                     •                                       •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 81 of 257




  his consensual sexual relationship with Diana Garcia and regarding the names of

  specific witnesses. Mr. Cruz-Garcia raised this objection on the grounds that

  communications made by Mr. Cruz-Garcia were irrelevant to the claim of ine±Iective

  assistance of counsel because "[t]he duty to investigate exists regardless of the

  accused's admissions or statements to the lawyer of facts constituting guilt or the

  accused's stated desire to plead guilty." Rompilla v. Beard, 545 U.S. 374, 387

  (2005). The Court sustained this objection and modified the proposed order for trial

  counsel affidavits accordingly. Nevetihelcss, trial counsel violated their ongoing

  duties of loyalty and confidentiality to Mr. Cmz-Garcia by disclosing privileged

  communications made to them by Mr. Cruz-Garcia. 5 Because these stat(;!ments are

  irTelevant to the determination of ineffective assistance of counsel, violate the

  attomey-client privilege, and are outside the scope of the court's order, Mr. Cruz-

  G~trcia objects to their admissibility as substantive evidence.




 5
   Trial counsel and all members of the defense team owe a continuing duty of loyalty
 to their clients, even after the representation ends. See, e.g., Guideline 11.8, State
 Bar of Texas, GUIDELINES AND STANDARDS FOR TEXAS CAPITAL COUNSEL (2006)
 ("all persons who are or have been members of the defense team have a continuing
 duty to safeguard the interests of the client and should cooperate fully with successor
 counsel"). Related to the duty ofloyalty is the duty to guard client confidences. See,
 e.g.. TEX. DISCIPLINARY R. PROF'L COND. 1.05; ABA MODEL RULE 1.6(a). The
 confidentiality rule likewise continues to apply even after the representation ends.



                                            7
                       •                                      •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 82 of 257




         Mr. Cruz-Garcia further objects to the statement contained in Section 4 of Mr.

  Cornelius's affidavit, stating that he is "certain that the State provided me with every

  piece of discovery we were entitled to." This statement calls for speculation, in that

  Mr. Cornelius cannot. possibly know whether the. State has complied with its Brady

  obligations; by definition, if he was not provided with a discovery item to which be

  was entitled, he would not know about it. Moreover, Mr. Cornelius's opinion as to

  whether the State· complied with its Brady obligations is irrelevant· to the

  determination of ineffective assistance of counsel and outside the scope of the issues

  outlined in the Coutt's orderfor affidavits.

         wlr. Cruz'"Garcia also objects to the statement contained in Section 9(c) of Mr.

  Comelius's affidavit,stating that he "do[es] not now think the Judge did anything

  improper:' with respect to her ex pa1te ·conversation with Juro.r Bowman. Mr.

  Comeiius's opinion as to whether the Court committed misconduct is irrelevant to

  the determination of ineffective assistance of counsel and outside the scope of the

 . issues outlined in' the Court's .orde;.   for aHidavits.
         Finally, Mr. Cruz-Garcia objects to the entirety of the affidavit submitted by

  JJ Gradoni, the investigator retained by Mr. Cruz-Garcia's trial counsel. As noted

  above, all members· of the defense team owe a continuing duty of loyalty and

  confidentiality to their former client. Accordingly, the American Bar Association

  has held that in the context of a claim of ineffective assistance of counsel, "the


                                                  8
                    •                                      •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 83 of 257




  lawyer may disclose ... [confidential information] only if the cout1 requires the

  lawyer to do so alter adjudicating any claims of privilege or other objections raised

  by the client or former client." ABA Formal Opinion 10-456. This principle applies

  to all members of the defense team. Mr. Gradoni was not ordered to submit an

  affidavit regarding his work in Nfr. Cruz-Garcia's case and thus has violated his

  duties of loyalty and confidentiality to Mr. Cruz-Garcia by disclosing confidential

  information about the representation outside of a court order. Mr. Cruz-Garcia

 therefore moves that his entire affidavit be stricken.

                                      CONCLUSION

        For the foregoing reasons, Mr. Cruz-Garcia respectfully asks that this Court

 afford him an opportunity to submit evidence in supp011 of his Initial Application

 an:d sustain the foregoing evidentiary objections made to the evidence submitted by

 the State in the form of trial counsel affidavits.




                                             9
               ·;:''·'<,!,:,;.. .
                          ............
                                   •j,l
                                                                           •
                                                    Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 84 of 257

                                                                                                                                   •
                                   •',·f

                                         \.~~~:
                                                                                          Respectfully submitted,


                                                    "'     :   1'
                                                                      (
                                                                    ·:1
                                                                                          OgCI:              OF. CAP IT        A.t AND FORENSIC WRITS
                                                         { t);lhED:: l)ecember 27,2016         . '            ,                I
                                                                                          Jt minqt '    ..
                                                                                                          eisey 1       .
                                                                                                                          .:            ~"

                                                                                           Texast ·. Bar No. 24087704  f .
                                                                                           Gretchen
                                                                                              '   t .
                                                                                                            S.
                                                                                                           ·__
                                                                                                                 Swe,bn
                                                                                                                      ; ...
                                                                                                                             ·
                                               '/
                                               .,                                          Texa~ Bar ,No. 2~041996
                                         :(
                                           /
                                                                                           ~
                                                                                            l 700 '(~ongre·ss, Suite 460
                                    ..'                                                              •         ' .   ••   l.       ., . '              '.       •
                                  ~
                                                                                         · Austin~' TX           7870. t:.:
                            I                                                                         ... -~·" .
                      ;·
                                                                                                 .       .                                   ..•

                                                                                           Telephqne: (512;) 463:..8502 ·
                                                                                           Facsiniile: (512)' 463-8590
'·:...         .I
         ,--                                                                               j oanne.heisey@9cfw. texas. gov
                                                                                           gretchen_.sween@ocfvv.texas.gov
                                                                                                  .     \             .        . . .



                                                                                                              '                     '              .        .
                                                                                          Post-Cori_viction Attorneys for Mr. Cruz-
                                                                                          Garcia            '·




                                                                                                                                                   '\.

                                                                                                                                                   )        '



                                                                                               10
                             •                                      •
         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 85 of 257




                                     CERTIFICATE OF SERVICE

           I; the undersigned, declare and certify that I have served the foregoing to:

           Paula Gibson                                         Judge Renee Magee
           Criminal Post-Trial                                  337th District Court
           Harris County District Clerk                         120 l Franklin Street
           1201 Franklin Street, 3rd Floor                      15th Floor
           Suite J 180                                          Houston, TX 77002
           Houston, TX 77002                                    (One courtesy copy, ·via email)
.:   .


           Harris County District Attomey
           c/o Lori DeAngelo
           1201 Franklin
           Suite 600
           Houston, TX 77002
          ·(One copy, via email}

            Obel Cruz-Garcia
          .·TDCJ # 999584
            TDCJ Polunsky Unit
            3872 FM 350 South
           Livingston, TX 77351
            (One copy)




                                                     _f}1A Jf __ .
                                                     Jo~




                                                    I1
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 86 of 257




                                             Cause No. 1384794-A
                                                                               •
EX PARTE                                               §        IN THE 337TH DISTRICT COURT

                                                       §        OF

OBEL CRUZ-GARCIA,                                      §        HARRIS COUNTY, TEXAS
     APPLICANT


                             STATE'S PROPOSED ~;INDtNGS OF FACT,
                               CONCLUSIQNS OF LAW AND ORDER

         The Court, having considered the applicant's application for writ of habeas corpus, the

State's original answer, the evidence elicited at the applicant's capital murder trial in cause no.·

1384i94, the aflidavits and exhibits filed in cause no. 1384794-A, and official court documents

and records, makes tlle     followi:,_;~ fir~dings   of fact and ccndusions oflaw:


                                             FINDINGS OF .FACT

1.       The applicant, Ot-d Cruz-Garcia, was indicted and Gotlvicted of the felony offense of·

capital murder of six-year-old Angelo Garcia; Jr., cause no. 1384794, in the 337th District CoUrt

of Harris County, Texas
                  .
                        (III C.R. at 484-506). i On July 19, 2013, pursuant' to the jury's answers
                                                                                              .


to the special isJucs, the trial court assessed punishment at death by lethal injection (XXVII R.'R.

at 9-10). On July 22, 2013, the applicant was formally                sentenc~d    (III CR. at 513-530)(XXVIII-

R.R.   at 4).
2.       On February 4, 2014, the applicant's co-defendant, Rogelio                          Aviles-B~rroo:;o,     was.

convicted of capital murder, cause no. 1364839, and sentenced to life imprisonment..,




1
 The indictment alleged that the applicant intcP.tionally killed .\ngel.o Garcia, Jr., while in the course of ~ommitting
kidnapping on Septc!T'.ber 30, 1992 (I C.R. at 2-J).

                                                           1
3.
                         •                                       •
     Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 87 of 257




         On October 28, 2015, the Court of Criminal Appeals affirmed the applicant's conviction

in an unpublished opinion. See Cruz-Garcia v. State, No. AP-77,025, 2015 WL 6528727 (Tex.

Crim. App. Oct. 28, 2015)(not designated for publication).

4.       On April11, 2016, the Supreme Court of the United States denied certiorari. See Cruz-

Garcia v. Texas, _U.S._, 136 S.Ct. 1518 (2016).

FACTS OF THE OFFENSE

5.       On September 30, 1992, the applicant and a second man, Rogelio Avi1es-Barroso, kicked

in the door to Diana Garcia's apartment, where she lived with her common-law husband, Arturo

Rodriguez, and her six-year-old son, Angelo Garcia, Jr. (XVIII R.R. at 47-48, 69, 149, 206-07;

XIX R.R. at 58).

6.       Shortly before midnight, the couple was awakened by a loud noise; Arturo got out of bed

and encountered a tall masked man holding a gun (XVIII R.R. at 149-51, 208-09; XIX R.R. 34).

This man forced Diana onto the bed, tied up Arturo with the alarm clock cord, and repeatedly

kicked Arturo and hit him over the head with the handgun until he was unconscious (XVIII R.R.

at 74, 77, 152-53, 158-60, 210-13; XIX R.R. at 77).

7.       A second gunman entered the room, tied up Diana, and sexually assaulted her (XVIII

R.R. at 78, 157-58, 210, 212, 214).      Diana knew the assailant ejaculated because she felt

something running down her legs (XVIII R.R. at 165). Angelo was lying on a pallet on the floor;

and Diana heard him crying while she was raped and Arturo was assaulted (XVIII R.R. at 146,

155, 158).

8.       After the sexual assault, the two men ransacked the bedroom and left the apartment

(XVIII R.R. at 160-62). Soon afterwards, Diana realized that Angelo was no longer in the




                                                2
                       •                                             •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 88 of 257




apartment and ran outside while her neighbor called the police to report the sexual assault and

kidnapping (XVIII R.R. at 163-64).

9.     The couple needed immediate medical attention: Arturo suffered injuries to the back of

his head and Diana went to the hospital for a sexual assault exam (XVIII R.R. at 51-52, 89, 163,

165, 217; XIX R.R. at 57). The sexual assault exam kit was collected as evidence (XIX R.R. at

49-50, 58-59).

10.     A cigar found in the apartment, which did not belong to Diana or Arturo, was also·

collected as evidence (XVIII R.R. at 79-82; XIX R.R. at 4-5).

11.    Diana was unable to give a description of the second man who raped her, as she did not

see his face or hear his voice (XVIII R.R. at 162). However, she was able to describe the first

man, the tall one who assaulted Arturo (XVIII R.R. at 98-99, 101-02). Diana recalled that he had

a dark complexion and spoke in the Spanish language, but with a foreign accent-not a Hispanic

accent that one would hear in Mexico (XVIII R.R. at 99, 152). Arturo described it as a Central

American accent (XVIII R.R. at 211 ).

12.    Police learned from neighbors that Diana and Arturo had recently been selling drugs out

of their apartment (XVIII   R.R. at 56).   Believing this was crucial to the investigation of Angelo's

kidnapping, U. P. Hernandez, HPD Homicide Division, interviewed both Diana and Arturo (XIX

R.R. 65-67).     They initially denied being involved ·with drugs, but later admitted their

involvement and told authorities that the applicant was their drug supplier (XVIII R.R. at 166-67,

199, 218; XIX R.R. at 65-75).

13.    Diana and Arturo knew the applicant as "Chico" (XVIII R.R. at 128-29, 141, 167, 172,

177, 199-201; XX R.R. at 84, 93). They also knew one of his associates, Carmelo Martinez




                                                    3
                               •                                        •
         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 89 of 257




        Santana, who went by the name "Rudy" (XVIII R.R. at 138, 142; XX R.R. at 85; XXI R.R. at

        39).

        14.    Two to three weeks prior to the offense, Diana and Arturo decided to stop selling drugs

        for the applicant, and he was not happy about it (XVIII R.R. at 133-34, 203-04).

        15.    The Federal Bureau of Investigation (FBI) immediately became involved in the case

        because it involved a child under twelve (XIX R.R. at 135). FBI Special Agent Eric Johnson ·
·> :'
        initially suspected the applicant in Angelo's abduction, and learned that he fled the country soon

        after the offense (XIX R.R. at 139, 144-45; XX R.R. 98-100).

        16.    When the applicant's wife Angelita learned about Angelo's abduction on the news, she

        was shocked and immediately called Diana to tell her that she was coming over (XX R.R. at 96-

        97). Angelita testified that, before she left for Diana's apartment, Angelita told the applicant

        what had happened. The applicant seemed very calm, started packing, and told Angelita that he

        had to leave (XX R.R. at 98-1 00). When Angelita asked the applicant if he had done something,

        he did not respond (XX R.R. at 100). The applicant left for Puerto Rico that day and did not

        return to Houston (XX R.R. at 103).

        17.    John Swaim, HPD Homicide Division, went to the applicant's apartment on October 6,

        1992, where he encountered a Hispapic man who identified himself as Candido Lebron (XIX

        R.R. at 184-86). Swaim interviewed him but doubted his identity because the man could not

        provide the names of his parents which were listed on the Virgin Islands birth. certificate he

        produced (XIX R.R. at 185). Swaim later learned the man was Rogelio Aviles-Barroso, the

        applicant's co-defendant in this case (XIX R.R. at 186-87; XX R.R. at 130-31; XXI R.R. at 88-

        89).




                                                        4
                        •                                         •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 90 of 257




18.    More than a month after Angelo's abduction, on November 5, 1992, the body of a young

boy was found washed up along the shore of a water basin in Baytown (XVIII R.R. at 91-92,

218-19; XIX R.R. at 191-92; XXI R.R. at 86). Dental records confirmed the child was Angelo,

and the medical examiner's office ruled that the death was a homicide (XVIII R.R. at 92; XIX

R.R. at 205; XX R.R. at 4-15, 24-25). Although his remains were skeletal by the time he was

found, Angelo was still wearing the Batman pajamas he had worn to bed on September 30, 1992

(XVIII R.R. at 92, 168-69; XIX R.R. at 193-94, 202-04).

19.    Approximately one month after Angelo's body was found, Angelita Rodriguez traveled

to Puerto Rico. While there she met with the applicant and told him she wanted a divorce (XX

R.R. at 105-06). The applicant refused Angelita's request for a divorce and threated to harm her

family (XX R.R. at 106-07). Angelita asked the applicant if he had anything to do with Angelo's

disappearance, and the applicant admitted that he killed Angelo (XX R.R. at 107).

20.    In 2007, as part of a cold-case investigation, Eric Mehl, HPD Homicide Division,

reviewed the ·case file, learned that there was a potential for DNA evidence in the case, and

located the applicant in Puerto Rico (XX R.R. at 37-43, 49). A sample of the applicant's DNA

was .obtained and compared to the sexual assault kit and cigar left at the crime scene; analysis

revealed that the applicant was the man who raped Diana in 1992 (XX R.R. at 44-52, 55, 72-78;

XXI R.R. at 92-93, 105-07, 109, 117-20, 156-57, 160-62, 168).

21.    Courtney Head, Criminalist, HPD crime lab, testified that the sperm fraction from the

crotch of Diana's panties was a mixture of DNA from at least two individuals and the applicant

could not be excluded as the contributor to the major component of that DNA profile (XXI R.R.

at 162). The likelihood of an unrelated individual sharing that profile was 1 in 6.2 quintillion for

Caucasians; 1 in 700 quintillion for African-Americans; 1 in 140 quadrillion for Southeast



                                                 5
                                          •                                             •
                    Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 91 of 257




                Hispanics; and 1 in 100 quintillion for Southwest Hispanics (XXI R.R. at 169). According to

                Head, the applicant was-to a reasonable degree of scientific certainty-the source of the major

                component of this DNA mixture (XXI R.R. at 169). 2

                22.     When the case was re-opened, Johnson, the FBI agent who originally suspected the

                applicant, located Carmelo Martinez Santana in a Pennsylvania prison where he was serving time

                on two federal convictions for drug trafficking and weapons possession (XX R.R. at 118-19,

                165-66, 176-78; XXI R.R. at 18-19, 29-30).                When FBI Special Agent William Ebersole

                interviewed Santana, he gathered significantly more information than was previously known:.

                about Angelo's abduction and murder (XX R.R. 175-83; XXI R.R.11-14, 65-77) .
. .•-·
                23.     Santana, who is Angelita's cousin and known as "Rudy," recalled that on September 30,

                1992, the applicant wanted to go to Diana's apartment to look for drugs and money, so he and

                Aviles-Barroso accompanied the applica11t (XX R.R. at 116-20, 135-37). Santana remained in

                the car while the applicant and Aviles-Barroso went inside the apartment (XX R.R. at 137-38).

                Both the
                      . applicant and Aviles-Barroso wore ski masks and had weapons.
                         .                          '                           .
                                                                                     Santana recalled that

                the applicant had a gun and Aviles-Barroso had a knife (XX R.R. at 137-42; XXI R.R. at 52).

'·'   •·.   !   24.     Santana estimated that the·' applicant and         Aviie~-Barioso    were in the apartment for.

                approximately
                        .     thirty minutes (XX R.R.. at 143). . When they re_. turned, Santana was surprised to·

                see the applicant holding a little boy in his arms (XX R.R. at 143-44). Santana immediately

                asked the applicant why he had taken Angelo, and the applicant replied that the child had seen ·

                his face and recognized him (XX R.R. at 144). Santana Wli$ unsuccessful in trying to convince

                the applicant to take A.t?-gelo back inside to his mother (XX R.R. at 145-:-4 7).

                25.     The applicant admitted to Santana that he raped Diana (XX R.R. at 145).

                2
                  Houston Forensic Science Center issued an amended laboratory report on November 3, 2015, consisting of
                updated statistical analyses of DNA testing results. See State's Original Answer, State's writ ex. A, HFSC Lab
                Report.

                                                                      6
                      •                                          •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 92 of 257




26.    The applicant put Angelo in the backseat of the vehicle and, with a gun in one hand,

drove the group to Baytown (XX R.R. at 147-49). He stopped in a secluded area and they all got

out of the vehicle; the applicant stated to Aviles-Barroso, "You already know what you have to

do" (XX R.R. at 149-50; XXI R.R. at 60). Santana immediately felt nauseous and became ill; he

walked away from them and defecated in the woods (XX R.R. at 150; XXI R.R. at 9). During

this time, the applicant followed Santana to see what he was doing, and Santana heard Angelo

scream and moan (XX R.R. at 150-51, 160). When Santana returned to the vehicle, he saw that

Angelo was dead and covered in blood (XX R.R. at 151-52; XXI R.R. at 10).

27.    Santana and Aviles:..Barroso complied with    th~   applicant's command to put Angelo's

body back into the vehicle (XX R.R. at 152). The applicant then drove to a rural area and

instructed them to throw the body in a nearby river (XX R.R. at 152-53). He further instructed

them to sink the child, so Santana and Aviles-Barroso gathered some rocks and placed them on

top ofthe body (XX R.R. at 153-54).

28.    The applicant instructed Santana to get rid of the knife and told Santana he was leaving ·

toWn because ofwhat he did that night (XX R.R. at 158-59, 166).

29.    The following d~y, the applicant sold his vehicle and used the money he got from the car. ·

sale to buy a plane ticket out of the country (XX R.R. at 160-62). Santana took the applicant to

the airport and never saw him again (XX R.R. at 162, 164).

DEFENSE EVIDENCE AT GUILT-INNOCENCE

30.    The applicant presented no evidence at guilt-innocence.

STATE'S PUNISHMENT EVIDENCE

31.    Santana explained that prior to the instant capital murder, the applicant believed Santana

was stealing his money and his drug customers, so the applicant tied Santana up, threw him in



                                               7
                       •                                         •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 93 of 257




the bathtub, and gagged him and threatened to kill him until Santana gave him money and

promised never to betray him (XXV R.R. at 61-64).

32.    Santana related another incident in which the applicant sought retribution against a drug

competitor, a Dominican man named Patiko (XXV R.R. at 65-71 ). The applicant and          anothe~

man broke into Patiko's apartment while Santana waited in the car (XXV R.R. at 66-69). When

they returned twenty minutes later, they were carrying drugs and money (XXV R.R. at 69-70).

The applicant told Santana that he tied up and beat Patiko and then raped his girlfriend (XXV

R.R. at 70-71 ). Santana recalled that when he spent time with the applicant, they frequently ·

burglarized other drug dealers (XXV R.R. at 71 ).

33.    Santana testified that in July of 1989, the applicant kidnapped and killed a drug associate·

named Saul Flores (XXV R.R. at 22-33, 72-85, 99, 121). The applicant learned that Saul.was

interested in the applicant's girlfriend, Elizabeth Ramos, and became infuriated (XXV R.R. at

49-50, 74-75).   The applicant, Santana, and a man named Robert went over to Elizabeth's

apartment where they found Saul (XXV R.R. at 75-76). They grabbed Saul, put him in their car,

and transported him to an apartment where they sold drugs (XXV R.R. at 76-77).

34.    The applicant tied up Saul and began beating him (XXV R.R. at 79). The applicant

repeatedly hit Saul with a hammer and injected him with drugs (XXV R.R. at 80-81, 93-94).

Santana saw the applicant get on top of Saul and apply pressure to his neck until he died (XXV

R.R. at 81-82). The applicant ordered Santana to help him put Saul's body in the bathtub and

they left the apartment (XXV R.R. at 82-83).

35.    Tina Perez discovered Saul's body when she went to his apartment to buy drugs (XXV

R.R. at 24-30). When the applicant learned that the police wanted to question Tina about Saul,

he told her to keep quiet, and tell the police she had not seen anything (XXV R.R. at 32-35).



                                                8
                          •                                      •
  Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 94 of 257




36.      In October of 2001, while in Puerto Rico, the applicant kidnapped two other men and

attempted to kill a restaurant business owner (XXIV R.R. at 14-42). The applicant pointed a

revolver at Manuel Buten and twice attempted to shoot him; however, the gun did not fire and

Buten ran away (XXIV R.R. at 23-25, 82-83, 102).

37.      Buten testified that he learned that the applicant kidnapped two family members who

worked at the restaurant: his brother Andres Buten, and his sixteen year old stepson William

Martinez (XXIV R.R. at 18, 20, 26, 83-97, 99, 102-6).           The applicant called Buten and

demanded seventy-five kilos of cocaine and $100,000 in exchange for the safe release of the two

men (XXIV R.R. at 29-32, 47). The applicant threatened to kill them if Buten called the police

or failed to comply with his demands (XXIV R.R. at 31, 37).           With the assistance of law

enforcement, Buten negotiated with the applicant, and the applicant was apprehended (XXIV

R.R. at 41, 48-58).

38.     Andres Buten described how the applicant treated him while he was confined (XXIV

R.R. 84-94). Andres was bound with wire from a coat hanger while the applicant repeatedly

punched him, kicked him, hit him over the head with a shower curtain, hit his feet with a mallet,

and   urina~ed   on him (XXIV R.R. at 86-90, 93-94). The applicant told Andres he was going to

kill him (XXIV R.R. at 87).

39.     William Martinez testified that the applicant physically beat him, threw him to the floor,

· stomped on his back, and spit on him (XXIV R.R. at 105-08). The applicant also hit William

with a revolver, tied him up with the wire from a coat hanger, and held a knife to his throat, toes

and peni~, threatening to cut him (XXIV R.R. at.l09-10).

40.     The applicant pled guilty to kidnapping and possession of weapons and was sentenced to

imprisonment for sixteen years in Puerto Rico (XXIV R.R. at 65-67).



                                                9
                                 •                                         •
           Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 95 of 257




          41.    While incarcerated in Puerto Rico, an inspection of the applicant's cell revealed his plans

          to escape; the window pane was loose and open to the outside, and he had hidden a rope of bed

          sheets and a map of Puerto Rico (XXIV R.R. at 120-127). When authorities strip-searched the

          applicant, they found a cell phone, which is a prohibited item in a correctional facility (XXIV

          R.R. at 128).

          42.    On February 12, 2010, the applicant was booked into the Harris County Jail where he

          was classified as a high-risk inmate and placed into administrative separation (XXV R.R. at

',   •,
          145). Two months after being moved from separation, on September 23, 2012, the applicant was

          found to possess a prohibited weapon; he had disassembled a razor that had been checked out to

          him and hid the blade inside his bed (XXV R.R. at 126-33, 137-38, 145, 147).

          43.    Diana Garcia testified that she regretted ever meeting the applicant and believing he was

          their friend (XXV R.R. at 200-01). Diana described her son as friendly, lovable, and very

          outspoken (XXV R.R. at 195). She said that Angelo was her whole world and that she could not

          put his murder behind her (XXV R.R. at 199, 201).

          DEFENSE EVIDENCE AT PUNISHMENT

          44.    The applicant's wife, Mireya Perez-Garcia, testified via Skype about how she met the

·..- ·    applicant when she was fifteen years old, and went out with him for about three weeks before

          .getting married (XXVI R.R. at 8-12). The couple lived with each other on and off and had two

          sons (XXVI RR. at 12-14). Perez-Garcia testified that the applicant was a "sincere and noble

          person"; that he participated in missions and gave money to help build a church; that he was a

          very spiritual Christian; and, that he was a loving father who helped his children with their

          homework, cooked for them, took them to church, and made sure that they were well-groomed

          and well-dressed. She testified that he had been in prison since his youngest son was about five



                                                         10
                        •                                            •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 96 of 257




years old; that she knew the applicant was also married to Angelita; and, that she knew he has a

daughter with a woman named Dorka (XXVI R.R. at 15-30).

45.    Joel Cruz-Garcia, the applicant's younger brother, and Abel Cruz-Perez, the applicant's

seventeen year old son, testified that each had a positive relationship with the applicant and

believed he was a good brother and father, respectively (XXVI R.R. at 33-36, 67-70). Joel also

testified that the applicant had four children with three different women (XXVI R.R. at 50-51).

46.    Angel Meza, a fellow inmate at the Harris County Jail, testified that he met the applicant

while Meza was a trustee, and he brought the applicant food while he was in lockdown (XXVI

R.R. at 82). Meza and the applicant had long conversations about the Bible, and Meza believed

that it helped him make better choices (XXVI R.R. at 83). Meza considered the applicant a man

of God and a great friend (XXVI R.R. at 84, 92).

FIRST GROUND: REPRESENTATION AT TRIAL- DNA EVIDENCE

-GENERAL REPRESENTATION


47.    The applicant was represented at trial by first chair- counsel R.P. Cornelius and Mario

Madrid as second chair counsel. See State's Ex. B and C, affidavits of Cornelius and Madrid,

respectively.

48.    The Court finds, based on personal recollectio11, the trial record, and the affidavits

submitted by trial counsel and their   inve~tigator,   that the totality of the representation afforded

the applicant at trial was competent under prevailing professional norms; that the applicant fails

to demonstrate that trial counsel was deficient in the representation of the applicant at eithe;r

phase of trial; and, that the applicant fails t9 establish that the applicant was harmed on the basis

of any alleged deficiency in trial counsel's representation. See Wiggins v. Smith, 539 U.S. 510,

521 (2003)(for ineffective assistance of counsel claims, a defendant must meet the standard



                                                 11
                        •                                            •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 97 of 257




established in Strickland by showing that "counsel's performance was deficient and that the

deficiency prejudiced the defense").

49.    Particularly, based on the court's personal knowledge and the credible habeas affidavit of

trial counsel Cornelius, the Court finds that Cornelius is very well-qualified to represent

defendants, such as the applicant, facing a charge of capital murder in which the State seeks the

death penalty; that Cornelius has been trying death penalty cases as a prosecutor and then as a

defense attorney since 1976; that Cornelius is a former Harris County Assistant District Attorney

and Assistant United States Attorney for the Southern District of Texas; that Cornelius is board

certified in criminal law; and, that Cornelius has never been found ineffective, denied admission

to a court, or disciplined. State's Ex. B, affidavit of Cornelius.

-DEFENSE PRESENTATION OF DNA EVIDENCE

50.    The Court finds, based on the trial and habeas proceedings, that the applicant fails to

demonstrate deficient performance, much less harm, based on the allegation that trial counsel

was ineffective for failing to present expert testimony to challenge the State's DNA evidence

presented at trial. Applicant's writ at 17.

-suppression hearing

51.     Trial counsel filed a pre-trial motion to suppress the results of all DNA testing which·

focused on problems with the old HPD crime lab and alleged that the physical evidence in the

applicant's case was contaminated and the DNA analysis was unreliable (III C.R. at 454,..

56)(XVI R.R. at 3-121).

52.     The trial court conducted a hearing on the applicant's suppression motion during which

trial counsel argued that the investigation of the "old" Houston Police Department (HPD) crime

lab resulted in such scathing reports that the lab had to be closed, and the court should have no



                                                  12
                         •                                        •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 98 of 257




confidence in any evidence that was transferred from the old HPD crime lab to anywhere else for

fear of contamination, and that employees of the old HPD crime lab who handled evidence in the

applicant's case were found to have committed misconduct in their work at the lab (XVI R.R. at

16-18).

53.       In support of the applicant's motion to suppress, trial counsel presented several reports

from the independent investigator for the old HPD crime lab: the Bromwich, report, the HPD

internal affairs investigation summary, and internal complaint reports regarding various HPD

crime lab employees (XVI R.R. at 18-21 ).

54.       During the suppression hearing, the State proffered the testimony of SANE nurse Gloria

Kologinczok who performed a sexual assault examination of Diana Garcia at 3:45 a.m., on

October 1, 1992, and then turned over the sexual assault evidence collection kit to HPD Officer

W.T. Bredemeyer who deposited the evidence at the HPD property room (XVI R.R. at 23-

5)(XIX R.R. at 59-60).

55.       The State also presented the testimony of Eric Mehl, HPD sergeant, who testified that

police were unsuccessful in making contact with the applicant during the initial investigation of

the primary offense in 1992; that the piimary case was reopened in 2007 after HPD created a

cold case squad; that Mehl located eviderice from the primary case at the HPD property room

and subsequently sent some blood samples and three pieces of evidence - a cigar, a sexual assault

examination kit, and a cutting from a pair of women's panties- to Orchid Cellmark for analysis

on October 2, 2007; that HPD did not possess a DNA sample from the applicant when the

evidence was originally sent to Or~hid Cellmark for analysis; that, in 2008, the applicant was

located in a Puerto Rican prison and a sample of his DNA which Mehl received on May 23,

2008, and then shipped to Orchid Cellmark for analysis; and, that Mehl filed capital murder



                                                 13
                         •                                      •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 99 of 257




charges on the applicant after he received Orchid Cellmark' s DNA testing report (XVI R.R. at

28-39).

56.       Matt Quartaro, an Orchid Cellmark supervisor, testified that Orchid Cellmark performed

their own DNA extractions from the evidence and did not rely on those previously obtained by

HPD; that Orchid Cellmark compared the applicant's DNA against the cigar, the sexual assault

examination kit, and a cutting from the panties; that testing established that the DNA profile on

the cigar left at the crime scene was a match for the applicant; that the sperm fraction from the

cutting of the panties was a mixture of DNA with the major DNA profile belonging to the

applicant; that the applicant could not be ruled out as the contributor to the DNA mixture from

the vaginal swab; and, that the probability of that DNA profile repeating in the North American

population was one in 71.5 quadrillion unrelated individuals (XVI R.R.' at 39, 51-60).

57.       Courtney Head, HPD crime lab, testified that, in October, 2012, she developed a DNA

profile from a swab collected from the applicant and compared that profile to the DNA profiles

obtained from evidentiary samples taken by Orchid Cellmark, and Head concluded that the

applicant could not be excluded as a contributor to the DNA from the cigar, the DNA mixture .

from the vaginal swab or as a major contributor to the DNA from the panties (XVI R.R. at 89-

92).

58.       The trial court denied the applicant's motion to suppress the DNA evidence, making

numerous findings of fact on the record, including specific findings that the evidence and test

results were relevant and reliable; that testing results from the old HPD crime lab and Genetic

Design Lab were not offered and admitted into evidence; that Orchid Cellmark did not use any

extractions from evidence made by the old HPD crime lab; that the old HPD crime lab had not

handled any evidence in the instant case since 1994; and, that there was no indication that any of



                                                14
the State's DNA evidence
                         •  h~d
                                                                  •
  Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 100 of 257




                                  been contaminated or mishandled when it was stored by the old

HPD crime lab (XVII R.R. at 3-17).

 59.    During the guilt/innocence phase of trial, the State presented much of the same testimony

 from Mehl, Quartaro, and Head that was presented during the suppression hearing.

 60.    The Court of Criminal Appeals on direct appeal of the applicant's conviction overruled

 the applicant's claim that the trial court's denial of his motion to suppress the DNA testing

 results constituted a due process violation and the applicant's challenge to the sufficiency of the

 evidence of the chain of custody of the State's forensic evidence. See Cruz-Garcia, 2015 WL

 6528727, *8-13.

 61.    The Court of Criminal Appeals held that the record-supported the trial court's conclusion

 that the DNA evidence was reliable, citing testimony that the evidence appeared to have been

 stored appropriately; that the evidence was separated and sealed in individual containers;    an~,


 that the locations where the evidence was stored were not the locations described as deficient in

 reports criticizing the old HPD crime lab. See Cruz-Garcia, 2015 WL 6528727, *13.

 62.    Additionally, the Court of Criminal Appeals noted the following concerning the State's

 DNA e,vidence:- that· the cigar and the sexual assault ~it wete stored in different HPD buildings

 and sealed in separate bags when Mehl retrieved themfor shipment to Orchid Cellmark; that

. _Mehl considered the cigar and sexual assault kit in good condition and not damaged when he

 retrieved them; that, after Mehl shipped the cigar and sexual assault kit to Orchid Cellmark, he

 obtained the cutting of Diana's panties as well as Diana's and Arturo's biological samples that

 w:ere _stored in the HPD crime lab in separate sealed plastic bags; that Mehl received the            ~


 applicant's DNA sample from a colleague who collected it from the applicant in Puerto Rico in ·

 2008; that Mehl did not open the package with the applicant's DNA sample before sending it to



                                                 15
                       •                                        •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 101 of 257




Orchid Cellmark - Mehl just repackaged it; that the evidence was packaged separately and did

not appear to have been tampered with or contaminated when Quartaro received it; and, that

Orchid Cellmark performed its own extractions and analyses on the panties, the cigar and the

vaginal swabs rather than rely on the old HPD crime lab extractions. See Cruz-Garcia, 2015 WL

6528727' *11-12.

63.     The Court of Criminal Appeals, on the issue of the alleged contamination of the State's

evidence, cited Quartaro's testimony that without a sample of the applicant's DNA in the crime

lab where the evidence was stored, it would be difficult to contaminate the evidence with the

applicant's DNA; that the cells containing the applicant's DNA on the cigar were saliva and skiri-

cells while the cells on the panties and vaginal swabs were sperm cells; that Quartaro observed

no signs of tampering or contamination when he received the State's evidence; and, that

contamination from excess moisture, heat or other environmental factors would result in ·a

degraded biological sample on a particular item of evidence and not the manifestation of an

otherwise-absent DNA profile. See Cruz-Garcia, 2015 WL 6528727, *12.

64.     The Court finds, based on the credible habeas affidavits of trial counsel Cornelius and

Madrid, that counsel made a reasonable trial strategy decision regarding whether to retain a DNA

expert; that Cornelius knows a lot about DNA and has been involved in DNA evidence with hi~ _
                                                                                                 '~'   :<'
                                                                                                ,t··


criminal trials since its inception; that Cornelius thoroughly reviewed the DNA evidence in the

applicant's case and made the best record and argument that he could to suppress it; and, that the

State's evidence at the suppression hearing demonstrated that the evidence at issue was

sufficiently preserved. See State 's Ex. B & C, affidavits of trial counsel Cornelius and Madrid,

respectively.




                                                16
                         •                                         •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 102 of 257




65.    The Court finds that trial counsel were effective in their efforts to challenge the State's

DNA evidence, and that the applicant's hindsight examination of the applicant's representation

in this area, including the applica,nt's proffered affidavits of former counsel Steve Shellist and·

DNA experts Daniel Hellwig and Elizabeth Johnson do not establish trial counsel's alleged

ineffectiveness. See Applicant's Ex. 2, 4, and 32, affidavits of Hellwig, She/list and Johnson;

respectively.

SECOND GROUND: REPRESENTATION AT TRIAL- GUILT/INNOCENCE
                                                                                                        . '· ,,~ '.


66.     The applicant fails to demonstrate deficient performance, much less harm, based on the

habeas claim that trial counsel were ineffective for failing to investigate and present reasonable ·

doubt at the guilt/innocence phase of trial. Applicant's writ at 35.

-consensual sexual relation,ship

67.     The Court finds, based on the credible habeas affidavits of trial counsel, that trial counsel

elected as a matter of reasonable trial strategy to develop through cross-examination and

argument that there was a consensual sexual relationship between the applicant and Diana

Garcia; that counsel was hampered in their efforts to develop and present evidence of              a
consensual sexual relationship because there was no direct evidence of a consensual relationship

between the applicant and Diana Garcia; that the defense investigator made efforts to speak to all

potential witnesses, but there were no witnesses to support the defense's theory of a consensual

relationship between the applicant and Diana Garcia; that trial counsel explained to the applicant

numerous times that evidence of consensual sexual relationship with Diana .Garcia would have

beyn the bestattempt to naturalize the State's DNA evidence; that the applicant refused to .

discuss the facts of the primary case with counsel, merely making statements to the effect that

God would deliver him and would turn the witnesses tongues into snakes; and, that the applicant



                                                 17
                        •                                         •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 103 of 257




had no intention to testify. See State's Ex. B & C, affidavits of trial counsel Cornelius and

Madrid, respectively.

68.    The Court finds, based on the credible affidavits of trial counsel, that the applicant never

told counsel about alleged witnesses Cesar Rios, Jose Valdez or Hector Saavedra. See State's

Ex. B & C, affidavits of trial counsel Cornelius and Madrid, respectively.

69.    The Court finds, based on the affidavit of defense investigator J.J. Gradoni, that the

defense gave the applicant every opportunity to inform them of anyone who coul~ say something·

good about   ~e   applicant; that the applicant was not very forthcoming about much of anything

regarding the primary case, saying that he was not concerned about being convicted, God or

Jesus would deliver him and the witnesses would. not testify against him; that, when asked

directly about an alleged consensual sexual relationship with Diana Garcia, the applicant avoided

answering the defense team's questions; that, whenever any member of the defense team spoke

to the applicant, a certified interpreter was present to assist with communication. See State 's Ex.

D, qffidavit ofdefense investigator Gradoni.

70.    The Court finds, based on the affidavit of defense investigator Gradoni, that Cesar Mala

Rios was identified as an associate of Diana Garcia in the police offense report; that the

defense's efforts to contact Cesar Mala Rios were not successful; and, that the applicant never

asked to defense to locate/contact Cesar Mala Rios. See State's Ex. D, affidavit of defense

investigator Gradoni.

71.    Because the applicant did not supply trial counsel with the names of Cesar Rios or Cesar

Mala Rios, Jose Valdez or Hector Saavedra as potentially beneficial defense witnesses and the

defense was unable to locate Cesar Mala Rios, the applicant fails to demonstrate trial counsels'

alleged ineffectiveness for not presenting them as witnesses. King v. State, 649 S. W.2d 42, 44



                                                 18
                          •                                         •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 104 of 257




(Tex. Crim. App. 1983)("counsel's failure to call witnesses at the guilt-innocence and

punishment stages is irrelevant absent a showing that such witnesses were available and

appellant would benefit from their testimony"); see also Pape v. Thaler, 645 F.3d 281, 289 (5th

Cir. 2011)(defense counsel not ineffective for failure to call witnesses to testify regarding the

defendant's good character or alleged credibility because defendant failed to supply counsel with

witnesses' names).

72.    The Court· finds that the applicant fails to demonstrate that Cesar Amado Rios, Hector

Saavedra or Jose Valdez could have provided the defense with admissible evidence of an alleged

consensual sexual relationship between the applicant and Diana Garcia. See Applicant's Ex. 20,

21, and 24, affidavits of Cesar Amado Rios, Hector Saavedra, and Jose Valdez, respectively.

-drug dealing

73.    On cross-examination of Diana Garcia and Arturo, trial counsel obtained admissions

from both witnesses that they initially lied to police about their involvement in drug dealing

(XVIII R.R. at 189-90, 218).

THIRD GROUND        & FOURTH GROUNDS: TRIAL REPRESENTATION- PUNISHMENT

74.    The Court finds, based on the trial and habeas record, that the applicant fails to

demonstrate deficient performance, much less harm, based on the habeas claim that trial counsel

were ineffective in their presentation of evidence at punishment.

75.        The Court finds that the applicant presents the unrelated e-mails between the prosecutor,

Natalie Tise, and Christian Capitaine, an attorney who represented the applicant before the State

chose to seek the death penalty, in which Tise and Capitaine went back and forth about whether

the offense report was complete and whether Capitaine received all supplemental and DNA

reports.



                                                  19
                                   •                                          •
          Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 105 of 257




          76.     The Court finds that the email exchanges between prosecutor Tise and former trial

          counsel Capitaine have no bearing on the issue of whether trial counsel Cornelius and trial

          counsel Madrid reviewed the State's files before trial.

          77.     During punishment, there was an exchange between prosecutor Tise and trial counsel

          Cornelius after Tise questioned FBI Special Agent Ebersole in which Cornelius requested more

          time to look at a report (XX R.R. at 183-7).

          78.     The Court finds unsupported the applicant's habeas assertion that trial counsel failed to

          review the State's file in preparation for the applicant's trial.

          79.     The Court finds, according to the credible affidavits of trial counsel Cornelius and trial.

t:··. .
          counsel Madrid, that trial counsel reviewed the State's files "many times," and that when

          Cornelius needed additional time to read over a particular report from FBI Special Agent

          Ebersole, it was because Cornelius could not find the documents in his files at that moment, but

          did later locate the documents at issue.       See State's Ex. B & C, affidavits of trial counsel

          Cornelius and Madrid, respectively.

          80.     The Court finds that trial counsel filed a dozen pre-trial motions, hired an investigator,

          hired a clinical psychologist, questioned potential jurors for eleven days, cross-examined thirty-

          two witnesses, and presented the testimony of four defense witnesses.

          81.     The Court finds, according to the credible affidavits of trial counsel Cornelius and trial

          counsel Madrid, that based on their review of the State's files, trial counsel hired an investigator,

          James Gradoni, to interview witnesses, talk to experts, and interview the applicant's family

          members in the Dominican Republic and Puerto Rico. Trial counsel also obtained funds from

          the court to send Gradoni to the Dominican Republic in order to follow up with witnesses. See

          State 's Ex. B & C, affidavits of trial counsel Cornelius and Madrid, respectively.



                                                             20
                                  •                                         •
           Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 106 of 257




          82.    The Court finds, according to the credible affidavits of trial counsel Cornelius and trial

          counsel Madrid, that trial counsel did make contact with witnesses in Puerto. Rico and the

          Dominican Republic but did not feel they needed to personally travel to those locations because

          they were confident that investigator Gradoni would do a professional and competent job

          handling that portion of the investigation. See State's Ex. B & C, affidavits of trial counsel

          Cornelius and Madrid, respectively.

          83.    The Court finds, according to the credible affidavit of investigator Gradoni, that he and

          Edna Velez, a native of Puerto Rico who assisted Gradoni in the investigation, travelled to the

          Dominican Republic, where they located and interviewed witnesses, took photographs, and

          obtained useful and important information for trial counsel Cornelius and trial counsel Madrid to

          use for mitigation purposes. State's Ex. D, affidavit ofdefense investigator Gradoni.

          84.    The Court finds, according to the credible affidavits of trial counsel Cornelius and trial

          counsel Madrid, that trial counsel did not hire a person who was recognized as a "mitigation

          expert," but instead hired a psychologist and a private investigator who were devoted to
.. ·
          developing mitigation evidence with the guidance of trial counsel. See State 's Ex. B & C,

          affidavits of trial counsel Cornelius and Madrid, respectively.
:.' .~·
          85.    The· Court finds, according to the credible affidavits of trial counsel Cornelius and trial ··

          counsel Madrid that trial counsel could not find a "mitigation expert" in Harris County, Dallas,

          or Fort Worth that would look at the applicant's case for the amount of money that the Harris

          County Commissioner's Court was willing to pay. See State's Ex. B & C, affidavits of trial

          counsel Cornelius and Madrid, respectively.

          86.    The Court finds, according to the credible affidavits of trial counsel Cornelius and trial

          counsel Madrid, that trial counsel did not believe that they needed an anthropologist or



                                                          21
                        •                                            •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 107 of 257




sociologist to present evidence of the applicant's life history and chose to use testimony from lay

witnesses to present such evidence. See State 's Ex. B & C, affidavits of trial counsel Cornelius

and Madrid, respectively.

87.     The Court finds that trial counsel presented evidence of the applicant's life history

through the applicant's wife, Mireya Perez-Garcia, the applicant's younger brother, Joel Cruz-

Garcia, the applicant's younger brother, the applicant's seventeen year old son, Abel Cruz-Perez

(XXVI R.R. at 8-79).

88.     The Court finds that the applicant's life history also came outthrough fellow drug dealer,

Carmelo Martinez Santana, and the applicant's ex-wife, Angelita Rodriguez (XX R.R. at 83-

123).

89.     The Court finds unpersuasive the habeas affidavit of Dr. Gina Perez, anthropology

professor, in which she explains the applicant's ultimate involvement in the drug trade in the

context of the broader experience of men and women emigrating from the Dominican Republic

to Puerto Rico from the 1970's to the 1990's. See Applicant's Ex. 3, affidavit of Dr. Gina Perez.

90.     The Court finds, based on the trial and habeas record, that the applicant fails to

demonstrate deficient performance, much less harm, based on trial counsels' strategy decisions

regarding the presentation of punishment evidence.

FIFTH & SIXTH GROUNDS: VIENNA CONVENTION

91.     The Court finds, based on the record; that the applicant did not object either pre-trial or

during trial to any alleged violation of the Vieru1a Convention on Consular Relations;

accordingly, the instant ground for relief is procedurally barred.

93.     On February 12, 2010, the applicant was given his probable cause warmngs by a

magistrate for the instant capital murder case. The form that the hearing officer signed reflects



                                                 22
                         •                                           •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 108 of 257




that an interpreter was present for the proceedings; that the applicant was advised of his consular

rights, but the country of the applicant's citizenship was not designated on the form; and, that the

form indicates that the consulate for Dominica was to be notified (I C.R. at 7).

94.     According to an exhibit included with the applicant's habeas application, a fax sheet

indicates that notice was sent to the Dominica Embassy, and there is a hand written notation

indicating "wrong embassy." See Applicant's writ exhibit no. 26, "Probable Cause for Further

Detention & Statutory Warnings by Magistrate. "

95.     On February 16, 2010, the applicant was agam given his statutory warnings by a

magistrate on February 16, 2010, and the applicant was advised of his consular rights (IC.R. at

9).

96.     On February 16, 2010 and within days of the applicant's arrest, Mike Posher was

appointed to represent the applicant; that, on February 24, 2010, the applicant's case was reset in

order that a Spanish speaking attorney could be appointed for the applicant; that Mario Madrid

was appointed to represent the applicant on March 3, 2010; that the applicant subsequently

retained Steve Shellist and Christian Capitaine whose motion to substitute in as counsel was

granted on April 16, 201 0; and, that the trial court subsequently appointed experienced trial

counsel R.P. Cornelius an9 Mario Madrid to represent the applicant when the        St~te   announced its

intent to seek the death penalty (I C.R. at 8, 11, 19, 57-9)(II R.R. at 4-8).

97.     Based on the record, the Court finds that the applicant was already familiar with the local

criminal justice system as the result of his arrest and being on bond in a Harris County felony

drug case when he committed the instant capital murder (XIX R.R. at 140-2)(XX R.R. at 103).

98.    The Court finds, based on the trial record and habeas affidavits of trial counsel Cornelius

and Madrid, that the applicant was advised of his consular rights which were reiterated to him by



                                                  23
                         •                                               •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 109 of 257




trial counsel; that the applicant did not want trial counsel to contact the applicant's consulate;

and, that the applicant had no interest in receiving help of any kind from his consulate. See

State's Ex. B & C, affidavits of trial counsel Cornelius and Madrid, respectively.

99.    The Court finds, based on the habeas proceedings, that the applicant fails to demonstrate

prejudice on the basis of any alleged treaty violation; that the applicant does not demonstrate

prejudice, that such violation caused the appli,ccmt to do something he would not have dorie

otherwise, or that an alleged violation affected the fairness of the applicant's capital murder trial.
                                   . ·.   ,!,   -.        ~                        .   . .




100.   Given the hei~ous nature of the primary offense and the' applicant's criminal history, tll.e

Court finds the letter from the Consul. General for           th~   Dominican Republic and the habe';!S

affidavit of Cornell University law professor Sandra Babcock speculative and unpersuasive for ..

the proposition that consular officials could have interceded in the applicant's case and

persuaded prosecutors not to seek the death.penalty or provided assistance that would have made

a difference in the outcome of theprimary case. See Applicant's Ex. 1, Babcock affidavit;

Applicant's Ex. 25, letter from Consul General for the Dominican Republic.

101.    Moreover, Article 36 of the Vienna Convention on Consular Relations does not guarantee

consular assistance or consular intervention.. Sanchez-Llamas v. Oregon, 548 U.S. at 349, 126

S.Ct. 2669, 2681 (2006); see also Medellin v. Texas, 552 U.S. 491, 499 (2008).

102.    The Court finds, based on personal recollection, the trial record and habeas proceedings,

that the applicant's claims of trial counsels' ineffectiveness for failing to recognize the

significance of the applicant's foreign nationality, seek the assistance of the Dominican consulate

in defending the applicant's case, and preserve the applicant's Vienna Convention complaints for

appeal are grounded purely in speculation; that the applicant was represented by skilled counsel

who were far more qualified to explain the Texas criminal justice system to the applicant than a



                                                     24
                         •                                        •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 110 of 257




representative of the applicant's consulate; and, that the applicant fails to demonstrate deficient

performance, much less harm on the basis urged. Applicant's writ at 109.

SEVENTH GROUNDS: TRIAL JUDGE'S DISCUSSION WITH JUROR BOWMAN

103.    The Court finds, based on the trial and habeas records, that the applicant fails to

demonstrate error based on the trial judge's ex parte conversation with juror Angela Bowman.

104.    The Court finds, based on the record, that the applicant did not object at the trial level to

the trial judge's conversation in chambers with juror Angela Bowman; accordingly, the instant

ground for relief is procedurally barred.

105.    Additionally, the Court finds that the applicant did not urge the instant claim during his

motion for new trial or on direct appeal; rather, the applicant argued in his motion for new trial

that juror Bowman was subject to undue pressure or an outside influence, and the trial court

denied the motion for new trial (XIX R.R. at 30).

106.    The Court finds, based on the record, that the trial judge presided over nine days of

testimony and heard from thirty-five witnesses; that, when the jury retired to deliberate on

punishment, they only deliberated for fifty minutes before the court adjourned; that, the

following day on July 19, 2013, the jury began deliberating at 9:20a.m., broke for a seventy-five

minute lunch; and, that juror Bowman then sent out a note at 3:20 p.m., asking to speak to the

trial judge (III C.R. at 512, 587).

107.    The Court finds, based on the trial record and personal recollection, that the parties

agreed that the trial judge could speak to juror Bowman privately in chambers, and Bowman met

with the trial judge in chambers with only the court reporter present (XXVII R.R. at 3).

108.    During their brief meeting, juror Bowman told the trial judge that she could not agree

with the other jurors on the special issues and felt pressured; Bowman asked the judge to allow



                                                 25
                        •                                          •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 111 of 257




an alternate juror take her place; when the judge explained the law to Bowman regarding

alternates replacing jurors, Bowman responded that the jury was never going to reach an

agreement and that she did not want to stay another night; the judge instructed Bowman to

resume deliberations with the jury until the court directed otherwise; and, the trial judge then

explained the following to Bowman:

       If the evidence leads you to a certain way, that's the way you should answer it,
       even though it might result in something that bothers you. That's why we don't
       ask you to vote to give the death penalty or to not give the death penalty. So, I'd
       like you to go back and continue your deliberations with the jury and continue                   ·····
       trying to reach an agreement with the jury, if you can. Do not violate yotir
       conscience. And answer those questions according to where the evidence leads
       you.

(XXVII R.R. at 4-8).

109.   Bowman returned to.the jury room and the jury returned a verdict on punishment later

that same day (XXVII R.R. at 9-12).

110.   After confirming that the verdict was unanimous, the trial judge asked whether either side

wanted the jury to be polled; trial counsel indicated that he wanted the jury polled; the trial judge

called out each juror's name individually; and, when the judge called the name "Angela

Bowman," Bowman replied "Yes" confirming that the verdict rendered was her true and correct

verdict(XXXVII R.R. at 11-2).

111.   The applicant urged a motion for new trial and supplement for motion for new trial

alleging jury misconduct during the punishment phase of trial, during which the parties presented

affidavits by trial counsel Mario Madrid, defense investigator J .J. Gradoni, juror Angela

Bowman, juror Casey Guillotte, and jury foreman Matthew Clinger (III C.R. at 538-649).

111.   According to trial counsel Madrid's August 19, 2013 affidavit filed in support of the

applicant's motion for new trial, Madrid received a phone call from juror Bowman the evening



                                                 26
                        •                                           •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 112 of 257




that the jury returned its verdict in the primary case; during the conversation, Bowman stated that

she was distraught over the punishment deliberations and claimed that she was pressured into

changing her decision; Bowman stated that her decision was complicated because her daughter

was ill and Bowman was unable to attend to her daughter because the jury was sequestered; and,

the jury foreman quoted from his Bible during deliberations which Bowman felt influenced other

jurors towards death rather than a life sentence (III C.R. at 541-2, 551-2, 561-2, 572-3).

112.    According to the August 20, 2013 affidavit of juror Bowman filed in support of the

applicant's motion for new trial, Bowman received a phone call from her daughter's camp

counselor on the first day of deliberations, July 18, 2013, and learned that her daughter had a

fever; Bowman spoke with the trial judge and asked to be removed so that an alternate could take

her place, and the judge denied Bowman's request; Bowman would have "remained committed

to voting for life in prison" if she had not been concerned about her daughter's health; the jury

foreman took out his Bible when juror Guillotte sought spiritual guidance to make her decision;

Guillotte then changed her mind and voted for death; Bowman felt pressure because it appeared

. that she was the last holdout· for the applicant to receive a life sentence; Bowman became

increasingly concerned about her daughter when she had no communication regarding her

condition; Bowman would have remained committed to voting for life if she had not been

concerned about her daughter; other jurors told Bowman that she was holding them up and

wasting their time; Bowman changed her verdict so that she could return home to take care of

her child; and, Bowman's verdict was not a true and honest expression of her belief in the

evidence regarding the special issues (III C.R. at 555-6, 576-7).




                                                 27
                                      •                                        •
'.·
 "c,
        ..    Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 113 of 257
      ... ,




              113.   During the motion for new trial, the trial court found that certain portions of juror

              Bowman's August 20, 2013 affidavit were not correct as to her recollection of events relating to

              deliberations and her conversation with the trial judge (XIX R.R. at 29-30).

              114.   According to the August 20 and September 19, 2013 affidavits of defense investigator J.J.

              Gradoni offered in support of the applicant's motion for new trial, Gradoni conducted a post-trial

              interview with juror Bowman during which Bowman stated that the verdict she announced in

              open court when the jury was polled was not her "true and honest punishment verdict"; that

              Bowman learned that her daughter was ill and her inability to care for her daughter caused her to

              be distracted and made her the subject of undue pressure from other jurors to change her vote in ·

              favor of a death sentence; that Bowman voted so that a death verdict would be returned because

              she wanted to get home to take her child to the hospital; that jury foreman Matthew Clinger

              injected Biblical passages into deliberations which Bowman believed caused other jurors to vote.

              in favor of death; that juror Guillotte commented in deliberations that she needed spiritual

              guidance to decide, and foreman Clinger brought out his Bible and stated that he had prayed on

              the issue the night before; that juror Guillotte then changed her vote in favor of death; that

              Gradoni interviewed foreman Clinger who confirmed that he had read Biblical passages during

              deliberations; that Clinger researched the Bible the night before the jury deliberated on the

              applicant's punishment; that one-third of the jurors favored death, a third favored life, and

              another third were undecided; and, that Clinger thought that the Bible verses were "contributing

              factors" in Guillote changing her vote (III C.R. at 553-4, 574-5, 612-648).

              115.   According to the September 18, 2013 affidavit of juror      ~asey   Guillotte, after the jury

              reached a unanimous decision on the special issues and foreman Clinger signed the verdict form,

              Guillotte asked a general question about how the jury was going to emotionally come to terms



                                                              28
                                   •                                         •
          Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 114 of 257




        with their verdict; that, in response, foreman Clinger got a Bible from his personal belongings,

        appeared to read a Bible passage to hiiilself, and then stated that he had found comfort with his

        decision because of a verse in the book of Romans; that foreman Clinger did not read the Bible

        verse to the jury or refer directly to a particular Bible verse; and, that Clinger's retrieval of his

         Bible and reference to a verse did not influence Guillotte's decision in answering the special
;.,.·

         issues (III .C.R. at 597-8}.

         116.    According to the September 18, 2013 affidavit of jury foreman Matthew Clinger, jw:or

         Guillotte noted during the Friday deliberations that even though she knew the answers to the ..
                                               .       '

         special issues were based on the evidence,she was concerned about the emotional impact of her
                                                   G       .                                                   .




         answers; .that Guillotte asked the group for help with the emotional struggle; that numerous

        jurors then talked about how' they personally handled their emotions about the decision; that

         Clinger then stated that he found comfort in the'' Bibfe 'and he. laid his personal Bible on the table,

         opening it to a chapter in Romans; that Clinger never read directly from his Bible and did not see

         the other jurors read from it; that Clinger did not believe that Guillotte or the other jurors

         changed· their answers to the special issues based o·n this exchange about the Bible; that juror

         Bowman was the last juror to come to terms with the special issue answers; that juror Bowman

        · appeared to agree with the rest of the jurors on how the evidence directed the jurors' to answer

         the special issues but she struggled with the emotional consequences; that juror Bowman said "I

         agree" and told Clinger to sign the verdict form several times but Clinger did not do that because

         he could tell that she was not convinced Of the verdict; that they continued to talk about the

         evidence and gave Bowman the opportunity to discuss the issues and evidence; that Clinger was

         conscientious about insuring that Bowman was not rushed into a decision; that Bowman made an

         offhand remark about her daughter's illness early in deliberations but did not seem overly



                                                               29
                        •                                         •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 115 of 257




concerned and never mentioned that she needed to rush to a verdict; that Bowman did mention

that she planned to take her daughter to South Padre on the following day, Saturday, July 20,

2013; that Bowman asked other jurors how long it would take to reach South Padre; that Clinger

did not notice that other jurors put undue pressure on Bowman; and, that Clinger believed that

the jlirors were respectful of others' opinions throughout the process (III C.R at 599-601).

117.    The Court finds, based on the trial and habeas records, that the applicant fails to ·

demonstrate that trial counsel were not aware of the substance of the trial judge's conversation



118.    The Court finds, based on the habeas record, that the applicant offers nothing to    supp~rt


his allegations that trial counsel, during the applicant's habeas investigation, asserted that they

were not told by the court that Bowman was a holdout vote and wanted to stop deliberating; that

there was an informal conversation with the judge outside the courtroom during which counsel .

were informed that Bowman was having a hard time; and, that both counsel would have asked

the court to end deliberations and enter a life sentence if they had known that Bowman was a

holdout juror who desired to stop deliberations. Applicant's writ at 124.

119.   The Court finds, based on the habeas record, that neither of trial counsels' habeas

affidavits contain the statements alleged by the applicant in Finding of Fact 118.

120.   The applicant fails to demonstrate deficient performance, much less harm on the basis

now alleged regarding trial counsel; that, based on what trial counsel knew at the time of the

complained-of incident, the conversation between the trial judge and juror Bowman was

recorded and a part of the record for review on appeal if necessary; that trial counsel trusted the

trial judge to do what she thought was appropriate in the situation; and, that trial counsel does not




                                                 30
                         •                                         •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 116 of 257




now consider the trial judge's actions improper. See State's Ex. B and C, affidavits of trial

counsel Cornelius and Madrid, respectively.

121.    The Court finds, pursuant to TEX. R. Evm. 606(b), that a juror can only testify about

whether any outside influence was improperly brought to bear upon any juror or to rebut a claim

that a juror was not qualified to serve.

122.    The Court finds that the August 13, 2015 habeas affidavit statements of juror Angela

Bowman that she was the only juror voting for life without parole; that it was clear that she was

not going to change anyone's mind; and, that she changed her mind to vote for. death because of

the pressure from the other jurors and her daughter's illness consists of Bowman's emotional or

mental processes during deliberations which are processes that are inadmissible pursuant toRule

606(b). Applicant's Ex. 14, 2015 affidavit ofjuror Bowman.

123.    Notwithstanding the inadmissibility of juror Bowman's 2015 habeas affidavit, the Court

finds that the assertions of Bowman concerning her deliberations are suspect and unpersuasive in

light ofthe September 18, 2013 affidavit of jury foreman Matthew Clinger which was presented

during the hearing on the applicant's motion f()r new trial (III C.R. at 599-601).

124.    The Court finds, based on      p~rsonal   recolleCtion and the trial record. concerning the

circumstances and contents of the Court's conversation with Bowman, that the Court's

instructions to Bowman did not constitute an impermissible or coercive Allen charge; that the

trial judge did not pressure Bowman into reaching a particular verdict or somehow convey the

judge's opinion ofthe primary case; and, that the applicant was not prejudiced as a result of juror

Bowman's ex parte conversation with the trial judge.

 125.   The Court finds, based on the trial record and the habeas proceedings, that the applicant

fails to demonstrate a violation of his constitutional rights, much less the deficient performance



                                                  31
                        •                                       •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 117 of 257




of trial/appellate counsel and prejudice based on the Court's objected-to ex parte conversation

with juror Bowman.

126.   The Court finds, based on the trial and habeas records, that the instant case is factually

distinguishable from that contemplated by the United States Supreme Court in United States v.

United States Gypsum Co., 438 U.S. 460-1 (1978) in that the trial judge in the primary case did

not seek out juror Bowman and there is no evidence that Bowman was the trial judge's

mouthpiece for the jury; accordingly, the applicant's reliance on such case is unpersuasive and
              /

not dispositive of the instant habeas claim.

EIGHTH GROUND- TRIAL REPRESENTATION- FAILURE TO INVESTIGATE ALLEGED JUROR
MISCONDUCT

127.   The Court finds, based on the trial and habeas records, that the applicant fails to

demonstrate deficient performance, much less harm, based on the allegation that trial counsel-

were ineffective for failing to investigate alleged juror misconduct relating to information that

defense. attorney Michael Lazaretto gave to the trial judge during the punishment phase oftrial;

that the trial judge gave the parties a thorough description of the event as related to her by,

Lazaretto, and counsel considered the. event insignificant while noting that the event was

memorialized in the record for appellate counsel to cqnsider on appeal. Applic4nt's writ at 133.

See State's Ex. Band C, affidavits of trial coun~el Cornelius and Madrid, respectively.

128.   On the morning of July 16, 2013, before the State began presenting evidence in the

punishment phase of the trial, the trial judge related to the parties what defense attorney

Casaretto had told her that morning: that Casaretto was waiting for an elevator when he heard

two men-both wearing badges indicating they were jurors in the 337th District Court-having

what was "possibly an innocuous conversation;" that it was hard for Casaretto to hear the jurors,

but they seemed to be speaking about the case and struggling with the issues; that the younger

                                               32
                         •                                          •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 118 of 257




juror thanked the older juror for his words of encouragement the day before; that the jurors

discussed nothing specific about the issues; that Casaretto could not tell if the jurors were

actually talking about evidence in the case; and, that the conversation ceased once the jurors got

on the elevator (XXIV R.R. at 3-4).

129.    The trial judge then told the parties that she intended to, once again, strongly admonish

the jury not to discuss the evidence,_ or any deliberations, or any aspect of the deliberations,_

outside the presence of the jury where they were all seated together and are supposed to be

deliberating (XXIV R.R. at 4).

130.    In response to trial counsel's question asking whether the judge had spoken to Casaretto

herself and whether she was satisfied that was all of Casaretto's information, the trial judge

confirmed to the parties that she talked to Casaretto in chambers, took notes as to what Casaretto

told her, and read her notes back to Casaretto; and, that Casaretto told the trial judge, "Yes, that's

it, that is exactly what I observed today" (XXIV R.R.   a~   5).

131.    The trial judge told the parties that she was not going to make her actual notes part of the

record because she read everything in her notes to the parties verbatim as to what she wrote

down, and she gave the parties Casaretto's phone number (XXIV R.R. at 5).

132.   Casaretto's subsequently submitted an affidavit to habeas counsel on August 27, 2015,

recounting his observations of the two jurors from the 3 37th District Court in the Harris County

Criminal Courthouse on July 16, 2013, and stating that it was clear from the jurors' comments

that they were taking about the case itself; that the jurors continued their conversation in the

elevator; that it seemed that the jurors were discussing the content and their feelings about the

testimony of a witness that they heard; that Casaretto was troubled by the "possibility" that two

jurors were publicly discussing an ongoing case; that Casaretto made note of the court listed on



                                                 33
                                         •                                          •
                 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 119 of 257




                 the jurors' badges, and Casaretto went to that courtroom to speak to the trial judge in the primary

                 case; that Casaretto reported what he observed to the trial judge because he believed that he had
 .....· ..,,.-
                 witnessed an "obvious violation of the jurors' obligations during trial;" and, that Casaretto was

i" ••            never contacted by the judge, the State or the defense attorneys about the matter. See Applicant's'

                 Ex. 36, affidavit of Michael R. Casaretto .
        . -:.

                 133.   The Court finds, based on the trial and the habeas proceedings, that there are significant

                 differences between Casaretto's2015 affidavit and the information: that he originally related to

                 the trial judge in 2013; that, given the two year lapse in time between the event and the affidavit

                 that Casaretto provided for the applicant, the Court finds that Casaretto' s 2015 habeas affidavit is: '

                 suspect and uhpersuasive; that the information that Casaretto related to the trial judge in 20 I 3 '

                 and the judge's notes from the conversation represent a more reliable representation of what

                 Casaretto actually observed on the morning of July 16, 2013.

                 134.   The Court further finds, based on the trial and habeas proceedings, that Casaretto's 2015

                 opinions concerning the action that trial counsel should have taken regarding the information that

                 Casaretto related to the trial judge in 2013 are unpersuasive and not dispositive of the merits of

                 the applicant's habeas claim.

                 NINTH GROUND- JUROR'S REFERENCE TO BIBLE DURING DELIBERATIONS

                 135.   The Court finds, based on the record, that the applicant fails to demonstrate that his right

                 to a fair trial was violated based on alleged juror misconduct

                 136.   The Court finds that the Court of Criminal Appeals rejected the applicant's point oferror

                 on direct appeal complaining that the trial court erred when it denied the applicant's motion for

                 new trial based on the alleged jt.rror misconduct of the jury foreman reading passages from the

                 Bible during jury deliberations, holding that the reference to the Bible during jury deliberations



                                                                  34
                                          •                                        •
                   Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 120 of 257




                  did not constitute an outside influence; accordingly, this Court need not reexamme the

                  applicant's instant ground for relief. See Cruz-Garcia, 2015 WL 6528727, at *28.

                  144.    Moreover, according to the September 18, 2013 affidavit of juror Casey Guillotte, after

                  the jury reached a unanimous decision on the special issues and foreman Clinger signed the

                  verdict form, Guillotte asked a general question about how the jury was going to come to

                  emotionally come to terms with their verdict; that, in response, foreman Clinger got a Bible from

                  his personal belongings, appeared to read a Bible passage to himself, and then stated that he had

                  found comfort with his decision because of a verse in the book of Romans; that foreman Clinger
,.•. ·

                  did not read the Bible verse to the jury or refer directly to a particular Bible verse; and, that

                  Clinger's retrieval of his Bible and reference to a verse did not influence Guillotte's decision in.
:>·.     ~'   .
·...··            answering the special issues (III C.R. at 597-8).

                  145.   Additionally, according to the September 18, 2013 affidavit of jury foreman Matthew

                  Clinger, juror Guillotte noted during the Friday deliberations that even though she knew the

                  answers to the special issues were based on the evidence, she was concerned about the emotional

                  impact of her answerS; that Guillotte asked the group for help with the emotional struggle; that

                  numerous jurors then talked about how they personally handled their emotions about the

                  decision; that Clinger then stated that he found comfort in the Bible and he laid his personal '

                  Bible on the table, opening it to a chapter in Romans; that Clinger never read directly from his

                  Bible and did not see the other jurors read from it; that Clinger did not believe that Guillotte or

                  the other jurors changed their answers to the special issues based on this exchange about the

                  Bible; that juror Bowman was the last juror to come to terms with the special issue answers; that

                  juror Bowman appeared to agree with the rest of the jurors on how the evidence directed the

                  jurors' to answer the special issues but she struggled with the emotional consequences; that juror



                                                                      35
                           •                                         •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 121 of 257




Bowman said "I agree" and told Clinger to sign the verdict form several times but Clinger did

not do that because he could tell that she was not convinced of the verdict; that they continued to

talk about the evidence and gave Bowman the opportunity to discuss the issues and evidence;

that Clinger was conscientious about insuring that Bowman was not rushed into a decision; that

Bowman made an offhand remark about her daughter's illness early in deliberations but did not

seem overly concerned and never mentioned that she needed to rush to a verdict; that Bowman

did mention that she planned to take her daughter to South Padre on the following day, Saturday,

July 20, 2013; that Bowman asked other jurors how long it would take to reach South Padre; that

Clinger did not notice that other jurors put undue pressure on Bowman; and, that Clinger

believed that the jurors were respectful of others' opinions throughout the process (III C.R. at

599-601).

TENTH GROUND: TRIAL COUNSELS' ALLEGED CUMULATIVE DEFICIENT PERFORMANCE

146.      The Court finds, based on a review of the trial and habeas proceedings, that the totality of

the representation afforded the applicant at trial was competent under prevailing professional

norms; that the applicant fails to demonstrate that trial counsel was deficient in the representation

of the applicant at either phase of trial; and, that the applicant fails to establish that the applicant ,

was harmed on the· basis of any alleged deficiency in trial counsel's representation.      See Wiggins
v. Smith, 539 U.S. 510, 521 (2003)(for ineffective assistance of counsel claims, a defendant must'

meet the standard established in Strickland by showing that "counsel's performance was

deficient and that the deficiency prejudiced the defense").

147.      Based on the applicant's failure to demonstrate trial counsel's alleged ineffectiveness, the

applicant fails to show cumulative deficient performance by trial counsel, much less prejudicial

effect.



                                                  36
                                    •                                         •
          Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 122 of 257




          ELEVENTH GROUND: JURY'S CONSIDERATION OF MITIGATING EVIDENCE

          148.      The Court finds, based on the record, that the applicant did not object to the punishment

          charge or the Texas death penalty scheme on the basis that it allegedly unconstitutionally

          restricted the evidence that the jury could determine was mitigating to evidence that reduced the

          applicant's moral blameworthiness.

          149.      Additionally, the Court finds that the applicant did not present such claim on direct

          appeal.

          150.      At the conclusion of the punishment phase, the trial court instructed the jury:
~:·   .
                           In determining your answers to the questions, or special issues,
                           submitted to you, you shall consider all the evidence submitted to
                           you in this trial. You shall consider all evidence submitted to you
                           during the trial as to the defendant's background or character or the
                           circumstances of the offense that militates for or mitigates against
                           the imposition of the death penalty.

                           You are instructed that when you deliberate on the questions posed
                           in the special issues, you are to consider all relevant mitigating
                           circumstances, if any, supported by the evidence, whether
                           presented by the State or the defendant.

          (III C.R. at 513-14; XXVI R.R. at 94).

          151.      The trial court also instructed the jury that it need not agree on what particular evidence

          supports an affirmative finding to the mitigation special issue, and that,

                           In deliberating on Special Issue No. 3 you shall consider all the
                           evidence admitted at the trial, including but not limited to evidence
                           of the defendant's background, character, or the circumstances of
                           the offense that militates for or mitigates against the imposition of
                           the death penalty.

                           You shall consider mitigating evidence to be evidence that you
                           might regard as reducing the defendant's moral blameworthiness.

          (III C.R. at 516-17; XXVI R.R. at 97).

          152.      The mitigation instruction asked the jury,


                                                             37
                          •                                         •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 123 of 257




                 Do you find from the evidence, taking into consideration all of the
                 evidence, including the circumstances of the offense, the
                 defendant's character and background, and the personal moral
                 culpability of the defendant, that there is a sufficient mitigating
                 circumstance or circumstances to warrant that a sentence of life
                 imprisonment rather than a sentence of death be imposed?

(III C.R. at 525; XXVI R.R. at 103).

153.      The Court finds that the Court of Criminal Appeals has previously rejected the argument

that TEX. CODE CRIM. PROC. art. 37.071 unconstitutionally narrows a jury's discretion to

consider as mitigating only those factors concerning moral blameworthiness. See Shannon v.

State, 942 S.W.2d 591,597 (Tex. Crim. App. 1996).

154.      The applicant fails to show that the Texas death penalty scheme unconstitutionally

prevents his jury from considering as mitigating only evidence that reduces moral

blameworthiness; the applicant also fails to show that the Texas death penalty scheme is

unconstitutional as applied to him.

TWELFTH GROUND:         10-12 RULE

155.      The Court finds, based on the record, that the applicant did not object at the trial level to

the jury charge on the basis that the 10-12 Rule violated his constitutional rights; that the.

applicant did not request that the jury b~ told the effe9t of a single "no" vote or object to the lack ...

of such instruction in the jury charge; therefore, the applicant's habeas claim is procedurally .

barred.

156.      Additionally, the Court finds that the applicant did not urge such claim on direct appeal.

157.      The following three special issues were submitted to the jury at the close of the instant

trial:

          1.     Do you find from the evidence beyond a reasonable doubt there is a
                 probability that the defendant, Obel Cruz-Garcia, would commit criminal
                 acts of violence that would constitute a continuing threat to society?


                                                   38
                         •                                         •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 124 of 257




        2.     Do you find from the evidence beyond a reasonable doubt that Obel Cruz-
               Garcia; the defendant himself, actually caused the death of Angelo Garcia,
               Jr., on the occasion in question, or if he did not actually cause the death of
               Angelo Garcia, Jr., that he intended to kill Angelo Garcia, Jr., or that he
               anticipated that a human life would be taken?

        3.      Do you find· from the evidence, taking into consideration all of the
                evidence, including the circumstances of the offense, the defendant's
                character and background, and the personal moral culpability of the
                defendant, that there is a sufficient mitigating circumstance or
                circumstances to warrant that a sentence of life imprisonment rather than a
                death sentence be imposed?           ·

(Ill C.R. at 523-5); Tex. Code Crim. Proc. art. 37.0711 § 3.

158.    In compliance with    Articl~   37.0711, the jury was properly instructed that it could not

answer the first and second special issues "yes" without unanimous agreement; that it could not

answer the first and second issues "no" unless 10 or more jurors agreed; that it could not answer

the third special issue "no" unless it agreed unanimously; and, that the agreement of ten jurors

was required to answer the third special issue "yes" (III C.R. at 513-7).

159.    The trial court also instructed the jury to consider all the evidence submitted during the

trial when answering the special issues, and the jury "shall 'consider all the evidence admitted at

the trial, including but not limited to evidence of the defendant's background, character, or the

circumstances of the offense that militates for or mitigates against the imposition of the death

penalty" (Ill C.R. at 515).

160.    The Court finds that the Court of Criminal Appeals has repeatedly rejected a capital

defendant's challenge to the constitutionality of art. 37.071, § (2)(a), based on the allegation that

it misled the jury as to the effect of a single "no" vote.




                                                  39
                        •                                         •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 125 of 257




161.   The Court finds that the Court of Criminal Appeals has also rejected the contention that

the decisions in Mills v. Maryland, 486 U.S. 367 (1988), and McKoy v. North Carolina, 494 U.S.

433 (1990), support the applicant's argument concerning the 10-12 rule.

162.   The Court finds, based on the habeas pleadings, that the applicant fails to demonstrate

that the 10-12 Rule constituted an impermissible outside influence on jury deliberations; that the

applicant's assertions regarding the 10-12 Rule and jurors' alleged reluctance to cause a mistrial

are speculative and unpersuasive; and, that the applicant's assertions regarding the 10-12 Rule

and the jury do not constitute an outside influence.     TEX. R. Evm. 606(b); see also White v.

State, 225 S.W.3d 571, 574 (Tex. Crim. App. 2007)("an outside influence is something outside

of both the jury room and the juror"); Golden Eagle Archery Inc. v. Jackson, 24 S.W.3d 362,

366-75 (Tex. 2000)(rules contemplate that an "outside influence"   originat~s   from sources other

than the jurors themselves).

163.   The Court finds that the habeas affidavit statements of jurors Bowman, Alexander,

Sanchez and Torres are inadmissible pursuant to TEX. R. Evm. 606(b). See Applicant's Ex. 13,

14, 22, 23 2015s affidavit ofjurors Bowman, Sanchez, and Torres.

THIRTEENTH GROUND: PUNISHMENT CHARGE

163.   The Court finds, based on the recorc:l, that the applicant did not objectto the Texas death

penalty scheme, specifically the first special issue concerning future dangerousness, on the basis

that his death sentence was arbitrarily and capriciously assigned, that key terms, such as

"probability" and "criminal acts of violence" were not defined, and that the special issue is

unconstitutionally vague because it fails to narrow the class of death eligible defendants;

therefore, the applicant's habeas claim is procedurally barred.




                                                AO
                            •                                       •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 126 of 257




164.    Further, the Court finds that the applicant did not present on direct appeal his claim that

his death sentence was arbitrary and capricious based on the first special issue allegedly being

unconstitutionally vague because of the absence of definition of key terms in the issue or that the

first special issue allegedly fails to narrow the class of death-eligible defendants.

165.    The Court finds that the Court of Criminal Appeals has consistently and repeatedly held

that "probability" and "criminal acts of violence" require no special definitions and that Tex.

Code Crim.Proc. art. 37.071 is not unconstitutional for lack of such definitions.

 166.   The Court finds that the Texas death penalty scheme properly narrows the class of death

eligible defendants at gtiilt due to the narrow statutory descriptions of capital murder in Texas,

 rather than through the special issues at punishment.

 FOURTEENTH GROUND: TEXAS' SYSTEM OF ADMINISTERING DEATH PENALTIES

 167.    The Court"finds, based on the record, that the applicant did not object at the trial level on

 the basis that his death sentence was unconstitutional based on Texas' alleged arbitrary system ·of

 administering the death penalty in various counties; accordingly, the applicant's ground for relief

· is procedurally barred.

 168.    Additionally, the Court· finds, that the applicant did not urge such claim on direct appeal ·

 of the instant conviction.

 169. The Court finds unsupported and speculative the applicant's claim that his sentence wa.S

 unconstitutional based on being. administered in Harris County rather than any 'other Texas

 county and based on an alleged arbitrary system of administering death penalties in various

 Texas counties.




                                                  41
                               •                                        •
        Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 127 of 257




                                          CONCLUSIONS OF LAW

        FIRST GROUND: REPRESENTATION AT TRIAL- DNA EVIDENCE

        1.     The applicant fails to show that trial counsel are ineffective based on not presenting

c.>,•
        expert testimony to challenge the State's DNA evidence; trial counsel thoroughly reviewed the

        DNA evidence in the case and made the strategic choice to challenge the State's DNA testing

        through a pre-trial motion and hearing. See Solis v. State, 792 S.W.2d 95, 100 (Tex. Crim. App.

        1990)(reviewing court will not "second-guess through hindsight" strategy of counsel, nor will

        fact that another attorney might have pursued different course support finding of

        ineffectiveness); see also Cruz-Garcia, 2015 WL 6528727, *8-13 (holding that trial court did not

        err in denying motion to suppress DNA testing and holding that record supported finding that

        DNA evidence was reliable).

        SECOND GROUND: REPRESENTATION AT TRIAL- GUlL T/INNOCENCE

        2.     Trial counsel are not ineffective for making the plausible decision to develop through

        cross-examination and argument the fact that there was was consensual sexual relationship

        between the applicant and Diana Garcia, regardless of the difficulties of developing and

        presenting such evidence.     See Garcia v. State, 57 S.W.3d 436, 440 (Tex. Crim. App.

        2001 )(holding that reviewing court "commonly will assume      a strategic motivation if any can
        possibly be imagined," and will not find challenged conduct constitute deficient performance

        "unless conduct was so outrageous that no competent attorney would have engaged in it.").

        3.     The applicant fails to show ineffective assistance of counsel based on the applicant not

        informing trial counsel about alleged, cited witnesses, the applicant's not being forthcoming

        when questioned about potential witnesses, and the unsuccessful effort to locate certain potential

        witnesses. See King v. State, 649 S.W.2d 42, 44 (Tex. Crim. App. 1983)("counsel's failure to



                                                       42
                        •                                        •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 128 of 257




call witnesses at the guilt-innocence and punishment stages is irrelevant absent a showing    t~at


such witnesses were available and appellant would benefit from their testimony"); see also Pape

v. Thaler, 645 F.3d 281, 289 (5th Cir. 2011)(defense couns~l not ineffective for failure to call

witnesses to testify regarding the defendant's good character or alleged credibility because

defendant failed to supply counsel with witnesses' names).

THIRD & FOURTH GROUNDS: TRIAL REPRESENTATION - PUNISHMENT

4.     The applicant fails to show ineffective assistance of counsel at punishment; trial counsel

filed a dozen pre-trial motions, hired an investigator, obtained funds to send the investigator to,

the Dominican Republic to follow up with witnesses, hired a clinical psychologist, questioned

potential jurors for eleven days, cross-examined thirty-two witnesses, presented evidence of the

applicant's life history, and presented the testimony of four defense witnesses. See Tong v.

State, 25 S.W.3d 707, 712 (Tex. Crim. App. 2000)(citing Strickland, 466 U.S. at 689)(holding-

that review of counsel's representation is highly deferential; counsel is afforded strong

presumption that actions falls within wide range of reasonably effective assistance); see also

Ladd v. Cockrell, 311 F.3d 349, 360 (5TH Cir. 2002)(holding that if evidence of future

dangerousness overwhelming in death penalty case, it is "virtually impossible" to establish

prejudice prong of Strickland).




                                               43
                               •                                         •
        Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 129 of 257




       FIFTH & SIXTH GROUNDS: VIENNA CONVENTION

       5.     Based on the lack of objection concerning an alleged violation of the Vienna Convention

       on Consular Relations, the applicant's habeas claim concerning such issue is procedurally barred.

       See Tex. R. App. P. 33.l(a); Hodge v. State, 631 S.W.2d 754, 757 (Tex. Crim. App. 1978); see

       also Hughes v. Johnson, 191 F.3d 607, 614 (5th Cir. 1999)(holding that defendant's failure to

       comply with Texas contemporaneous objection rule constituted adequate and independent state-

       law procedural ground sufficient to bar federal habeas).

       6.     In the alternative, the applicant fails to demonstrate prejudice on the basis of an alleged

       treaty violation; the applicant fails to show that his right to due process was violated or that he

       was denied a fair trial. See Sanchez-Llamas v. Oregon, 548 U.S. at 349, 126 S.Ct. 2669, 2681

       (2006)(holding art. 36 of Vienna Convention does not guarantee consular assistance or consular

       intervention); see also Medellin v. Texas, 552 U.S. 491, 499 (2008).

       7.     The applicant fails to show that trial counsel are ineffective for failing to preserve the

       applicant's alleged Vienna Convention complaints or for failing to recognize the alleged'>

       significance of the applicant's foreign nationality. See and cf Kinnamon v. State, 791 S.W.2d

       84, 97 (Tex. Crim. App. 1990)(counsel not ineffective for failing to request jury charge on ·

;··'   lesser-included of murder when the evidence did·not"support such charge).                        .1?-'.




       EIGHT GROUND: TRIAL REPRESENTATION -FAILURE TO INVESTIGATE ALLEGEDJUROR
       MISCONDUCT

       8.     The applicant fails to show ineffective assistance of t_rial counsel. based on not .

       investigating alleged juror misconduct in light of the event being memorialized in the record for

       possible appellate review and in light of trial counsel considering the event insignificant. See

       Solis, 792 S.W.2d at 100 (holding reviewing court will not "second-guess through hindsight"




                                                       44
                                 •                                        •
         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 130 of 257




         strategy of counsel, nor will fact that another attorney might have pursued different course

         support finding of ineffectiveness).

         NINTH GROUND- JUROR'S REFERENCE TO BIBLE DURING DELIBERATIONS

         9.     Because the applicant's claim of alleged juror misconduct was raised and rejected on

         direct appeal, such claim need not be considered in the instant writ proceeding or any subsequent

         writ proceedings. See Ex parte Acosta, 672 S.W.2d 470, 472 (Tex. Crim. App. 1984)(holding

         that reviewing court need not address previously raised and rejected issues).

         10.    In the alternative, as held by the Court of Criminal Appeal on direct appeal, the reference

         to the Bible during jury deliberations did not constitute an outside influence. See Cruz-Garcia,

         2015 WL 6528727, at *28. The applicant fails to show that he was denied a fair trial or that his
j   '>


         right to due process was violated.

         TENTH GROUND: TRIAL COUNSELS' ALLEGED CUMULATIVE DEFICIENT PERFORMANCE

         11.    Because the applicant fails to demonstrate that he was denied effective assistance of

         counsel at trial, the instant allegation of cumulative deficient performance and prejudice is

         without merit and should be denied.       See Wiggins v. Smith, 539 U.S. 510, 521 (2003)(for

         ineffective assistance of counsel claims, a defendant must meet the standard established in

         Strickland by showing that "counsel's performance was deficient and that the deficiency

         prejudiced the defense").

         ELEVENTH GROUND: JURY'S CONSIDERATION OF MITIGATING EVIDENCE

         12.    The applicant fails to show that the punishment instruction, given pursuant to TEX. CODE

         CRIM. PROC. art. 37.701, prevented the jury from considering and giving effect to all mitigating

         evidence; art. 37.071 does not unconstitutionally narrow a jury's discretion to consider as

         mitigating only those factors concerning moral blameworthiness. See Williams v. State, 301


                                                         45
                                                 •                                         •
                         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 131 of 257




                         S.W.3d 675, 694 (Tex. Crim. App. 2009)(rejecting claim that Texas death penalty scheme

                         unconstitutional based on its definition of mitigating evidence allegedly limiting Eighth

                         Amendment concept of "mitigation" to factors that render defendant less morally blameworthy

                         for commission of capital murder); Shannon v. State, 942 S.W.2d 591 (Tex. Crim. App.

                         1996)(holding that because consideration of mitigation evidence is open-ended subjective

                         determination by each individual juror, art. 37.071 does not unconstitutionally narrow jury's

                         discretion to factors concerning only moral blameworthiness).
y~·

I~ •!11    ,,;, •   •'
   1



                         TWELFTH GROUND:       10-12 RULE

                         13.    Because the applicant neither requested that the jury be told the effect of a single "no"

                         vote, nor did the applicant object to the lack of such instruction in the jury 'charge, the applicant

                         is procedurally barred from advancingsuch habeas claim. See Tex. R. App. P. 33.l(a); Hodge,
  ..
,;···  ~




                         631 S.W.2d at 757; see also Hughes, 191 F.3d at 614 (holding that defendant's failure to comply

                         with Texas contemporaneous objection rule constituted adequate and independent state-law

                         procedural ground sufficient to bar federal habeas).

                         14.    Alternatively, the jury was properly instructed that it could not answer the first and

                         second special issues "yes" without unanimous agreement; that it could not answer the first and

                         second issues "no" unless 10 or more jurors agreed; that .it could not answer the third special

                         issue "no" unless it agreed unanimously; that the agreement of ten jurors was required to answer

                         the third special issue "yes"; that the jury was to consider all the evidence submitted during the

                         trial when answering the special issues; and, that the jury "shall consider all the evidence

                         admitted at the trial, including but not limited to evidence of the defendant's background,

                         character, or the circumstances of the offense that militates for or mitigates against the

                         imposition ofthe death penalty" (III C.R. at 513-517). See Leza v. State, 351 S.W.3d 344, 361-2



                                                                          46
                                                        •                                         •
                                 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 132 of 257




                                (Tex. Crim. App. 201l)(holding "10-12 rule" in art. 37.071 does not violate                  Ei~th


                                Amendment); Williams v. State, 301 S.W.3d 675, 694 (Tex. Crim. App. 2009); Druery v. State, .

                                225 S.W.3d 491, 509 (Tex. Crim. App. 2007); Prystash v. State, 3 S.W.3d 522, 536 (Tex. Crim..

                                App. 1999).

                                15. The applicant fails to show that the 10-12 jury instruction violates the United States and· ·

                                Texas Constitutions and the "Supreme Court precedent" of Mills v. Maryland, 486 U.S. 367

                                (1988) and McKoy v North Carolina, 494 U.S._433 (1990). See Hughes v. State, 897             S.W.2~

            . ·-·.
                                285, 300, 301 (Tex. Crlm. App. 1994)(citing Rousseau v. State, 855 S.W.2d 66~, 687 (Tex.
                        ~"'-'




                                Crim. App. 1993)(rejecting contention that 37.071 violates decisions in McKoy and Mills)).··

                                THIRTEENTH GROUND: PUNISHMENT CHARGE

                ·,,.,           16.    Because the applicant did not urge an objection at the trial level based on the lack of
                ·•..      ·     definitions of terms in the special issues and because the special issue fails to narrow the class of

                                death eligible defendants, the applicant is procedurally barred from advancing such habeas

                                claims. See Tex~ R. App. P. 33.l(a); Hodge, 6:f1 S.W.2d at 757; see also Hughes, 191 F.3d at

                                614 (holding that defendant's failure to comply with Texas contemporaneous objection rule

                                constituted adequate and independent state-law procedural ground sufficient to bar federal
;..·   ..
                                habeas).

                                17.    In the alternative, the terms "probability" and "criminal acts of violence" need not be

                                defined and the absence of such definitions does not render the special issues vague or the Texas

                                death scheme unconstitutional. See Blue v. State, 125 S.W.3d 491, 503 (Tex. Crim. App;

                                2003)(re-affirming holdings where lack of following definitions not error: "continuing threat to

                                society," "criminal acts of violence," "probability," "society,"; "personal moral culpability," and

                                "moral blameworthiness").



                                                                                 47
                        •                                         •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 133 of 257




18. The Texas death penalty scheme properly narrows the class of death-eligible defendants

during the guilt-innocence phase. See Fearance v. State, 771 S.W.2d 486, 494 (Tex. Crim. App.

1988)(holding the Texas death penalty scheme properly narrows class of death-eligible

defendants).

FOURTEENTH GROUND: TEXAS' SYSTEM OF ADMINISTERING DEATH PENALTIES

19.    Because the applicant did not object to the constitutionality of the Texas death penalty

scheme or the punishment charge or attempt to quash his indictment on the basis of alleged racial

bias or alleged arbitrariness in administering the death penalty in Texas counties, the applicant is

procedurally barred from advancing such habeas claims. See Tex. R. App. P. 33.l(a); Hodge,

631 S.W.2d at 757; Hughes, 191 F.3d at 614 (holding that defendant's failure to comply with

Texas contemporaneous objection rule constituted adequate and independent state"law

procedural ground sufficient to bar federal habeas).

20.    In the alternative, the applicant fails to show that his death sentence was unconstitutional,

under U.S. CONST. amends. VI, VIII and XIV, based on an alleged arbitrary system of

administering death penalties in various Texas counties - specifically in Harris County rather

than other counties. See Cantu v. State, 842 S.W.2d 667, 691-92 (Tex. Crim. App. 1992), cert.

denied, 509 U.S. 926 (1993)(holding prosecutorial discretion does not render death penaltY

unconstitutional); Allen v. State, 108 S.W.3d 281, 286 (Tex. Crim. App. 2003)(citing Bell v.

State, 938 S.W.2d 35, 55 (Tex. Crim. App. 1996); King v. State, 953 S.W.2d 266, 274 (Tex.

Crim. App. 1997)(declining to reach merits of claim of disparate treatment based on cases being

held in different counties; noting there was no empirical data, case law, or other factual basis to

support claim)); see and cf Morris v. State, 940 S.W.2d 610, 613-4 (Tex. Crim. App.




                                                48
                        •                                         •
 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 134 of 257




1996)(noting possibility of two defendants, who have committed identical murder, receiving

different sentences based on differing degrees of mitigating character and background evidence).

21.    The applicant fails to show that his death sentence was unconstitutionally based on

alleged racial bias; the applicant fails to show that the Texas death penalty scheme is

unconstitutional, as applied to him. Cockrell v. State, 933 S.W.2d 73, 92-93 (Tex. Crim. App.

1996)(rejecting defendant's claim that certain statistical studies allegedly establish that Texas

death penalty disproportionately imposed in racially discriminatory manner and holding that

defendant has to show scheme unconstitutional as applied to him to gain relief from death

sentence).

22.    The applicant fails to show that the Texas death penalty scheme was enacted or

maintained because of any anticipated discriminatory effect in violation of equal protection, and

that the sentencing scheme, as applied to the applicant, was racially discriminatory in violation of

equal protection.   See and cf McCleskey v. Kemp, 482 U.S. 920 (1987)(holding a state's

legitimate reasons for adopting and maintaining capital punishment precluded inference of

discriminatory purpose on part of the state in adopting death penalty sentencing scheme and

allowing it to remain in force despite allegedly discriminatory impact and statistical study

showing death penalty imposed more often on black defendants and killers of white victims than

on white defendants and killers of black victims).

23.    The applicant fails to demonstrate that his conviction was unlawfully obtained.

Accordingly, it is recommended to the Texas Court of Criminal Appeals that reliefbe denied.




                                                49
                                •                                         •
         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 135 of 257




                                               Cause No. 1384794-A

         EX PARTE                                     §        IN THE 337TH DISTRICT COURT
:   l'


                                                      §        OF

         OBEL CRUZ-GARCIA,                            §        HARRIS COUNTY, TEXAS
              APPLICANT

                                                      ORDER

                THE CLERK IS HEREBY ORDERED to prepare a transcript of all papers in cause no.

         1384794-A and transmit same to the Court of Criminal Appeals, as provided by Article 11.071 of

         the Texas Code of Criminal Procedure. The transcript shall include certified copies ofthe following

         documents:


                            1. all of the applicant's pleadings filed in cause number
                               1384794-A, including his application for writ of habeas
                               corpus;

                            2. all ofthe State's pleadings filed in cause number 1384794-A,
                               including the State's Original Answer;

                            3. this court's findings of fact, conclusions of law and order
                               denying relief in cause no. 1384794-A;

                           4. any Proposed Findings of Fact and Conclusions of Law
                              submitted by either the applicant or State in cause ilo.
                              1384794-A;

                           5. any affidavits and exhibits filed in cause no. 1384794-A;
                              and,

                           6. the indictment, judgment, sentence, docket sheet, and
                              appellate record in cause no. 1384794, unless they have been
                              previously forwarded to the Court of Criminal Appeals.



                THE CLERK IS FURTHER ORDERED to send a copy of the court's findings of fact and

         conclusions of law, including its order, to the applicant's counsel: Benjamin Wolff and Joanne


                                                          50
                       •                                       •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 136 of 257




Heisy: Office of Capital and Forensic Writs; 1700 N. Congress Ave., Suite 460; Austin, Texas

78711, and to the State: Lori DeAngelo; Harris County District Attorney's Office; 1201 Franklin;

Houston, Texas 77002-1901.


BY THE FOLLOWING SIGNATURE, THE COURT ADOPTS THE STATE'S PROPOSED
FINDINGS OF FACT AND CONCLUSIONS OF LAW IN CAUSE NO. 1384794-A.




SIGNED this   .J:l of_---+-j)~~""""'~"-----'
                   day                             2016.




                                             ~~~
                                            RENEE MAGEE
                                            Presiding Judge
                                            3 37th District Court
                                            Harris County, Texas




                                              51
                                                        •                                •
                                      Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 137 of 257




                                                      State's Writ Exhibit B

                                       · Affidavit of trial counsel Cornelius
       .'     ·,            .




                                                                                                                                       c,

                                                                                                                        .   .:              '·         :,'          .·

                                                                                                                               >       ..        _,


                                                                                                                   . ~ ,....            • • •' : c                       • '


                                                                                                                                        \             ·.



                                                                                                                   . . . '·.:·'! .... ..




                                                                                                                    .       ' ' ,.. ,




            ...      '·.




•.··:" ....            -'        .

                                                                                                                               .        '/                      '




                                                                                                                                   ... , ...
                   - ,·'
             ''

                   ·.,-" ..1 ' .•




  .·. '> ' ...
'·•                              .
                                ~·.




                                                                                                                        .          :         ·..           ,.
,··.
                                  •                                          •
           Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 138 of 257




                                                         1384794- A

             STATE OF TEXAS
                                                                   AFFIDAVIT·
             COUNTY OF HARRIS
                     My name is R P. CORNELIUS. I am an attorney licensed to practice law in the State of

             Texas since 1972. My bar card number is 04831500. My office address is 2028 Buffalo Terrace,

             Houston, Texas, 77019, and my telephone number is (713) 237-8547.

                    I am also admitted to the bar in good standing in the United States District Court ForTh~

.,,...       Southern District Of Texas and the Fourth, Fifth, and Eleventh Circuit Courts Of Appeals, as_ ~ell       "
             as, the United States Supreme Court. I am Board Certified in the field of criminal law by the Texas

             Board of Legal Specialization. I am a fonner Assistant District Attorney for Harris County, Texas,

             and a fonner Assistant United States Attorney for the Southern District of Texas. My Notice Qf

             Appearance And Motion To Appear Pro Hac Vice has been approved~ State or Federal court in the

             following states: California, Connecticut, Florida, Illinois, Louisiana, Mic~gan, New Hampshire,

             North Carolina, and Virginia I have never been found ineffective, denied admission, or disciplined

             by any court.

                    I have been ordered by the Court to provide an affidavit answering several issues which have.

             been presented to me as potential grounds for an allegation of ineffective assistance of counseL

                    ·rdid representOBEL CRUZ GARCIA         mthe capital murdercase for which apost con~icti~n
             writ of habeaS corpus has been filed and I will provide my answers to the questions I have beeri

             asked to respond to, but only because I am ordered to do so. It puts me at cross-purposes and

             requires me to say things that are not in the best interest of my client whom I gave a part of my life

             to defend and with whom I sat next to day after day injury selection and in the trial and with whom

             I made decisions with and suffered with.

                    I am well aware that the procedure that must be followed in these cases requires the writ-

            lawyers to essentially play devil's advocate and challenge every decision made by the trial lawyers

            wipeJes!ft}li.f)nd commitment to the client and the law is immense. I don't know the writ ,

           lawy~=~~. or what their actual experience is, and particularly if they have ever defended
         nme· NOV 28 2 . .,...,c
             ~~~~~~~----

         BY.--~~~~~-----
                           •                                                                •
                                                                                                                                                                 1':,              . '',
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 139 of 257




 a single case like this one or not, but I do know their responsibility and I accept it as a part of the

system.

          In an effort to get this affidavit before the trial Judge who actually tried this case, before she ·

 leaves the bench, I must also add that I am ftling this affidavit without the beQ.efit of my own file

 which I loaned to the writ lawyers with the complete understanding that I was not making a copy'anq: . ·
                                                                                                                                                                 ,,         ·'           :'
                                                                                                                                                                            .... ,..
                                                                                                                                                                      ...,·.       •.
they would return the file to me, but they have refused to return it.

          Before I attempt to answer the specific q11estions my experience might be helpful. I have.. :

 been trying death penalty cases since 1976 and have tried quite a few and have tried them from both;· . · .
   •             ..   •.     ,   '   •        ·•.   •!   "·'•   •   '   ...       :   ,--   '   •   .   ....   •   .'   '   .,   •·•   .       .•    ~'., ...          :       -       '.,




 sides of the table. There have been psychological issues; witness issues and. decisions; exp~rt'~ ,' .                                             •   •   J~                     '




 witness issues and decisions; DNA issues; mitigation issues and decisions; and juror issues in e~eiy·
            ..                                                                ;   '                                                        .   ~    ,, ~; .:

 one of them and in virtually all of the non-death capital cases I have tried, as well as, these sairl.e ..

 issues in many of the other criminal cases I have tried since 1972 when I first began my practice., "

All of my practice has been in criminal law. Suffice it to say, even though I am only a lawyer an<J:

 not a psychologist, or DNA anatyst, and certainly not a mind reader I have ~ lot of experienc~~i~
 trying criminal cases and making decisions in real tim:e with a lot on the line and without the be~~fit

 of years of analysis after the fact. The truth is I trust my instincts in trial.

          I do hope this is of some assistance to the Court and to counsel.

 rw·ould like to make a·generahtatenient which will.appiy to a number of the allegations.in·tfi~--- .
 writ:
                                                                                                                                                                      .-.
          To make certain that I remember this correctly I conforred with Mario Madrid, JJ Gradoni,

 and Edna Velez; my co-counsel, our lead investigator, and our mitigation investigator, (those who

 had the most contact with the client), to see iftheir respective recollections were the same as mine

 and they are. Mr. Cruz Garcia would not discuss the facts ofthis case with us. At all. He ·refused

 to discuss it with us. His statement was that God would deliver him. God would send angels to·

protect him. God would turn the witnesses tongues into snakes. And other things like this. He

 would talk with us but not about the case. He had no intention of testifying and did not want his

 consulate contacted, at least with respect to helping defend the case.
                                   •                                            •
             Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 140 of 257




                      I have included the affidavit ofJJ Gradoni for further specific information on some ofthese
              allegations.
                      Here are my answers to the specific questions:
              1.      Why not hire a DNA expert.

                      I do not hold myself out to be a DNA expert but I must stress that I have been involved with

              DNA evidence in my trials since it arrived. I do know a lot about DNA evidence. I do not find the

              arguments advanced in applicant's First Ground For Relief compelling. I poured over the DNA

              evidence in this case and made the best record and argument I could to suppress it but at the end of

              the day the State's evidence at the hearing clearly showed that, even though the crime lab had been

              in shambles, this evidence, which was tested and re-tested, had been sufficiently preserved. Other
              than the arguments I made and the evidence I presented I do not see what other attack I could have.

              made. It is not hard to find an expert to give an affidavit that, in his or her opinion, the DNA testing?

              was flawed but it is not that easy in trial with experienced Assistant District Attorneys trafued in

              DNA evidenc~ waiting to cross examine them. I did not think and do not now think we were going

              to win that issue with the jury. What we needed to do, in my opinion, was to create a reason~ble

              argument to show how his DNA could be there without him being involved in the murder, which we

              attempted to do by arguing a consensual sexual relationship.

              2:3: · Did tlie.defendaiit have consensual sex with Linda Garcia •.

'-· .
•   l   .•
                      Did the defense team know of Cesar Rios, Jose Valdez~ and Hector Saavedra.
                      We attempted to develop through cross examination and argument a consensual sexual

              relationship with Diana Garcia, however without the defendant's testimony, or any witnesses to

              support it, we could not actually offer direct proof of this. If we had evidence of a consensual sexual

             relationship this would have been our best attempt to naturalize the DNA evidence. We explained

             this to him numerous times. He never told us about the alleged witnesses Cesar Rios, Jose Valdez,

             or Hector Saavedra. The defendant consistently and emph~tically told us that Jesus would deliver

             him. That Jesus would turn the State's witnesses tongues into snakes. He was not interested in
             testifying or calling witnesses, or contacting his consulate.
                              •                                   •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 141 of 257




        I have contacted the investigative team to see if any of them ever heard one word about these

 three alleged witnesses, or any other Witnesses that could help on this or any other issue, and no one

 has ever heard of them, except as shown in the affidavit of JJ Gradoni, where he explains that the

 investigators developed a "Cesar Mala Rios" from the offense reports but all efforts to find him were

 unsuccessful; and further, Cesar Mala Rios was never mentioned by the defendant.

 4.     Did we see the State's f"IIe.
        Yes, ~any times, the files where brought to court by a number of prosecutors who worked,

 at various   tim~s,   on the case. I am also certain that the State provided me with every piece of ·

 discovery we were entitled to. Letme address what I feel is the reason this question is being asked.

 During the trial I couldn't find in my files two documents that I. needed to use for cross examination

 and each time I asked the State for another copy. Both times the State thought I was trying to imply

 that they had not followed the rules of discovery and commented that I should have come to their

 office with my file and compared every document to'inake certain that I had every piece of paper that
              .·          •   j          •




 I was entitled to. I thought that was a ridic~ous statement and said s~ on the record. The State has

 the duty to give the defense what the defense is entitled to. The defense does not have to go to their
                                                                                                      '
 office and figure it out. In both instances, however, I later found the documents in my files and told

 them so. I also expressed, sincerely, that I was not implying that they had not followed the rules of

 discovery Ijusfdidri'tWish to dehiy the trial whilcd<looked through iiteraliy     a"ihou8and pages. of
 discovery to find the one or two pages l was having difficulty fmding.

 5.     Did we investigate the issue of future dangerousness. Did we make contact with
        witnesses from Puerto Rico or the Dominican Republic.
        Permit me to delve into the future dangerousness issue for a moment. Even though no juror

 has ever been seated by me in a death penalty case where that juror has admitted that if they, in fact,

 convicted someone of capital murder they would automatically fmd that there is at least a

 "probability" that person will be a continuing threat, I know better. I certainly see why that question

 is a part of death penalty scheme and it is very helpful in eliminating intellectually honest jurors.

 But, and this is a huge "but", a great majority of potential jurors absolutely can not get paSt their
                            •                                         •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 142 of 257




 belief that they are fair minded people who want to do the right thing. But, in the serenity of the
 court room, and before they have seen the victims family cry and the crime scene photos and the
 autopsy photos and the bloody clothing, and the murder weapon, and on and on, they truly believe
 they are not hard wired to automatically find that in a case where a defendant who commits a grisly
 capital murder, it is, at least, automatically probable that he or she will be a continuing threat. By
 the way what does probability mean? [One per cent is a probability, as is 99 percent]. I have not won
 a case-on the future dangerousness question, or seen it done: I have had a few cases where the capital
 murder was the defendant's only crime and I felt it was a compelling argument to challenge the S~te
 on future dangerousness but, as I said, to no avail. Another reason for this is the State does not seek
 the death penalty on cases where the crime is an aberration or where the defendant does not have a
 history. Not even in Harris County. Unless, of course, the crime itself is so horrific that no other
 conclusion could be drawn.
          Another factor I always consider is credibility. I have found, and have spoken on this subject
 at CLE presentations, that a defense lawyer's personal credibility with a jury is the single most
 important factor in a successful outcome at trial. I did not feel we had much of a chance on the issue
 of future   dan~erousness      in this trial. I felt our best shot at punishment was on mitigation and I
 ~ought we had some good mitigation evidence and I banked on that.         I have found that people know
 ii:iliereritly or   froin some exposme to psychology that the-greatest -raw facior1il deCidliigwhElt -a
 person will do in the future is what they have done in the past. It is hard to find an expert who will
 dispute this. Experts will say that this is not always the case but, let me say again, I have had no
 success in the past with experts on future danger. I haven't used one in some time now. This is not
 to say I would never use one and I imagine there could be a case where future danger is the best shot
 for a particular defendant but not the defendant in this case. We were not going to win on future
 danger in this case, in my opinion, and I was quite clearly afraid oflosing my credibility with the jury
 by an impassioned plea that he would not be a future danger. I felt, and still feel, that if this was
 what the jury would deliberate on we would lose for sure. I am spending time on this issue to make
 it clear that this was not a rash decision, but a well thought out decision based largely on experience.
                                               •                                             •
                      Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 143 of 257




                              We did make contact With Witnesses located in Puerto Rico or the Dominican Republic.

                       6.     Why the lawyers did.not ~o to Puerto Rico and the Dominican Republic.
                              I was confident that the investigators would do a very professional and competent job and

                       nothing has convinced me otherWise.

                       7.     Did we have a mitigation expert.
                              We did not have a person who was recognized as a quote "Mitigation Expert"; however we

                       had my experience, which predates mitigation experts, at least in Harris County; we had                  ~.
                                                           ~-,           - .        t



~: ~

~ ~·<."
       ..
            '- . '
                       psychologist, with whoin I consulted      on mitigation; and a private investigator devoted to· developing .
                       mitigation evidence, With my guidance and that ofth~ psychologist.'
       ':,\
                              Let me. give some background on this. This case came to me at a time when the Harri.s'

                       County Commissioners Court cut indigent defense spending across the board. To my knowledge·

                       all of the "Mitigation Experts"in Harris County,ofwhich there were not many at that time, refused·

                       to take cases for the money the County was willing to pay and I was forced to look out of county,

                       which I did but to no avail. I contacted "Mitigation Experts" in Dallas and Fort Worth and none

                       would even consider the case. I then got Judge Magee to agree to order the County Auditor to pay

                       the original amount, which had been: reduced. as I said by the County Commissioners, but no one'

                       would take the case because they feared, and said they had heard, the County Auditor would not pay.
'-.
                       it even'ifwe had   an-Cowt Order -drrect1ng-the:n an~-iii essence, tliey said iife.is.too short-t~ lui~e t~
                       file a law suit to require Harris County to honor their debts. So I asked Judge Magee if she would

 .....        "        agree to allow me to hire a psychologist to consult with on any matter of mitigation and she agree&·
              . ''-
                       So instead of a "Mitigation Expert", who would be paid $75.00 an hour, the County got to pay my

                       psychologist $250.00 an hour. As it turned out there really were no psychological issues to be

                       developed.

                               I did not see, and do not now see, what could have been developed by an anthropologist or·

                       a sociologist.

                       8.     Defendant's consulate.

                               The defendant expressed no interest at all in receiving help of any kind from his consulate.
                               •                                       •
    Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 144 of 257




                He was given his warnings about this and it was reiterated by us and his response to almost

     everything was that Jesus would deliver him.

     9.         Trial court's report of the conversation with juror.
                There is a huge difference between what we knew at the time and what has been said after

     the verdict was rendered. Based on what I knew at the time:

                        A. I thought it was recorded and a part of the record and could be reviewed on appeal
)

                        if necessary.

                        B. I trusted the Judge to do what she thought to be the appropriate action in the ,

                         situation.

                        C. I do not now think the Judge did anything improper.

     10.        Not calling attorney Michael Casaretto.
                Honestly, after the Judge's thorough description of the event, as related to her by Mr.

     Casaretto, and particularly her notes of the event, I felt that it was insignificant but noted to myself

     that it was· recorded in the record for appellate counsel to consider on a     eal.




                                                              R. P. Cornelius


               SWORN TO AND SUBSCRIBED BEFORE me on this
       N:,,,,l, rYl be ./"                            ,
                                                                          ~.,#(,y          of
     ~LJL..._,:;:....:;II-=:~'C_ _ _ _ _ _,   2016.



                                      .....

                e
               r"'".....;.o-~~~~..,.~..,. ~~~~
                           JULIA C PATTERSON
                                      1558480
                          NOTARY PUBLIC, STAT! OF TliXAI
                             MY COMMISSION EXPIRES
           ·                    OCT; 2.6a. 20~0
                                                           •                                •
                                         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 145 of 257




                                                         State's Writ Exhibit C

                                               Affidavit of trial counsel Madrid


,<,·.:        '
I;'    .   .r.; .   ' ,.    ·~.-   ' '                                                                                ,',   :····   .

       '·
f                       ~   •




 ~    ...           .
                                     •                                          •
           Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 146 of 257




                                                         NO. 1384794-A

               EX PARTE                                          §    IN THE DISTRICT COURT
                                                                 §
                                                                 §    337tb JUDICIAL DISTRICT
                                                                 §
               OBEL CRUZ GARCIA,                                 §    HARRIS COUNTY, TEXAS
               Applicant                                                                                           .........   ,   ...... .
                                                                                                                                    ..

                                                                                                                          /        ...
                                           AFFIDAVIT OF DEFENSE COUNSEL
                                                                                                                                              .,..

                                                                                                                          '· ,•          .... ·..
               STATE OF TEXAS                                     §
                                                                  §
               COUNTY OF HARRIS                                   §


                      On this date, November 25, 2016 was placed. under oath and stated the following            afte~
               being duly sworn:
.   ~·



                      "My name is Mario Madrid. I am over the age of eighteen, and I am competent to make·

               this affidavit. I am an attorney licensed to practice in the State of Texas since 1996. My bar <?a.t:d . •·

               mimber' is 00797777. My office     addre~s   is 440 Louisiana, Suite)225, Houston, Texas 77002, ,.

               and my office telephone number is713-877-9400.- ··

                      "I have·been ordered by the Court to provide. an affidavit respondmg·to)en questions.{

               did represent Obel Cruz Garcia in the capacity as Seco~d Chaif. R.P. Cornelius was lead coun5el.

               I am answering these questions to the best of my recollection without the benefit of my file or the

               file ofR.P. Cornelius as we both loaned our files to the writ lawyers with the understanding that

               the files would be returned. However, at the time of the writing of this affidavit, the files have

               not been returned.

                 FlL.ED
                    Chris Daniel
                    District Clerk

         nme:      NOV 2 8 2016 .1/.)o
         By,       tft!l;J"Jiif• . ~ .
                         DeputY             ·
                             •                                          •
       Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 147 of 257




         State whether counsel considered hiring a DNA expert to assist before and/or during trial,
         and counsel's reasoning for his ultimate decision not to retain such an expert.

                "Lead counsel R.P. Cornelius made the decision regarding whether or not to hire a DNA

         expert. Neither of us believed that we would win that issue With the jury. I agree with him that

         the best trial strategy and the strategy we discussed, was to create a reasonable doubt to show

        how Cruz Garcia's DNA could be present Without him being involved in the murder. We

        attempted to do this by arguing a consensUal sexual relationship. We were hampered in our

        defense because our client would not discuss any facts of the case. He insisted that God would

        set him free but refused to discuss the case.
"'',


        State whether counsel investigated the allegation that the applicant and Diana Garcia had a
        consensual sexual relations~ip, whether counsel was aware or should have been aware that
        the defenda':lt had a sexual relationship with Diana Garcia.

                "We attempted to development the theory of a consensual relationship through cross

        examination and argument.' As I stated previously, Mr. Cruz Garcia would not discuss any facts

        of the case With· defense counsel or our investigator. We could not offer direct proof a consensual

        relationship without the defendant's testimony or any witnesses to support the possible

        relationship .. Our investigator, J.J. Gradoni- made efforts to speak with all Witnesses: ·However;

        there were no Witnesses who could provide testimony of a consensual sexual relationship·

        between Obel Cruz· Garcia and Diana Garcia.

        State whether any source provided the names of potential witnesses Cesar Rios, Jose
        Valdez and Hector Saavedra, whether counsel was aware of these witnesses, and whether
        counsel interviewed these witnesses in preparation for trial.           ·

               "Mr. Cruz Garcia never mentioned any of these witnesses. As I mentioned previously, I

        do not have the benefit of my file or Mr. Cornelius' file, but per the affidavit of investigator

        Gradoni, Cesar Rios was listed in the offense report. Mr. Gradoni made efforts to locate Cesar

        Rios but was unsuccessful.
                      •                                         •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 148 of 257




 State whether counsel reviewed the State's file in preparation for trial.

        "Yes.


 State whether counsel investigated the issue of the applicant's future dangerousness and
 whether counsel inade contact with any potential witnesses in Puerto Rico or Dominican
 Republic.

        "We did make contact with witnesses located in Puerto Rico and the Dominican

 Republic. As I recall we presented evidence of courses or bible classes that Mr. Cruz Garcia

 attended while in prison. We also presented a witness that testified to Mr. Cruz Garcia's positive

 influence on him while he was an inmate at the Harris County Jail.



 Explain counsel's decision not to personally travel to Puerto Rico or the Dominican
 Republic to investigate the applicant's background.

        "I, along with lead Gounsel R.P. Cornelius were confident that the investigators would do ·

 a professional and competent job and nothing has convinced me otherwise.



 State whether counsel considered using a mitigation specialist, anthropologist, or
 sociologist to assist at trial and explain counsel's decision regarding hiring such an expert.

        "Lead Counsel Cornelius made the decision on the hiring of a psychologist and an

 investigator that worked on the mitigation, apart from another investigator working on

 investigating criminal case. I was in court when Mr. Cornelius spoke with the Judge regarding

 the difficulty of hiring a "Mitigation Expert" after the Harris County Commissioners Court cut

 indigent defense spending. Mr. Cornelius could not find a mitigation expert willing to accept the

 case under the County's new pay rate. The Judge agreed to pay for psychologist to consult with

 any of matter of mitigation and an investigator devoted to mitigation evidence.
                      •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 149 of 257

                                                                             •
 Defendant's Consulate

        "The defendant expressed no interest at all in receiving any help of any kind from his

 consulate. He was given his warnings about this and it was reiterated by us. He had no interest in

 having us contact the consulate.


 Explain counsel's reasoning mchoosing not to object to or specifically request the trial
 court to rep()rt its conversation. with juror Angela Bowman on the record.

        "My recollection is that Jhe Judge informed us of the situation and that we were told that

 the Judge would speak with the juror in chambers with the court reporter present to make a

 record for appellate purposes.

 Explain counsel's reasoning for not personally calling attorney Michael Casaretto to·
 investigate the conversation he claimed to have overheard between two jurors on the
 elevator.


        "My recollection is that the Judge informed us of the event and gave us a thorough

 description as related by Mr. Casaretto. I recall that speaking with Mr. Cornelius about it and



 forming the Opinion that it iS Was   insigrufican-~-0~Jt-:_,.
                                                          ~,.L···!C·...:..o~~-·
                                                          t.;;.·             =::::·::::::.··_·- - - - - - - - - - - -




                                                  MariiMacfrid, Affiant


        Sworn to and subscribed before me on this the 25th day ofNovember, 2016.




                                                           :l''~~!'r~';',~   JACQUELINE VANESSA KAMAIE
                                                         ~~~-.t>'\ Notary PubliC. State of Texas
                                                         \~}.~ ••=..     J
                                                                     My Commission Expires
                                                           ~~·or,~$..            March 3112018
                                                              ''mtt''
                                                  •                                •
                                Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 150 of 257




                                                State's Writ Exhibit D

                                       Affidavit of defense investigator
' '..·.
               ,,,
                     ·.'
                                                   Gradoni
'          . ·. .




    ..    '•         ' \.-

          .,         , .. : .




'··.:. ·.. ··....
                      ,,   '
                                           •
           Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 151 of 257



                                                         I 3~4-1q4- A
                                                                                      •
                                                                  33/+k \)i*iC.f Go~r{
                                                               SWORN AFFIDAVIT

                         STATE OF TEXAS                             §           KNOW ALL MEN BY
                                                                    §
                                                                    §
                         COUNTY OF HARRIS                           §           THESE PRESENTS


                         .         My name is_ J~ Gradorti. I am the owner of. Gradoni & Ass.ociates and
                         hiw,e operat~d a ~tate of Texas li~ensed ~vestigatfve finri since 1988 (28 years).
                         Prior to: entering_ the private sector I worked as a police officer for,12 years. I have
~:   .                   a gre,at deal" of experience hi investl'gatbig._criminal cases and have worked with
                         Mr. R.P .' Skip CorneliUs on a· great number of cases over the last 20 years, with
                         empha.Sis
                              . . '
                                     on· capitai
                                           .
                                           ~·. .
                                                  murder cases. We. have had great success on many of our
                                                     .   ~..


                         cases ...

                                 In 20 11~ J was the lead investigator on the Obel· Cruz Garcia capital
                         murqer case; It was at a time when Harris County was cutting back on paying
                         mitigation experts and investigators. in the Cruz Garcia case I had an agreement
                         with . Mr. Cornelius ·to ' dO' both. the :·criminal· investigation and the mitigation
                         investigation; I assigri_ed Edna Vel~~;, a native of Puerto Rico, as the lead. on the
                         mitigation aspect becaus(of her background;· specifically her experience as a
                         Customs agent, her Spanish speaking skills, and her knowledge of Puerto Rico
                         an~ the Dominic~· Republic. :gdna reported directly to me and Mr. Cornelius and
                         had Dr: Susana· Rosin, Ph.D. to comer with if she chose to. I, myself and virtually
                         all of my staff, worked on the facts and legal defenses of the case.

                        - --- ---Edna and-Tweilff<fthe Dominican Republic-and-located--and-interviewed-
                         witnesses, took photographs and obtained. very· usc;;ful and important information
                         for the lawyers to use in mitigation: We attemp~ed to locate 'any known relatives
                         or friends of the defendant.                          ·       ·               ·
                                                    _)

                                 Cruz Garcia was visited 7 times at the Harris County Jail by Edna Velez. I
                         was present during two of the interviews, and Attorney R.P. Skip Cornelius was
                         present on two of the interviews. We gave Cruz Garcia every opportunity to tell
                         us about any person that could possibly say anything good about him, which
                         produced negative results. Cruz Garcia was not very forthcoming about much of
                         anything with respect to the case because, as he informed me, God and Jesus were
                         goirig to deliver him and he was not really concerned about being convicted. Cruz
                         Garcia told me, amongst other things, that God would change the witnesses'
                "D       tongues into snakes and they would not testify against him. Cruz Garcia was not
                       11
                jjJ    iLL ED
                      Chris Daniel
                      District Crerlr

         nma·     ~OV 28 2016 J:,w
                            ou ty, Texaa
         Bv._--t1~~~~-
                    ••                                               •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 152 of 257




      interested in contacting his consulate in the Dominican Republic or anyone else,
      to my knowledge.

             Cruz Garcia never told myself or Edna Velez anything about Jose Valdez
      or Hector Saavedra.

              Cesar Mala Rios was identified in the offense report as an associate of
      Diana Garcia. As a result of this documentation we conducted database searches
      to identify current addresses and phone numbers for Cesar Mala Rios, along with
      establishing his criminal history and rap photograph. Efforts to make contact with
      Cesar. Mala ·Rios at addresses we developed were not successful. Attempts to
      make contact 'with Cesar Mala Rios by the phone numbers we developed were not
      successful. Cruz Garcia never asked us to locate and contact Cesar Mala R)os.

             Because Cruz Garcia's DNA was found in the rape kit of Diana Garcia,
      the woman whose son was killed (she said he raped her that night), we asked Cruz
      Garcia if he could explain how his semen was found in the rape kit on more than
      one occasion. On May 2, 2013 Cruz Garcia responded by saying "the day of the
      alleged incident there was a lot of people in her apartment (referring to Diana's)
      and a lot of things happened. The truth will come out during trial.". The second
      time Cruz Garcia was asked about the DNA, on May.20, 2013, Cruz GarCia was
      asked it he had had consensual sex with Garcia. He· responded by saying ''there
      was always lots of people at Diana's apartment and everyone entered every room
      without asking permission." When Cruz Garcia was told that his response was not
      acceptable he continued to avoid answering the question. Cruz Garcia then stated
      that when Diana testifies it will be noted that it was him that took care of the little
      boy when she did her thing. Everything will be revealed in the trial because God
      will convert their "fongue~f into sn8Kes a:nd· they will ohly be able· to· tell tlie truth. ·-

              On June 3, 2013 when asked about the" DNA, Cniz Garcia answered again
      that the truth was going to come out during trial and Diana had to tell the truth.
      Cruz Garcia also questioned the reason the DNA was such a "big deal," because
      the rape was not one of his charges.

             Each and every time members of the defense team spoke to Cruz Garcia it
      was with the assistance of Edna Velez, who was a certified interpreter with the
      Customs Service. I have no reason to believe that our questions to Cruz Garcia
      were not clear and concise nor were his responses to our questions not translated
      properly into the English language.
                                               •                                      •
                       Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 153 of 257




                                    I can read and write the English language. I have read the foregoing
                             Affidavit, which I have made and the statements are true and correct to the best of
                             my knowledge and belief.

                             FURTHER THE AFFIANT SAYETH NOT:




                                                          Printed Name


                             Subscribed and sworn to befo~e me, a Notary Public, in and for the State of Texas,    (   '

                             County of Harris, on this the I~-.)_) day of tJ~y U'l\.b.e.<20~


  ..   ~.




       ..,·,·                      KAYl.A KOENIG
y.,t'-                         Notary 10 II 126626427
                               My CommiSSI!in fxp~res     County                        State
                                September 13. 20 20




~ (.            ....
            ,._.-''
                          •                                •
        Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 154 of 257




.....
                             •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 155 of 257

                                                   CHRIS DANIEL
                                        HARRIS COUNTY DISTRICT CLERK
                                                                                  •
   December 29, 2016

   DEVON ANDERSON
   DISTRICT ATTORNEY
   HARRIS COUNTY, TEXAS


  To Whom It May Concern:

  Pursuant to Article 11.07 ofthe Texas Code of Criminal Procedure, please find enclosed
  copies of the documents indicated below concerning the Post Conviction Writ filed in
  cause number 1384794-A in the 337th District Court.

  D    State's Original Answer Filed

  D    Affidavit

  D    Court Order Dated

  D    Respondent's Proposed Order Designating Issues and Order For Filing Affidavit.

  C2J Respondent's Proposed Findings of Fact and Order December 29, 2016
  D    Other




  Enclosure(s)- STATE'S PROPOSED FINDINGS OF FACT AND ORDER




                1201   FRANKLIN   •   P.O.   BOX   4651 •   HOUSTON, TEXAS   77210"4651 • (888) 545-5577

  PAGE I OF I                                                                                         REV: 01-02-04
                             •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 156 of 257

                                               CHRIS DANIEL
                                       HARRIS COUNTY DISTRICT CLERK
                                                                                 •
  December 29, 2016

  JOANNE HEISY
  OFFICE OF CAPITAL AND FORENSIC WRITS
  1700 N. CONGRESS AVE., SUITE 460
  AUSTIN, TEXAS 78711

  To Whom It May Concern:

  Pursuant to Article 11.07 of the Texas Code of Criminal Procedure, please find enclosed
  copies of the documents indicated below concerning the Post Conviction Writ filed in
  cause number 13 84 794-A in the 3 37th District Court.

  D    State's Original Answer Filed

  D   Affidavit

  D    Court Order Dated

  D    Respondent's Proposed Order Designating Issues and Order For Filing Affidavit.

  ~ Respondent's Proposed Findings of Fact and Order December 29, 2016

  D    Other




  Enclosure(s)- STATE'S PROPOSED FINDINGS OF FACT AND ORDER




                1201   FRANKLIN   •   P.O. Box 4651   •   HOUSTON. TEXAS   77210-4651 • (888) 545-5577

  PAGE I OF I                                                                                       REV: 01-02-04
                  •                                 •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 157 of 257




              IN THE 337TH JUDICIAL DISTRICT COURT
                      HARRIS COUNTY, TEXAS


                                                                                 fJ)
                                   )     Trial Cause No.                    ptlo~
EX PARTE                           )     1384794-.1\ f:~~ff 131
Obel Cruz-Garcia,                  )
           APPLICANT               )
                                   )
                                   )


         MOTION TO RECONSIDER ORDER ADOPTING THE
         STATE'S PROPOSED FINDINGS WHOLESALE AND ·
                 TRANSMITTING SAME TO CCA

                                BENJAMIN WOLFF (No. 24091608)
                                Director, Office of Capital and Forensic Writs
                                (E-Mail: Benjamin. Wolff@ocfw.texas.gov)
                                GRETCHEN SWEEN (No. 24041996)
                                (E-Mail: Gretchen.Sween@ocfw.texas.gov)
                                JOANNE HEISEY (No. 24087704)
                                (E-Mail: Joanne.Heisey@ocfw.texas.gov)
                                Post-Conviction Attorneys
                                Office of Capital and Forensic Writs
                                1700 N. Congress Avenue, Suite 460
                                Austin, Texas 78701
                                (512) 463-8600
                                (512) 463-8590 (fax)

                                Attorneys for Applicant



                                                   FILED
                                                    Chris Daniel
                                                       District Clerk
                                                       JAN 11· 2017
                                             Time: ·     1o·.3?J /.J r1
                                             ~----H~~~rls~C~ou~n~-·-Th-xa_s__
                                                           Deputy




                                                                           :01106
                                   •                                   •
                Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 158 of 257




                                IN THE 337TH JUDICIAL DISTRICT COURT
                                        HARRIS COUNTY, TEXAS



                                                      )       Trial Cause No.
~'.             EX PARTE                              )       1384794
                Obel Cruz-Garcia,                     )
                           APPLICANT                  )
•:\

                                                      )
                                                      )
("         ..
•
(.,"
                           MOTION TO RECONSIDER ORDER ADOPTING THE
                           STATE'S PROPOSED FINDINGS WHOLESALE AND
                                   TRANSMITTING SAME TO CCA

                      Obel Cruz-Garcia, by and through his attorneys of record the Office ofCapital
 i,




                and Forensic Writs (OCFW), respectfully requests that this Court reconsider its

      :·        order, entered December 29, 2016, adopting wholesale the State's proposed findings

                of fact and conclusions of law and transmitting the case to the Court of Criminal

                Appeals. The Court's Order violates the procedure outlined in Article 11.071 of the

                Code of Criminal Procedure and deprives Mr. Cruz-Garcia of due process.

                                            RELEVANT BACKGROUND

                      Mr. Cruz-Garcia is confined under a sentence of death pursuant to the

                judgment of the 337th District Court, Harris County, Texas, which was rendered on

                July 19, 2013, 3 CR at 104, 1 and entered on July 22, 2013. 28 RR at 3-6.



                1
                 "CR" refers to the Clerk's Record in Mr. Cruz-Garcia's trial. "RR" refers to the
                Reporter's Rt:cord in Mr. Cruz-Garcia's trial.
                                                          1


                                                                                            :.01107
                     •                                    •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 159 of 257




      Mr. Cruz-Garcia filed his Initial Application for Writ of Habeas Corpus

(Initial Application), pursuant to Article 11.071 of the Texas Code of Criminal

Procedure, in this Court on August 28, 2015. The State filed its Answer to Mr. Cruz-

Garcia's Initial Application on February 23,2016.

      At a hearing held on August 8, 2016, this Court signed an order requiring Mr.

Cruz-Garcia's trial counsel to submit affidavits responding to the allegations of

ineffective assistance of counsel raised in Mr.   Cruz~Garcia's   Initial Application. At

that same hearing, Mr. Cruz-Garcia urged a motion asking the Court to designate

controverted issues of material fact to be resolved pursuant to Article 11.071 of the

Texas Code of Criminal Procedure before proceeding with findings of fact based

solely on pleadings that included plainly contradictory assertions of material fact.

See Tex. Code Crim. Proc. Art. 11.071 § 8(a) ("[A]fter the last date the state answers

the application, the convicting court shall determine whether controverted,

previously unresolved factual issues material to the legality of applicant's

confinement exist and shall issue a written order of the determination."). At that

time, the Court indicated that the necessity of designating issues not resolved by the

affidavits from trial counsel would be addressed only after trial counsel's affidavits

had been submitted. 2


2
 Undersigned counsel has left several messages with the court reporter over the past
several months since the hearing requesting a transcript of the hearing but has not
yet received a response.
                                          2


                                                                              : 01.:108
                             •                                    •
         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 160 of 257




                On November 8, 2016, Judge Renee Magee, the judge formerly presiding over

         this Court, lost her bid for reelection. In addition, current Harris County District

         Attorney Devon Anderson was defeated by Kim Ogg, who ran on a reform platform.

               On November 28, trial counsel filed the ordered affidavits. The next day, the

         State filed a motion for proposed findings of fact and conclusions of law (FFCL ).

         On November 30, Mr. Cruz-Garcia served on counsel for the State and Judge Magee

         his opposition to the State's motion for proposed FFCL, noting that the Court had

         yet to make a determination as to whether each of the various claims raised in Mr.
~·   .

         Cruz-Garcia's Initial Application presented controverted issues of fact and, thus,

         whether those claims would be governed by Section 8 or by Section 9 of the

         governing statute. Mr. Cruz-Garcia further noted that his counsel had not yet been

         served with the affidavits from trial counsel and that,. in any event, counsel would be

         unable to prepare proposed FFCL by the State's proposed deadline-December 22,

         20 16-as they were currently engaged in an evidentiary hearing in another capital

         case. Nevertheless, on November 30, Judge Magee signed an order for the parties to

         submit proposed FFCL by December 22. 3 Mr. Cruz-Garcia did not receive the order

         until December 6, less than three weeks before the deadline.


         3
           It has been consistently represented to the OCFW by both members of the Harris
         County District Attorney's Office and various Harris County court staff that it is the
         regular practice in Harris County that judges will not rule on a motion unless it is
         presented in person by the attorney sponsoring the motion. Counsel for Mr. Cruz-
         Garcia were not present when the Court signed the State's proposed Order, which
                                                   3

                                                                                     :01109
                    •                                   •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 161 of 257




      On December 16, 2016, incoming District Attorney-elect Kim Ogg

announced that she intended to take the office in a "new direction" and that "change

is coming" to the Office of the District Attorney, and dismissed 37 prosecutors, over

ten percent of the prosecutors in the office. See, e.g., Brian Rogers, "Shake-ups

begin at DA's office as Ogg moves toward taking office," HOUSTON CHRONICLE,

December     16,   2016,    available    at   http://www.chron.com/news/houston-

texas/article/Shake-ups-begin-at-DA-s-office-as-Ogg-moves-1 080 1298.php.          In

announcing the staffing changes, District Attorney-elect Ogg stated that her

administration will "not have a win-at-all-costs· mentality, that we would prize

fairness and transparency and equality" and that "the leadership decisions that l

made are directed to that view." Meagan Flynn, Incoming DA Kim Ogg Prepares to

Fire Dozens of Prosecutors, HOUSTON PRESS, December 16, 2016, available at:

http://www.houstonpress.com/news/incoming-da-kim-ogg-prepares-to-fire-dozens-

of-prosecutors-9034 28 9.

      At a hearing held in this Court on December 22, Mr. Cruz-Garcia renewed his

objection to the Court's order for proposed FFCL in violation of the statute and

without affording him an opportunity to present evidence in support of his claims




suggests that either the State approached the Court with its motion ex parte or the
Court broke with established protocol in order to grant the State's premature motion.


                                         4


                                                                         :01110
                                •                                  •
         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 162 of 257




             for relief. The Court denied Mr. Cruz-Garcia's motion to reconsider the order and

         stated that counsel would be given until December 27 to submit proposed FFCL and

         that the she intended to sign FFCL before leaving the bench. At that same hearing,

         the Court notified Mr. Cruz-Garcia for the first time that the Court considered the

         August 8 Order for Filing Affidavits to be an Order Designating Issues for all

         purposes and all claims, notwithstanding the presence of other disputed fact'-;lal
f . •,
' .
~:
i        issues based on the face of the parties' pleadings.

                  On December 27, Mr. Cruz-Garcia filed a renewedobjection to the Court's

         order for proposed FFCL in violation of the statute. Nevertheless, on December 29,

         2016, the Court signed the State's proposed FFCL wholesale, without altering a

         single word. 4 Mr. Cruz-Garcia now files the instant motion to reconsider the Court's

         December 29 order as well ,as the November 30 order for proposed FFCL and to

         instead enter an order announcing whether the remaining controverted issues of fact

         will be resolved under Section 8 or Section 9, as required by Article 11.071, and

         afford Mr. Cruz-Garcia an opportunity to present evidence in support of his claims,

         as procedural due process requires.




         4
          In its haste to deny relief before leaving the bench, the Court did not even bother
         changing the style of the State's proposed FFCL; the Court's order is filed as "State's
         Proposed Findings of Fact, Conclusions of Law and Order."
                                                    5


                                                                                    =0111:1
                     •                                    •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 163 of 257




                                     ARGUMENT


      The Court's December ?9 order is improper in several respects. First, this

Court has yet to make the requisite determination as to whether each of the various

claims at issue in this Article 11.071 proceeding are governed by Section 8 or by

Section 9 of the governing statute. See Tex. Code Crim. Proc. Art. 11.071 § 8(a)

("[A ]fter the last date the state answers the application, the convicting court shall

determine whether controverted, previously unresolved factual issues material to the ·

legality of applicant's confinement exist and shall issue a written order of the

determination."). Numerous controverted issues of fact remain that are not, and

could not be, resolved by the affidavits from trial counsel. For instance, Mr. Cruz-

Garcia has alleged that members of the jury discussed the evidence in the case

outside of deliberations. See Claim Nine of the Initial Application. The State has

denied this allegation. See State's Answer at 66. The Order for Filing Affidavits does

not address this controverted fact issue,. nor could affidavits from trial counsel
         ~.




constitute competent evidence to resolve this controverted fact issue, as trial counsel,

presumably, were not present with each juror at all times throughout the course of

the trial. Moreover, the affidavits from trial counsel are inadequate to address all of

the allegations supporting the ineffective assistance of counsel claim. While the

affidavits purport to explain counsel's reasons for not pursuing certain avenues of

investigation, they are incapable of addressing what evidence was available had

                                           6

                                                                            :01112
                            •                                     •
        Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 164 of 257




        counsel pursued these avenues of investigation-an issue that is crucial to resolving

        the question of prejudice that constitutes step two of the two-prong Strickland

        analysis. See Strickland v. Washington, 466 U.S. 668, 687 (1984). 5

              Additionally, at the August 8 hearing, the Court indicated that Mr. Cruz-

        Garcia would be afforded an opportunity to submit evidence in support of the claims

        raised in his Initial Application, as due process requires. Instead, two days after trial
l.,'\




        counsel filed the ordered affidavits, and on the same day that counsel for Mr. Cruz-

        Garcia was served with the affidavits, this Court entered an order for the parties to

        file proposed findings of fact. Thus, the Court's December 29 findings and order



        5
           Beyond the fact that the Court's order for proposed FFCL was entered in
         contravention of the statute, it also did not afford counsel a reasonable amount of
         time to prepare proposed FFCL. Drafting proposed FFCL is a painstaking process
        that involves, in this case, the review of35 volumes of the Reporter's Record, which
        consists of over 5,500 pages of text, plus three volumes of the Clerk's Record, to
        substantiate factual assertions. In all other cases the OCFW has handled in Harris
        County, the district courts have allowed counsel at least 50 and often 100 or more
        days.· See, e.g., Ex parte Carl Buntion, cause no. 588227 (178th District Court)
        (allowing 127 days to file proposed findings of fact and conclusions of law); Ex
        parte Jaime Cole, cause no. 1250754 (230th District Court) (allowing 100 days to
        file proposed findings of fact and conclusions of law); Ex parte Joseph Jean, cause
        no. 13 02120 (23 Oth District Court) (allowing 100 days to file proposed findings of
        fact and conclusions of law); Ex parte Garland Harper, cause no. 1272085 (182nd
        District Court) (allowing 57 days to file proposed findings of fact and conclusions
        oflaw); Ex parte Brian Davis, cause no. 616522 (230th District Court) (allowing 56
        days to file proposed findings of fact and conclusions of law). Mr. Cruz-Garcia was
        granted less than three weeks, during which time his counsel were engaged in an
        evidentiary hearing in another capital case. At the December 22 hearing, counsel
        were granted an additional five days to draft proposed FFCL, during four of which
        the OCFW office was closed for the Christmas holiday.
                                                   7

                                                                                     :0111
                     •                                   •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 165 of 257




were entered before Mr. Cruz-Garcia had been afforded opportunity to submit

evidence in support of his claims for relief.

      Moreover, the substance of the Court's findings reveals the unreasonableness

of the Court's fact-finding process. For instance, the Court finds that the affidavits

submitted by trial counsel are··"credible." Findings at~ 64. Yet the Court of Criminal

Appeals has recognized that where the record is comprised solely of evidence

offered through affidavits, the record does not contain enough information on which

to base credibility determinations to resolve controverted issues of fact: See Ex parte

Armstrong, No. WR-78,106-01, 2015 WL 7354084, at *4-*5 (Tex. Crim. App. Nov.

18, 20 15). Indeed, the CCA has noted that as a general matter, affidavits are an

improper method of taking evidence where a district court judge must resolve

disputed factual issues involving credibility determinations. See, e.g., Manzi v.

State, 88 S.W.3d 240, 255 (Tex. Crim. App. 2002) (Cochran, J., concurring) ("Trial

judges who are confronted with contradictory affidavits, each reciting a plausible

version of the events, ought to convene an evidentiary hearing to see and hear the

witnesses and then make a factual decision based on an evaluation of their

credibility."); see also id. at 250 (Womack, J., concurring) ("That the statute

authorizes a court to make decisions on affidavits does not mean it can make

decisions of every kind on affidavit. The statute can be construed to allow some




                                           8


                                                                           :01114
                     •                                   •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 166 of 257




issues to be decided by written evidence when credibility determinations are not

involved.").

      In its findings, the Court expressly relies on statements from the trial counsel

affidavits that the Court itself deemed irrelevant to the determination of the

ineffective assistance of counsel claim and which the Court expressly excluded from

the Order for Filing Affidavits upon Mr. Cruz-Garcia's objection. When the State

moved this Court for an order for affidavits from trial counsel, Mr. Cruz-Garcia

objected to language in the State's proposed order that would have required counsel

to state what Mr. Cruz-Garcia had communicated to them regarding his consensual

sexual relationship with Diana Garcia and regarding the names of specific witnesses.

Mr. Cruz-Garcia raised this objection on the grounds that communications made by

Mr. Cruz-Garcia were irrelevant to the claim of ineffective assistance of counsel

because "[t]he duty to investigate exists regardless of the accused's admissions or

statements to the lawyer of facts constituting guilt or the accused's stated desire to

plead guilty." Rompilla v. Beard, 545 U.S. 374, 387 (2005). The Court sustained

this objection and modified the proposed order for trial counsel affidavits

accordingly. Nevertheless, in apparent contravention of counsel's duty under Texas

Disciplinary Rule of Professional Conduct 1.05 and notwithstanding the prior Court

order deeming disclosure irrelevant to the lAC claims at issue, trial counsel disclosed

privileged communications made to them by Mr. Cruz-Garcia, and the Court relied


                                          9


                                                                           :01115
                      •
upon these statements in its findings. See Findings   at~
                                                            •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 167 of 257




                                                            68 ("The Court finds ... that

the applicantnever told counsel about alleged witnesses Cesar Rios, Jose Valdez, or

Hector Saavedra.").

      Equally unreasonable is the Court's finding regarding Mr. Cruz-Garcia's

allegation of the Court's improper ex parte communication with a lone holdout juror.

The Court finds

       that the applicant offers nothing to support his allegations that
       trial counsel, during the applicant's habeas investiga~ion,
     · asserted that they were not told by the court that Bowman was a
       holdout vote and wanted to stop deliberating; that there was an
       informal conversation with the judge outside the courtroom
       during which counsel were informed that Bowman was having a
       hard time; and, that both counsel would have asked the court to
       end deliberations and ~nter a life sentence if they had known that
       Bowman was a holdout juror who desired to stop deliberations.

Findings at~ 118. Yet Mr. Cruz-Garcia was never afforded an opportunity to present

evidence or to elicit this information from trial counsel via cross-examination,

deposition, or interrogatories. Likewise, the Court finds "that neither of trial

counsels' [sic] habeas affidavits contain the statements. alleged by the applicant in

Finding ofFact 118." Findings at~ 119. Yet the Court's Order for Affidavits did not

ask counsel to state what the Court told them about her conversation with Juror

Bowman or what they would have done had they known she was a holdout juror

who desired to stop deliberations. And, more importantly, this Court never afforded




                                         10


                                                                             :01116
                                      •                                     •
             Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 168 of 257




             Mr. Cruz-Garcia the opportunity to present any evidence in support of the allegations

             he pleaded in his application.

                   As with the affidavits from trial counsel, the Court also makes credibility

             determinations with respect to affidavits submitted by the jurors. The Court finds

             that "the assertions of Bowman concerning her deliberations are suspect and

             unpersuasive in light of the September 18, 2013 affidavit of jury foreman Matthew

             Clinger which was presented during the hearing on the applicant's motion for new
!'~'..   '
·.{ ,.
             trial." Findings   at~   123. This finding is facially unreasonable in light of the fact that

             Juror Clinger's affidavit directly contradicts statements he made to the defense

             investigators, which were audio recorded. (Compare 3 CR at 635 ("JJ: So did you
                                                                  (
             read from the Bible or did you quote it from memory? MC: No, I read. JJ: Read it

             from the Bible. MC: Yeah .... After I read that ... she was able to move on from' the

             first question.") with id. at 600 ("At no point did I read directly from the Bible.")

             and id. at 635-36 ("JJ: So, after you read that was [Juror Guillote] able to say Death?

             MC: Uh, after I read that she was able to move, that was, we were finishing up

             talking about the first question and she was able to move on from the first question.

             Uh, we still talked about a lot more stuff throughout the course of the day, but she

             was able to move on... JJ: No, no, that helped her move on to question number two.

             MC: Correct. ... CK: And the people were listening, I guess, when you were saying

             this, and did it help them understand? You think it made a difference to them? MC:

                                                            11


                                                                                              =01117
•,
                                       •                                   •
                  Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 169 of 257




                  It made a difference with [Juror Guillote]. I don't know if it made a difference with

                  anyone else.") with id. at 600 ("I do not believe [Juror Guillote] or any other juror

                  changed their answers to the Special Issues based on this brief exchange.").)

                        The Court's reliance on the untested affidavits from trial counsel is made even

                  more unreasonable by the fact that the affidavits contain facially incorrect

                  representations. For instance, Mr. Cornelius states in his affidavit that counsel for
 _.   ....... .
                              -
                  Mr. Cruz-Garcia "have refused to return" Mr. Cruz-Garcia's file to him. Mr.
' '· .
J.·.
                  Cornelius has never asked counsel to "return" Mr. Cruz-Garcia's file to him. 6 This

                  misrepresentation underscores the unreliability of the trial counsel affidavits and the

                  necessity of being afforded the right to confront these adverse witnesses.



                                                      CONCLUSION

                        For the foregoing reasons, Mr. Cruz-Garcia respectfully requests that the

                  Court reconsider its order, entered December 29, 2016, adopting wholesale the

                  State's proposed findings of fact and conclusions oflaw and transmitting the caseto

                  the Court of Criminal Appeals, designate remaining disputed factual issues for

                  resolution, offer Mr. Cruz-Garcia the opportunity to prove his claims of·


                  6
                    Moreover, were any request to be made to "return" the trial file for Mr. Cruz-Garcia
                  to Mr. Cornelius, it would be up to Mr. Cruz-Garcia to decide whether to comply
                  with the request. See In re McCann, 422 S.W.3d 701, 704 (Tex.Crim.App. 2013)
                  (clarifying that a client's file belongs to the client).

                                                            12

                                                                                             :011.18
                      •                              •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 170 of 257




unconstitutional confinement, and grant Mr. Cruz-Garcia any other relief to which

he may be entitled.




                                       13

                                                                     :01119
                                          •                               •
                        Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 171 of 257




                                                           Respectfully submitted,

                                                           OFFICE OF CAPITAL AND FORENSIC WRITS


                        DATED: January 9, 2017
                                                            Joanne Heisey
                                                            Texas Bar No. 24087704
                                                            Gretchen S. Sween
                                                            Texas Bar No. 24041996
.,···                                                        1700 Congress, Suite 460
                                                            Austin, TX 78701
                                                                                                      \. r
                                                          . Telephorie: (512) 463-8502
                                                            Facsimile: (512) 463-8590
                    .
.: ' ' . ·.
              ~"·

              :·~                                           joanne.heisey@ocfw.texas.gov
                                                            gretchen.sween@ocfw. texas.gov


                                                           Post-Conviction Attorneys for Mr. Cruz-
                                                           Garcia
..      -~




                                                             14

                                                                                             :011?0
                          •                                    •
      Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 172 of 257




                                CERTIFICATE OF SERVICE

      I, the undersigned, declare and certify that I have served the foregoing to:

      Paula Gibson
      Criminal Post-Trial
      Harris County District Clerk
      1201 Franklin Street, 3rd Floor
      Suite 3180
      Houston, TX 77002

      Judge Herb Ritchie
      3371h District Court
      Harris County Criminal Justice Center
      1201 Franklin, 15th Floor
      Houston, Texas 77002

      Harris County District Attorney
      c/o Lori DeAngelo
;:.   1201 Franklin
      Suite 600
      Houston, TX 77002
      (One copy, via email)

      Obel Cruz-Garcia
      TDCJ # 9995 84
      TDCJ Polunsky Unit
      3872 FM 350 South
      Livingston, TX 77351
      (One copy)




                                                 Joanne Heisey




                                                15

                                                                                 :01121
                                              •
                 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 173 of 257

                                                         '
                                                                                                                                                                   FILE COPY

                                                                                                                                                      J'ILEn··
                                                                                                                                                        Cllrta Da ·
                                                                                                                                                                    .·       <           . · ·· ··
                                                                                                                                                         Dlstrlot'c'/J~L · .
                                                                                                                                           nn.e:.... MAY'O.f'2016 . '
                                                                                                                                           ~            Harrta CoUnt.. 1i . ·.• -·
                                                                                                                                       ...,,-=               . .      11_    exaa.r ~



                                                TEXAS COURT OF CRIMINAL APPEALS                                                                                                                  -
                                                                                        Austin; Texas

                                                                                  .MANDATE.
               THE STATE OF TEXAS,

               TO THE 337TII              DISTRICT Co'IJRT OF IIARRIS COUNTY - GREETINGS:.
                                                                                        '·'· .-.:.::.<.
                         .· ·. :      .       . •' ._\.. .        ·.~ ...:·:·..    ..       .·• ;·;, ·,     ~_:...·;:..   '· ,.'   .   .         ..    <.:    ·.        .·           .              . '.· :~·. ...
                     ·Before our COURT OF CRIMINAL'AP..PE#S, onthe OCTOBER 28, 2015; the cause upon ap'p~~l
               to revise or reverse your Judgment benveen:
                                                                             . OBEL CRUZ~GARCIA
                                                                                                          vs.
                                                                                  THE STATE OF TEXAS
·..· . ' .    .CCRA NO. AP-77,025'
                        .   ....

             ' TRIAL COURT NO~ 1384794
              was· deterrill~ed; at1d thC.n~in our said COURT OF CRIMINAL APPEALS made its order in these words:
                      "T}tis'   c·a~s:~   came on to be heard on the record                                     ofth~     Court below, and the same being corisider~d,
              because it is ibe Opinion of this Court that there was no ~rror in the judgment, it is ORnERED, ADJUDGkp
              AND· DECREED
                     ''.·' ·..
                              by. the Court that. the judgment
                                                 \       - .
                                                               be AFFIRMED, jn . accordance
                                                                                      .  .
                                                                                            with
                                                                                             .
                                                                                                 the Opinion
                                                                                                      .
                                                                                                             of. :thi~;: •.
                                                                                                                                                                                           .:· ·.: ·. ·.. ;.
                                                                                                                                                                                                      :':o::::~

              Court, and that    . .· Dedsiori .be certified below for obs~rvance.
                          . . .this
                                                                                                                                                                                          ;,,···;-·;,··
                                                                                   II
               .  .                                                         . .

                      WHE!&FORE,
                      . . . . . .··
                                    .We coill1lland.you
                                            .  ·. ·,'
                                                        to obsel'\'e the ·order. of our said COURT
                                                                                               .   OF CRIMINAL.
                                                                                                            .

             · APPEALS in this beh~lf and in all things have it duly recognized, obeyed and executed.
                                                     WITNESS, THE HONORABLE
                                                     .               .. .
                                                                            SHARON
                                                                              :. . . KELLER,
                                                                                        .


                                           . Presiding Judge of our said COURT OF CRiMINAL APPEALS,
                                                              '                                                     '




                                                         with the Seal thereof annexed; at the City of Austin,

                                                             on tlll$ day Mon~~J, 2015.                                                      '



                                                                       .          ~OSTA,Cletk
                                                                    By: Deana WiHiamson, Deputy Clerk



                                                                                                                                                                    _____ __     .       ,.---·--···']

                                                                                                                                                                   :011:22                                     .
                                   •
      Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 174 of 257
                                       .
                                       .




                                                                                                 Fit~n
                                                                                                  CIJrls: Danr 1 ·
                                                                                                  ..   ~ls.tr_l~t; ~~~~k
                                                                                   nine· MAY O.f 2Qt6
                                                                                   ~:~.;;_··
                                                                                   -r._
                                                                                        .   ·--
                                                                                             -.-.'1Hiiiarrt7hai1.~·iUi·~··~··~.~-:·;.,..,_..
                                                                                                .·. . .· : .County, Te.q. ~-
                                                                                                       ' . Dtpl.ftj .           '' I zi::i,. .. ·




                                                                                                                                         .·.·:•
                                                                                                                                          ·   ......




:-·,.
1,·     •




                                                         . NO.·AP-77,ois.


                                                 OBEL.CRUZ-GARCIA, Appellant

                                                                      v •. ·

                                                      THE STATE OF TEXAS.·
                                                         .   ··::··
                             .· . ·  . . .  ON n·IRECT APPEAL .•.     . .    ·:
                             FROM CAUSE NO. 13S4794 .IN THE 337th.DISTRICT COURT
                                        . : :HARRIS COUNTY· .
                                       .   ·'•
                            ., .

               ·.... ·. KELI,.ER, P~J., delf~ered theopf,nion of the C~ti~t in which MEYERS, JOIINSON,                                        · •·. . · .•
            . KEAStER~'ALCALA, RI¢'{tAirisb~ and YEARY,JJ.; joi~ed .. HERVEY and NEWELL, JJ.,                                             · · · .· .·
              concurred.;              r· . .                                  .
                   ..   .                         .                                          .

                   In June 2013, appellantwas convicted of capital murder and sentenced to death.' Direct




                   1
                      TEx: PENAL CODE§ 19.03(a)(2); TEX. CODE CRIM. PROC. art. 37.071. Unless otherwise
            indicated, all future references to articles refer to the Code of Criminill Procedure.
                                                                     •
                  Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 175 of 257
                                                                                          .
                                                                                      .




                                                                                                                                                                              CRUZ-GARCIA-2

                          appeal to this Court is automatic. 2 Appellant raises twelve points of error. Finding no reversible

                          error, we affirm the conviction· and sentence.

                                                                                                                              I. Background ·.
 .. , ....,.
~ ..... :··
                                                  On.Septemb~r 30, 1992, two masked intruders broke into an apartment shared by Arturo
,, ····.·:·:·




                         Rodriguez, Diana Garcia, and Dia11a Garcia;s six:-year-old son, Angelo Garcia, Jr. Diana was

                   ...   awake~edb~ aioud so~d· comirig fr~m her living-room.. Her h~band, Arturo, walked toward th~                                                                              •.

                         sotiridbut WaS_ quickly met by ala:rge male wearing a mask and'})ointing guii at him. Both Diana:
                                                                          :·,·
                                                                                              .· :~>'     ·. ~.- ' .··                               : .•.   _,
                                                                                                                                                                      a
                         .ancl Arturo
                               '
                                      testifiedth~t
                                       . . .      .
                                                  :
                                                    thiS Dl~
                                                          . .     .. t6 them, but neith~r c.ouid
                                                              spoke . .                     .
                                                                                                 underst~d him because he spoke. · ..
                                                                                                                         '.    .                                      .   ~




                         in an unknown accerit Additi()nally, they both d_escribed the man as "black~' or dark-complexione&

                     . When the initial                          res~onding officer made his report about                                            this case; he described·'oiam1's and

                         t\rnlro's assail:1pts as "black'; buttes~fi~~ ~{trial that he meant "black Hispanics."

                                  -·.·.·The rhasked.man·instructed Diana to turn face down on.her bed and then began beating.

                     .. Arturo. After                         ~iana complied wi~ theinstruction to lieface down, a second man e~tered the room
                         holding a. gun, and one of the. intruders tied ttp Diana. Arturo was tied up with the cordfrom his
                                                                                                                                                                                                       . :'   :' .~.
                             .         -     ..           .                      :·       .
                                                                                          .         .··      '.               ·.   .   '       . '                                  '   .     '
                          . ·..   .·:·.


                         al~ clock, a rag was put in'h.ls; mo\l~· and he. W~S beaten on his head with a gun whil~ ~e lrnelt by
                                                  '·,_,



                         his bed. At this point, Angelo, who had been sleeping on a pallet by th~ bed, begari crying out for
                                                                                                                                                                                                         ···::···
                         Diana.

                                             The secondiatrnaer th.ea started tooehing Diana onhet buttocks, twnedher.over so that she
                                   .       .'.'                 .                             .                                            .                      ;       .

                         was lying on her back, and put a blanket over her face~ The second intruder removed Diana's panties

     .   ·.   '
                         and sexually assaulted her. Diana testified that the assailant ejaculated during the sexual assault.

                         Arturo testified that he saw an unknown male sexually assaulting his wife before the other assailant

                                             2
                                                      Art. 37.071, § 2(h).
                                     •                                                                                                    •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 176 of 257
                                               .
                                                   -
                                                                                                                                                              '
                                               '




                                                                                                                                                                         CRUZ-GARCIA-3 ..

    placed a pillowcase over his head. All the while, Angelo, was present in the room and crying.

               Once the sexual assault ended, thetwo men ransacked the bedroom and thenleft.. ArtlJrO
                                         .                                        .                                                 ·.
                                                                                                                                                                                                                                                  ....
    testified that his pa~spQrt and abracelet were missing afterthe inbiderit. After the men left, Diana ·
                                                                                                                                                                                                                                            ',;




                                                                                                                                                                                                                                                       :     ,·.



    got up and untied Acfuro's hittds. Diana and .Arturo then, noticed that Angelo was ffiissing and

    walked into th~ir-living ;oom to look for h!!n. Uponentering_their living room, they sawthe first, .
                                             . .                .                                                                                                                                                         .·, ·:::-.·.··
    tali, masked intruder retuniiilg to:the apartment. When Diana and Arturo saw this man, they turned ·
                                                           ' . . ··..             ·: ·:=··:\::~~~--                                      .: .                                                              .   .

   and walked backirl'to their bedroom, and thtfrn~~~~~-rnan tunied andJeft the apartment.                                                                                                                         .· '

      ..... ' A,fter both,~lltruders left~·hi~a and htur~~~-ft~eif ap~'ent and began looki~g: rcirAngelo; ...
          ·.... ·   ;   ::           .         \                    ..        .         ...           :          .   ···.·.   ·.:               ·.       ::   ..     .                   \    ..
                                                                                                                                                                                                                                           ,.;·      ·.·'·


   They called out his name at _their own apaitrl1~nt complex
                                                                                                                                                                                                                                            _::.;.
                                                                                                                                    aJ1d. across the street but received·,no
   response. At some                     point~ I)iana' s neighbor _called 9,U. Houston Poli~e Dep~ent (''HPD'T .·
   responded to a 9ll call                         claimi~g that a child.. h~~ been kidrtapped from Dianaand Arturo's
                                                                                                 ····. ·
                                                                                                                                                                                                                      .

   apartinent; lJpo~ arriving,officers f~und Afnri:o injtifed and Diana distraught.' An iilsp~ctioriofthe
      '                      '                         '                 '                                                                                                              ~              .
                                                                                                                                                                    ':.


   apiutm.enfrevealedthe
       . -:,:-.·
                         bedrobm
                              ·.
                                 to be in disarray,
                                           .    · ..
                                                     with drawers pulled out ofdressers
                                                                              .
                                                                                        and items of       ·.;                             .                        ·'      '




   cJothing
     .
            strewn about. Officers found a··;'-.·:·
                .                .
                                              cigar in the living room, although attrial both Diana and
                                                            '            ..                                                         .                .                                             .
                                                                                                                                                                                                                                 ' . '>:
                                                                         ,•


   Arturo. testified that neith~r one ~f them s~oked~ ·.. . .                                                                                        •.''     ...



             Pollceofficers interView~d Diana artd Arturo ·on-scene a.qd ask~d thein whether they sold ·
                                                                                                                                                                            >'<,:·-..:··· .
   drugs. Both ~ere untruthful:· Diana was transported to a hospital for a se~ual assmilt examination.

   A·. Sexual Assault Nurse Examin€:r (SANE), Gloria. KologiHezok, testified that                                                                                          she pet fonned a ·
   sexual assault examination on Diana Garcia during the early morning hours of October I and

  produced a sexual assault kit containing evidence from Diana. ·

             On October 1, 1992, police interviewed Diana at the police station, and she came clean about

  her and Arturo's drug dealing~ She also told police that appellant was her drug supplier until




                                                                                                                                                                                         : 01125··                            ·-;,·
                                                                                            •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 177 of 257                                                                                                                                                                                                                                                                                                                                                                         . ·-- ..     -·~   ·.
                                                                                                        .




                                                                                                                                                                                                                                                                                                                                                                     CRUZ-QARCIA-:-4

        recently, when she and Arturo had told appellant that they no longer want(!d to sell drugs for him ..
                                                                                                                                                                                                                                                                                    '·
                                                                                                                                                                                                                                                                                         .•·
                                                                                                                                                                                                                                                                                             . ..... · '
        Offlc~~ lJ .P. Hernandez interviewed'b()th O.iaria and Artuio.                                                                                                                                                                                                   ArtUro testified that, when h~ spoke to
        poltc·e, he·.. n~verlied ab~ut his drUg dealillg, bt.t Offict!rHe~andeztestified to the contrar;,.
                                       .         :'                 :
                                             ....           -:~.                                                                                                        :·.... -:··
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ;·.     -·
                                   Dtiring their
                                             .
                                                 investigation, officers also_ ll}.et
                                                                                  . . with
                                                                                      .
                                                                                           or intervieWed
                                                                                                      '  .
                                                                                                           ,Leonardo German. (frie~d.                                                                    .                 .                        .                           '   .                                    .        ;   ~                  .



       of Diana                              and ArtUro), Rogello Rendtin,, Carmela Martinez Santaria
                                            ·'·                                                                                                                .        ·: .. _.··-.:•:.                               .                                .          ... ..
                                                                                                                                                                                                                                                                                                            3
                                                                                                                                                                                                                                                                                                                     (also known as "Rudy;" friend-.           .·            .      i',.                    .        .                                            ·':·-·
                                                                                                                      - .. ~ ..                            .., . ~-- ·- :, .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ,·
                                                                                    .'                                                                                                                                                            . }. .. . .,. )..                                                                       ·: i'. .                                                                                                      ,--,,.__                 ,_.    :.--


       ofappellh.nt),
         .. ... -:· .
                      and-Alige~ita
                         .. .   .
                                    Rodriguez (appellant's
                                                  ..   . ..
                                                            wife). •                    .       :. ·.                             .                .                   . ; ..                    .                             .     . ', .
                                                                                                                                                                                                                                                                                ·....
                                                                                                        -~                                                         '                                                       '
                                                                                                                                                                                                                                                                   .,
                                                                                             :,_-_:.                                                                                                                                                                                                                                                                       .....
                                   At frial, Dhina ·and Art\Jo botl} t~stifiedabout
                                                       .'                  ;.
                                                                                    th~ii relatio~ship with appellant.                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                                                                                                ArttlrO ~"

   .
       Diana~·_ ~o~d  ?cO'caine forappelfabt
                 _-. . . .· .       .
                         '":>~;-· ~--
                                              for s~~~I'lll
                                        :·. . .
                                                            years.~~h~~-qatr·tli(~~
                                                   > .... : ·, .·.            ·_ '· ·.
                                                                                       li·ved  in Houston~
                                                                                            . ... ·. ·:.                                                                                                                                                                 ·.:~                      -:--·~                                                                             >
                                                                                                                                                                                                                                                                                                                                                                                                                Ttie:Y
                                                                                                                                                                                                                                                                                                                                                                                                                 .  :_
                                                                                                                                                                                                                                                                                                                                                                                                                       'alsti
                                                                                                                                                                                                                                                                                                                                                                                                                         -  ..
                                                                                                                                                                                                                                                                                                                                                                                                                              ..

       associaie4 sodaliy with appellant
                                      ..
                                         ~d his wife,
                                             .   ..
                                                      Angelita,
                                                      .         on severai.ocd1sions.
                                                                    ..       .   ·
                                                                                      Ar~o testified that                                      .           .                                                                                                                                   .            .                             ~   ·. .                                                    ...
                                                                                                                                                       -~'-z.                                                                                                                                               '· ..__

   ·he consid~red his· rehitioriship with appetiant to be a. rrie~dty <me; _and Diana testified that Aligelita: .·
                                        I                                                                    •,               '           ,•                                        ''                                                                            '•:'                   ,     '•''                 _'       '•                      •'        .'·                             '                         ,                ',•;:~
                                                                                                                                                                                    '       ','.                                                                                                                                                                                                                                                   '·       '

   .· was h~(frieiid: A f~w mont}ls prior t() Angelo;s kidmipping; -1\.ihrr() aridDiarta t~ld 'appellcmt the)t . •...

       no longer warit~d to .sell drtigs for him, ~nd....Aitufo
                   .                     .               ".:.- ::.
                                                                   testified
                                                                    .:   .
                                                                               that this upset'appetlant.
                                                                            .,._
                                                                            ~--..          .. .    -.
                                                                                                          ·               .                                                                      ;                                                                                                              •,


                                             ·-;_:·.':          .

                          .· Art~~litaalsotestifi~qabout her:relatl~nship~ithappellant. Her cousin, Rudy, ,.\ras gqod ·: . ·. · ·

   . frie~dswith··~pp~llant~·and the three ofthe~·~ov~d,t() Houst~zi froin Puerto Rico around the sam~ ,
                                                                                                                                                                                                                                      -·:   ..                   .-.- -· .

   '
       time
         -.;,
              fu 1,989.,; •Angelita
              : :: .;_ '   :·
                                               at1d
                              , .' _' ·., ,' c,:  '
                                                    appellant
                                                     ,
                                                              shared
                                                               ' .. ,        -~
                                                                                                                                                                                an apartntent in Huinbl~, 'a'S\lbUrb ofHohstpn. Aflgelita ·.· .·
                                                                                                                                                                        '•',-t· '•          ..       .           '•'       ,   ,,     ,       (    ', . ::.          '          , , :;                      ,       •                      ~ , :. 1                         .. ·'     ;    , I ... : ...-        •                 , ,'




   te~t1fi~d that appell.¢t sm~k~d both cigatettes arid clgars anci thatl1e own·e~ a gold OldSmobil~ and - , ..
              .~ ·,:          .... ::-----       ·.         .                                                '                        - .'         ~                         ..;                                                                            .... ,       ;'•    . ...              .                                                  ',     ...-, .

   a blrie thunderbird. Angelita rnetntru1aand Arturo ilinnigh:-~~pellant bec~use or appellant's cirug                                                                                                                                                                                                                                                                                                                                         ·
                                                                                                                                                                                                                                                                                                :.··        ..... :._·:
                                                                                                                                                                                                                                                                                                              •..

                       · ... ,_.                  ·.            .       .           .       . . · .·              .······..           .                .           .·           .       .                    .                      . . .                   .                                                   .                     .              .                 .   .· .·               .                . •...       ··   ...... .
                              Angelita learned ofAngelo's disappearance onth~ ~ews on the aftt!moon ofOctober 1. ·..
              '·                                                                    '          .                          .                                                                                                                                     .·_.·

   Upon hearing ofhis disappearance, she immediately approachedappellant hi their apartment a:nd told .


                             3
                                       Several witnesses are referred to throughout the record by their nicknames. We will do the
   same.
                            Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 178 of 257




                                                                                                                                                                                CRUZ-GARCIA-5 .

                                him that Angelo had gone missing. Angelita told appellant she wanted to go see Diana and Arturo,
                                                                                                                                                         .                                    .                    .
                                but he refused to go with her. Angelita testified that appellant seemed. calm. and "normal" upon

                                hearing the news that Angelo had di~appeared, despite the·fact that Diana and Arturo were their
                                              .                                                    ·:·                 .                     .· .·

                                friends and their child had gone nussing. Appellant then told Angelita that he was leaving Houston ..

                                for Puerto Rico inimediately and began to packhis bags.

                                              Ang~lita        testified that;   d~e ·.to his sudden departQre                                        from    Ho~ston, · appellant ~issed a
                                                                                                                                                                                                                       ,.'.;,
                                      .               .                      ...       ·.·.            ;_.             .·.     -.·   .·!·.                                                            .· .··   '
                                scheduled coUrt date. He had never
                                                             .. ·.
                                                                   missed one prior to that. After appellant left for Pueito ..Rico,
                                                                                              '..                                                                                         .



                                Angelita could not atfordto c:~mtillue p~ying rent in theirJ!umble apartment, so she moved to ahoter
                                                                                                                                                                                                                                          ··.
                                                                                                                                                                                                                                         ;:., '


                                in Pasadena. Some time later, Angelita went to the Dominican Republic, where appellant was then

                                living, to ask him for a divorce.                  Appe~lant                         refused. Angelita then asked him about Angelo, and
                                          .                                                                  .

                                appellant confessed to her that he had killed him.

                                          Rudy, Angelita~s cousin, testified that he met appellant when they were both living in Puerto •
                                                                                                   .                                            .

                                Rico, prior to their initial move to Houston: Both are on ginally from the Dominican Republic. Rudy .

                               and appellant moved to Houston to sell drugs in the late 1980s, and Angelita followed them shortly                                                                                      '~~.. ,. :   .-   :· :


                               · thereafter.. Rudy and appellantwork~d together selling
                                  .                                      .           . drugs until Rudy's drug addictlon became
                                                                                               .                                                                                      .
                                  '                                                .                         .                                                  .       .   '                     .


                               too seve.t;e for him to continue· dealing. At that point, appellant took over the operation. Rudy ·. ·

                               testified that appellant was a vi~ lent,                        angry,· and controlling person.. Once when appellant thought
                                                  .                                           .                            .                                        .


 • •    •   • •   I •   •
                               Rudy was stealing drug cmtomeFs from.him, he assaultectRudy and threatened to kill h1m.
                                                          .          .                                           .                                   .                          .
...    :', : .···
                                          Rudy testified that appetlant owned three. cars: a blue Chevrolet, a blue Thunderbird, and a

                               gold Oldsmobile. Appellant routinely lent the Oldsmobile to Bienviendo Melo (also known as

                               "Charlie"). On September 30, appellant drove his blue Chevrolet to Diana and ArtUro's apartment

                               to collect his drugs and money. Rudy and Rogelio Aviles (also known as "Roger") went with him.




                                                                                                                                                                                              : 01~1.2-7~ ·•
                      Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 179 of 257
                                        ~
                                                                                                  W'.l
                                                                                                                                                                                                                                                                                                                                                                                                                                        ;·



                                                                                                                                                                                                                                                                                                                  ·,:-::              <




                                                                                                                                                                                                                                                                                                                                                                                                                                             ......
                                                                                                                                                                                                                                                                                                                                                                   CRUZ-GARCIA:-6

                             Rudy described                                              Roge~ as tall~ strongly.. built, and dark~comple~ib~ed. ·.Appellant parked his car
                                                                                                              .         .                                              ~                         .                 .                                                                    ·. .         _,.·        :.         . ..




                             behind Diana and Mufo's ap~ent~omplex andiristructedRudYt~ sit in ~e-:passenger seat while _·
                                                                                                                                                      ......

                             he and Roger
                                     . . .
                                           wenpnside.
                                              ·. ,·
                                                      Appellant
                                                       '  .. . .
                                                                 took
                                                                  .
                                                                      a .45
                                                                         . .
                                                                             calj()~r
                                                                                ·:
                                                                                      pistol \\'iili him; Roger
                                                                                   . . ·:.
                                                                                         -.                . .
                                                                                                                carrieda
                                                                                                                     ,.. .
                                                                                                                           knife,
                                                                                                                              . and .                                                                                                                                                                                                                                                          .,                      ;




                       '· ', b~fu appellant and R.6ger\vore black stockirig: htasks.
                         .                                                               '                l                                               ·.       .           ..                                                .;                    '

                                                                                                                                                                                                                                                                                                ·,    '.:•.:..


                                          ' : Apt)f(lXimately_tmrty rriiniii6~after app~ll~t and Roger lef1                                                                                                                                                                                                           the carl appellant ¢arne back with ,·:
                                                                                                                                                                                                                 • >.       •        •   .;:=.:;


                             a cbild;'in                                  ~i{am1~.:~.::~ridy re~~~it~dth~-~hit~~~s ~g¢1~ d~6i~~ Jr.·· ~hen Rud; asked Why?·
                             appellant                            w~s cafui*g ~gelo:· abpel!an~ re~~<>A~~d, ··~~<-sa~:~:." ·                                                                                                                                                                                                                              .. ,

                                      R~dy tri~~ ;() ~~J;s~?e _appell~tto 'tetrleye pian:~ ~ocare f~r~dgelbf Appellant left the c·ar
                             for the apartment ~gain; lea~ng Angelo~ith Ru~y, butte~ed ~itll Rog~rinstead OfDiana. When
                                      .                     :.   ..          ·. . .. .   . ·'     .               :·                      '       .            .                        •   . . .•   '·"                '       ..       '                     ~   .   .     ' . '·.·\      ~          .                          .                           ..               .           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                   : ... •
                                                                                                                                                                                                                                                                                                                                                                                                                                                    ..
                             appellartt renfuted, he_ told Rudy to sit iit the h~ck seat ~ithAngel6.· Appellartt mainta~ed a grip on ,'
                                                                                                                                                                                                                                                                                                                                                                                                                                                         _;._




                             his
                             ..   .
                                      gu~ while he dto~e Rudy~'Angelo,:~d
                                              ·.                  .·;"
                                                                              Rbg~rto BaYtown; 'Appell~t st~~pedthe car not far into '< ...
                                                                       '>; ·.... · ·.- ... · ·. __.· . .:-t_,.';: :, ·,·. -<: ..;:,_: ,·_.-: .
                                                                              :.              .           ·;·            ·.·. "··:,·:                 .   .'-.:_:.~-       i    ·,,,_.                                                             ~-·                            -~.                                           .~_.!··_·.:·.;'·      .... · ..... ·.:             ' : .            :-   (                 ,•, .



                                                                  ,_......                                             "\·.·


                             had gro~ co~vincedappellilflfwas gcii~g t9 ~i:ft Angell); •--··
                                                                                                                               ··,~   .                                                                            ., .                                                                              .; '                                  :.~-   .                 .    . .                                          ..

                                      ·.· •.· Appellant told Roge~, "You aliea~y 'ibtow what ~you have to do." •Rudy t~stjfiecl that. he·
                                                    '       •                  '     •                                                        .                                     -                      ' • ',,_·: ·_·;~ ,.                     '       '       •       . .•         -                   .: :;<. ,·.•• \




                             walked a~ay'fr9m the·-~~ other men ~i~~~ b~<:~e-ilJ~ derJ~at~g:h~arby. 'As R\ldY was\vall,dng ::: _·.
                                          •    ·•       •             '                               ~                                                                                          • .., ••    '                                                                                                .c .: ... :   '                                                                                •' •




                             away, h~ ~~~<i.k~~l:i,:sc~e~/-iiudy ;~~ed tq. ~e c~wh~;~ ~~;saw An,gelo ~ithbloocf on his

                             chest.                 Appe-fl:t.Otde~ed iudyandRoger t~:~ut Angelo's bodyi~:~e backseat, and:th~ycomplied.                                                             i.
                                                                                                                                                                                                                                                                                                                                                                                                                           "'.'. -

                                                                                                                                                                                                                                                                                                                                                                                                                                                    . .   ·.   ~.   .



                         Rog~r to put Angelo's ~odyitt thewater. Th~ two meno~ce again compl~ed.                                                                                                                                                                                                                                                             Rudy .and Roger piled ._.·

,., .... ;·.·•.: ..     . rocks on top ofAngeio;s b~dy to make it sink. Rud}Tt~stified,thatappeliant had his gun with him •·.

                         the entire ti~e. The three men then leftBayfown and dtove to Pasadena. On thei;way there, several

                         of their tires blew out.




                                                                                                                                                                                                                                                                                                                                                                                                     ----       ~--    ----
                                                                                                                                                                                                                                                                                                                                                                                       : 0·1128'. -,                               .-          I
                                                   •                                                    •
                         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 180 of 257
                                                                                                                                                   '•:,      ·•·.    l    ·,;:·-
                                                                                                                .
                                                         .                                                  .




                                                                                                                         CRUZ-GARCIA-7

                                   . They managed to make 1t to a hotel where appellant made Rudy and Roger swear they would

                             never tell what had happened to Angelo.                At the hotel, . the men attempted to make other

                             transportation arrangements by calling Charlie. Appellant, Rudy, and Roger eventually went to
                                    '                              :'           .          '



                             Charlie's apartment in a taxi, where they retrieved appellant's car. There, Rudy saw Charlie and his

                             girlfriend, Li~da.                                                                                                       ....        ''




                                        Linda also testified about appellant's phone call to Charlie .. In the early morning hours of
                                                                                                                                                                    ··.
                            ··October 1, 1992, Linda and Charlie were staying together at Linda's mo~er's house when they                                 •,''.           •'




                             received several phone calls fi_'om _appellarit. Linda and Charlie were both fam.iii~ with appellant ·

                             because Charlie sold drugs for appellant. Linda described appellant as controlling.
                                                                                       .                                           .


                                        when Charlie finally answered the phone around 2:00a.m., appellant asked Charlie to pick

                             him up. Charlie declined. Approximately thirty minut~s later, appellant                and 'R.udy appeared at     .
                                              '                         '                      ''   .                '               .                ,.....
                                                                                                                                                     ..



                             Charlie;s house to borrow a cat. Linda testified that, while Rudy appearednetvous, appellant did

                             not. After October 1, 1992, Linda never saw appellant again. Prior to that date, appellant visited

                             Linda and Charlie's residence several times a week.
                                                         :.   •"




                                   . Later in .the day on      Octobe~      1; Rudy and appellant took appeilant's blue Chevrolet to_

                            Rendo~'s Garage to have thetirescliariged. At this time, appellanttold Rudy that appellant ~as . ·

                            leaving Houston. Rudyhelped            ap~~llant wash Angelo's blo~d ~d ~omit from the interior of the car..•..·
;','   .~·   ·.... ' .
                            AppeUant then sold the car and used the m6ney to buy a plane ticket to Puerto Rico. Rudy drove

                            appellant
                                ..
                                      to the airport
                                                  -
                                                     th_e following day, October.2, 1992, and he did not see appellant again uritil
                                                                                               '




                            .they both returned to Houston for appellant's capital murder trial.

                                    Agent Wiiliam Ebersole testified that he interviewed Rudy while Rudy was in a federal

                            prison in Pennsylvania. Agent Ebersole obtained a statement from Rudy about what happened the
            Case 4:17-cv-03621 Document
                                 .
                                   .....
                                         .
                                           24-1 Filed on 09/24/19 in TXSD Page 181 of 257
                                                               .,      .~ .
                                                                                                   •                                                                                                                                                                           •••••.··.·
                                                                                                                                                                                                                                                                                                                    ,•·




                                                                                                                                                                                                                                                                                                                                                                                                                               (
                                                                                                                                                                                                                                                                                                                                                                                                                               I




                                                                                                                                                                                                                                                                                                                                                                            CRUZ-GARCIA-8

                   night of September 30, 1992, and about appelhmf s involvell)e~tinA~gefo' s murder.
                                                                                                                                                                                          .:;.     •·":;,,_.                  ..
                                              On crOSS-'exalltination:
                                                  .         .               ...... Rud§. and·. .Ag~nt
                                                                       of brith            .··.·   ...
                                                                                                       •Eber~·oi~;. ·def~pse c·ounsel highllghted
                                                                                                                                  :.                                                               .                     '                   '               '"
                                                                                                                                                                                                                                                              ·.~ ·.·.:
                                                                                                                                                                                                                                                                          .·
                                                                                                                                                                                                                                                                          :. .
                                                                                                                                                                                                                                                                                    '                                     •.··'··                ...                            .          ..



                   inconsistencies betWeen Rudy~s tnal t~stinlpny anci the.statdment he gl).ve to Age11t Ebersole while ·•                                                                                                                                                                                                                                                                                                                      ··.· ..
                                                                                                                   ·. :. ~. ·'· .                        .· ... ·.::                                           '. . . ·-:.'                                       ."::i'-..r;.~·;:/ .                           _;~,'..-·' :....                                                    ::·:..:: ..;.·: ....

                   imprisoned.: Rudy omitted fro~ his ~torx·W''AgeiitEber!iole aii}tteferen~'e to hinl' defecating while .
                                                                                                                                                                                                   ·::~·;;·>.".                                             • I\.·                                                                       '             .. ·



                   Angelo
                     . . . ' . ;.
                                  w~s
                                    .
                                      being
                                      . .
                                            Idlled .. .Rtidy
                                            . ..       .
                                                              t6ld Agent
                                                           : . . ·.!_. ·, ' '.
                                                                                     E~er~~le that· he ~~s: fantiliar'
                                                                               :· ·. ' . . ' . . '.•; .·· ·:' .        .
                                                                                                                         With
                                                                                                                          '. ·.•
                                                                                                                                 the. Baytown
                                                                                                                                       .    .
                                                                                                                                              area ...· '•.                        ·~




                   beca~se,~e.had.sol<frlrii~~ there pdiJr tci~s~~terri6~~3o,i;~92; but ~ud~ d~ni~d.illis at ;iaL.Rud;~~ld '
               :   ~geftiEb~rsole thatRoger~took Mgelo t~·thl~~arofthe'driver's sideol&:kc~ and'that is where··:.
                   he:kil~ed.~i~~~hile.appellat!t s~~~d'n~ar'the .front of the. car, but ~is'did n~·~·;e~actly. comport. with.
                    ..          . ..
                            .;·•·
                                    ~     '   ..        .       •\,:
                                                                  ·..
                                                                        .: .
                                                                        :·.'."
                                                                                     ·.    ·'.       .             ...      '          .   .     '   .    ~.       '   ·-~··   ... ·.     .   .                     -·.        .         ·-·. ·... '         "..               :        .              .     .. " . .              ...       '    ..              '   ...   .                    .         .       '

                                                                                                                                                                                                                                                                                                           .·..... ·
                                                                                                                                                                                                                                                                                                                                                              :. :.:.1 .




                                    . . While
                                        .
                                              Rudy testified
                                                      .
                                                             at. trial
                                                                    .
                                                                       that. appellant threatened him and. ~rdereci
                                                                                                              .   .
                                                                                                                    him not to tell. anyone
                                                                                                                                     .                                                                                                                                                                                                                 ''             .



                   what... ·' the tlir¢e)>f
                                    .. '.
                                            them
                                             :.. .
                                        :; ·. '
                                                   did tp AJ1gelb,
                                                           :·. . ·. .            .                                       •';:'             ..   '.        ;
                                                                                                                                                                        Ageilt'~~#sole's notes retledt:ed fhai ,the thre.e ~e~el;CIP~~e
                                                                                                                                                                           .              .··,:·.      .....   ,'       ··"   ·· ......" .           ··:      .     ·..                          ':         .               '·:.                              :             ..              . .       . ..:·           .       ·•·.·       .:

                   a pact to keep their~;cref
                                   .. -.. ..
                                              Additiorially,Rud:Y' s tecoll~ctiono'fhow
                                                                      ·.  .   .    .   .
                                                                                         16rig appellknt
                                                                                                  . .; ::. .
                                                                                                             ~nd Rog~~~ere ·                         .         .                . .                                                                                                . .                                                                                      .              .                               ~-.




                   in. I)i~allhd
                            .
                                      ~();s
                              . ·. : .":. : :; . ·: ...
                                                    .
                                                        apartment
                                                         ·.. . .
                                                                  and      how fli~ny.tires
                                                                   . :. ·.; .    . .  .'
                                                                                            blew o~t. cirttheir
                                                                                          . ··, : ; . :  ·. .
                                                                                                         '.
                                                                                                                car:. on~ethey l~tl:.:,." Barrown
                                                                                                                     ",~· ... · ~
                                                                                                                       ·'·                    .          . :'                              .:                       .                                  ..                                                             .       ..                                                     .                         .           .           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                · ..... ·
              ·. wasjnconsistent with the recollection given to.Agent E~e.rsole. · ..
                    ·' ... •.       .              .,           . :: ...:. •.                      =.· _: ·::.·.                . ~ ·: ;                                           .. '       ·:


                         · . . D\lrmg their iDvestigation into Anget();~ kidnappmg: local police offiCials learned that Diana . ·
                                                                                                                                                                                                                                             :{:.'    ·. '•: ·..                            . ··~' .


                   and Arturo ha4 tented an a~artm~~t i~ ~Urri.bl~·fdf app~llailt and his wife. Wh~n HPD offi~ers went ~ ;..·. . ,
                           · .. :;.·                                                                                              ··.. .-·.

                                          ap~nient t9Iookfor'appellarl{~n O~tobet'5;}9n~ they found it ~~cated.
                                                                                                                                                                                                                                                                                                                                                                                                                                                    ,,·
                   to that                                                                                                                                                                                                                                                                                                                                                                       Additionally,

                   officers learned that, prior toH heing,vacated;th~ apartment bad beea eccupi0d by two "black

               Hispanic males" and one light-skinned Hispanic female.

·'.··.···                                 One of the men who had occupied the Humble apartment had been see11 wearing a shirt from ·

               Rendon;s Ga.rage withthe name Luis on it.. Upon                                                                                                                                                                     le~ing this, officers went to Rendon's Garage
               where they met with Juanita Rendon, the wife of the owner, Rogelio Rendon. Rogelio was initially
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 182 of 257
                                                                                                                                                                                                                   .
                                                                                                                                                                                                                         •                        '




                                                                                                                                                                                                                                                                                 CRUZ-GARCIA-9

     unav~lable to speak with officers. Officer Hernandez returned to the garage and observed Rogelio

     driving up in a bll.!e Thlinderbird.. Rogelio was accompanied by a rna~ who identified himself as                                                                                                                                                                                                                                                                 .,.
     Candido Lebron. While ()fncer Hernandez was speaking with Rogelio, Angelita arid                                                                                                                                                                                                                             ~u~y came
              -       .            ..                                          ~            .-       .                                          .             ..
     to the garage to claini the blue Thimderbird.

                              The next day, on Octqb~~ ~6, HPD :received a tip that a Hispanic male was seen at the Humble
                                                                                                                                                                                                                                                                                                                                   ·~-

    apartme~t.i'; HPD officers retUrned
                                . .
                                        to the apartinent, kn~cked.. on
                                                                     .
                                                                        the
                                                                         .·
                                                                            door,
                                                                             .
                                                                                  and.
                                                                                    .•
                                                                                       were met by. ari.

    individuafwhoagahiidentified·himselfas Candido Lebron. They later learned his true Pame was
          .                                         .                                  '·                                                  l·:..                            -                . . .                 .                                                    .            ·.                                  ..
                                                                                                                                                                                                                                                                                                                         ':       .·.


    Rogetiri Aviles (also kno\V~ as "R~g~r," the third adult ;!IJale \\'ith app~llant and Rudy on the night . ·'                                                                                                                                                                                                                                               . .         '·d .
                                                                                                                                                                                                                                                                                                                                                                     . .:;.'<


    ofSeptemb~r .3o, 1992)~                                                                                  HPD officers continu~d to look for appell~t·in Houston and surrounding
                                  ·..·,·'
    cities butwere unable to locate him.

                      '
                              FBI Agent Eric J~hnson testified th~t he became involved in the cwTerit c~se in .1992 because
                              '         '   '       ~·;        .   '               •                     I   • . .' ',: ,"             '    '             .             .                    .    •••.                  ' .'   .: :     .   .         ' .   :   '       .        .    .•;                 .   .   . ·,        •          •
                                                                                                                                                                                                                                                                        '   -:            .. ' :. ~ '·-                                                               ..           •' ..


    it invol~e.d th~ kiditapping of~u.:hild under th~ age                                                                                                                           6r twelve;                         ~e FBI\vorked in' 'conjunctioh with
    local authorities
             .    .
                        in an attempt to- locate Angelo. Appellant was a suspect
                    ·.. '                                                     .
                                                                                 early on. in the FBI's                          .                                                                             .                                                                          .
                                                                                                                                                                                        ..       . .

    investigation. [)uringhisinyestigation, Agent Johiison lt::arnedthat on October 8, 1992, appellant                                                                                                                                                                                                                                               .   -··
                                                                                                                                                                                                                                                                                                                                                                     ·.: .. ~ .. :. .
                                                                                                                                                                                     ':::·-       ..
    was se~. to. appear in a Harris Coill.lty district co\41                                                                                                                        oii an unrelated felony drllg case. ·                   .... ·,·._.


                          Agent Jo~sontes~ified
                                          ·..
                                                from court
                                                       .
                                                           do~~e~ts
                                                              ...
                                                                    that reflected tliatappellant w~
                                                                                                  .
                                                                                                     scheduled to                                                               '                        _;·                          ,•:                           .                                 .
                                                          .            ,·

    appear in courton October 8; 1992, that appellant failed to appear in court on that date, and that his ·.

   bond was subsequently forfeited for this failure te appear. .                                                                                                                                                                                                                                                                                               ........     :,


                          .                               ·.                                     .                                                                 ·'



                          On the afternoon of November 4, 1992, a fisherman walking the banks of Goose Creek in
      .                                         .                       ·...                                                 .       . .            ...                                          ·.                     .                                                        . -                                      .                  .   .

   Baytown discovered Angelo's body. Because of a cold front that had blown through the area, eight

   . to ten feet of beach· that was normaliy submerged was exposed; this is ~here Angelo's body was

   found. Baytown Police Corporal Randy Rhodes was dispatched to the waterway.




                                                                                                                                                                                                                                                                                                                  :01:131
                                          •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD :· Page
                                          .
                                                               ·.  183 of 257
                                                                                                             •                       .
                                                                                                                                     "
                                                                                                                                         .
                                                                                                                                             .       :;;




                                                                                                                                                 · CRUZ-GARCIA:'-! 0

                        Upon arriving, he observed the skeletal remains of a small child on fuesandypart of the

        beach. The skeleton was mostly intact, but the skull had disconnected. from tf:letorso, and sorr{e rib .

        bones and vertebrae had b~~n disturbed. From the same area, officers also recove~cd a pair of shorts .                                                                                                      (·   ..

        with. a Batman logo and at-shirt. Dianatestified thatM.gelo had been wearing                                                                 B~tman paj~as on ..
        the itight he was kidnapped.
                                                      .                  .                                                                                               .
                                                                                                                                                                                                             ''".:··· .
                        An autopsy ~as ·perfonlied on Angelo's rem~ins in 1992 by Dr. Vladi11lir Panlllgao.                                                                                  Qr.
                                                                                                                                                                              .. .

   .
       Parilngao w~ no longer emplbyed by the Harris Colulty fustituteofFore~sic Sciences at~e tiri:t~ .. •
                .                     I                                  .         '                 ;           :           .   '                         .                 .• .   •,   .,.   .· •. ·

                                                                                                                                                                                                                . .·•: .      .-·


       oftBa{so ~an:is Countypeputy ChiefMediC:~l Exat11iner, Dr. pwi)me Wolf, testitied at trial. After .

       reviewing photographs and Angelo's                                    aut~psy report, Dr. ~olf t~stified~that Angelo's m~er of
       de~th was homicide and that his body appeared in a: state that wa~ consistent with it having been
       sublrierged for s;ernl .\Veeks. The fact that AJigelo was abducted, tha!his ,bod)- .....:. fo\lfld it! ait ... .                                                                                         '
                                                                                                .,

       advanced state of decomposition, and thathis body was found· tn,any miles fr~fu his home all

       contributed to Dr~ WoWs opinion that Angelo wasmurdered. ·: ··

                . Dr. Wolf also examined the clothing fourid near M.gelo 's body and testified that.                                                                an;blood ..•..
  . that may             h~ve been on the clothing would ha~e wash~d away aft~r ~e. clo~ilii was subfuerged in :
       water. On
                          :'
                               cross-~~arnination, Dr. Wolf c~h~mned tlla~:he dt~ n~~·fllld any injuries t~ any of.
                                  '           I   •       ;          ,       ,•,   ',"'   .,,            ,   '       ·:·i,                       '             : ..':,                   ·


       Angelo's bones and that he could not rule'out drowning as a cause>of death .

                . DNA evidence was                            ~lso presented at ~at .. Sergeant Eric Mebl-worked in the c~ld case' .                                                                     i



       division ofHPD in 2007 when this case was re~pened. As part ofhisin~estigation, SergeantMehl.

       submitted several pieces of evidence to a private forensics lab. called Orchid Cellmar}<.4 for DNA

       testing. Sergeant Mehl sent the cigar that was collected from the crime scene, Diana's sexual assault .

                    4
            ·            Orchid Cellmark was called ''Cellmark Forensics" at the time of trial.




                                                                                                                                                                :01132
              Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD .. Page 184 of 257
               ··;·.··-




                                                                                                                          .·.         . . . . .., _:         .       .~~-·
                                                                                                                                                                                                                               ·,.'
                                                                                                                                                                                                                               ·;·



                                                                                                                                                                                                                                                                                                •                      • •••
                                                                                                                                                                                                                                                                                                                        _   _




                                                                                                                    ..          '·,


                                                                                                              ·..               : :·                                                                                                                                                                                                 CRUZ~GARCIA711 .
                                                  .          ·-                                                                                                                                                    -~:., ::-:·:·.-:·
                                              _:y::: .                                                                                                                                                         ·./.'

                                                                  a
                          kit~ -~(t ~'utting froth the p:lir ()f6~tie~))iarta was weanrig $e. iiight of her sexual assault. The

               .· •       c~~~#J~ ~~·~ P,~ti~¥4~~~~·~~ ih;&otch ~t f(<lm tlul! cutting; Ori:hldC~umark ·· .
                   ..cJl~~~t~i·~l.~ie~~(gp,~~~J~~~~~f~'d,!Ue~tf~titt~.                                                                                                                                                                                                                                  ?rebid Cfllrit¥' devdoP<d .3fl.•...
                          tu¥d~ntifieg 'rriije D:NA; prqfilc;, fl'9ili'the~~.·~i~pes pf evi~e11ce.                                                                                                                                                                                              ·                           .:·,     •,'•



                            ·-.\·,.··:·                                          "{,   ~.-...                                        .... :•' .,.,, . - :>::_._.-.                                        ·- .,-,. . .                  _:_, _ _·:~::.-:.::.::                                      ·. :,


                                                                                                                                                                                                                                                                                                                                                                                                                  ..         '"•i·
                                                                                                                                                                                                                                                                                                                                                                                                                                     -:;.
                                                                                                                                                                                                                                                                                                                                                                                                                       ··.-·:-·.




                                                                                                                                                                                                                                                                                                                                                                '•'       ,




                                                                                                                                                                                                                                                                                                                                                                                              ·.'···
                       ·.. : ·:. :: ,, ·: Qrchi<l.{:~llmar,k ~lso tested vaginal sw~b$ from the sextial_as§ault kif the.~:tgill~ .swab~.':
                             ••• ·•. •                . ,.. .. _·.• <             , • :           ••••• .• • • •                '.      • •          .:,-· • •• , •.              •    .:, ., .        ·.--i~·-·   ..Y i : ._'···: . : .:              : . : .·                                 . : ~ :.
                    :... ·. <: .';'_·::c:·::..                           .         . ..; -~_-i-_->~:.;. ,_-_--...... -::.<. =._-..._:_:.-':·,   ::·" .·_:' :_:: ..... ·._    ·:>.·.:::·,'.. _·,-.;· ·;;··.··.··i"·,:;.-;:_;. :::._.· .·.;·.........·?_ .. '.     ..           ... !•   . ·... .-·:·: ,:· .. .     .             ·~:_· '...   .· ..';. -:·:::          '          . ..   .:_            .:
                          contairi~d a miXture of epithelial'~el~s)llid spe~ cells. The epith¢lial cells beionged to Di!lll::t. and
                              ' ..'··.: -:J. '. ,, :·::·_. ·-.:>. ~ ....·. ';~: •',:d·~:: .- -~ ,- ;,· .. ?: ~.··....·· . . . ·.::.: .                                                                                                                                                                                                                                                                      .: :- ~-:,.



                       ·. . <4%               $J~~~\r~.~eto?~ef(~·m6r;,y~{~l1·{~.~~8:;~t;t·· ~··.co~dpot~~ ej;R(:<!e~ !·"'·••·· ..
                          coqtrihutor.t~ the sperm~cell fract10~ fioro the yagmal swab~ A<:ldi~io.na~ly, the Uriknown rn.ale:~vhose •·
                        .         .' ":, -                .-.'' '\' ._· .... :~:-· . . . ·· . ~-. ;.··,·.1. , ·:···',                                      ' . ·:::                .. .. -\·: ·_.· .·.-:f·. :. .          .            ..-.,_).~:;""· .'.' . ·.,-.: .... ':
                               :~   . :.-:·  <..:; . :.. ·.. r-. ::"·.. ·; .. . .:._:.J~.~: . . -. :=: ·_: :~.-:~;-:.~.---:~ ;,.- ·_.-~_._:·::.-:;;. <=·.-:: .·. ---::-·::. -; -~·-.:·:-::\.' ·. _.-_ ,:. '·.· :>~- -~~..
                                                  ...:.,-         ..... '- =      ': ·. ·.          •    .                                                                                                                  :.-.-·.~· .< • ·~{'!: ..       ..·. ,::.:. .·                           ::. -._. .- ·.. ,·. -:·:·. .                      .:.-
                          DNJ\was fotu1d ·ori the Cigar cpuld'riot be ~e:x:clitdeci as. a contributor Jo tlu~ sperm-cell fr~ction froni.
                                                                                                                                     ~.-~ ,_.~: \-' ·.-:'                . '              '.. .'·i.:       . . ·:1:                                                                .. ,;:


                          tlle~akinalswab~::?:-
                                 :._::.~~-,:·....... :·· .                                   •:          :··.:/_..;,·.·.·-.
                                                                                                                                · ·•.· .. ·.·    :'>
                                                                                                                                                   ::_·,::· ·:,_:~-.--.-_ .··.
                                                                                                                                                        ,·
                                                                                                                                                       __        _   _
                                                                                                                                                                               .•. ,; ·.. · •.
                                                                                                                                                                                                   ·,.:_:;.·: :.~-- ....
                                                                                                                                                                                                                         .'>· ·                                                               ·.·· ·.,-
                                                                                                                                                                                                                                                                                            ..··,..                                                    . ·~
                                                                                                                                                                                                                                                                                                                                                                      · :.
                                              : ...;.-;:·:·..;::~·-_::;: .":' ;.-<~;: ':'.~/~_;;_:;> :_: ·_: . ·: .-:·.- . . :.-:_.:..._~~ -:·: . . ~: -. ::'..' -~ :·i;! ... ~-'.:·:. _(} . .:: .:?~·<·.;·:::;~::~.-~. ;-~ .·:. ;-~--~ ., -.· ·.                                      . . >. :}·.· .           :. _; .' .'• _. . .~:.· .'_: :_. . ·;:_·.:- .. ;. _'_;:. ·: .'· : .J;::.
                                                  ·. ·•.· Wheri
                                                          . •''
                                                                     OrchidGeJlritark
                                                                . '-'·.    ... ,...... ' . . .
                                                                                                    tested. the portion
                                                                                               ' ' .._... . . . .. >.. . ... •'
                                                                                                                                ofthe·panties
                                                                                                                                    .. '' .. ·.
                                                                                                                                                   they
                                                                                                                                                '· .· .
                                                                                                                                                        had :received,
                                                                                                                                                              .
                                                                                                                                                                       they ()n¢e again..
                                                                                                                                                                     . ·' . .. . . . ..


                  ··      fo~d .bi~~~s 'epithelial. t~il~:~~· ·.·it· ~J~Clf1ic~If~~cii~n·. ~i~: ni~re •. th~· ·~~e cbll~ibuto.t:· · ·The.                                                                                                                                                                                                                                                                              ·.-   -·.,···.
                                    ···~--.                  ·.-·._';_:·;·:_;.                      · . ·-. ··~<-. ·:. ·: _-,-_-: :~.-::·:·--.· ·.                                             .·. <.::-:;:::. ·;,                              <--·~:_;.-:~:·._ .    ·.-:._ !",                                                .. -: ·,. .                    ::> .,

                        tmlaio\\fn 'male frolri' th~ ~igar DNA; sample. could
                                                                        . ,.;:.,_
                                                                                                                                                                                                                                                      not be' excluded as .a major contribut'or. to. the .·
                                                                                                                                                                                                                                                                                                                                                                      .       ... -:

                        sperm sruri~te in the pal] ties· . Additionally, Armio could not he excluded as a eon~b~tor.~o that.· .
                               ..             .          ..:      ..    _:·: .· ... ·:··.

                        speffil slunpte ..
.·:.
   _   _...


                                                         . Later, in Deceritber 2007, OrchjdCellmark received.DNA sampl~s from Roger, Charlie,.

                        Leonardo Gennllll,a11d Rudy to.comp.are to the DNA profiles they had                                                                                                                                                                                                                            obtai~edfrom the cigar, ·
                        sexual assault kit, and panties. Roger,. Charlie, and Leonardo were all exciuded as contributors to




                                                                                                                                                                                                                                                                                                                                                                : 0:1.133 ';
                                                           •
                          Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 185 of 257                                                                    .· .. :.)
                                                                           •
                                                                   '
                                                                               .




                                                                                                                                            . CRUZ-GARCIA-:12

                              any of the DNA evidence found on the cigar, sexual assault kit, and panties.

                                           The first sample received from Rudy was. not sufficient to .compare to the DNA profiles

                              Orchid Cellmark had obtained. In June of 2011, Orchid Cellmark received a second DNA sample ·

                              from Rudy and at that.tiDle was able to exclude him as.a.contributor to any'of                                       t~e l)NA on the·
                              evidence that Orchid Cellmark tested ..

                                           In eady 2008,. Sergeant Mehl learned that appellant was. in Puerto Rico. Sergeant Mehl, ..

                              working in conjuncticni with                 the~~~ in Puerto Rico, obtained a DNA sample from appellant ~n May
                              23, 2008.
                                  ·.·
                                        He then sent that DNA sample
                                                       .       ..,
                                                                     to. Orchid
                                                                          .
                                                                                Cellffi!U'k.
                                                                                         . ·'
                                                                                             On May is, 2008, Orchid Cellmark
                                                                                                                        .   '

                                                                                                           ..       '           .             ·:


                              received a sample of appellant's DNA. The s3.mple arrived in a sealed envelope with appellant's                                         , ·

                             name written on it.

                                           Appellant's DNA matched the profile that had been obtained from the cigar found in Diana

                             and ArtUro's apartment in Septemb~r ~f 1992~ Additionally, appellant's ONA could not be excluded

                             as a contributor to the unknowrt male profile found on the vaginal swabs from Diana's sexual assault · .
                                       .          ..       .                                    .    . .        .

                             kit., Lastl;, appellant's DNAmatchedt,he unknown male profile that was the major contributorto

                             the J?NA in the spenrl-cell fraction from Diaim',s panties.

                                           Quartaro ~lso discussed the ~uality~c()ntrol procedures in place at Orchid Cellmark to prevent.

                             contamination ofthe evidence theyieceive and tl}.e profiles they obtain. Quartaro acknowledged that .
:        .   ·,;·.···"'
•...
       :.,(·
    ·.,,.·
               .····.        Orchid Cellmark cannot implement or monitor qualit¥ centrol proc0dw'0s at other labs. Bat ea
                                              '                    .   .           .   .            ..                              .   •           i




                             redirect, Qtiartaro testi~e~lthat none of the evidenc~ that he received appeared to be contaminated.

                             All the evidence appeared to be ill good condition; it was packaged separately to prevent cross-
                                   .                                                                                                                          .

                             contamination, and all containers were sealed. Quartaro also testified that it would be impossible

                             to contaminate a sample in such a way that appellant's ONA would appear on that sample unless the
           Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 186 of 257                                                                                        :"J.:                    .::·




                                                                                                                                    CRUZ-GARCIA-13

               contaminator had some of appellant's DNA.

                           M:oreover, Quartaro testified that cross-contamination                  b~~een tlie cigar and the sexuat
                             .                                                .


               assault kit or panties was not possible because appellant's epithelial cells were found on the cigar,
                                                                                                                                                                            ... \"


               \Vhlle appellant's sperm cells were found on the swabs from the sexual assaultkit and the panties.

               Additionally,
                ,··
                             no epithelial
                                     .
                                           cells· belonging
                                                   .
                                                            to appellant were
                                                                         .·
                                                                              f()und in the samples from the sexual
                                                                              "          ·;·
                                         .
                .
                                                                                                                                                                 . •. '           ··~   '·
               assault klt or panti~s.
                                     .                           .                                                                      .


                       . The Houston Police Departnwnt Crime Lab was ~lso:irivolved in DNA analysis in the instant ,. ··
                                                                                                         '   ..... ~· . .
               case. C~urtney Head, an arialyst trC>m the ~rime lab, testified that ,iii February 20 I0 she received a                                                             ~·   :··   .· ..


               known DNA sample from appellant This sample was collected separately from the sample coilected
                                                                                                                                                                          ·: '....            --:··
               and sent t~ Orchid Cellrriark in 2008. Fro.fu this sample, Head performed her own DNA extraction
                                                                                                                                                                                     -.:;




               to create ~.ON. A profile. She then compared
                                 '                   .
                                                            that profile
                                                                  . to the
                                                                      .
                                                                                profiles
                                                                         ..·.. '·    .
                                                                                         obtained by Orchid Cellmark ·                                                            .,_. ..



               froni·'the cigar;the
                               .
                                    sexual
                                     .     assauitkit,
                                               .    . .
                                                       an~~~ partti~s.
                       . Appellant could not be excluded. as a cortti.'ibutor to the male ONA profile found on.the
                       .     .                     .                              ·.           .                ..
                                                                                                                   cigar .... ·
                                                                                                                            ~       .                        .
                                                                                                                                                                             ..    ::,



              and the vagin~l swabs from the sexual assault kit. Additionally, appellant could not be excluded as ..

              the. rilajrir
                   ..     ··.
                              ·.contributor
                                      .
                                            to..       ~ male DNA
                                                        .      .
                                                                  ··profile. in the speJVI-c~ll
                                                                          .            ·..    ·.··
                                                                                                   fracti~n obtained from Diana's
                                                                                                     .                       .  .           .   . . ·.   .



              panties . .Head testified ~at; to a reasonabledegreeof scie~tific certainty, appellant was the source

              of the DNA profile on the cigar andth~pantie~ .

                     . Pursuant to his eoldease investigation, Sergeant Mehl interviewed Diana, Attwo, Linda .

  ... -.
._,
              Hernandez, and Angelita Rodriguez. A Spanish-speaking officer interViewed Rudy. Sergeal1t Mehl .

              attempted to loc.ate Charlie for an interview but was unable to find him. At the conclusion of his

              investigation, Sergeant Mehl filed charges against appellant. Appellant was later tried and convicted

              of capital murder and sentenced to death.
                Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 187 of 257                                                                 ·:·:;·;




                                                                                                                    CRUZ-GARCIA-14.

                                                                                II. Guilt

                    A. SUjficiency of the Evidence

                              In his third point oferror, appellant
                                                                 .
                                                                    challenges
                                                                      .
                                                                               the sufficiency of the evidence
                                                                                                            .
                                                                                                               to support his

                    conviction for capital murder.. Appeliant highlights the following                       ~eas in which he claims the
                    evidence is insufficient: Rudy's credibility and 11lotive to testify, Diana's and Arturo's descriptions

                    ofthek intruders, Dl~a's and Arturo's ciisho~esty abo~t                 thek drug dealing, Angelita's potential
                                                                                                >:,.···.·:


                    ulterior n,J.otive to te~tify against appellant, whethera sexual assault or consensual sexual encounter
                                       ·,, ...   ·
                    occurred, fue. ch~ of custody
                                          .      .
                                                   for the forensic. evidence,. and Angelo's cause of death.
                                                                                                      ..
                                                                                                             We review ·

                    these complaints specifically, in addition to reviewing the totality of the evidence supporting

                    appellant's conviction.

                             This Court does not engage in a factual-sufficien~y review. In-stead, we engage only in the
:-..-·.: ;.··
                    It:gal-s~ffitiency reviewbriunciatedin Jai:ksonv~. Vi1"gtnja. s In s~-doing, we review the entire record

                   in the light most favorable to the verdict to. determine whether any rational fact-finder could have

                   foundthe elements ofthe offense beyond a reasonable doubt. 6 If a rational fact-:fmder could have
                        .          .                 .    .   .         '   .
                                                                                                                                                 ...
                   so foun~. the verdict' will not be ciisturbedon appeal. 7
                                                                                                                                           ·.:         '




                            .. Here,      appellan~was convicted ofcapitalmurder~having intentionally or knowirlgly c~used _.
                             5
                             B;ooks v. Slate, 323 S.W.3d 893, 912 (Tex. Crim. App. 2010). See also Jackson v.
                   Virginia, 443 U.S. 307, 318-1~ (1979) (holding that the relevant mqmry for appellate courts
                   reviewing the sufficiency of the evidence to support a conviction is "whether, after viewing the
                   evidence in the light most favorable to the prosecution, any rational trier Of fact could have found
                   the essential elements of the crime beyonda reasonable doubt." (emphasis in original)).
                             6
                                 Jackson, 443            u.s. at 319.
                             7
                              See id. at 319 (upholding conviction where evidence was legally sufficient). See Temple
                   v. State, 390 S.W.3d 341, 363 (Tex. Crim. App. 2013) (affirming judgment because evidence was
                   legally sufficient to support a conviction).
                                                                                 •
               Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 188 of 257
                                                                                                  .




                                                                                                                                                                                                                                                                                                                                                                                  ::•
                                                                                                                                                                                                                                                                                            ,.:·:.
                                                                                                                                                                                                                                                                                            :·.··                                     . CRUZ~Gl\RCIA~l5 .
                  the death of another during the course of committing a kidnapping. 8                                                                                                                                                                                                           Circumst~tial eviM~~~ is just·
                                                                                                                                                                                                                   _,;.                                                                                                             ·......       ···..                                  .           ·:   ·~··.·




                  not point directly to appella11t' gllilt. 10 Inste~d, we e~ahune the c~tuativ~'~ffett ~fall th~;e~idence
                                                     :,          ,·          •         •              :   .;
                                                                                                                   s
                                                                                                               •.:,~;     • •    '            ,t    :               ••           •       , '•        '    ."           • •   •   ~·   •.               '• ;     • • '·. '•    ',                    ••   • .·;.:   ~-~;, •: ':     • :·• •    '.-:·,:'     ••         I       •      '       •             '   .'   •        '• •     ,




                  when det~nhlni~gwhether sti~h evidericei;'suffici~~t t~ sust~ip~ con~icti~)h: 1                                                                                                                                                                                                                                                                            . ··.··
                                                                                                                                     ..                   :-:·.                      . . .       .                                                                   -.-:=,:,· .. ;
                                                                      ·• :·.·                                  : •             . . :-                   ·: :_._    ·!·';:_;;_.":-'i'/:.:·,~_-'.


                                    Ftll'tPer, we pertrlJt jui'ie~ to' cfraWtea8onable inferences from. the facts they are presented, so · ·
                                  -:·: ·- ;,: ·..         .·:- ,... :;,· .': ;:;:_<                                .-- ;_:                ~    ·.          ··;> ·:· .'-~ :·_;·;·:···                                   .                                  . . :__,:-~-.---,_::;.'. :~>                                 :' . - '·:'. :· -.· :·:,:·,_ . _ ..
                                                                                                                                                                                                                                                                                                                    --~---.~_:.-              ~--


                  tong as ilieir inference~,:~~~~pport~Ci·6;, ilie ~viden<;e.~ddliced~ttri~i: 12
                     '•                 .        , .., . . . ;          .'       .·,          .                "                      .                 ····. .,:,···                                    ·,,       '."··' .·                      . . . r: . . . •,·.····. •
                                                                                                                                                                                                                                                                                                                   t\fi~;~·ili~roti~'ievi~~or
                                                                                                                                                                                                                                                                                                                   :··;          ·.· .. :;.·."· .;··       ..         ·.     '                        ·:. . ·           ..




                  . the.r~cor~,·~y;e c?#Ji§~~-·~~~~::fue.· ev~df#~e-i~·--.s~~~~iF~t_to .sh.p~>?~---·~~~ell~p~~·.:co~vi6tior1.;
                   1~ Appellant's s;ec;Ji~-suffici~~~; c~~p~~~~~;~                                                                                                                                                                                    :....•._._._. ,<;'; ..•. ':,:
                                             '                               -   :· .... ,   .· ~.'                .' .              '.'                                     ··.· ·.;·' . .J ' .. . .          '                                                              .       . ·::.: . . ·.
                                                                                                                                                                                                                                                                                                                                                                                                                                          ..;··..
                                                                                                                                                                                                                                                                                                                                                                                                                                          . .   ·~




                                                                                                                                                                                                                                                      .    ..   ~




                ·.. and R.udy..· Although -~~pell;mt ~ti~~ks: th.e'. ~-redibility ~f th~se three \vitnesses in                                                                                                                                                                                                                                                              ~~icular, all
                ·. ·credibili~det~mi~~9~.:e.~let; Wi~ii~e~.Yi•c~or~~iu&:.:.Ab~ itiiYi~thesote.A4g~ .or
                 ' =~bil~ef~~Z~1i3:~~e~ft~~~;i!l:::~:~y;;:;'i~m~ ~wi~d~Y·.·. . .
                  inco~sistencies\~ithpreviotiSly~inade
                    . .·  ; . ·.· ...... ·' . . . ·. . ... . . . ,. .. .. :. •, . ·.
                                                                                     st~t~rit~nt.S,..
                                                                                      :':: .. .. . ;!;·::.
                                                                                                           R~uiy's.testimo~y pres~~ted c9nipelllng evidence                  ~ :~·.          ;l .-..;.:. ·:·· ~ ....              .. ''.i ·_,·,   . :: -:. •':          -;.. :               .                ..             . : ' . ,. '. .. .. '·. . ·: .                                      .             .        . .: •·. .'



                  of appellant;s direct: involve~~nti~ ili~ ~clri~ppl~g and ldllirig ~rAngelo,                                                                                                                                                                                                                             Rudy'~ testini~hyabout
                                                                                                                           ,    •• •, .'•."' ...        ~. •   '   •     r                                                                                                   • .'   ;I:~.   • '.                                                                           <' ·...

                                                                                                                                                                                                                   .   :-: :' : .. ·.··~··.:.                    .· .        :· ·,                                                      .     .    :•



                              .
                                   8
                                            Set!. TEx'~ PENAL C_oo£' § 19:03(a)(2).                                                                                                                                                                                                                                                                       · .. ·.'<




                          · Wtnfrey v. }idte, j9j S.~Jd 763;• 7n (Tex. CriiD. App. 20i3); Hooper v. State; 214
                                   9
                          . ··.
                  S.W.3d 9, 13 (Tex; Crim: App. 2007}' - .      . .                 .           .            .
·.;._,,   ..

                                   10
                                            Hoop~r, 214 S.W.3d at 13.
                                   II       Jd. .·,.·
                                   12
                             .              Temple, 390 S.W.3d at 360; Hooper, 214 S.W.3d at 15.
                                  13
                                            Temple, 390 S.W.3d at 363. ·
                                  14
                                            !d. at 360.
                                                                                                                                                                •
                       Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 189 of 257
                                                            A1\
                                                           _.,J1                                                                                                                 '
                                                                                                                                                                                  '




                                                                                                                                                                                                       CRUZ-GARCIA-16

                           the events of September 30, 1992, was corroborated by Diana's and Arturo's accounts thattwo

                           masked nien entered theirapaririterit ~d left with their child and by the location where Angelo's                                                                                                                          ·.· -·

                           body was discovered; Appellant also highlights the fact that Rudy was in federal prison when he was
                                  .                          ·.            .                •                  •    :       . .   •                                              .•   :     .1 . . ·           •    •                       •


                                                                                                                                                                                                                                                     ·':·'
                          • first approachedby law enf'?rcemerit o-fliC'enl dtiring their cold case investigation into Angelo's death.

                           This fact goes to Rudy's cre~ibility; a determination left to the jiuy.

                                               Actcihiol1ally, the jwy was free to tind credible                                                      nian~·s and Arturo's testimony, despite.· .
                           evidence ()fprevious cli,~h()nest)' or inconsistent t~stimorty about the disclosure of their drug dealing;
                                                                                                                                                                                                                                                          ,. :,   ....
                          · Diana
                             ...
                                  testified
                                      . ..
                                      ·
                                            that.· two. m~sked
                                                          .· ···:·
                                                                   men broke into.
                                                                               -·.
                                                                                   her apartme~t, that one sexually assaulted
                                                                                   '                       .. ··,      ..
                                                                                                                              her; and .--, . .                                                                             -·




                           that when they left,' heic~ild was gone. Diana's testimony was corroborated by Rudy's testimony ·

                           that appellant and Roger, while wearing masks, went to Diana.and Arturo's apartment to retrieve
                                                                       .                                                '




                           their dfugs:and money.andleftthat apartment Vlith Arigelo..

                                               F\ll1her; Diana's claim. that she was sexually assault~d on the_ night in questiori                                                                                                              is
                           corroborated by the DNA results froni. the evidence hi her sexual as·~~titt kit. .Diana testified that she ..·....·. _. '"· -·

                         . 'andappellanthad never had a cons~nsual sexual relationship, yet appellant's DNA was                                                                                                                          fo~d in                  ·;. •
                                                           ··\"·               .       ;.   '·



                           sperm from vaginal swabs' obtafu~d the ~ight that Diana claim~ she wa~ sexually assaulted~ . · ·.

                                          -··.. Appellant
                                          .•        .. '
                                                          also compl~ins that the.
                                                                                .
                                                                                   evidence is. insuffici(!nt to support his conviction because
                                                                                            '·   ·,·                                       ..     '             .           ·,        . .                      .·       .        .



                           of the descriptions Diana and .Arturo gave the police of their .intruders.
                                                                   .                        .
                                                                                                      Diana, Arturo, and ~aria~ .     .                                 .                                                            .           .



                           polic_e officers. t~stifi~d tlHlt Diana aad Artefe both deseribed their in~dexs as "black.'; Appellant

. '       ·. -.... ·       is not African-American and therefore
                                                   .    ..
                                                                 contests the applicability. ofthisdescription
                                                                                                   .
                                                                                                               to him .                               ...   .       .



                                                                                                              witne~ses testified that Mexican Hispanics routinely use the.
•     •       •   I


      ·.·••..                                  At trial, however, numerous
                                                                                                       .                                  .                                                            .   .
                          descriptor "black" to describe dark-complexionedHispanics who are not from Mexico; The jwywas

                          free to believe this explanation and could reasonably infer from the testimony they heard that Diana
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 190 of 257




                                                                                                                                                             CRUZ-GARCIA-17
                                                                                    .                                                                .

    and Arturo were describing dark-complexioned Hispanic males, not African-American males.

               Appellant also contests Angelita's motive to testify and claims her tes~mony was

    untrustworthy.. But Ang~lita's credibility was for thejury alone to decide. Angelita testified that

    appellant was a drug dealer who sold <frii~s toDiana and Arturo. On October 1, 1992, the rtight after

    Angelo was abducted, appellant abruptly told Angelita he. was
                                                                                .
                                                                                                                                        m~ving back to Puerto Rico and
                                                                                                                                                         .
                                                                                                                                                                                  .:

    expressed n.o concern over Angelo; s a~duction,,despite appellant's triendshipwith Diana and Arturo..· .

   · Angelit\•s'testim~nY.~.to appellant's'm~t presented circUmstantial· evidence ofappellant~s guilt, ...
                                   ···:.,·"


    and the jury was fre~ to believe-· ~at testhnony and draw reaso~able infere.nces r~garding app~llant'
           .         . :   '                                                                      .
                                                                                                          s                .·



    guilt therefrom.

               Appellant complains that there was insufficient evidence of the chain of custody of the ·

    forensic evidence admitted by the State.                                            A~ sent a              showing oftampering, discrepancies in the chain
                                                                                                                                                                              ·   ... ·.·
   . ofcustodygo .to tli~ weightto be given a piece of evidence, not its a~issibility. 15 . The jury is the.· . .

    sole decider of the weight to be 'giyen a 'piece of evidence.                                                                                                                           .: . .


               He~e; the jury heard testi~ony thatt11e forensi9 e~~dence at issue \Vas stored in sealed plastic ·.
                                                 .· :·-:·-   ·:.:·
    bags. Quartaro testified
           .     .    . .
                             that,'
                             ..     wh~n
                                    .... ·
                                        ',:
                                           ~e re~ei~edtb,e
                                              _-·. ··..  .
                                                           e~id~ri.ce
                                                           .     ·.  . for testing,
                                                                     ; '~     .
                                                                                    he observed no· signs.
                                                                                               .      .
                                                                                                           of . .·              .   .    .                              .
                                                                     -..    :



    tampering or contamirtatiqn~ The jury was
                                           . free to lend credence to Quartaro 's examination of the
                                                                      .                           . . .·
                                                                                                   .   .                                         .



    evidence and the state it was in basedori hts training and experience and disregard implications from
                               '                              .      ,·             :   .·..._·.-·             .                             .               .


    defense COIWSe} that the evidence had ~e~n compromised.

           Lastly,. appellant complains of insufficient evidence to support a determination that Angelo
                                                     :   .                                     .           '           '



   was murdered. But the jury heard evidence from Di'. Wolf, the Deputy Chief Medical Examiner in

   Harris County, that, based on all the circumstances surrounding the case, he believed Angelo's death

           15
                 Lagrone v. State, 942 S.W.2d 602,617 (Tex. Crim. App. 1997).
               Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 191 of 257

'•   :   ~··




                                                                                                                                                                                                                                           CIU.JZ:.GARCIA-18

                        to be a homicide. Or. Wolfs testimony, combined with the ~irdUffistaric~s'surrol.lmtirtgAngelo's

                        kidnapping and                    ~e discovery of.his body, w~s sufficientfora raqrinaljmorto <iet~rmi~e that Angelo
                                                                                                                                                ...   ;,




                        had been murdered. Thejury was free to believe Dr. WolfstestiiJiori}i arid disregard evidence to the
                                                                      • \ :. : :: : ":'I               ·, '                   ' 'io ,                                                     '   I"· , '   ,'   .'·: :.-,·:· ·~' :·


                        contrary.

                             · . Appeti~t at so att~de~ to an argtirh~~t that there wa~' insufficient evidence ior a ract-finder                                                                                                                                                                          "'
                                                                                                                                                              0
                                                                                                                                                                   : •::.;    , ,'   ~;            I    I




                   to determine Angel~ came
                                        .
                                            to hi~ death ;,~s 'alleg~d iri th~·
                                                                            ... indi~tm~nt~,"
                                                                                     ·,::.: .
                                                                                              I3uthere,the
                                                                                                      . '
                                                                                                           State alleged  .             .                                    ·'                                                        .                           .
                                                                                                                                                                                                                                                                                    . · · •· ··

                    two sep~.ate ~anner and m¢~~ tor ~o~ An~~~~·died:;"[~i~. th~~ An~elo·~~s··~t;tbbedto;dbh.fh, an'Ci                                                                                                                                                      ··                   ··

                    sec()~d,
                   ..  ·.··
                             th~{A.ng~lo
                                 . ·... . died by Wlknown
                                                     ·.
                                                          n1e~s.. Rudy'stestimori)r phYvided
                                                                 •'             ,'     '··'
                                                                                             sutliciel1t
                                                                                                ....
                                                                                                   '·,.'
                                                                                                         eviden~e; if ' c
                                                                                                                   •,"'                     .                                         .                                            .                           .       ,.       .
                                                                                                                                                                                                                                                                                     .·
                                                                                                                                                                                                                                             '·.'',1

                    believed, thatAngeio wa8 stabbed to d~ath;. Dr; W<>lfs testimony pm~i<led suffieie,q.t evid~nce; if

                    believed, that at the very least, Angelo w.as murdered; even if the particular mannei'and means were
                    illumriwn·...•
                                                                                                                                                      ·; .... ·.
                                                                                                                                                                                                                                                                                    .·. ·.   '::.' . .:·..-:   .
                                                                                                                                                                                                                                                                                             ......
                              ' It was withinth~ pfuview of the jury to lend cred~nce to the testlmonyofRudy'and Dr. Wolf
                                                                                                                                                                                                                                                       '   '
                   about~ow Angelo· die~. Yiewing the evid~nc~ in the lightmost favorable to the verdict, there was :,' ..
                                                                                                                                                                                                                                                                                              . :.
                                                                                                                                                                                                                                                                                               ~.




                   sufflcien(evide~~~ t~} support the jury;s verdi~t-that. Angelo died atthe behest of appellant, in a ·

                                .   • . • ' ·. . ~'! ••



                   2. Othe~ Evid~nc;e Suppoi'tirzg1_ppf!llant Conviction > . ·•· ··•·.                        's
                             ··· Beyondappellant's
                                      .     .
                                                   specifi~
                                                         .·
                                                            sufficiency compiaint5,
                                                                       .  .   .   ,
                                                                                    we hold that there
                                                                                     .     .        .
                                                                                                       is sufficient evidence                                                                                 .                                                             ~




                   in the r~cord for a rational tner of fact to fmd 0\'ery elemeatof eapital mw:der beyeHd a reasonable ·.

                  doubt. Appellant
                            .
                                   knew
                                    .
                                        Diari~ . alld Arturo through
                                                                  .
                                                                     his drug business. When Diana and Arturo
                                                                                               .                    .                                                                                               .




                  withdrew from appellant's ~g business, appellant became upset with them. Shortly thereafter, two

                  dark-complexioned ~ales broke into Diana and Arturo's apartment on the night ofSepteinber 30,

                  1992, ·and assaulted Arturo and sexually assaulted Diana. A sexual assault examination. was




                                                                                                                                                                                                                                                               :01ili0
                                                                                                      •
                   Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 192 of 257
                                                                                                           .




                                                                                                                    CRUZ-GARCIA-19                         ...

                       performed on Diana that very night and a sexual assault kit was created with the biologiCal material .         ~~

                       collected. SubsequentDNA.testing revealed that that evidence contained sp~rm from appellant.

                                Rudy testified that he saw appellant carry Angelo from Diana and Arturo's apartinentto their

                       car on the night of September 30, 1992 .. Appellantthen drove to a remote area of Bayt~wn where·
                                                          .              ..   .   .

                       he ordered Roger to kill Angelo.. Rudy saw Angelo's body lifeless and covered in blood immediately.

                       after this o~der and helped Roger dispos~ of the body in a nearby waterway while appellant looked ..
                                                                                                                                                           ..,.·.   /
                       on.

                                One day later, on October 1,·1992, appellant told his wife, Angelita, ·th~t he was leaving
                         .                       ·,   .       .      .                .   '           ..       .-                    ~·:    ; '.




                      Houston to return to Puerto Rico. Angelita testified that this trip was sudden and unplanned.:.                              ·· '·. ·

                      Appellant cleaned out the interior of the car he had been driving on September 30, sold the car, and

                      usedthiproceeds to purcha~e a plane ticket to Puerto Rico. The nex~ time Angelita saw appellant
                                 .. ·.;·:_··.·
                      was in th~
                               . 'oo~ican Republic,
                                           -
                                                                  ~hen he co~fessed
                                                                           .. .     to her that he had kiited
                                                                                              .        .-.
                                                                                                              Angeio.
                                                                                                               ...       .



                             . . ·.Appellant was<scheduled to
                                                           .
                                                              appear in a HarrisCounty
                                                                                .
                                                                                       district co~ .ori October 8, 1992, on .
                                                                                                  .                 ..
                                                                                                                                           .·.   '•   ·.



                      a pending dfug case. Appellant f.ailed to appear on that date and subsequently forfeited his bond.

                      Appellant had been ptesent at every court setting pribrto the O~tober 8 setting: In Nove~ber £992,

                      Angelo~s body~as.fmin~.in a waterway in Bayt~wn,a~dRucly testified that he and Roger had left··.
                      Allgelo; s body in a Baytown waterway a month prior. We conclude that the evidence is Sufficient

:-•:'   :.::   -      to support appellant's eenvietien for eapital mttrder. !tPpellant's third point ofenox is ovenufed.

                      B. Motion to Suppress .

                               In his first point of error, appellant contend~ that the trial court denied him due process when

                      it denied his motion to suppress DNA and other forensic evidence that had been stored by the "old"

                      Houston Police Department Crime Lab ("old HPD crime lab"). We review a trial court's ruling on
                                                           ••
           Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 193 of 257


                                                                                                                                                                  •       .'




                                                                                                                                                                                               CRUZ-GARCIA-20

               a motion to suppress under a bifurcated standard of review. 16 We afford almost total deference to

               the trial court's determination of historical facts and mixed questions of law and fact.that turn on the ·-
                         .            ·.             .                                                                                                                    :.                             .

               evaluation of credibility and demeanor. 17 Questions of hiw and mixed questions oflaw and fact not ··

               turning                ~n credibility are reviewed de novo.               :,',                .
                                                                                                                     18
                                                                                                                          -   We
                                                                                                                              .
                                                                                                                                   ;ill        not disturb the trial court's ruling if it is
                                                                                                                                                         .                                                            .

               supported by the record and correct under any tbe~ry of law applicable ~0 the case. 19 ' __ - .-

                                 . At the hearing ~nappell~nt's rl1otion to_suppress, appellant argt~e~ ag~in~t the a<irnission of                                                                                                               . :> ·-
                                                                                                                                                                                                                                             '.··'·
              _forensic evidence that hadbeeri stored by the old HPD crime lab. - Specifically, the> pieces of
                                                                             ::.·:·   .. :· ::.'·
                                                                                              ..


               evidence to_ which appellant bbjected were ( i) a cigar fa \mel at the ~rime scene, (2)a sexu~l assatdL .
                                                                                                                                                                          . ;;


               kit performedqn Diana Garcia onthe morning after Angelo was kidnapped, and (3) a cutting from-

               the pair ofpanties Diana wore the night of the instant offense.

                                 Appellant also argued against the admission of res'!llts froqt DNA testing perfogned on the'

               cigar, ~exual assaultkit,:~d panties, despite the factthatthe p~offered test resultS were not'generated

              . by the old HPI> crime lab. In supp~rt of his
                  I,.J       •               '   '       .. ,'    ·,'   '·                '        •,            '
                                                                                                                     motio~, appellant argued that the tnere fac~ that the
                                                                                                                                                                      '    . •             .             '        :       •,



               forensic evidence at issue had been stored by HPD, and sub~equent to that storage'the oid HPD crim¢< '
                                                                                 .       .. .           '.                         .   '   '   . ' . .       .·   '            .   ;   .       ·'   ·;   .   ..                ~·   .. .··    ., .



              lab was shut clown be~auseofquaiity:.control problems, p.mvided sufficient mdiCia that the evidence . - -

              hadbeen contam~ated                                and was tberef9re untrustworthy t~ put befo/e a jury. '
                                 The State countered with-testimony fromth~ee witnesses;. First, _Eric Mehl,a retired police ..-                                                                                                                      .....

              sergeant, testified that he had wofked on app~llant' s ease as a membet ofthe cold ease squad in the .


                                           Guzman v. State, 955 S.W.2d85~ 89 (Tex. Crim. App. 1997).
,.'   ·:
                                 16



                                 17        Id.

                                 1s        Id.
                                 19
                                           State v. Ross, 32 S.W.3d 853, 855-56. (Tex. Crim. App. 2000).




                                                                                                                                                                                                                      :01142
      .    :)        ...
                              Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 194 of 257
  =:··,'.".··'
                                                                                                                                                                                                                                                                                                                                                                                                       ·,,·_.




                                                                                                                                                                                . -~:- ·. . ..
  .       : ..... ,··                                                                                 . ·'·
                                                                                                                                                                                 ·                               ~     <                                                                                                                                  CRUZ-GARCIA-21

                                         holl1icid~ ~visi~~ of. t11d fidti~t~n Pollee bepartm~nt Pursuant to that role, in October 2007, .
                                                                                 '· ::..                                        . :,.· •••     •·.,.'-"·.·    •                          C:·         ' .·.- ..




                                      · sei~e~tMeQl ~l:ltatiifdtli~cigar::iinrl s~~tial~.s~aU1tkit th~Hiafl been cotle6ted·as cyiden~e in 1992. ·
               ··.     ';'.
                                                                                                                                                                                                                                                                                                                                                                                                          ·.- _-.

                               .        : ::. \:     . >.· · . :· .: . . ·' >."::· .~ ·". :.... >:.Y!~::~,.: . · .. · , : , : ... · . : . . . ;
                                        At th~ time it was retrieve~:!~
                                                                      .. .
                                                                          the cigar was _being ..store(!     .. ,.
                                                                                                              ·',.·
                                                                                                                   iti the lfPDproperty room on Goliad Street.·..
                                                                                                                           .,       ·-;   .    ~~-.                                                                            ·,   '       '   ·




                                    ·• Thes;~~s~Wt.~i~~:~£~~.:{~~~~~~,~~~~~ro~F·~fxtrt.the2J~fl;~r on.TravisStreeL •..
                                       Both the cigar anq the s¢xual 11s.#W.t K!tw¢re, sealediii'~eparii~e .Pl.astic bags. SergeantMehl testified .
                                                                                 .•                                   :   '.        •     • •         . ·• ' • • . ,··      .        '' ·:o;- ·'. -~ • .             ~:.       • ' ••                                                    ;: .. ~ . •                                              -                •

                                     . -~.-:- .·:---~_-::~:./? ;-._ ··:>::. : : ~- : _:-~: ;_·r- ~- - ·_:: :~-~:;..·;;.;>~~-::.-:·~~~/~i~~~~}~-i-:.·<~~~ . )-; );::_)_({~_:.::;_~;-~)t~~~~:~~-_;: -: : -,;. ,_:\·~::~~,-~:~:~ ,<"\::.. >-: :. <-: . ;:-:.( :!.:~. . ~\>:::_.:.· .. <: _·. :· :. .: ~i._: ... :... ·. ·:· .·..: ··:: ..... : ... .:.>. · .:;~,~
                                                                                                                                                                                                                                                                                                                                       =: ..                   · . ; .·. / ·
                                    . th~fboth pieces of evi4¢ric_e: app~~eQ.to be)n, g~_od. ~()nditi()ri ~4 .Q~itl:ler ;ippeared to have been
                               .,           :··;.>.-./:.                                           '.··:·.- .....:. :_, .:. :: ......·<·:.":·~.. );_,·-~:;. -: ...                                                         ::(:<; ,... · !·         :··   -:-:(;·:_·:.:~·:.'       ...      ·· .. ·. ,.•             '        ...:.    . ,'•,'.'         ::·~~:.
                                    ··.·d:-..... ·:~ .~--:· ....        _d.. .            ····
                                                                                                 ·.·-".                    . . / ;'·}. ·. : .· <.i ..
                                                                                                                                              . :·~:-~{~~x.·.::~
                                                                                                                                                                   ·=..
                                                                                                                                                                          ·.:. _ ·:\;:-.. -.:               _. . . _: ·_. . , _ · · · ·~. . ·                   • :,                         .'" .:_· ..••.··            .:   :.~·
                                                                                                                                                                                                                                                                                                                                      ·.\·~: ~.   .
                                        ::;~(~~.><                                                        ····· ....                          ';:.~··\··:;,:,;                                         . : /';':}:.::,,;;:·                ..;·, ,.·
                                    . . ;i ~ <oJ.6cto.JJ<r i;:id67j,'&~~~~~*~~ ~;lkt.i'~e n~~ ,iirid sOx!ia\ ...~ult kii iC) 6rcbi~ ..· .•..
                                    .· C~1~l~ ~ ~v~~f()~J~.~~~~~i~~~t¥M~HPD,f* ~~i\;.g. Subsequently, Serge~t!'d~b~                                                                                                                                                                                                                                                                                             .   ·:·:
                                          -.. , ·:. ~:·' ·....... ·. ~>-- {. :... _.·:.,· . -·..·-. =~"-:\:.. ·~ .. ;~·:::--~.-~,.._ .. ··:..._>:· -...t~~~~-;~r_.,.._.,~·-··> ... ;~~:-:·-;·,·-: ·...· .... ;:. _... ·. :·.·-:.: .... ::> ...... ·:.:·. . ._ . ·. ,_ .
                                        .obtained the cuttirig'qfthe cr()~ch,ffomthe:pantiesthafhad belonged to. Diana, a biological sample .
                                    .             " . .. f'·                     ... - ,. ,.·:;.:_:·:...:·: ,_'·.>···_ ·:: '...,.,·.: ...:·.:-;                           :·:·>,t;c.=:·': .... . ..                                     ~-;:.::·,·;·.:~.             -. ·~,--~,:... ~.-_._>.                         ....                .·'                           .'   . .          . .       .


 { .,. .                      . .rr,o~~i0\'· it~ ~f~~~;~;~:f~\(~~;~o, ~·: ~~·~l,r~is~red in the c~~e.J£b.. E~ch ,
 (,',: . 'F :>.                      ' pie~e ofevid~ii~e w~s st~r~~ .s,~P.at~t~ly in' its own' sealed plasti~ bag/ Additionally, Sergeant Mehl' .
.~;(f~[.[j: : > .• obt'.m~ds!i~4~io~d ,..;;)1,i'~~~~~i;j~~~ ~~~~~te;of ~~~ell~;;· · ·                       ..
  ~&;,~;: ·.          .. 9ll.~~~Ii3{2@8,·~e(f!e~ni&tebl ree«iVed a sa.npi~ Of ~ppell~rit's DN,.; after MObh
 .j i;:ii~·.·
· -;;:o:<<< >
                 . .• ~~ll~a~,~~r~e~i~t~~~~.:~{~~~~~e~~•t~ppellarit cus;o1i~ Ptie~.~:~. 4.FBI •.
                                        ·agent in PUerto R,ico qbtairied appeH:int'$ DNA sa.QJ.ple and serit thatsample to Sergearit ¥ehL ·.
                                                                                                                                                                                                                                                                                          :in
  :. <(;<                                     · : C::i: '.:.                          ·          · ·· · :                       '· c''·:··.,                      · ·;•>. . :'.' ·'·                                 : '" .'-'·:::                    ·: ··. · · · ...· .                                       : · · · ··                   ~.       -- :,        ·,. ·          .· -         ·
                                         se~gearit Mehlclid
                                                        . t~o-t ~p~n tll~'pa~k~~e c~l1b~iiiiiig appeltari~·~ ONA s~pl~ hut il1ste~<i repa~kaged
                                                                   .•                            ..       '    .           .          .                  .    ..                               ..~                                      '                              .       .                        .· ..    .                       .




                                                                        At the tiine Serge:lnUvtehlsent appellant's DNA sample to ·Orchid Cellmark, :Orchid . ·


                                                 whil~ the recordis clear that Sergeant Mehl sent th~ cigar and sexual assault kido Orchid .
                                                                        20

                                        Cellmark on October 2, 2007, the record is wiclear as towheil Sergeant Mehl sent the panties and·
                                        the known DNA samples from Diana, Arturo, and appellant's associates. Sergeant Mehl testified
                                        only that, by the time he obtained appellant's DNAsample from Puert() Rico (May 23, 2008), he had
                                        already sent "all of the original evidence that might contain biologicalinaterial" to OrchidCdlmark.




                                                                                                                                                                                                                                                                                                                                                                            :01143
                           Case 4:17-cv-03621 Document

                                                                                                    •
                                                       24-1 Filed on 09/24/19 in TXSD Page 195 of 257                                                                                                                                                                                                                                                                                                                :,:·
                                                   .
                                                                                                                       .
                                                                                                                           .                                                                                                                                                                                                                                                                                  •·


··.·::;'_:   .......


                                                                                                                                                                                                                                                                                                                                                                                                          .   I




                                                                                                                                                                                                                                                                                                     CRUZ-GARC!A~22
                                                                                                                                                                                                                                                                                                                                                                                                          .   :··'
                                                                            .                                                                              .                                                                                                                            .                                                                      ·..


                                Cellrnark alreadyhad. allthe original evideQ,Ce that potentially contained biological materiaL Later,
                                                                                                                                                                                                                                                                                                                                      (   . ;"

                                SergeatitMehl
                                     .
                                              received
                                                ..  . .
                                                        the results.. of Orchid Cellmark' s testingand ~ompanson;. After le~~ng of.                                                                                                                                                            -




                                Orchid Cellmark's
                                 :.'_,.
                                                                                               re~ults, Sergeant Mehl
                                                                                                                  ...
                                                                                                                      arrested appellant for capitalmurder.
                                                                                                                                                        . :•.·                                              ··.·   ·.·
                                                                                                                                                                                                                                                                                                                                                                                   '   ·.. -.'~.   :




                                                    Second, tb~ State c~lledMatt Qu~aro, ~supertisor atbrchld. Celkark.. Quartaro t~stifled ·.· .
                                                    .   ./           .·                             ..    ·..                    .          .. ·                 .· ...    _:·              ·   . .·          : '.        :. .                .                "::.··.    '.'_:_    .. ··       .     ..·.·.             (..          .          .       _;    ,·
                                                                                                                                                                                                                                                                                                          ·:-.·. ..




                                                                                                                                                                                                                                                                                                                                                                                                       .·..   :




                                                                                                                                                                                                                                                                                                                                                                                               ':.




                                                                            '.·      .....




                       .··:·

                                                                                                                                                                                                                               ·.· ... ·          .···
                                                                            •,   ···:·.· ..

                                               • J\n,dunkn,own
                                                   . ..... . .. ·. ..
                                                                      maleQN;\
                                                                       ··'· .... •,.. .
                                                                                        profile
                                                                                           .··.
                                                                                          ,'    '
                                                                                                  was·. folind
                                                                                                         ··.
                                                                                                               on the cigar::
                                                                                                                         . :.,
                                                                                                                              :Tha.t
                                                                                                                               .
                                                                                                                                     DNA
                                                                                                                                     .· .·
                                                                                                                                           profile  could. not'
                                                                                                                                             . . ··: .     '
                                                                                                                                                                be                                                       :·                               '                             : .'                                                                    :..            :
                                                                      .·
                                                                            ......
                                                                                 "''•
                                                                                                ·,··..·
                                                                                                               •·•.:   _\,'
                                                                                                                                         ...·.                                                                                                    I




                               excluded'as contiil>ritor'tti
                                          '   ·.J
                                                             a
                                                             •                                 •,          •,
                                                                                                                           all imk~own male [)NA p~btile frorit spetfli fotirld on a vagiri~lswab in . ·
                                                                                                                                     :           ..... ·.·, .,                       ''   ·'·          '   ',.'          '-'•.•.        :1.               •I                       ·,                 '            ,•'         .•,"        I,    o'       ''          '   .,




                               . the. sexual assault
                                      -~.    ...
                                                     kit Additionally:
                                                         .      ..
                                                                       an unknown
                                                                          . . . .
                                                                                  m~le TThiA
                                                                                      ' . .
                                                                                          .
                                                                                             profilew~s discovered
                                                                                                         .      .
                                                                                                                   on
                                                                                                                    .
                                                                                                                      the panties                           .        .           .               ·.         ..            '•        '                              .. .                     .. . .             .                           .         .



                               that wascbn~istent with the ruikitown male DNA profile found;onth~ cig~ arid th~ vaginal swab:

                                                    The DNA.
                                                          .
                                                             on the                                       ·,     :
                                                                                                                    cig~. was single-~ource;
                                                                                                                       .              ..
                                                                                                                                             o~ly orie. individual's
                                                                                                                                                         .      . .·.
                                                                                                                                                                      DNA was. pr~sent. .The
                                                                                                                                                                          ·:                                                    .                     .                                                                                                        ,•




                               vaginal swab contained Diana'sepithelial cells, Arturo's DNA inthe form ofspemi cells, and an

                               unknown male contributor's DNA, also in the form of sperm cells. This unknown male profile




                                                                                                                                                                                                                                                                                                                                      :01144
                                  Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 196 of 257




                 --   ...
                        ;.'



~-'    :
                                                                                                                                                                                                                                                                                                                                                          · CRUZ:-OARC!t\-23

                                        '.·matched the profll~ obtained from the c'ig;u•. oiima• s ~ptt4~li~ cens'~t!fe also t6~nd onher p~ties
                                                                                                                  ..    .                                      '                                           ,..               ;, . . . , . .             ..            .•                  .·•           •     .                     •    ...              !"
                                                                                                                                                                    .'                                                              .,. '    ~ ....   ;: .                                 •::· :: !'." ••.                                                                           : .•   ·~   '• '




                                                  :;~:z:~~l:~:~~~;i~!1;:~J~~~\1~~;t~c,!nt~:~o::
                                                                          .· ': :·:~ .: ·. ~-. .:: ·. .'· .·...... )_:. ·::·;. :_. .:-·:_ : :. · ~- <>. . .. .·:' '· _··: . . .'. ::_ .:},. _· ;., - ~-: _:.'_ .. .: .: :·.·: -:.:-~ -: : '· ' ;·_ · _·:·.~- . _ .:\. ': :_,,.·:.~:<:\'.<. ::<- ;:(.•;· ·>:-~. ,. ;:), :·_ . :                                      ·_;~- ~. . ,'' .;.. -.:·.                  :', :
                                                  not be·excl~ded as th~ mitlpr'c6I.J.trib1ltQt to . the.,§pe.rm~~elLfr~ctioll JA tp~ pa~w~s; ·. •
                                      . . .. :, . . • .. ... . . ..•. ·.. ·!·\'·::::::. :.,_ .· ...: .· .i< .;·::~ ;~ .:···· ·:~ .· (;. ·.~r: _·.·<~ .. .,_                                                                                                                                                                                               ·-
                                                         On May 28, 2008, Orchid'Cellmark re~eived ~sample-of appellat1t's DNA. F~rinithat·:·                                                                                                                                                                                                                                                                                                             .....··
                                                                     ·'·'                                                                                  '                         ... -·.,.:.;                                ,·.:.'>,•·..:,-:;._.                 .\;•::~>_:·:·.~--:~:.- ~:-/'.---:·1~~:-
                                                                                                                                                                                                                                                                                              ...                          ~  -.....:-:'
                                   ,:   '       :-> ', ·,. [ .·.: ._·-. _::::-:.-.:·. .•. :~: <· ..... ."->:.. ·-_;·. :_:~;:<~-:~. ~-<·-~~;:; .!:;:._;::. :.__ ~: · '·.~.~ : .·~:\ ->. /:· ·.:· ·:-:~-.:: ~.:!:.~i:(~~~:~.~-":\ ·:·:' . : ~.· ~::~·.·:.,:~. "::."( ,: ·. ~. ·.; <:.:,:::_: :. ;'<·;.. ·:.~:.:;. ?:· ~·.:L>"> :. . ;::>·: ·. ·.·:...<. ·........... ·:.> .-:... . .· :. . . .. .
                                                .__ ·::: _· ·-·: I



                                   · ·;SilJllple,if obt~~ned a full D~t\ p~()t1le f~~-.app~l!~t~ \V~i<*mat~he<!: the.P:N"A pfpfilefoll,n4 on the .
                                        ...,·,'.; '.· . . ''>::.~·" ~ ... ·..... '., ~~ '.. ~.· '; .~. :;· ' ·. :.. ;· _:· )., ./·,··~.· ~~ ..· , '/~>" .. ~··. ~-. ·:. :. '. · · · .·. :~~<~>~. ,· ·. ·. ~ ), . . -~,~~~-<·:/:: ~· .·. ·~\·:; :~">~' .· '~                                                                                                                           '
                                       cigar an~ the' major 'coiitPbritor prQfile~ o9~~hied froni:·the sperln:-cell fractio~' of the panties .. '
                                         . · ,.;., . -.';;·;;,·c;i'. >)D::t ~:··.;;:AJi··,,:.{:?·:~.di·.·~" . :y.~:;::;:.,. >··.f?::._; . ;;.::.tc",;;·:. . >::,:·:,·.>:?r~.:;.~iJ/~·,;,;p;;:':-.J . ::-::.: •.·.•·•·• .\:•·
                                                Appellanf¢b4ld #()~be ~~cN~ed as acbntril:hi.tor to the 'spemi':-cell 'fi#ction;fiorii. the .vaginal swabs
                                                  ...- ·                         ·.· . ·· . . . --"'       :.. ·...... 1::~· .·•··.·              .- · . . ····                      :-.-                      .....   .::~·.,."·    ....··      '<\, . .r.~.--.~~ ·. .:..-:·:~·.::ri                              ........:·...-.:;.:·...... :··.:· ... ::                      ·                             · ,:

                                                 in~€ ~~:,..~a~t~f. orChid C~l~4.eifriiiJi~y~,~~~?tri~riio~ia{J:o[~J:~~,'~ ass~~(e~ ~~r ·· · ··. •· >
                                                 whb'?~~~kn~DNA,}~~~~iD. ,. , : . , · . •... · .. ,.. •..••...
                                                       •<On ih¢.topic:of co~~IIliri~d(>~~ Quart~oJestifi~d tha~ Wit1i<h1t~sampleofappellant's
                                                                                     .   ··~·   .... ,,/_. ...............                            ~;,?\!::y.'        ,·.•:·.·.:.:·: ·'::·· .. ·'.·.                             ·'.·                         ··~·:;··   ...~:::. ..   ·:~       !·.:'=:··>.··'~·.!;_~;· ..  . ..-···... :·.·.' ...
                                                                                                                                                                                                                                                                                                                                        ,-.... .
                                                                                                                                                                                                                                                                                                                                                       D~A ·..· ....
                                                                                                                                                                                                                                                                                                                                                          :·.<:·.:~~                                                    ·-.·~·.

                                                        >: . . .·.:· -:·:·..... ':-' ...: _:. _:;\ ·: .· _: :,:. ·. . ·.:;:i:·~.-:··~v>:-;·.-:· ·.·:-: . . ,,.-· .::·.::'...-. · .· .......... :· . ·;.;~: ·. >· . , .~. .:;:·.=::.~ ~ :.:~-::" ··;> ·: ·. \_-.·~. :.~. ~." ..· :~ ~-.:'_~~>:,·.~: ,, .-~. -.\:;::'::·. ·.:. ~.-:.<                                          ..• . · ··.· ... :. ·::--·:·, ... : ·.··:·, .:'. ·:·. ·   ·
                                                 iri the c'nme hib\vhere: the' evidence' ~t. issue was stored; 'it would he difficult' to 'CC:mtaminate the ..
                                                        _. :=_!. ·· ..


                                                                                         "·;·...                                      ·.,/•                    '                         ·=.\:·;'r..;';,-..:.. :,:·::                                                                                   .~...      ,':         .. .-: . .... :'···.                                                      ··:·.-...~.... ·




                                        .                                                                                                                                                                                                                                                                                                                                        ~~
                                        · qm~~:,rl~,o:q~e_lle?:::r~~s;re~%~f:*-·•f{~:~si~~e~~~,1~~·~~w~f~:;ee.·ci~~· ~-~·-~~··· ~~~~~····•or•···
                                            sexualiiss·a~it idt ~~¢'~-~~ethe cel~s .cont~!ttirig     appellant's: J?NA· .op the.. cig~ werksaliva .all~. skin
                                                  ,"                 :'•:•'(;·::·•./•O:••'·';" ',;'., ..  .·.; .. :·.·:·· .., • ....·., , ".'
                                                                                                         '\,',.,","." ../:.: .. ·':-,',_',;.: • '.•' •                      ,'::·~:;,:,;,"··i.:·.·';·"::                                   ·,,;~·:<',.;·:·                  ·~·                                                ',::.~,:·,
                                                           .:. . ·.· ·.,· ·:· ·:. ·,;' ·. ;·:·                    .. '· ·.       ..... ·:· .. ·.•. . .                                        ',               · ·:·. ·, <·. :                           .                                                                              . .'t.
                                                                                                                                                                                                                                                                                                                                                      Jo       :··,          •       ".•          •      '·.          • ....


                                                                                                                                                                                                   .:.:-~·.:                                                                                                                                          .
 .·;


.·    .....
              .··:···:\·-:··.:.
   :.! <;:: .,··.·:·.
  ';·······
 :·.·
                                   ·. ·. cens,\viine Wecens on. the panties andvagii1alswabs were sperm
                                                                                                                                                                                                                                                                                                ;   ···.··   ::·
                                                                                                                                                                                                                                                                                                                   cells>·• · ·.
                                                                                                                                                                                                                                                                                                                   .... ··.:·.":                 . . '·        ~   :.

                                                                                                                                                                                                                                                                                                                                                                                                                                           · ..   ·._;·
                                                                                                                       . 'l.

                                   . environfuental factors would manifest itself as
                                            .               .··.-':.·.:.                 ;:            .. ·:· ...... ·            .                    '                     ... ·   ......        •       -:.               .
                                                                                                                                                                                                                                    adegradation
                                                                                                                                                                                                                                     .·.  ·.-.:·
                                                                                                                                                                                                                                                 of the biological sample foUnd on a ..
                                                                                                                                                                                                                                                             -                    ·. . ·                            .·     .     '.          .    .                     .   ...·                          .               ;




                                            parti~ular piec~ of evidence: Such contamination would not result in .the manifestation of an
                                                                     ·:     ·.       :        ....           ,•              .            .. ..   :                  .

                                                otherwise~absent
                                                       ... .  .
                                                                 DNA profile.

                                                                                   Third, the State called Courtney Head,~ criminalist specialistwith the "new" Houston Police
                             Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 197 of 257



                                                                             .. \




                                                                                                                                                                         _.,:.
                                                                                                                                                                                                                                                                                                                         '                                                       '                   '




                                   Departffieritcrik~J~b  ("ri~w HPD
                                                    . . . •·. ·... .
                                                                     ~rhne lab"Vi Headtestified to her qualifications asa ON~
                                                                                       :· .•...   ·                                        ·                                                      .



                                   art~ly# ancl,therl·t~stift~4:~·~puttfie i~yqiv~rrie1lt of Geneti.c Design Lab in the inst.lnt case.                                                                                                                                                                                                                                GenetiC ·
                                                                                                      .. •' :. <·~ i;, ;.;. . . .
                                .·. Desigp L~~)s an 1rici~p¢1lc;lerit, C~liforrtia~based lab th~t received DNA extrac~orts from evi4ence .                                                                                                                                                                                                                                                                        ·.. · :.,



                              ·. •· in   ~~;~4t·s~#~ ~;~~}~~().~ ~~d~Jiik.fthather ~b~~~~~di~;ted ilia! ~I 992 the oiJ~~D .··.
                                          lkb extr~~·i~dbNA. ~~m ~vid~ntfatY s~p~~~and sent tbos'~ extractionsto.Gen~tic Pesigri
                                                     1
                                 ' crime                 . .           ' .   . .           . . ·.'        . •.             ·.     >. •' .Lab..
                                                                                                                                          . .::.                 .                  '        .·       •'   / •. .     ·:~··   '        '         .   .    ... :     ·.. =: .       . . .. ·,·.: ~ .···. . .             . .                           ..    .




                                  for testing; }li~i~Y~ ~~ ~~di~~~iori ih~t'~y p1~ces Of ac~al evidence; a~ ri~~~sed to niere extradtiqns, •.·
                                   .;>:-.. · .                     .. :            ...· :···.· . ·.....: . .... ', . . . · :·· .:
                                                                     ·.:·.::=.~:~,-.:'/:·:!·· .. =··:.·~..-~.=:>).:/:.···;~.:·     .·:-:· ·, :'·                     :··,·,·.·.~;'.<.::.-_.:·:<··                                                         ~;·                           ·.~·:          ::~·

                                  were·sent'to.Gel1~ti~p~si~Lab.: .· ·.. ' .. ·                                                                                                                                          .. . .                                                                                                   ; .• · . : .•••... ,

                                       · · · ·. '•   "·:~e~~·~l;~:)e~~·~~({t;·~al)'ses·~.bep.e1o¥~~attilenew.IiPp'c~~e·~~~·.Afl~rre~ei~iri~a·• . •··. :.;:.·. :. . · .· ·
                                 . b~c~ai ~;~b fro~'h~~eit'arit,' Head ~xJ~ct~d~~pell~t;s DNAand obtained ~is ~NA~~ofil~.~.:~~ad •·
                                                                                      ... '<.~· .' ". ··. .' .                                                            :        ·.·.,..
                                                                                                                                                                                                                 ·::: .: ·,'.:, :-;,

                                  then complired tliatpro~le to the profile~' that had been generated ~y Orchid Cellmarkfrom th~ tigar, .
                                                                                                                 ...· ·,:,,'              . :. '·,~. ··: :           :   :'   ·.                                                                                                                                                 . ·, ;                     .   ·,   ',.,,                                 ::' ·:    '



                                  the. plm~e~' . aJ]?,the ~~~·al;s~k~. ,Ac~:~r~i~g to: H~ad.' s tests, app~ll~t could not b~ exclud~d~s'the ...· .·

                                  coittribu\~; ~ d.cl ~~A 6n thb l:igar,,at]leitlllli~~jd n~t b~ exdtud¢.as. th~ c9n~~i!~t\~ \It¢ ~~jor
                                  DNAp{oftt~;~~
                                   ?      -<·:· ..:·. .
                                                -
                                                        the'. panties,    aild ~~p~tlan(could not Vb exduded ~i·.....~ 'contribiltor
                                                              ·.•, . . . ·, .. ·: ·..' . . .... -:· ;· ·. ·. .;' . .
                                                      ·.·. :,. ...                                                        :.. :·,
                                                                                                                                     t~. clt6_:0N..r
                                                                                                                                      ~.
                                                                                                                                                         foUnd .•.
                                                                                                                                            . ..:.·:·. . : ., . .
                                  on the)aginal swab ,in ilie,s~x\lat assaUlt kit' . , ..,'                                                                                                                                                    .' .                                                           ' \                . . . ·.· .·                                    •' . '·
                                                     :·. :. >'?:~·                                                              . ,:;:~.. '.:{. :;·:·. .
                                                                                                                           .· '• .......... ·' ,·                              ,' ·. : ... ,·.              ...,, .    ·,'
                                                     ·. App.ellanicross-examih~dall
                                                             . . ... ' .• . ,, . . : . : . - '•
                                                                                                   UU:e~'ofthe'... State
                                                                                                <· ....... :., . :. ' '•
                                                                                                                                1
                                                                                                                         . ·. . .
                                                                                                                                  ~~ittt~s~es;
                                                                                                                                         ,. '• ,.·
                                                                                                                                                             f~chsihg
                                                                                                                                                         . . ..  . •·
                                                                                                                                                                        ori th~tfuie-~achpi~c·e
                                                                                                                                                                      .. : :. ," :, .          . '·. . . . . ., ... ·.
                                                                                                                                                                                                                          •                                     ~                                                                                                                           ~.




·:·
 ,,r_.,.;
              ··;   ..   :
                                · .of evidence sperit iit tii¢·~1d ~;b c#~ .hi~.  Ap~·~u;.nt also e~ph~sized .the fact'that s.ot1te. of the
                                . evidence at _issu~ had· ~\;e~--~e~n t6sted by.'fue.~ld.~Po''cri~eia~·~hen.it ~i:tr~a6hed . tbe 't~b in                                                                                                                                                                                                                                                                  :·
                                                                                                                                                                                                                                                                                                                                                                                                         .... :
,....... '.                                        '...         .        .     .... ··.:           ..... ;   .        .              ....
                                                                                                                                    ·~·   ·..      .         .       .   . .                                 .        . . .                '         ..   .                        ....:.                           .        '   .. ·.·~:    :       .;.   ..                .       :~:"        '
                                                                                                                                                                                                                                                                                                                                                                                                         ..: ~      ·•.

                                 _1992, ineh:1ding one.ofdte'vaginalswa~s fr~rri the sexnalass~~lt ~it. AWellant <Ugciet{to th~ ttial . •.·.···

                                 court that the evidenc~ was cohta~inate~ ~s a result pfthe titrie. it spent at the ptd                                                                                                                                                                                                            &o crime tab..
                                                                                                                                                                                                                                                                                                                                            :.'·,.


                                                         Absent ~vide~ce of tampering; allegations.
                                                                               .            .
                                                                                                    or questi-ons regarding
                                                                                                                      .·.
                                                                                                                            the care
                                                                                                                                  .
                                                                                                                                     and custody -ofa



                                                         21
                                                                     Some years after the closure of the old HPD Crime Lab; HPD opened a new crime hib.                                                                                                                        '                                '




                                                                                                                                                                                                                                                                                                                                                       :0111..16
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 198 of 257
                                                                                             ~--                            ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            '·· ;--·->'
                                                                                             .,~::~·




                                                                                                                                                                                                                                                                                                                                                                                                                  .:.. .. ·:.-.

                                                                                                                                                                                                                                                                                                                                           ciivz.:o;\R.cli\~is
                                                                                                                                                                                                                                                                                                                                                             -···           ,.                    •       •,J         :·        ·'




       piec~ of evidence go to the weight to be giventhafe~a~~lC:e, not its adlni~s~qility,22
            •      .     '·:       _;           :::·. •             '                    '   .' '         :        '    .            . '..                                                            ·.     :                                 I       .                                                 '         :- .        ·.    ·,·       '   ~    '             ··.
                                                                                                                                                                                                                                                                                                                                                                                    ·Here·, ~~ q~ly
                                                                                                                                                                                                                                                                                                                                                                                     .    .           .     .         .        ,• '.   '       '.· '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                ;


                                                                                                                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ..,,. . . ·
   ' evid~rice
  ·.    .'
               appellant' put forthregarding cont~ation o(the evidence is·-,· the fact that it ~as stored.
                                                                                                      .    ..                                                                                                                                      .                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                   by,
                                                                                                                                                                                                                                                                                                                                                                                                                                                   •




       the olq BPI) cripie lab .. Although a~pellant offer~d evidence chaliengfug the relil1bility ofth~ old ..

        HP~c;keJab;as a\Vhole,.~e o~er~~~h~:e~idencetha~ the,parti~ul~ev_id~~c~·~fi~:~~·in:~~~i~t~nt.· .....· .. ·.
       .case.had· been tamper~d. with rlr. co#~ated; ··IIl_response to appellant·~· claims, _ tlie.Stat7

       i~~oduced',~~st~oll; to's~~~-ortther~ii~billty.~fthe eviden~~ ~tis~~6;. · •                                                                                                                                                                                                                                                  ..                                . '..                                           '.:·:. .. ., ·.

                   ·. : . Th~ tri~l c~: ~a&e b~al~A~in~s:~i~act on ~e ·r~.cord. i                                                                                                                                                                                                 3       f~~·bo~·folind:Me1},               dhiirtaro;
                                   ' .·.< :_.~:~.·.::: :.' ..           >' :_,. •'·: ";·:. '. ; ':~. ''•.)/~: . ;,: ·. ': ·: \_:, :.:·:.; ':' •. ' .':,:;. '·                                                                       ·;: . :· :, . :'; .: ·, ,. .. . . ':.::·.;.'~.'}!:}:~(:~<: ... • ·.
                                                                                                                                                                                                             .·:·<·. >'.~. ~~:~:.: ~:                                                                 .·_: . -..:: . \ . . '        > .•                                            ·P·:·.~'.;'·          ' -:. .'<,'·:;:. .: ; :·:·                                    ': ' ·, .
  . and He.ad't9'be ~re.dibie witrt~S,~~s;_ q~~l-~~~4t<? tes.tify ~ tl1eir.are~s 9f~~P'~rtis~:: !h¢ tri~1 ;~(>~then -~                                                                                                                                                                                                                                                                                                                                              . · ·" · ··· -..
                                                '•   : :,                                                                                 ..       •'                     ·- \'                                                                                                           .   '..\·~··:· . ''-""·.                  ':. ,"·/;:·:              .


       recit~d findings of fact ~dopting,the t~stiin9~y <?f the st~te 's 'witrless~s ~-·it is sumrttarlzedabove~ •.•
                  :'·          •   "•        :•      ..•..              ·'       •       ,"         ·'.       •.,.:':.                              •••        •      1          •·     '·        .                            · .......    '          :         •                    •   •          '       ··'   • .;                                     .·:.',          •       ••.. ·                      ......                         •           •·




   .Th~court e~plicitty fcnrlidth~tth~fewa~l1o indi·c~tiort th~t ~y ofth~ .e~idence ~tissue in ap~:ellimt·~ •. ·
                                        •   r             ''· •                                                                                                           '                                                   ~··      •   ~



       case had              1Je6h c~nt~ria~e~:·()~IIlisJiati~~d'4tlling_th~·ti~~ it was st?~eclby_th~;ol~ HPo··crun,~t~9~ ... ·.·
                  · · -.· · uf~t#~tely~ tti~:.96~ iuted tii~·cigar, sexual a~satllt kit, ~~p~~~i~~ a~i~sibMa~ reliabt~ ~k . . -

   .   relevant'-evi~~nc~. ;~e court d~t:~inlined that the results ~f th~ {)NA tests perfortned by_ Orc!iid
                                                                                . ; ._.      •· . . .          . . ,.       .      • .         .    ..;-       ·.. ".            •            .       ·• .       '      .. . •. ·I".                   ~' •. •              ·.   •.              .             .          .                ~           . . .. ••. .-· .              •            .         ' '            .               ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ...... ·.'
       Cellmark on- the clg!lf, sexual assault kit, and par}ties were also admissible. as reliab'te'and relevant
   .                           ..·. ·",'. ,;· \~: ··.:.>:' \ .r.: ...:. :                                 . ·.' ~ .. ~ .. ·.                                 .. ··.:.:·.. ;·:.        : ... :, . .                   ·:..      .'. ;',                               : ·.. .:.... .':·:·. ), :, ' '.-, ......';.,:;>.                                             ,         ·:·.~        ·'.': .... .', , _':-_.:.: ,: ·.:

 ..· evidence:.: i~~~tly~                                                      tP.e courhu1ed  that th~ DNA corilpai-ison perfonri6d'6; Head at t~e new HPD ....
                . . ..                               .; '•' :· ... :·, .'- . <::·.:' .·.; . .
                                                                                        .... .    '· ' .-·, .:    ·.. .      ..   . '·-
                                                                                                                                :·:~··:  ...... ·,.                                    ~-,                                                                                                                                                                                                    f                   •        •'



                                                                                                                                                                                                                                                       •... '                                                         ;!,: .           .. ·            :

       crinie lab                                    was ~utinlssibl,e:                                            . :.· '                          · ··..                                                                          ,.;·.




                                        The redeird suppo$ tlietrial 'court'~ conclusi~nthat the DNA evidenc~·was ~eliable.                                                                                                                                                                                                                                                                                                            The·:.

       trial eotirt hetlfti evii:lenee about how M:d ~hei~ ea~h piete ~fe'videiice atissne was stoxed. Quat t<ito

   and Sergeant Mehl both                                                                                     t~stitied that. the evidence app~ared to have been stored appropriately,

                                        22
                                                     Lagrone,942 S.W.2d at 617.·

             See State v. C~llen, 195 S.W.3d 696, 699 (Tex. Crim. App. 2006) (stating that findings
                                        23

   offact rendered after a ruling oq a motion to suppress can be in written form or stated orally on the
   re~~.                                                                             .                             .                                                          .                                                 .                                                                                                                                                                                                                      .




                                                                                                                                                                                                                                                                                                                                                                                                  :01147
                  Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 199 of 257

                                                                                             ~.         . .·

                                                                                                             ......
                                                                                                              •. : ·.' .




                                                                                                             :.     ·· ..   ·
                                                                                                                                                                                                                                                                                                                       CRUZ-GARC:r.A-26 .
                                                                                                                                                                                                          . ·.:.·_.                                     ..........

                       separated
                          .·
                                 and sealed·
                                     .
                                             hi i~dividual.
                                                .: .. -.;....
                                                     :
                                                              coni~irte~~.
                                                                    ,.-;·,:··" ...
                                                                                   Additionally;'
                                                                                    ...... ' .. ,.
                                                                                                  the                                                      .··.                                                          '                ·.-·;'·                       .
                                                                                                                                                                                                                                                                                     fha1 tourtfound that the locations
                                                                                                                                                                                                                                                                                       '    ..         .·       .
                                                                                                                                                                             ·.. ,. .             . ' '··. .                                    ·,~.    ...,
                       where the evidence i~ tlii'~ case.was'stored. \\ren~ not the locations described
                          .·:· ,> . ;-;· ~ :;~·~·:_:_-...                                               . ·, .:; .\. ·:.•: ·:·. ,              !.• · . .       ··.·~     . .-: •.. .... . .                                             :· /           ' ..
                                                                                                                                                                                                                                                                                                                    as being deficient in any .· ·
                      oftlie reports'cl'itical_ot,the'oid HPPcri~J lab>                                                                                                                                                          · '··· · · < ·                                      · · ·..
                            .•. . ·.. :r~~ reco~ ~~ ~.JiFirts i~ trl~i~~¢t;, ~On?l~[&n that th~ D~~ evi1~rice ~as te1evant . ..•·· .· ·.· .·.
                      Evidf!ilce is                                         relevarit:i~:kmakes ·any fact. b,f~ortsequ~n~e more or less probabl~. than it Would be ··
                               0
                                   ~··~··~:.':     ·.,
                                                                 0
                                                                        ,       '       ~~·:::.'~··;,.'.,I:~.~~~·:.":\                                     o       _..   ·~~,\<>                  ,. .'.··,~·,•., ', :·:.":.~: ..~·.:···<·:::•'il-':> ·~                \tt          .,,;'.:•,:   ·.. ··••            .",•/
                                                                                                                                                                                                                                                                                                                                      0


                                                                                                                                                                                                                                                                                                                                                '




                     . without th'e evidence.                                                                24
                                                                                                                    •   Here, the DNA evidence ~akes appellant's presence at Diana and Arturo's. ·

                   ...· ·• aP~~~ ~~f,i~~~~ij;;.~~~~~~~.~~t~~ob~~~'{'~;                                                                                                                                                                                                                     •. • ·• . '. . . : '•. •· · • f· > • ·' . · · .•. .
                           ' ., ·. J.3ecaus~ we defer to the'tf.ial'C.~ciUrt's 'factu~l detell1lifl.aticin~ so long as those detennimitions

                      are supported by the                                                              ;~~()r~, :e \vitlrl()~ distur~ th~ ~ai coJt•s' nnctngs on ~ppeal. Th~ ~al co~.
                      did~~;~~~e its dislka~iin aW1li£i~/for~ic ~vjd~c~: ~d ipp~liani'Sd~e ~.rices; ri~t8:                         .·, ·...                                     ··.:·.~.: -~:··:<."·                      '.='                                                                          .·' .
                                                                                                                                                                                                                                                                                                                                                                     r•
                                                                                                               .'   .. .    ; '~



                    · have notbeeri violated: ."Appellant' s· tirsfpoirit ~fe~or'is. qvem!l~d.



                    .·~ilicyt~~:~::·~~1~~=~:i:~r~t::~~t:::ii::~::jr~:::~~~:::::~::~ ··                       :.::',:.:·:·




                      c;os~-e~aminatio~of \Vihiesses withresp~~t to testi1llony ~~itlc:dof the oldHPO crim~ lab.
                                                                                                                                   ... .          · . . ·....!.··




                                                                                                                                                                                                                                                                                                                                          We will  .· . •.
                                                                                                                                                                                                                                                                                                                                                                                  ,._·




                        .~ . .. ..                          '•       :';'. :.       .·.'·   ',:   ·..    :                      . : ~·     ' .   ::, .                                                                                                        . '' ·.           ',                                            '              .....         :.



                      adcfi~sse-~ch':c?~plaintk'trifn;.:<                                         ·.·. , .•... . .                                           • -· . ; .·

                           . :Ai~o~~ defense·~:iliibi~ 2-9 w~re offered int~ evidenc~ it the Diri~ion~to-suppress hearing, . ·:. •.                                                                                                                                                                                                                                           '
                            .. · ·. : ·>·. . . .·... _.: · .. :.::·_L:.:·:,_;:.:,>::- .. _;  :··.-~.-
                                                                                            ·...·.. ·..... ·.                                                             '::_:,':.~:-?·',,.:
                                                                                                                ... . : ,.·:·:·:· ... .. ·.·· ..": ..":·<-·· :.·.:/': ·.. ::. ·.· ·. ·· ..:,;·· ··;.·                               ;.~                                     ~                                                                       .'1:·: ·,' ·..

                      the¥ ~~re not ili~ s~bi~~Gwilie: defens~·~ mbtionto suppres/ Iristead, they were otre.red in supp~rt
     ··:     ::
      ...
 .··· · ..   ·
                    . ofth~det@nse' s motion t~ sappress, an~ the trial eoart in chided a ruling on th0ir admissibility ~t trial .
"l.   •:.



                                                                                                                                                               '·      .....
                     in its fi~ctings :offact. Becarlse the trialcourt' s ruling on defense exhibits 2~9 was an evidentiary

                     ruling, separate from its ruling onthe defense's inotionlosuppressthe State's evidence, we review
                                                                                                                                                  1



                                           M                                                                                               .                                    .             .                .                                                                           . .                  .                 .         .
                                                      TEx. R. Evm. 401 (West 2014); We cite to the version of the Rules of Evidence that was
                     in effect at the time of appellant's trial. Although the Rules of Evidence have been amended,
                     effective Aprill, 2015, we note no substantive changes to the niles pertinent to this case. .



                                                                                                                                                                                                                                                                                                                                                                          1
                                                                                                                                                                                                                                                                                                                                      : (lf1148
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 200 of 257

                                                                               •                      .
                                                                                                              •




                                                                                                                                                                                                                                                           CRUZ-GARCIA-27

       the denial Of exhibitS 2-9 for aD abuse Of discretion Only. lS
                                                                       .                                                              .                                                                                                                                                   .·
                         First, appellant complains of the trial court's exclusion of defense e~ibits 2~9 as aviolation

       of his right
                .
                    to compel the attendance
                                      '  '
                                             of witnesses
                                                   ..
                                                          in his favor. and a 'limitation
                                                                 ,._                  .
                                                                                          on his· ability to                                                                          '       ~                                                                                                               .
                                                          .-;:                                                                             .-:·;:                                                                                                                                                                     ...       ·.·(

   .present a defense. · Absent an ab,:use of di'scretion, a trial court~s evidentiary ruling wiil not ·be. · ···

       disturbed,                    ~n appeal.26 A trial co\:U't a~~es its discretion only if its ruling lies outside. the zone of... ' :
                             .•,:,                                                                                                                                                                      •'     ..
                                                                                                                                                                                                             ····. ,,,
       reason~ble 'disagre~Iitent                                                                 27                                                                                                                                                                                                                                           -.. ~.--· ..




                         b~fensee~ibits2-9:were offered~t the heari~g on $e~otion to suppress the State's DNA.
                                                                                   :: .... l_......               ··.'' .             : ·. .:;:··:                     ~:.>.):·_;         _: ..
       evidence. At that he~rlg; th~ triai c6Ulj ruled that defense eXhi~its2-9 were inadmissibie at trial. · .

   .Defense.exhibits 2~1 consisted of.a r~port termed the "Bromwich Report." The Bromwich Report:·•·
                                                                                                                           .          ..                                                                                   .                   .

       was .initiated
                 .
                                            .in response to the closure ofthe old HPD crime l~b in 2003 and heavily .critiCized the
                                          ···'.                                      :        ··.:                         .. .                                              ,•               .                           .                                                                           .
                                                                                                                       ·.;;


       lab in th~ ~~as of quality ass;ance, int~mal auditing, training, and standard operating proc.edure.
                      :_:(
                                                                                                                                                                                                                                                                                                                                       _.,.,

                      . Th~ trial courtdetetmiried that notbi~gin the                                                                                                                                                          Broniwich Report related t~ :the s~ecific
                                                                                                              .        .               ,·,.,·.
                                                                                                                                                                                                                                                                                                                                                           ..... ~
                                   Stat~. ~d. as such, w~s irrelevant underRule 401 and inadm.lssible~'.
                                                                                                                                                                                                                                                                                                                                                       .
   · evidencebeihgoffered by t}ie
                              '···
                                 .                 .               . .                  .             ..
                                                                                                      .                                       .    •.        .                                                                        ·.                                                       ·.         .



       underRule 4o2. Alternatively, the coUli held that, ·~ven if some portions were relevant, the pr~batiye .·. ·

   .   ~alue substantiillly ou~ei~ed ihe d~g~; .i>f ~fair prej~di~e, ·COAfusionof the issues,. and th~ >. ·
         '                   ~        •      •    o   •            ,       •   I • •,                     • o•         ,       • '•        •I '   • ,,   •       ,•   ., '        '       •         '   '•    •      • ·, - ' <   '        '       '   •       '   t   '   , •   •   •'    ,        • •           '         '


                 . ...                                       .         .•·
                                                                                                                                                                                                  , . . --·.
       rilislea<ting of the jU11'-.under Rule 403. ·                                                                                                                                                                                                            . '
                                                                                                                                                                                                                                                           :   .··  ·.

                      · Defen~e exhibits                                                        8 and 9 consi~ted ofmisco1lduct report~· "nd crimirialhistories for three.
       fermer HPD crime lab employe~s, l Clm, J,J.Sharma,                                                                                                                                                                and D. \lfallaee, Who dealt viith the. fe~n~ie ·..
                       25
             Weatherredv. State, 15 S.W.3d 540, S42 (Tex. Crim. App. 2000) ("An appellate court
         . . ..
   reviewing a trial court's ruling on the admissibility of evidence must utilize an abuse-of-discretion
   standard of review."); Prystashv~ State,3 S.W.3d 522, 527 (Tex. Crim. App. 1999).
             I    •                          '                                 :                          •       ,-                                     '•                           •




                       26
                                     Weatherred, 15 S.W.3d at 542.
                       27        Id.
Case 4:17-cv-03621 Document
                       ......
                        '
                              24-1
                               .
                                   Filed on 09/24/19 in TXSD Page 201 of 257
                                      .. .._-.·-

                                                                                              •
                                                                                              '                                        .
                                                                                                                                           .·.
                                                                                                                                                                        ;,    ...                          ·       ·              .
                                                                                                                                                                                                                                                                                                                                                                                                                 . ";.
                                                                                                                                                                                                                                                                                                                                                                                                                        ·-.·,




                                                                                                                                                                                                                                                                                                                                   . .·.}·. . . '·'.:·.<\ " . ·. ,
                                                                                                                                                                                                                                                                                                                                · · .•· CRUZ,.GARCIA-:-28
         evide~ce ~rfered by ihe state when it was rrr~t coiie,~ted:·anase~t to HP~ in :1'992.. l'iri#~ ~rthese
                                                                                                                                                                                                                                                     . ' ii.                                                                           . .. . . .

         einpl9yee~ were ca,ll.~d toc'testify in appell~~t's trial, Adqi~iq~~lly, no~e                                                                                                                                                                                                                                             of the resUlts. of. t~s~
                                                                                  .· __    .·:-'                                                                                                                                                                           ::-:     .:•'


         performed by any· old HPD crime lab empl~yees were. off~t¢c:i irito ¢vi#nc~: .That qeing true; ·the· .·
         . ~-                                        .                  ·. ;.              ·. . ·'·'\~--                         ~--~      :.          __ ·_...              . ::-:.:.,._:·.              ·:~:             ;.-:       -·_             ._ .. :.-':'!. -:-··:-··:·.       -_·--:~: ~-'_;·,.,       :.. ·',':::-··::~·       ~    :,.--.-.;-'::·.',~~--      ·-::-.               ,·,··           · ...     :·



         tri~t court .deterrruried :~;t~vid~nce .· cori~erriin~. ~~ mi~:¥()~<i~ct 6ntli~:·~art:()r c1lu,. §h~ina,·· or .
                                                                                                                                                                                                          ··-:<:.:                                     ·:.; _..:-:·: · ;. ,.                              ....      ,·.~.    ·. :;: -·:                                          ·.. ··r
        .Wallace ~as iireleyilnt udder Rule40J                                                                                                                                       illd in~cllriissible.U1ld~rRules462, 4CH, 404, ·6os, and ~0?~··                                                                                                                                                                                ...
                  • ."              •            .,'         ·.:    ." '. :· :::: : ":.: ;.;,, ·'; : _(                                                             • -.' •'. :~2:." ','                                              .. · • •.             •                                     r                                              • .' '•.', • ,' • ·-:·               ,-,,,'        '':.   ;     .',~ .'',.     •

            ·.·             :·,.        ··· ...• . ··:.··.- .. ::·.      ·: ... ~.:-.\~~·....::· ·•                                                               ·;, •, ,:·,,:;,,, '•''>·                                            ··-: ...., .. ;' .. · . . . . ·          .   /~~~..-·· >,.                        --~-~-                               .. :. ,".
                                                                                                                                                                                                                                                                                                                                              -~--~-<)· -:::--~                          ~     :"     f.·,. ·.•'




;· --~                                                                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                                                                                             .   .:           .

        were ~~~g~d to. te~tify for the 'State~ cqup~ed with the'fact that'results f.r:()m the .~ests each>per{offit¢d. •.·                                                                                                                                                                                                                                                                                                                           .-:···:·...
                    ::-            ·•. • .: . . ·.' ·, -: ,._:.   .-.   .... :·      : ;          • .,_, 1       · ,_.   : ... '.: •. •.         · •. ··..   ..   :: • • . ::·:-,: ;::·   ·.         ; •.' ... '.,_;._',:               .            , •,,' . •   . : .,                    ·:I ·. "' .; . ,.. , . •. . . .•'' 1'_, ... :
                                                                                                                                                                                                                                                                                      ' . -:·:-                                                        , ..         .' ,- ~ :- ·:··. ::: .~.. •:....·. ,' ;' . :· • , . ,.
                                                                                                                                                                        .    ,,...                                                                                                    ···-'·.:··.                        ·,. ','    '


        .\Vere not offered into'e~id~nce, it ~as rt'ototit~id~ the zon~'9(re~~ilabt¥4is,agr.~etr1entto 4eterrr~iD.e, . . '·.

      .'·that               ~0d~~ce reg~diri~~ th~se' witriess~s wa~ ifi~Iev~f Adgitionally; b~ca~~~ ~e~~"e~ibfts' dik not                                                                                                                                                                                                                                                                                                          .'                ....
                            .; ;;.·.                                                       ·. '.;:                                                                                             ·..       ·--~:<-           .. · '                         ·.. :.:>"·                         ,·:::;:,..
        'co~prlsethe ~nti!~ s4hstance ofa~pell~t·'~.4eJens6, we ~·~llriot saythat'ilieirexausion P,rev~nted'·.                                                                                                                                                                                                                                                                                                                                          •.

        him,fmm~~ie~~;g ~difl~~>:'t{lt~·;~PP~ri(~-~e~fi;ljro~th;~aitfY• J;jg, w~ h~I~£ ·· .
  . ili:~t fue triill e:()lilt did n.ot ·abuse its di~·cretiorUn refusi~g to adfu~f deferis~: e'*b.ibits ~~9 .. . .. .
    . . .. .>:, ',' -: ·' ...                                     ;~:-      .                                .
                                                                                                                       · ·:. ·
                                                                                                                             .                   ;.·          _,. . . ; .                            . ·. -:. .~. . ---.·.. ·..·. -              '                 . . :.':' :.' :·,,,::._' . ·• -                       '. .                            .: .
                                              :.......,                                                                                                                                                                                                                                                               ...... ·· .... ·· ..
                     . .·.· ·.• ,App~llant aiso t01hptairis in II~ssetond point ofer!or tp~t ilie trial c;o\0 erre(iw~ell. iPitnite4

 · ·.   his.cross-~xalt1~natio~·ds·irr~I~t~X~l:~~ ·.st~te;s·oNA. . evid~~~~: arid~~~.::~Id.•HP~;·c~inl~-~~~:·:· ...
                         .·.·_._· :·-<·::~·,-_:_.·~_-._,-                                              ..           <·; . ' :~·.... ' ",'::·",::·.; ·.<::.-::- '·                                                                                                          •. ·,.       -::.-.·~·:·', -~:·:-'·:·~-      ..                    ·..  f      :.     ~· ~       ..   -~...                     .'•




 ..     SpeCi~cally, app"llant c.omplairis that his\;!C>s~~exruniriation ofS~tgeiuit Mehl, FE.H Ag~nt Gris~lte ' ': ;

   ·d~. Matt Qri~i?;,;J~~~:r~~~ ~llnP.:m}~,ihiy Iu,J;~1···ApP<n~t'sci~4iri thiS .· .·•
           ,.-::                   ·...
          .         .

        State
          . .
              asserts
                .
                      that appeliant
                            :._,
                                     ha~ not prese~ed
                                                  .
                                                      confrontatio~
                                                          .     .
                                                                    objection.
                                                                     ·.     .
                                                                               fo~ review: A party must
                                                                                                    .
                                                                                                        .                .         .              .                                             .           .
                                                                                                                                                                                                                a      .                                   '                   .                      .   :   ...



        object in the. trial court; and obtain arttHng on his                                                                                                                                                                 objecti~~. before ~e can present his complaint for
                                        28
                                                    TE£ R Evm. 401                                                                         (We~~2014).
                                        29
                                                   See infra P~ TIJ.A.



                                                                                                                                                                                                                                                                                                                                                                                             -··                 ....                    -
                                                                                                                                                                                                                                                                                                                                                                            :01150
                  Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 202 of 257




                                         · <        •. :            ;.       ~                                                                                                                                                                      CRUZ~OARCIA-29

                         appellate                     ~eview~ 30 _ B~,cause appe}limt 4id not object in the trial court on Confrontation_ Clause
                                                                                                    It       :                 - ~ .•
                                                                                                                                            ·...    '


                         grolplds, he has not preseryed thaici~1~ foi.reviewin this .Court.

                                                At th~ hearing o~·tliemotionto suppress,. the trial. court ruled that appeHant _would riot lJ~.

                   ..    penwtte~ ~~<:~o~~o: ~e-~~ii~~j~R Ti;~()~,i-~:· clo~e oithe oldifi,D ~~imelab, ilie ~easons ;or that._·
                         cl()'stire; or                    th~ fni~c9n4uct <>~·fo~ni~i'ffi,~_·b~e lab empioyees who were not gc:>irig to testify. The ;
                        ·-.· . :·.._c:;-":;i~.'' .: ·\'. ,J .. ·.'"··•-··-~~i··· <!.~/. .:\·: ~~: :.:_:r:·_. ~·----~.:·:t:;::; . . ·_. -. ·c··-··:,; . . · ·.·-                                                      --_..            .•       ..~- ·- .:.. -· .. ·. ·. · .: .• \''·· -___..·•. - ·. ··
                         trialcoilit e~plicitly stated. it.wo~d ~How 9r.oss~e.xamw.iltib11 on the issues ofwhere the evidepce:was .. ·



                         :~:;~;~~iiZ~~~;~~i;~t~~r~;~~2~}~±t:ti:::~~n, ~dw~~~:~~
                               . :. ..'J\t trial; on.4ii:~ct examinatio.n~ Serge'ant_MeJ:il tes'tifiedthat law enforcemerit offi~ets did not·
                     ' '_·. ' - -. _ ·_·' _._._ ' •..-..·' •. ' '·):,< : ; : :. ::~.·                                                   ·~?f~:(,i;\:/:f        '. -·.:· \; '              •. ' ·. ' _· .' • .- . _· ·.·' .                                    i:. ' '           ·_ ·_' ',      ' ·- ..

                         consjd~r th~l'p_r¢seQCe (>f DNA aS -~vid~nc~e                                                                                             when they investigat€~4 'Climes ~'n                                                199~,            the' year of the                           'i
                                 ·...·.:·;-.~·.\             -:.·.--,"_:· ::·,...              ·::.~·~>.:~·-~··,:~;·                               ·. · . ' . ·.     .              ,..          ·.              . ·.·.                                                 .
                        ins~t~ffen~~; In 6f4~~.\~ torrec~ tJ:le iJPpre~sioq that DNA evi4e~ce ami 'futalysis wasno~ utiliz~d .
                    ·... :~.:···:.::.· ')';:·':/;::.:;;.::o·:.: . ·:.····',·:.\'.:}:,~.• . 'c . .·...... · ::·•,:.· . . · ···,,; •. :. ··.~f·•·. · ••·•· ..·•.. ···: · •· · ·.· ·
                        ·oy law._eqforcerilent it;( 1992, the trial;cQlirt permitted ~ppellati,t .to cross-exanuit,e. Sergeant Mehl on:
                     .'h.· ra1(l/;~flh~]:i~\:J~~frP~~ ~;~i~..... Was ~p;;~ bY police ~~enc_ ie~, i~ i 992 arid!bat so.he of.'
                                    '   .. ). ·.                                                                                                         ;    .                                 . ·. ··.~
                                                                                                                                                                                                                                                                                                                       '

                        the evidencerelevant to the cas~ at                                                                                        bar: had been submitted to the >Oi~(HPD    cririiel~b for DNA                                                                                         .·.. ·
                                        :.   "i ••• ,_'     _,·.·        ;   '   ;   ::·· ••                     '    ·> .... ···/ ~~: .: ";'!;..'<-''   .                             . ....             . . ' :.<.··:.·' ~ '
                                                                                                                                                                                                                     ;;.> ..
                               . . . . -'·: ~ ' ..:·.~). ·: .. : ;.. .                                   .                  ' .. :- .'. . ':;.:~.--: ··.: ... '                                                                                                                  ...? ·:. .
                        analysis;\/                              ·.~ .                                   •·               <<·          ..               ,.>                                                                                                                                     ··
                                 ···..·:                   ''                        ··:.:. :.~·:·. :.·                           ... ,. :.>::(.;~:                                                          <.:"::..>              ,. :_:.··                                     .:,' ..
                   ··               ..         ~rlor'to beW.nnll1~ hi~ cross~~~~in~tion, defeil~e c~un~~l att.empte~to re-urge his obje~tio~
                     · to  ~e b~ Co~'s ;(;iJ::t ~~ ihili~.ii{g ~~ his ;it~fidn~ Su~pres$lirtntu;; hi; ~,~;L~atio~ o~ .,.
                        the topics nftbe Bioriiwich Repcift aad ;th@. old.HPD erime l~'s elesure:' Speeifieally, defense ·.. '
                           .     :·;·:.-.·:::~·\:,·.~·::::-~-:~··.·.:·.·:-····.···                   ..              .. ·.·.     '.      :·:_.·,             ·. . ., · .   ··.·;.                     :     .:                 ·.       ·.··         ··           .'             . . ..
                                                                                                                                                                                                                                                                                      · .·

                                                                                                                                                                                          ·..    :.
·:··.                   couns~l st~ted: ·•.

                                        . ·. [Defensecowisel]: Yes, Your Honor.                                                                                    Youknowlwantt~ go intoallthatothershifn'
                                               [The court]': I understand that.

        .   ;"·

                                               30
                                                      TEX. R. APP. P.                                            33.1.
                                         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 203 of 257
                                                              .,·.                                                                      .

                                                                                                                                                  .~  -
                                                                                                                                                                           tf
                                                                                                                                                                       .;_:,;"
                                                                                                                                                                         ,.




                                                                                                                                                                                                                                                                                                                                                                                                                                                          . CRUZ-GARCIA~30
~::   ...              . .        .. .
. · :.:.;::
·-·:,".
                    ,:·. ,.:··                                                         [Defense counsel]: JUst so my record is clear, l'm not withdrawing niy attempt to go ·
~<          .. ·.'·.                                                                   into it. I'm just- -                                             ·      · ··

                                                                                      [The cou,rt]:I'm not allowingyou to go into the other stuff Geneti~ pesign,any of
                                                                                      tile HPD crime hib studies or anythmg that's contained in that stUdy' or anything
                                                                                      about its cl()sure. Okay? . ·           ·                     ·      ·           ·                                                                                                                                                                                                                                                                                                                                                                                                     •
                                                                                                       . '. .                 '•,           .                                  .                                         .     ·'




                                                                                      [Defense counsel]: Yes ma'am.                                                                                                                                                                                                                                                                                                   : ·:




                                                                               .Appellant's                                                           <>.pje~tio~. d()~~ riot iit. fact·111~e his recotd clear;                                                                                                                                                                                                                 _;'[T]o presezy~. an issu~:for

                                                   appeal, a thnely. objection mu.st •be ma<,ie that states .the speciflc •ground. fot the obj ectiqn; ·.if the

                                                   specific grouiul is
                                                   ·                  ·                                                 ..> ·.
                                                                                                                                        ~ot_apparet1t fromtlu~ ¢,o~t~x_t. " ~ objecti~~ Ill~st b~,s~f"fi?i~ritt;.'spe_cm~t~ tel_l_.
                                                                                                                                                      -"·r:.,·.· ... _. ·                         ·.·               .-'~--~-- .-.. -~_~;,:,,·.:~·.:.:.:·:·. ·
                                                                                                                                                                                                                                                                                                             31

                                                                                                                                                                                                                                                                                                                       ·         ··                  ·.:                       _:: .. , .. -"''::i:\\·.':.::·<;~:::_(··:-<·~:'~.:-?;~_:. ·.\_-~-.-                                                            · ··:-·. . _.:.                      -~-~----~·i··· .:.· ..         ..-·,:· ...

                                               .the tri~r
                                               .
                                                          court
                                                       . .. .. .
                                                                what a party
                                                                        -
                                                                             wants
                                                                               .
                                                                                   ~d
                                                                                   '
                                                                                      why
                                                                                       ..
                                                                                          h~.. feelshiniselfent1tledto
                                                                                                  ·. ...             .
                                                                                                                       it.. The
                                                                                                                             .
                                                                                                                                t!iafcolioq1,1y
                                                                                                                                 . ..  . . ..  .
                                                                                                                                                 ex;cerpted.
                                                                                                                                                          ..
                                                                                                                                                             ·...                   ..                         ",                                .             .        : '                                  .                         . .                 .                                           .              .              . '.                   ':       ~-.:   .           '.    . .                      '    .               ·,          ~            "




              · .•.. :·;·...
                                                       doe~ n~t specific~iiy i~dicate the _legal 6asis for ~~peJJant's ~bjeC:ti~nt<J· the· tri~~6~W1·~ . ·• . · .
                                                   abqve,

                                            Iirtu~a~o~ ~n his cioss~~x:ynin~tion. ~:eed,appeJJant spe~i~es:-Jio groun4s forhis ()bj~ction;. ·
                                                 · -••_Ey~~-*i~out'a specific t>bJe~ti6d~-error ci:a; bepre~e~~ciiithe gr(>illldsfor the objection ar~
                                                                              •       •;        ',         •• ' .: ·:                   •         •       •      •                               - ·:     ••   •             • •    •      •     •• :, • •         '. .. • •   -,.. ••     •         •       ' •       •   •         • •                       ••   •       •• • • ••           ':'.    • • • •            •     •• ~ •       .'         • '.    • ~ ' •            :   > •     ;   •'       ,'   ..                    '        :.         •'




                                             apparept frofu its ~ontext, such th~t c~ntext can save an othe~ise aritbigii~us obj~ction~ 32 . But even ·
                                                                                   .             "                ' ..' . .                                                                                          '                                                                                       -~    ,.


                                           . wh~n "the' :~b~v~ ei~h~ge' i~ read. i~ the context :~r ~e ~~tio~ to su~bre~~.<ve caimot 'disce~ ··~ .: •.•.
                                                                              ·.:.:'·

                                               Con(rC>!tk,~idn C,l~use ob}e~tiori.lil his \-vrilten fri~tio~ t~ shppres~, appellant ~o~tests die admission .•
                                                       '   ::·~ :'.   •:   , ' ' .:        '•' •I :, :•'      '    '•         •     :       • '   "   •   • ' '.'·     ,   '    :_:' , ;•, ',,      ' ' :;           •                  •• ' ,       :   ' '       ' : .:" "   :    :    .:: :   ;       •   <! .' •"'• '        o    ....   •   ,             '         ,: ' :   ~ • •·~   ,          , • >'       i :.       ! :   ' :. '        ' •          '• •. ;' • , : o •                       '                      , • '            •, ,        '   ,       I

                                                                                      •,.             _;·: .·                                                                                                                                              .-.: .; .                                                                                           .        . -;;·:;·

                                           •
                                               oftlie State_;s forensic evidence an&refatJd testiirimtyon Fourth Ain~ndnienf grolUldS~ Then, at the . . . ...
                                                                                                           , . . . :-·.. • • • • • •                             •••               •,            • • •,                                        .·:                   _.·.·.··                                     .,       ..   ·.- • •      '_·.:                       • :                ''                  •     ;•.                                   •••                 •              •• • •              :       ...              <         •••




                                                                                  ~nili~:inbtirin'to stip~res~,- ~het~'ilie tri~1 t~~ first ruled on ~e.e~terlt {)f appellant's c~oss~. ·
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      . ·~   :_·.

                                           · hearirig

      .:~i::;· :·: _·: ';_:·                   exanJ~~tio~.·~e fo~us.was·o~-·the.rel~vance o'/the ,testimony.soug~t to'._be. elicited,-_not. on.·the··.· _··
  '·'        '· ... ·,.;.


                                               Confrontation •Clause...• Becatis~ appellaPt did not .specifically state ·he w~s objecting .on .
              . '·!.'



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ._,_ ·.



             :-    _': -   ·.    ····•
                                 -:_




                                                              ... 3•                           iJ~chananv. State, 207 S.W.3d, 77_2, 775('f~x. Crim. App. 2006).
                                                          !d. See Layton v~ State, 280 S.W.3d 235, 240 (Tex~ Crim. App. 2009) (holding that the
                                                                             32

                                               circums!'inces surroilllding the defendant's objection and the trial court's ruling made it clear that
                                               the trial court was aware of the basis of the defendant's objection).




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       :01152
                                                Case 4:17-cv-03621 . Document
                                                                       l!J,
                                                                              24-1 Filed on 09/24/19 in TXSD Page 204 of 257        .......    _.6.
                                                                                                                                                                                                                                                                                                                                                                                                                                                          .. . . .   ~   :' ..




                                                                                                                                                                                                                                                                                                                                                                      ~RUZ-GARCIA-31

                                                    Confr~ntation
                                                           . .
                                                                  Clause .grounds
                                                                           ..
                                                                                  ~t. the hearing.·()n the motion·.to sup~r'essor attrial, an objection on
                                                                                             .                                                   :                                              .       ,•       .····                            ·-.:                   .'                                   ·....                   .                      .                                                   .




                                                    that basis wittt regard to SergeantMehl's cto~s-~xaminationis~Qt pres~rvedf~rQur review. 33

                                                                             . Second,                                    ap~ellarit 6oJl1plainsih~f-~.~ Cfbss~e*ahllnation ofFBIAgent Griselle GuZn1~ wa~
                                                    errdn~ousiy limited; •· During::the
                                                                   .-.·        .
                                                                              ·..   .
                                                                                        St~te's &J~~f:~xamiriation ofj\.g6htGU?Ifian, the State introduced
                                                                                                 '.                        .·                             ·, .-... ·                        -·:::· .                   ..       :       .                   .    ·.                  .       . .      .   .    . .                    _.,.                   .·....           ..       '•                                ·.·
                                                                                                                                                                                                                                                                                 ,.       ,:.: .·


                                                    twqb\l~~iu swabstaken'frotil appetlaht: ¥'resp~il~~ t~ tile~ ta~e· s off¢t; ~ppellant inforllled the court •·
                                                                                                                                                                                                                   .. ;,._.::···.,·:                ... ,··.··
                                                    th~t the .sw'~bs were covere<l                                                                                      by'his moti~I{t~supp;~ss                                                                                                          ~d              jndicated that he had no "further


                                                    qtij~~~:,· Wb~~V~A.ilip:     · 1 p l a n · · ~ t r u n . · · d
                                                                                                                 l i g c y e ' .~                                                                            1                  2

                                                    ah#hfut ~a~ reteased. ·.. -. . ;
                                                                             .:_·:...·:.;::'·
                                                                                                           1
                                                                                                                   :,_:
                                                                                                                                 d f . ; i
                                                                                                                                         ~ n;·o ; .
                                                                                                                                                  •;
                                                                                                                                                    ° C ~ o ,
                                                                                                                                                          ','
                                                                                                                                                              n .
                                                                                                                                                                0
                                                                                                                                                                  ' f
                                                                                                                                                       .•P•.• ;e.•.•. i . ~
                                                                                                                                                                 .,,":".'.'
                                                                                                                                                                            r - o ' n f t , a : . t i o :
                                                                                                                                                                                                    .•o•. . · r n · ~ c e~ l - a
                                                                                                                                                                                                                            .• .•t . : u . s · • . e · . z m · ·5
                                                                                                                                                                                                                                                                 . o :
                                                                                                                                                                                                                                                                •. -.•
                                                                                                                                                                                                                                                                     ;,
                                                                                                                                                                                                                                                                       ~ e · · · c 3 1 1
                                                                                                                                                                                                                                                                                   t ' o . p n e t10
                                                                                                                                                                                                                                                                                                   l o ~ . · • . · t h
                                                                                                                                                                                                                                                                                                                   .•• e d e t n 611
                                                                                                                                                                                                                                                                                                                                 c ..
                                                                                                                                                                                                                                                                                                                                     ·
                                                                                                                                                                                                                                                                                                                                  -·.:.
                                                                                                                                                                                                                                                                                                                                       . a i l n e c · . d
                                                                                                                                                                                                                                                                                                                                                 . .b·.•.·
                                                                                                                                                                                                                                                                                                                                          ··.··::;'•
                                                                                                                                                                                                                                                                                                                                                           o . · u r t ~ d s .              ;·.··
                                                               .        . . . . . .. . .                                              .               .         :\ .         . ,.               . .                         ..                                           .                   ,•               ..                .. . ...     :       ..               .       ~ ...:        ..       '   .           .
                                                    limitation. on his cross~examiiiatiori at trial or during tile he~ng on his motion to suppress, so his
                                                                   ..                        '         '                        .         .                                                 .                               .       .       .           .                                .i.-                                                                             -
                                                                                       ~     .:·,                                                                       ·;    .. ~;.   '.           .        ;    ,.

                                                    Co~fioritation Claus.e claim as it relat~s t~ the cross-examination of Agent Guzman is not preserved .
                                                                          ;_'·· .._,              :· ...
                                                    for our reyiew ..
                                                                                                                                                                                                                                                                                                                                                                                                                                               · . :_._     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                .·         •;·.. ·

                                                                                                                                                                                                                                                                                             :,·..-
                                                                                                                                                                                                                                                                                                                                                                                                                                          ..   ·   '-.


                                                                          . flifrd~'~pp~llantc~mpfai~s that his cr~ss-exami~ation~fMatt Qtiartaro waslilnited. Dwing
                                                                                           ... ·.=-. -·


                                                   the             Stat~;~.4ite=ct'exattl~n~t~ortpf9u~~o;:it offe~~dt!ie cigar,'sexuala~sawtJtit, ~md panties i~to                                                                                                                                                                                                                                                                        >
                                                                                                                                          <                                                                                                                         ,..,:    ~   .

                                                    evidence> .Appell~( obJected to the adqlissio:D <Jfthis evidence o~ chain of c~t6dy grounds. .The .
                                                      ·-.~-_ . :::·_:_·::.:·~~:.<\~--·:·.-t··= ·=.::_.-.::-.-:·;_ ..-..,. ·_.-'. ~-::.- .. =~:_-,.··.::··>:.·;>···.'r· ·:·. ·'_::·-.::·: . ·- ·_:.-. .:-: ... ·.·: ·. ·. ·:: ..:_.___: ~:, · .· · ..                                                                                                                                                         =             ·--: •   ...




                                                   . trial COurt
                                                           ..
                                                                 ~y~~e4
                                                                  ·.··\:-
                                                                          ap~~llant~~
                                                                            . .·
                                                                                      ~bj~cti<?n art4 ~tt~e sam~ -,time
                                                                                                                     -
                                                                                                                        reiterilted i~slimit~ti~l1 OlJ.
                                                                                                                                          :'       ..
                                                                                                                                                        appellant's .
                                                                                                                                                                 ..                    .                     .                              .                                                                            ";;'                                    '                               '



                                                   ··c~os~~~xami~*ti~n ~o qri~~tio~s ab{)uf, !lpp~ent cofl,t~minatio9 .or' degradation.                                                                                                                                                                                                                                                At. no                p~int did
                                                   appell~:·()bjecfori
                                                      . '·
                                                                       the:~·~sis
                                                                         . -·.·:
                                                                                  ~iilie Confr6hta,tio~·... <·Cla~s~.
                                                                                                              _ .; '. .
                                                                                                                        ··~ppell~t,made m)C.ontrontationClatise.                                                                                                                     r··,.
                                                                                                                                                                                                                                                                                                                                                                                                                                          . •.. · '
              .   :. :   :   .   .~

                                                   objeetion Swing th~ heitfin~o~ his motio~                                                                                                                                                    to sttppi ess eithet.                                                           Agaht, beca~se appellant did not.
                                      ··: ...


..~   ;   '


                                                   specifically
                                                         .
                                                                st~te ail objection
                                                                                .
                                                                                    based on. the Confrontation
                                                                                                              ..
                                                                                                                Clause,
                                                                                                                     .
                                                                                                                        this
                                                                                                                          .
                                                                                                                             Claim is not preserved
                                                                                                                                            .
                                                                                                                                                    for our                                                                                      .' '



                                                   review:



                                                           . Cf Wright v. State~ 28 S.W.3d 526, 536 (Tex. Crim. App~ 2000) (holding that a hearsay
                                                                               33

                                                   objection does not preserve a Confrontation Clause objection for appellate review).
                           Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 205 of 257




                                                                                                                                                                                                                            CRUZ-GARCIA-32

                                               Lastly, appellant complains of the limitations placed on his cross-examination qfCourtney

                                   Head. During Head's direct examination the State offe;ed several items into evidence. Each time

                                   appellant said, "No additional objections," and the State's evidence was admitted. During his cross-

                                   examination, defense counsel appr6achedthe trial court.and askectto expand the scope. of his cross-
                                          .          .              ·.        .                                                                 .            .              .           .   .·         .


                                   examination to include quality-control issues at the old HPD crime lab. The following colloquy ·
                                                                                                              .                                                                 '.                              I
                                                                                                                                 ··.      ,,.,'



                                   ensued:
                                                                                                              ',    \       '.




                                               [Defense counsel]: I'mthi~hlg, if you'll allo~ ~e to go i~tothe quality control that
                                            .. existed on other t1lings when they were r~m by the crime lab because of what-she.
                                     . . .· ~didn't work ther~; nuiriber one; Md, number two, the old crime lab-A want to do .
                                        ··.that, but'Idon'twantt~doitifyo~'vetoldme~otto. · '                     ·          ·

                                               [The court]: Doriot go intothat.
                                                                                                                                                                                                                                                                                  '. ·l


                                               [Defense counsel]: Okay.

                                   Nothing fbither was saicl (m the shbject, 11nd Head was release<L Appelhint lodged no C~nfrontation .· ..

                             ·.   Cla~e obj~ption to the trial c~urt's limitation of his cross-examii1~tion
                                                     .          .
                                                                ·.,•.'o
                                                                                      .    .                of Head at trial or at the . ·
                                                                                                                                  .                                    ..       .            .'        ..                                   .
                                                             .. < ::~.- ::·

                                  hearing       o# his motion to suppress.
                                               ...
                                                                                                             Accordingly, his Confrontation Clause claim has not been .
                                                                                                                        .        ·,                                             .   .                      ·'·.             .   ·;·_·                           .



                                  pr~served for~ur re~ie~~· ·
                                         An'-..
                                            appellant
                                                ... .··· fodeitshis
                                                          .    .                          '•
                                                                                                        confrontation~omplaint ifhe fails to object attrial.... ··~this case,
                                                                                                                                  , __   ·:.-            .                                        ·'        .                   '
                                                                                                                                                                                                                                                34
                                                                                                                                                                                                                                                       . .. ·       .
                                                                                                                                                                                                                                                                        ·-·...
                                                                                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                                                                                      .._,:.
                                  appeilant
                                       .. .
                                          •.
                                                         neve~
                                                         ..
                                                               obj~cted
                                                                  .
                                                                        on. the b~sis
                                                                         .        ~.                ~
                                                                                                                   of d1e
                                                                                                                       ..
                                                                                                                                                Confrontation.Cl~use
                                                                                                                                                :    . ..
                                                                                                                                                     .           . .
                                                                                                                                                                     at trial       '        .     :·               '
                                                                                                                                                                                                                            or.during
                                                                                                                                                                                                                               . . .
                                                                                                                                                                                                                                      his
                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                       pretri~l
                                  motion-to-suppress hearing.                                       We have previously                                       e~phasized: the                                            importance of specifying
.. '~ : ... ;...:'..   .

;   .;· ..     ·:.·

                                          34
                                             Briggs v. ~tate,                                  n9
                                                                  S.W.2d 918, 9i4{Tex. Crint App.1990) (''We holdtllat in failing
                                  to object at trial, appellantwaived any Claim that admission ofthe videotape violated his rights to ·
                                  confrontation and due process/due cotirse of law."); Fuller v. State, 253 S.W.3d 22(), 232 (Tex ..
                                  Crim. App. 2008) ("[A]lmost all error-even constitutional error-may be forfeited if the appellant
                                  failed to object. We have consistently held that the failUre to object in a timely manner during trial
                                  forfeits complaints about the admissibility of evidence. This is true even though the error may
                                  concern a constitutional right of the defendant.").       ·




                                                                                                                                                                                                                                                     :0115Li-·
                                                                                              •••
                         Case 4:17-cv-03621 Document 24-1 :. :Filed on 09/24/19 in TXSD Page 206 of 257
                                                                                                                          ~~
                                                                                                                         :"'J •.
                                                                                                                                                                                       ..
                                                                                                                                                                                                                                                               ··;:_·
                                                                                                                                                                                                                                                               ·-
                                                                                                                                                                                                                                                              . .
                                                                                                                                                                                                                                                                                          fM
                                                                                                                                                                                                                                                                                     ~-~,.1
                                                                                                                                                                                                                                                                                     .:
                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                               ·. ·: .
                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                        .'··
                                                                                                                                                                                                                                                                                                                                                                                                                       . >·.




                                                                                                                                                                                                                                                                                                  ·...·.·.. -CIUJZ~GARCIA-33 .                                                                                                   '\   _.·




                                      constihiti~nal bases for ~bjections ~ecause of the stricter harm analysis peJ:'forin'bd _on appeal. 35
                                                                                                                                                                                                                                                                                                                                                                                                                  ..... ··.
                                      Because appellant failed' to lodge a Confro~tation Cla!lse objection in tpe tri~l9ourt, this claim has
                                                                                                                        . ·~.                                                                                                    ........                                                                         ---:·.. .;·. ··. :·

                                     notbeen preserved an.d:we do: not reach-_the meritS. ofappellarit;s Confrontation .Ciatl5e complaint
                                      ··:..·__ :.;>·..-..          -.··'.':.·.                               . ·.....                                 >              .·:-       ...·. ,>·~·        '<·                               . . _.. .
                                                                                                                                                                                                                                   :.~                      ·:·=·. ·..                    .... ·,.\. ;.:-.-::-:·"".              -.::.·'        .. '· .... ·.:-:···.                           ·- ·.


                               ·as i{rel~tes to the Iiinitat1~rts placed·                                                                                            on hls cross-exatninatioh; Appelhmt'~ second point dferro,d~' ..
                                 .                     . . ··.:.'·:·• .. :. :· -:._                                                                                         .                       :.;_··               .   .                                      ·.:: ....                            ·-                .           .                  .

                           ·. : ov~ii:Uled. ••..· · ..                                                                                                                                                                                                                                                                                                                                                                         .. .._·_:-:.
                                                      ···:·>.. :·                                                                                                                                                                                                                                                 ......
                                     ·c. Extran~~'us ·Offens~ Evid~r;ce ·.·."· ·;· . :
                                                                                                                                                                                                                                                                                                                  -        _-.                                      ·.·
                                                                                                                                                                                                                                                                    ................. ·                                                                                           ·:      '·

                                                        .· .:<<.                                        ''.;:·./ ,;-;;:·. ' .. ··..                        . ·-.·:· .r·;                                                                                                        ':· . . ·:: ·i'


                                               ... fu:his                         to~:,~tttilb'·p~irtts:·b~·~g()~, ~~P~Uf.~• co0pla~~.,.tJ1~t.~§~~I.co~ erredw~7n·it ' .

                                     :::~t~1j717l~~~;jjo:;;:·:{tLt~;;t:i~~;:::r~Stt~i;:;;:·. ·.                                                             ~ ·_~;:t·. ··/: ... ,                   .. ,          :: ·•·                                                                                      . ·~··.\·

                                     enconipassesthe admi~sic;)ri of tlih fatt bfthe dfug snarge 'alo,flg with the a#tission of the (a(::t of his
                                            ... ·           _··.: ·: ...._1.·:': ...:.... ·.....   :::·.':_··.<?~-·:__                         ·...       ·.... .-:.-... ;·>·:.·                   .. :· ,_~- . ··><·;. · :. .- .>·~.·t;~;·. . _·           ,· ·. ·. _. -.:::. :-'·-'~---~_-·_!';·.:'..                             .._·.. ·.   _:. ,_;·~:.~:· ~·.· .. _..-; .. ·'.
                                     subsequent};_ond,fmf~i~e OI1                                                                                   thatcJiatgewhen h<?fatledto appear at a &~heduled. court dJlte. .                                                                                                                                                                                         ., .

                                                  ·•· ·.       We~:;~ at \j,eQuts~t ~~{~j~~2oikt~id~Ot~; .i.ye~id~~~~~~~ th~ c~~~erofthe •· .
                           ·.·            ... •                                  . . . '- .. · ,:·:                             •· : ) : ..:;· . {:,';·.:,i.<:'.                                              '•'. . '                   .                    .                                 ....                       ,_:         ·.         ;.·;·'.                                      .         .
                          · ..underlying
                                ..
                                         offense
                                           .  . for
                                                 .  .which
                                                      . .·· appell~'nt
                                                                 . .   w~s
                                                                       .... .... . oil bond.
                                                                                         .. . .Instead, the trial court
                                                                                                   •.    '   .        . limited
                                                                                                                           .    the evidence
                                                                                                                                    ..
                                                                                                                                             to . .· · ·         ~   .:            ;        . :.                    .                    ~·               ': .;                                                                                      .        .
                                                                                                                                                                                                                                                          .·.·.
                                     .the mere fact ih~t; ~~pell~i i~rf~#ed ~- bi)nd by faiill1g _to app~if'on.                                                                                                                                                                 an uru~l!lte~l criminill: offense.
                                     11lerefo~·o~~~~~~{~;~J~~~4i~~a~:~o~of~id~hc~oi~P~~~~~f• ~n~,f"c<feitke .
                                     andf1ight:'as shown by~p~ellaD.t,s.fai~ureto app~iltin'atititll-ei~ted,                                                                                                                                                                    ~~ed·cri~inal cas~~-··.··.·
                                      .                        .         :        ..   . . . . :x:·:.--:. . -.: .. ,_. . . . . . . .· ·: ..· ._-: ..- . .-::·... ·' _._. ·. . . :· -:; . . .
                                                                                                                                ~.                                                                 :. ;.. . .. ·.. : :_:
                                                                                                                                                                                                                  -~-.                    .. ·_; . ..    .
                                                              .'·' ... :_.._.:.·:: :·-·' ··.·>:·~·~.:·· .. -.~--.~,.- ,_·.:; · .. :-:....... :. ·:·_.· .-·:>;·:::-.··.:-:· ;::····>·.-·-.:~-: ·'·<. :·,:,:· · :·_". _;:- _.: _ . . :·: . ·_:_.'(~_·,:.,··.... .                                                                                                                                         -·
 '·>::~..          .~.
  "::"     ··':.                                               In his fourth point of error, _app~llant' ~ontends this evidence was. inadinissible under Rule                                                                                                                                                                                                                                          ·. ·
                                                                                             . ·:,                                                                                                                                                   __   ,_:· .
.>,:::·:·."'
 ·:·.··,.· ..
                                     404(b). In his ~fth poit~ ~fenot, appellant: contemis 'tit~ e vhie~tce wasinachnissible rutd~x Rule 463. ·.

                                                                                 at1aty~is is ~~same for both co~plaints, we will address them together.
         ·,·J,.


                                                                                                                                                                                                                                                                                                                                            36
                                     Because
                                         .
                                             our.                                                                .               .   ·.:       ,.                                                                                                                                                 ..
                                                                                                                                                                                                                                                                                                                                                         We review ··




                                                              35
                                                                      Clark v. State, 365 S.W.3d 333, 340 (Tex. Crim. App. 2012).
                                                              36                                                            .              .                    .. . . .                                                 •                       .                              .·                                                                       •                            .
                                                                      Montgomery                                     v. State, 810 S.W.2d 372, 391 (Tex. Crim. App. 1991) (op. on reh,g).


                                                                                                                                                                                                                                                                                                                                                                                                              -   ~




                                                                                                                                                                                                                                                                                                                                                         :0115.5                                                   j
                                                                                                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                -
                     Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 207 of 257
                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                            .




                                                                                                                                                                                                                                                                                            CRUZ-GARCIA-34

                            a trial court's evidentiiuy ruling for                                                                                      an abuseof discretion.                                                           37
                                                                                                                                                                                                                                                    We will affirm an evidentiary ruling

                            imless it lies outside the :zo~e ofreasonaple disagreement. 38

                                                       D~ing             triat;
                                                                            .   .
                                                                                  the State sought to ·introduce:., evidence
                                                                                                       :               .
                                                                                                                             that
                                                                                                                               .
                                                                                                                              ·.
                                                                                                                                  appellant failed
                                                                                                                                               .
                                                                                                                                                   to  ,:·.·:·.'                                                                .                                   ·.
                                                                                                                                                                                                                                                                                                            appear at a
                                                                                                                                                             ::·~ ·..              :
                            scheduled court date
                                              :
                                                 on
                                                  .
                                                    an.· rintelatbd'diug charge
                                                                         . ·'· .approximately
                                                                                '.    .
                                                                                              one week after the instant offehse                                          .



                        · occwred. ThroughFBIAgentEric
                                             .     .
                                                       Johnson, the St~te attempted to introduce testimony that,
                                                                                              '              .
                                                                                                                 at the
                                                                                                                    .                                                                           '   .                                                                                                       .




                            ti~¢ _of~k~l~;s kidnap~i~~.· appeil~th~d a pencfug f~lonydrug case i~ Harris Coullty for which.                                      •,   :.:'·. ~          ..                                   .-·· ..

                            he had posted a bond; th'atappellanffolfeited. ·thatbond when he. f'i\iled ·to appear for a scheduled .. , ,
                                                       .,,                   • •   .,                      •     "e:                            .                                                            I           •               •         •·                    .                  .                   .


                                                                                                           ·.. ;-.:· ·.
                            court dat~.
                                    ..  and that, s~bseqU.~~t
                                                         ·.   to.. his failure to
                                                                               . appear,
                                                                                     . aff!deral warrant
                                                                                        . '        .
                                                                                                   '
                                                                                                         for unlawfUl flight to avoid ·.
                                                                                                                          .                                                                  :.         ..       .                                              .




                            prosecution was issued~ · . .

                                                 .     Appell~t ~bj e~ted to the aclniissi~nofAgent Johrison' stestimony o:n Rule 404(b), Rule 403, . •
                                                                                                  .. ;'.··
                        · and hearsay
                               .  '
                                      grounds. Ultiinately,
                                    .. .         ·..   ... .
                                                             the.. trial.. coUrt
                                                                 '         ·.' .
                                                                                 allowed
                                                                                    ·, : .
                                                                                           Agent Jqhnson to testify to the fact that ·
                                                                                                   . . '. . '                       ·.          .        ;                    ·.               ·~                                            . '                                                '       '   '

                                                                                                                                                             .        :            ·,:,;· :' ~ ·'
                                                                                                                                                                                                                                                                                                                          :· .. ·..
                            appellant had a pending .cri~na1 case inJiarns .County at the time of the commission of the instant .
                                                                                                                              . :".                 ·./:. ···..
                                                                                                                                          ;: .·       ,.·


                       .·. offe~si:: and that, approxiniately oiie :week after the instant offense took place, appellant failed to i .•·

                            shO'N, up at a schedUle.~ appearartceJ~r his pending case. Agent Johnson also testified that, atthe ·..
                        .       ·.· ~ ~·_: . ... .. ·. ":':·.. ~ .:· .·•·.. ,; ~ :..... ,. . . ,·, ,. . .         ·.·.            ..'    '. .                             .                  . ·.                                                       .                                           .           '




                            tirile. of ~s
                                        . .·
                                             flight;
                                                ..... !·:.
                                                           app~ihuit
                                                              :··.'_·, ..
                                                                          ~as  a s~spect
                                                                           . . .   .  .
                                                                                         in Angelo's
                                                                                                  ..
                                                                                                     kidnapping.
                                                                                                            .
                                                                                                                 The. trial coll.rt· speCifically·
                                                                                                  ···'                                                 ..    ··,\··."                ...... .                                                                                    .   •,;;



                       .. exCltide'd evidence. about.
                                - ·. . ' . .
                                                        the fedentl flight'
                                               ... . .":'· ->::·.:.  . .
                                                                            warrant and ab()Ut the type. of C~Se
                                                                                                             .
                                                                                                                 for. which. appellant .
                            ."   .·.·::;·.··            ·.                                                                                                                                                           '   ;
                                                                                                                                                                                                                         __




                            faiied to appear.
                                                        .            '                                                                                                .                                      .                                                                                                      '




.··}(·.   ;._·:..:                               ,Additionally, the eourt admitted' doeket sheet that indieated appellant had been present at .                               a
          ·.,.:.

                            all of his previous court ap~e~ances in his pending drug case-approximately twelve settings over


                                                   37
                                                             Id;. Prible v. State; 175 S.W.3d724,731
                                                                                         .  .
                                                                                                     (Tex.
                                                                                                      .
                                                                                                                                                                                                                                       criin. App. 20()5).
                                                   .                                                                                                                                                                                                                                                        .
                                                   38
                                                             Montgomery, 810 S.W.2d at391; Cantrellv. State,.731 S.W.2d 84,90 (Tex. Crim. App.
                        1987) ("[T]he trial judge's discretion in admitting an extraneous offense is to be given due .·
                        deference.").   · ·                                       · ·           ·
                                                                                                                            •
                            Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 208 of 257
                                                                                                                                                                        .
                                                                                                                                                           '




                                                                                                                                                                                                                                                                                                                                                                                                CRUZ-GARCIA-35

                                        . fifteen months. The trial court fo~d consciousness of guilt as indicated by flight to be a permissible

                                        u~e for the extraneous offense evidence\mder Rule 404(b) and found th~t the p~obative villue of the                                                                                                                                                                                                                                                                                                    · .

                                        evidence
                                           .·
                                                 was.·.• not
                                                          .
                                                             outWeighed by its prejudicial effect.                                                                                                                                                ;




                                                          '
                                                               "~xtraneous-offense evidence is admissible iinder b6th Rules 403 and404( b) ifthat evidence
                                                                   I               '                           '                      '                                               •       ':,                '           •                         • •        :   ,.. •                    •   I       ~     •                                    •' • • :: •                   •   •           •        •      ,."       ,

                                                                                                                                                                                                                                                                                                                                                                                                                                                     ...


                                        satisfies                        atwo-pronged test:: ( 1) whether the extrane~us-offense evidence is. relevant to a fact of ' ' : .: . . .
                                                                                                                                                                                                                                                                                        ',._"\·.                     i_:;_..... ;


                                        consequ¢gce ~the case ~~i<te rr~$its.tendenc,y.to show action in conform~ty with character; and (2)
                                                                             . '\''·
                                                                                                                                                                                                                                                                                                               '·'·.                              '



                                        wh~tlu~r tli~ probative.valu~ ~f the evide~ce not subsfantiallyoutVjeighed by unfair pr~judi~e. "39 •· ·                                                                                                                  is
                                    ·   TheJ~Jsr;~Q~~of this te.si• requk~s us ~o d~te~ine· (a) wh~~er the. evi~ence i~ relev~t at all. and ~b)·.
                                                                                       :.:__ :__..,:..   ·.:                                                                                        . :·...                                                                                                          (       ,:-;~    .. ·.

                                        whethe~ th~ ev1dencejs relevant to something other.th~it~ showingofchai~cter conformity.
                                                  .....                      •     ,:·                   ··,                •                        ,'                           '                      '               ,                                    I       ,                                '                 :      ·-'                                             •                       :.       • .. '           •




                                                              R11ie 40t i~vems rete.vance~(tprcrvides, .;.R.et~varitevicience· means evidence having any.:·
                                        t~ndencyJ~ fuak~ the ex:istenceof any fact thati~of con§equ~J1ce to the determirultion ofthe ·action                                                                                                                                                                                                                                                                                                  : . · ·'

                                    .   mor6pr~~~ble:or _less p~obabl~ ffian'it wbuld ~e witho~tth~ ~videbce.;~o .Genet·ally,. evid:n~e--6i .
                                        flighfi~ i r~l~v~mt drc~st1ic~fr6~· whicA a~jilry can infe~·~iit.41 This is true.specifi~ally in th~ . · ·
                                         '                    •~                       '      ,I t       •     . ·.     •       . .          . •,      ;        •                 '       '             , •          '           ·, . ·• . , "'                                     '                                           .             •                     .      .            •   •   :                         .




                                        cont~xt ofbail-jtUnpiflg.
                                                              :.-._: .:.'.: ·
                                                                        :·.'
                                                                              Inctebd;. fli~t is admissible. "even though it may show th~ c~mm~ssion •.
                                                                                  ·.·_,.. ... ·      :·__ ,·          :·:;."'
                                                                                                                                                       42
                                                                                                                                                                    .•
                                                                                                                                                                    .        .·                       · ..._..                                                        ',;                                                                                                                                                             '   .
                                                                                                                                                 .   ·':;·.·        ,'
                                                                                                                                                               ··.          ,.,_.·
                                                                                 •,'·,.•.
                                                                                                                                                                                              ·.;..          '

                                          ...• · Pag(!·:v:'State~2i3 s:\\f.3d 332, 3J6(T~x .. Crim. App. 2006); Johnston v. State, 145
                                                              39


                            .           S;W3d 215,220 (Tex(Criin: App. 2004)~ \: •·••·· :. ·   ·            ·. · ·                . · .
                       '·
                            '·.•
                                :
                                             ·.    .               .·                  '. --~-. ,·."·: '•      ... ·.       .' ..'.·        ..
                                                                                                                                           ·' •.           ..(··.        /.-                  .. . .. :· ..... :·~                     '   -.         .,     .-.::            '.'                              . ,.            .                                        .. : . : ::· '

                                                              40                 TEx)k:'E:~io. 4oicw~st 2ot4).                   ..:
                                                              41
                                                                                 J#giJ}. v. St~fe, 892 s\1{.2d 8tS4, 8S3; (Tex. Crim. App.
                                                                                                              l99a:J) f'Evidence of flightor
                                                                                                                                          as
                                        escape is acitni~s.ibl¢ a.drclll11stance from which aii inference of guilt inay be drawn~"); Burks v. . .
                                        State, 876 S.W.2d 877,903 (T~x,.Crini. App. 1994) (sam<:); Fosterv. State, 779 S.W.2d845, 859 ·. > · ·
                                        (Tex. Crim. App: 1989) (~arne); .· · :. : ·._.. < :< ' .          .    · , • . ·. . · .         · .·
....... '        :~.




                                                Canire/1, ·hts.w.idat 93 ("Th~forfeihlre of~n accused'sbail bond 1~ay be prov~d as
            .·                                                42
                                                                         .

                                    tendirig to show flight..;;And flight, in the context of bail-jumping, may be construed as evidence of
                                    guilt.''); See Wockenfussv. State, 521 S.W;2d 630, 632 (Tex. Crim. App. 1975) (holding that
                                    evidence of defendant's bond forfeiture was admissible absent the defendant showing the bond .
                                                                        ·                                                    (continued; .. )
                                                                              •
                        Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 209 of 257
                                                                                      .
                                                                                  '



     '~-     . .




                                                                                                                                                   GRUZ-GARCIA-36

                             of other crimes. " 43 But before evidence of flight can be admitted; it must appear the flight has some

                             legal relevance. to the case being prosecuted~""
.   ·'
                                                 He~e, the timing of·. appellant's flight from prosecution
                                                                              .               ·':  '  ....
                                                                                                           on his diug case is a relevant

                             circumstance of guilt in the instant case. Appellant fled the jurisdiction only o11e week afte:r Angelo
                                                    •     •       .                                                         I .                              . .




                             wrui kidnapped and killed. The docket sheet for                                app~llant's drug offense. indic~ted app~llant had
                                  .·_:_:•    .    ,.:'.::.:.:                                                    ·•'t   .



                               never miss~d a co~ <fate until the court date immediately following the date of the instant offense
                        ___________          .
                               .....:.::_:_.:-~.:..-_.,
                                         ..                   .;...-.~




                            . and th~t~ppellant forfeited his bond when he fled. The trial colll1 <lid not abuse its discretion in .•

                             finding that appellant's flight oneweek afterAngelo was· kidnapped and killed was relevant.

                                             After relevance has been established, the burden shifts to appellanfto make an. affirmative
                                                                                                                                    .   ·~.   ·.


                             showing that the flight is not coruiected with the offense on trial and is i~stekd ~onnected to some ··

                            other transaCtion. 45

                                            App~llant argues that any evidence offlightfrom the drug pto~e~ution w~s unrelated to the

                            capital murder pr~s~cution and showed only con~ciousness of iuilt as to the diug charge. Further,

                            appellant argues that, because he was not yet charged in the instant case                             ~t the time he forfeited his ·• ·..•·
                            bond on the dfug case, such forfeiture cannot be construed as an act designed to avoid prosecution .




                            (... co~tinu~d) .
    ; ..
                            forfeiture. was related to another offense).
    ,.·,· . . ···.                                                    .       '           .         .   .           .                                 .
     .: .•    • 1'·••
                                            43
                                    . Cantrell, 731 S.W.2d at 92; McWherter v. State, 607 S.W.2d 531, 534-35 ·(Tex. Crim.
                            App. 1980) ("The fact that circumstances of flight incidentally show the commission of another·.·
                            crime does
                                    .
                                       not render the evidence inadmissible."). .
                                                                          '




                                            44
                                      Hodge v. State, 506 S.W.2d 870, 873 (Tex. Crim. App. 1974) (op. on reh'g). See
                            Wockenfuss, 521 S.W.2d at 632 .

                                        .
                                            45
                                                   Burks, 876 S.W.2d at 904; Hodge, 506 S.W.2d at 873. S~e Wockenfuss, 521 S.W.2d at
                           632.




                                                                                                                                                          :·01158
                                                              •
          Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 210 of 257
                                                                                          ..




                                                                                                                                                                                                                                 CRUZ-GARCIA-3 7.

                in the instantcase. We disagree.

                          While appellant's failure to appear for his drug case could have been motivated by his desire
            .                                                                                                                                                                                                                         .

                .to av<?idprpsecution in that case alone, there is evidence to support the trial court's conclusion that : .•.

                . appellant's ·failure to appear related to the instant capital murder pros.ecution. The timing of

                appellant's absence, combined with his status aS a silspect in An~elo's kidnapping and the fact that
                                                                                                                                                   __ ,    ......
                he had been present at all prior court dates, suppqrts the finding that appellant's failure was, at least
                                •             . •·                                         ·•                             '.           I'                 ,,•''                        .             '                   •            '   '        •                           ·•.

                                                                        "'            .   .                           .:,.;


                inpa:it~ motivated by a desire t?_avoid arrest andprosectitiQ~ forAngelo's murder:i6                                                                                                                                                                                     .;:, ·.


                     :    :E~id~nce of appellant's absence fromcqurt one w.eek after the commission of the capital·· ~- -· ..
                                    .   ..    •                 .       \                              •.                                         • !. .          ..               .                                              '                                                  •
                                                                                                                                                                                                                                                                                         <.;::> .
                                                                                                                                                                                                                                                                                         ·. ,:;:·. : ~\ ;· :



                murder m~_ets           the low threshold for relevance imposed by Rule 401, butthis is not the end of'out
                inquiry, becau~e Rule 401 is limit~dby Rule 404(b). Rule 404(b) provides:

                          Evi4~nce of other crimes, :wrongs or acts is not admissiple to prove tlie. character of
                           a pe~son in or<ie~ to sJ:tow actiog in cqnformitY there~ith. :· It ~nay, however, be ·
                           a~issibl~ fpr other. i>UCP,qse:s~ :·~such as proot: 9f ··n:l{>tive, opportunity, ..:intent,.
                           pr~paratio~, plan, kn(}\vh~dge; id~iltity, ~r absence of mistake_ or acCident; p~ovide4 .·
                           tha(up:Ort.tUriety requ~st by .the accused in a criminal ca5e, rea8ona~le notice g~veri.                                                                                                                   is
                           in  advance  of trial of intent to introduce in     State's case•in-chief such evidence                                                          the
                         . other t4~n th~t.:an~ing inthe same tr:insactio~. 47                    ..            .· ··.. ·
                                                        ~    . ~;' .·   ,\.'   .. .       . :   ·: '                                         .                                                           .      •'.    .. '· -


                Tllel'efot~, .· Rhle., 4o4(b)                                              tempers                  ~h~t· \v6llld                                 otherwise .. be          ad!nis~ible                           under Rule 40'1 by. ·
                                             .'   •..   ~-   _.: .·     '                                                     .   i. -:: .                                                  •; • .           ':, ~,·




            · distinguishing
                      .
                             between
                                 .
                                     a'ccept<tble
                                         . .- .
                                                  and uria¢cept~ble
                                                       : . .. .
                                                                    ~ses of relevant extr<Uleous-offense evidence.·               ~-         '~
                                                                                                                                                                       ·.   '·,'                                                              ·,   ..    :
                                                                                                                                                                                                                                                        ~ ·.   . ·.   ..

                Rule.404(b) prohibits the us~ ~f e~traneous-offense evidence to show character c~nformity. And

                while thelatter, halfofRule 404(b) provides a list ofpo tential pet nrissible uses ofextl mieous-offense

,···-·.
                evidence, it does not contairi an exha~stive list of the'' other purposes" for which extraneous-offense .
                                                                                                                                                                                                         ,;_·

                                                                                                            .   .                                                                                                                                          .               .
                          46
                           In Burks, we stated, "Since appellant was already identified as a suspect in the case, his
                flight when confronted by the police was relevant to the issue of whether or not he committed the
                instant crime." Burks, 876 S.W.2d at 903-04..                                  ·
                          47
                               TEx. R.Evm. 404(b) (West 2014).
                    Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 211 of 257



                                                                                                                                                                                                                                                                                                                                                   ·;.'




                                                                                                                                                                                                                                                                           ".        '
                                                                                                                                                                                                                                                                                                      .                                  .:                     .                .

                             .:          ·.····        .··        .        .   ... ... :..
                                                                                  ·                                                                                                                                                                                                          . .• CRU£GARCIA-38
                                                                                                                                                                                                                                                                                                                                       0 ' : ·~-; ' ',   H' . . '   0:'
                                                                                                                                                                                                                                              ,·... _·
                                  evidence Cllll be used. 48
                                                                                                                                                                                                                                           : ..:·;·           ·.....

                                                                                                                                                                                                                                                         ·•     ~   ....

                                  adillitted if it s:~fves any relevan~ pUipose.:-~hether list~d in 40{(b) rir riot~th~t:                                                                                                                                                                                                than. s'h~wing ...
                                                                           •

                                                                                  :·: >·
                                                                                      lo                                             •          •"
                                                                                                                                                         1
                                                                                                                                                              •• .. ,            ••     ·"      •        ..;:.:      - · · .1 ,   •                           .,·•·; .. ••                     .;     •,'.::   •"            •
                                                                                                                                                                                                                                                                                                                                                                              :' -~:.'.




                                                                                 :.··
                                                                                                                                               . .                  ' .'     •                                                                                                           ~                                               'I                           .   !



                                      ,;[CJririilnai acts ilia( are des:igne<i to red~ce the tike.lipood of ptosecutio~, cori\Tictiov, ·()r.
                            ._. . -:-.· -~· -/ ~;-:->~~<_::~L. ~.: _: :~ : .:·~. .: -. : .-·:· . .-.....·. =---~:; ·.:·~) .;:··.-: ·<:> : .:. <:.-(;:::~{·:~f:·_··t_-:.. ::.
                                                                                  -:.:·:<. _...:.\:·_:<<-:· .....: .. _.: .: ·:·~:·.~-~ ·-~-: .; . :;.-~:.; . ._:_. _.-.':·.-:. ,·. :>·::_:·_.;· .. _..- ...:-~.:.~-:~~--;i:~~:~~~-{~·.::=:.<. ;. .:. -~- ~: .~· >.:<>:· ·.--:.
                            ·· incarceratiqnfo~ the off~nse on: trial afl~dlro~siQle uncier Rule 404(b) as showing; :cd~s~_~ousness .i ·


                                 of~ilft~rts~~~~~~~;~~l'rru:~ ~~a~~~£,,h'courtdri·~~~:~~~;t~,;~· ~:i~~'!,J'·~~                                                                                                                                                                                                                                                                                            ~:   :   .. '


                                 at~· sched~le~ 'Co~ 9.~t~ is a criminal aCt~ so. :13asec1 on the tiwing ()f appellall,t, s .bond forfeiture, ~ere .                                                                                                                                                                                                                                      '. ' ' ·.                . ..•. ·.

                            .. is     .~q~;,~ t~ ~~~~o~;~tria! ~iurt~ ', ~~n~htsi~n ~at s~ 'i'*iit,~ ;v#ritotivo!id oi i 'deiiiktO .
                        ' '·r~,duce. $e' li~elihood .ofariest'and prosecution                                                                                                                       fofArigei()~~    ~hrd~i;, making;evide~~~.             (J~:'ili~'
                              :. , _· _.-_                        :·· ;:~ ..- ..:·;···., . ·       :~        .. ·. -·~ ..,:-; _· ._..                    ,· : <· · · ...... _.;                     _:.··:.-::..
                                                                                                                                                                                                            .· ;.' ·_·.- ·:·    .· .;.· . -;_ :..:·.·::.>··· .'-                                                     ·.,~·
                                   . _; ,' .·                                                                          . " :~.. <';:.                                                                                                                                                              . ;:,                                                                                        ,:· ...
                                foifeit}if~.~~issigl. ~:\ln~er_~hle401(b)~                                                                                                             .·                     . : ..... "· .                                        .·.                        ·'              ...•...•. . . . . . .                                                       .              ·••· .·

                            •.· . ;g t~~~oie, ej~~gbe.of!~~~~\'s rught~; nbt~~.:(? ~h?~.~~f~)'i&]~· ~~e0·· · .
                            . crim,jrial: disposition;.:· Jristead;                                                                            ~e    evidence of appellant's faAl¥e. to appear was used tosh<>w a·
                                     ... ,.·.     ;.   : ..·                                   .        ·,                                                                 '·.   ...    '' ..                                         . ·::•" ·.: .                                                        . . ·.-   -.. '       --~       -~:. ·:




                    ·. ·. ·:~:~~::;!~1;.:;~Z:L~~::~:~~~dij,:Ct~~l'~!:~rl;t::·                                ..   ,;                                                ·:·--::"\"'·,                                  . '.


                    · ·..      af,~eli~nt's'boJ14forfe~tfife ;~~ aCimissibl~.:~d~rR.hte 401<9)..~<                                                                                                                                                                                                                     . .·.• ··•
                                                             Next~ wedeterZiri~~~ether the ex~aneoJs-off~rt~~ e~i~eilce ~as barred byRule403: .Rule
                                                                                           .                      .             .        ...         .                                                    .        ...                .       .
                                                                                                                                                                                                                                               :.f.·.,,
                                                                                                                                                                                                                                                                           .                   .                     :·.:':-              ..             .
                                                                                                                                                                                                                                                                                                                        .·'
                                                                                                                                                                                                                                                                                                                                  :·· ... . :.

    ·   ..... ·.·                                                                                                                                                                                                                                         ,,
                                                                                                                                                                                                                                                                                                                                  .        ....·
                                                                                                                                                                                                                                                                           ~-   .·   .

                              ·•·.·.·'                       48 Banda.v. State,768 S.W.2d 294,296 CI'ex, Crim. App.l989)("Whetherornot.itneatly ·
                             fits oneof[the 404(b)] categories, an extraneous transaction will be admissible so long as it logically
                             tends to make. the existence of some. fact of consequence more or less probable."); Johniton, .145
.       '. .
                             S.W.3d at 220 ("This listis illustrative,not exhaustive.")~ ·.                          · ·
                                                             49        .                           .              . •·.         ·.       .                   . ·.                ..                                 .··· ·.               . · ..•. · .· .                            . .
                                                                      Ransom v. State, 920 S.W.2d 288, 299 (Tex. Crim. App. 1996)(op. on reh'g).

                                                         so TEx. PENAL CooE § 38.10(a).
                                   Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 212 of 257                                                                                  ···;.




                                                                                                                                                                                                                                                                                                      CRUZ-GARCIA-39 .

                                             403 ptovides, "Although relevant, e:vid.enc~ Oiay be. ex chided if its prob~tive value is substantially                                                                                                                                                                                                  . •....
                                                                                                                                                                                                                                        . . .·,                                                                                                         .. ·.-·
                                                                                                                                                                                                                                                                                                                                                             '.·. .•   ~I ·:

                                             outweighed by the. danger ofunfaitpn:juQice, ¢~1lfusiofi: ofthe issues, or~isleading the jury, or by                                                                                                                                                                                                   ····,·


                                             coliSidenltion~·ofl.iitd\ie delay,   or nee~esspr~s~htatibifo[c~ulative eV~g~nce."51 .
                                                                           .:....                                     ..       . ·.           ..                                           '.· .."":·             :                                                   ' .(                    .   '     ··-    ..       ;




                                                      ·.· •.• Rule. 403 's prohibition ag~t tJi~,>~drnj~~~Qri~ of evide~c~. w4oke. _p;obative value is · '                                                                                                                                                                                                             ··.··.··.


                                       ·.    su6;tarit~~i; outweighe~ by fue'dariger ot~raif pr~Ju~ce!iiw>t.intehded. to keep o~t :~11 evidence
                                               ·~ .   .' i       .•·=.              ,,.,··.   ·~.--·.       ·:::···                  ··: ·.             :·'>:~;:,'~···          ..... ·~... :·',···:::·;··
                                                                                                                                                                                          ·-~.-~... ;··::.ir.-,·,,_ .. :·_ . .,· '"•;:.:·. ·····.·... :.:.:..:.··. :./-.:..>:-.: ..:. . :· ·:·· .             ·~·:-. '·                  '. ·:. .
                                             that tends to prejudice the opponent's                                                                                         case. 5 ... IJiste~d, it aims to pn~ve!}tonly
                                                                                                                                                                                   2
                                                                                                                                                                                                                                                                                                          the admission of



                                  ·.• ·. ·. ·. . ~d~Wc~ftr:r:t·4~:~ff~~~f[~~~~ffg£ifi~~i~~-~t.-offe~~~4~cew~
                                        ' that
                                            . ...
                                                  it .made
                                                        :
                                                           a·. showing
                                                               .
                                                                       of
                                                                       '.
                                                                                                                                fli~t ~d pot~~i~~iiy provid~d6victeri~e org\litt, Additionally, the c~~t
                                                                                                                                       .. .         .                .'.:   .          '   ~   .              .       . ..   . ._,. .       .   ..    . ·..            ....    . .. ' ··,:.                         '                          ..


                                     · _· took  ste~1 fo anieli<}rate,fue pr:~judl~iat:;~eit~~t~~j'~~--e~traile~lis~~ff:eri~b e~idence ?Y~kdacting the ·
                                        -ri:tine 6rilie otrerise .. \V~·e::funot s~y\hil{ili;·pt~Judi~iat errrict ofthe extraneous-offense ~vidence. '
                                               •:~:,>·... ..·.) . ·-·.''} ·.•...· -· · · · . · ·.· · •. · •· .· .-. · .· ..>~e:.::-:~-·:;r :-·--:.:: ..::_·:}·<·:\·.~ . ':.">·:. ·.. ·. . _·· ·.- ':•-· .~· -., .· ·.... \ :. . ,, ._·-._ .
                                             sub~taiitial~y <?\ltweigh,eq it~ probatiye vaJue ...                                  'flie trial, colil1 did pot err in finding that this evidence
                                                                                                                                                                                                                                                                                                                             :   ..,


                                                                                                            :...                                                                      !.' .,, .                                                   -


                                                ···- . ••.. •·. The trial. court's :~~¢i~i()tito aclnll{A.~-~~bo~sori~ s t~stilitonyconcbhung appell~Wt's. bond

                                             forf~i~~ :~:s :ot lie ~u~i~e -~:~ z~ne ~;;e~:~a~~e ~~·~::~~e~t~s to iis a~~sibility, so the.~ial
                                     .....   cmiJ:_··~~·.::~gf':.~l,~~·~· ;it~ -··disbreti~!'·ih.a~i'ttihk•.···~~·-:~tidence ·• urtd~;··. Rul~····· 404(b) ;~r Rtit_~··· ·~03·.
                                                      .::.':_.;y::·..·::·:: .;.·.-.:.             :.V .                         :,    :.;_"·J.:·.: ·:·:.;;·. .. .           .r:-::.::;:.: . ·.·.';:.:::· ...... ·>: ·~·

 ·:~   .:· :· t.:.. :.. ' -: ·.
!;;! . ..: :~·.{" :~
                                            App~~l~t'~                            f'ourtn rui<l fifih priints of eirdr.. ·.-,:are tiverruleCi. · ..
                                                                                                                                          ~.,.   _...                        . .·                  .. : . :· •.
                                                                                                                                                                                                                                                              ..   ···.:.(·.
~: . :. ·'.1) .... '

,:, -~'    ,. :"-.·   ... ' '


                                            ~--;...._;~-~,...--,...--·-·-~. . .                                                                                  •




                                                                 51
                                                                       .
                                                                      ,··
                                                                            TEx~ R.Evm.403. (W~st2014)
                                                                                             . .
                                                                                              .
                                                                                                       ..
                                                                                                        .                  .                                 .




                                                        See
                                                      • ·• ..
                                                                 52
                                                                  v.                    ~avis Stat~,329-S.\V.3d798;806
                                                                                                    (Tex. Crim.        2010) ("All testimony and                                                                                                               App~
                                            physical evidence are. likely to be prejudicial to one party or the other; It is only when there exists·
                                            a clear disparity between the degree of prejudice of the offered eyidence and its probative value that
                                            Rule 403 is applicable.") (internal citations omitted).                       .
                                                                53
                                                                            Montgomery, 810 S.W.2d at 389. See Davis, 329 S.W.3dat 806.




                                                                                                                                                                                                                                                                                                                            : JZ.r1-:-::ts1- ---.
                                                                                                                                                                                                                                                                                                                                       ,_-.,           I
                             Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 213 of 257




                                                                                                                                                                                                                                                                ..                .
                                                                                                                                                                                                                                       CRUZ-GARCIA~O

                                    D. Improper Jury Argument
.:.: ..
;   .,                                             .In points of                            ~rror eight and nine appellant co~tends that the State engaged in improper jury ·•
                                    argumen~ during the guilt phase of trial.                                                                                In his eighth p6intof error, appellant complains .of the

                                    follo~~~·stat~nients made by the·~~osecutm.as beingoutside·the record: ...·
                                                                                                                                                                          .;~   .

                                                . [Tbe '$kte]: Let me give                                                      you
                                                                                                    another ~x~ple, another ex~ple ~fhalf the story.
                                          .... .The SANE nurse.· She canie here and.she said:,We~fther~ w~re ~o injuries. Wow,
                                                  tl1at,~ust :ttiean Obef<:1Vz-G~cia, i~ ~1~-~~npt                                 oicapital niurder according.                         guilty
                                                  to tlie defense. attorneys~· No. Let'St.alk about what else the SANE nurse said. And .
                                                  l.\Y~ito say she said 95o/,o--it is a very highpercentage-,Qf rape cases that she doe.s .
                                                . SA,NE muse exrurtinations ori..,.. . :                            • . . · .·. . . ·· · .. . · . · . ·
                                              .   ~:
                                                  .:                 .-::'>. '.. ·.· .. :. · . ·.
                                                               ·_: ',·       l,:                  ' .    ._.·:. . .
                                             ·· ·.·.[p~fen.se counse1J: ObjeCtion. Outside ther~cord.·
                                                                                                                                                                                                                                                                                              .. ·
                                                       [T~~ State]: -don~t have anyinjuries;                                                                                                                                                                                          "•   .. ·
                                                                                                                                                                                                                                                                                                      -~->".




                                    The tri~l court overruled appellant's objection imd stated, "But I will remind·~e jury that you recaW                                                                                                                                                         .

                                    th~ ..testiJilon/from
                                    ",·    ·.     ..  ...
                                                       .
                                                          the. witness stlll1d
                                                                        ..
                                                                               and
                                                                               .
                                                                                   that is-that
                                                                                   .      .
                                                                                                ~in be yotir guide
                                                                                                               '·.·· in your rl~liberatibns:.
                                                                                                                      .   :,           '. ·..·                             ,.       .                                                           .           '        ..   '           '

···..        .:/.·   .::·.
                                    Ar~ents
         :

                                          ... of cl1Ul1sells not .evidence."
                                                           .           ·'
                                                                             .. .  .   .,     -                                                 ...



                                                  The Stat~ ccihceqesthat the pr()secutor mischaracterized the SANE nurse's testimony.                                                                                                                                        At·.·.·.

                                    trial Gloria Kologinc:Zok, .the SANif ntirse who examined Diana, testified that she does n()t see ..
                                                                                                                                 ': .
                                                                                                                                 . ..
                                                                                                                                  -~        '



                               · physical inJUries resUlting from s~X:1lai assaults in ni~·st ofth~ sexual assahltexan1s she performs.
                                                   : :. .\.:::~·- ... :'-. . .         . ..       .         ·,                                   .           .              .   .        ..     '.               .                          "   .   .   .        .    .       .


                                .
                                 Kolbgirid~ok
                                    ;.    ..
                                              dld.    ~~t fUrther. quantify
                                                . .-·.·    .    .    . .
                                                                            hmv                       .   ,;.    '                         .·.
                                                                                                                                                                 often
                                                                                                                                                                  .   .
                                                                                                                                                                        sht{~~es
                                                                                                                                                                             . .
                                                                                                                                                                                          ~hysic~l'injUrles
                                                                                                                                                                                          ,·, ·.  ·.. .. ...
                                                                                                                                                                                                     .               ···   ·   ·   :
                                                                                                                                                                                                                                       during
                                                                                                                                                                                                                                       '  .
                                                                                                                                                                                                                                              sexuaJ
                                                                                                                                                                                                                                                  .·.
                                                                                                                                                                                                                                                      assault.'
                                                                                                                                                                                                                                                       : . .. / . '



                                exams, as the.prosecutor. did during bet                                                                         closi~g.·ar~en~.
                                              .·Jury argument ge~erally. serves at least fo~ permissible purposes:
                                                                    .        .                                   ~                                   .   .                                               .   .       .
                                                                                                                                                                                                                                          summation of the

                                evidence, reasonable deductions                                                                fro~ the evid~nce, answers to argum~nts of opposing counsel, and.
                               ·. pleasfor                     l~w enforcement.                                  5
                                                                                                                  4
                                                                                                                          It is. error to insert facts into closing argwnent that are notsupported



                                                  54
                                                               Davis, 329 S.W.3d at 821.
                      Case 4:17-cv-03621 Document 24-1
                                                  ... :·,:_:·'·· Filed on 09/24/19 in TXSD Page 214 of 257                                                                      '•·
                                          '     .    .

                                                                                                                                                                                                                                                                                                                                                   ,..
                                                                                                                                                                                                                                                                                                                                            ..,,                              . .. ·
                                                                                                                                                                                                                                                                                                                                                                                '

                                                                                                                                                                                                                                                                                                                                            .        -····-·        .-·_ .. · _-·_.                         '.:            : :
                                                                                                                                                                                                                                                                                                                                        .   '_:_ .... :             •.         ·"'·                    .····:.                ..·..                          i.




                                                                                                                                                                                                                                  .·.·,'··
                                                                                                                                                                                                                                                                                                                                                         -_ cRuz-d~c~~l ·
                                                                                                                                                                                                                                                                                                                                                          ..        ·:.':''         . ..                                . ::y.;__ :·                      ;-:'


                          . by the: recorcj.                                                55
                                                                                                            Because h~r _statemer# was nofstipport~dby                                                                                                                                                                         the· recoid, ·t~e>~p~os~¥4tor's:                                                                                                   .·.

                              q~~tific~H9n
                                . ·._ . . .·
                                             ofKQloginczok 's testhnony was irtiprop.ef,:3fldthe triafcourt~rteqwhe~ ito~efruled · • ··-._
                                                .                ~--·            : ..     · ,:·_· : :. .·.-::::· ; ·.· ·, . . ·-·:. ·:·; ·:,.                                                                                                                           ··<~:::·'.


                         . appeg#,it~lpbjection.                                                                                                             : .                                                                        "'-                     -·.                       . , ::                                            . . '                                                                                                                .;

                                               ' ·"Ho~~vir, ·~~h\j.~;roJn;J~•ilikk~~~ 4ni0~,~~6~i.;g ~~~t§ doe~~~~~~~~~                                                                                                                                                                                                                                                                                                                                          ..                >
                          .           .               ·.:_:\. ~-<~--. '.,~ ~ ._. '• . : . :- ·_ -.. :-:·-. . .<· _.-: ':·                                              :_>. -~-: ::.           -.              . ' .. . .. -:~ :' ~ 3>,~-~-~-t:_ ..-:::-- .·. ' ..:::::_'.:_': .:. ·_: -· ~-:_ :_ -.r:~,<>;:"//~;\,                                      : . :... --.~- _::;_~ c·->. .. .          ,;· ... -. ;·;.}_·..:, :~-:->::··.           .
                              reversaf
                              '•
                                          of il convictiori,"56'..A
                                  •· ', '' • ,.-:'.F .. ;'·.· '•
                                                                      revers~l will qe., reqiii.ied
                                                                  ,·;' ·" ;• ··: ·' ·.
                                                                                                             otiiy if the;·,...··,:·•.,
                                                                                          • ,/ . ,:. '•,_.,, ·:·'•,'       ,:.~·
                                                                                                                                iiliprop¢r
                                                                                                                                        . : '; :'
                                                                                                                                                  argrinl¢nt is h~fut~!                                                                                                                        ,_,,._~.                                         .•·J}~,!-,.~,:, ·~•;•-:'• ··,::····· .... '-• •·...':·:: -~~~',<:·~-~- ~.:J•,,

                                                                                                      ~.
                                               ,.··· •.. ··: :._,:, .• ::-·- .. : :·-;:_.":.•• ,.-,· ..       • .          ·.         .: ·_ :....._1..       ;,        .-.;.;~::_:::;\··_';:        • :        ,·_ ' .    -,~- :-.-_    '<· . :-~ : -: ~ .......:·-::.~:~-:-1-.~-              _.. _'   ~     >~ >"<· .~ ;;~-~-:-;:-.:~· ;:·~-:~· ·;( _;~ _·_:_ .: ; _. . · -·; :· ' '                                       '4       '         ·:.



                          _ -TQdetermine whether                         argur#imt w~~- haniif\ll, we must'engageiit       the                                    ~.iilysi~;?~ l"Q¢ Rtiles                                                                                                                                         a.liarm
                            .- -•-·-· ....·.·_;:-, <.:                   >: -:
                                                       >:;.·. ,,_:.: ·.. -· ... :.·- ~-;. · , _. :· · <: . : ':-_- ,/ :;:-'{;;, . ·; <:••-·- .• X i:t;;\i·:?":..\-1<::·:            </_._:, : ::{ ·. ·.\::·- ' .                                                                                                                                                                >· ·_ .... · ..
                           .ofApp_ell;1te Pro~edure provide .twQ ·aven,~esJor lt~ analysis; •depe~ding tipo9 th~- type..· o( ~rror. -.·:. ":·-·f:
                                                                                                            ;:.-' ... :->-.~.:_-_-. __,;· \: . :::~····                                        -~,                                  ··/:.~·'',:' ..";
                                      .:.>:-;·\ .;.',:-:-
                                                      •<'·,,., }":•,','"• • "''·', ~·,
                                                                                            .•.
                                                                                                           ..'.•:,·_.·                                                     •!    ;.::••,:.:          .;.:::,      ,(~_'             •    •'
                                                                                                                                                                                                                                                                                ," ·. . '
                                                                                                                                                                                                                                                                           ·,·~:·::r",
                                                                                                                                                                                                                                                                                                                    ·
                                                                                                                                                                                                                                                                                                                        • • ,';-/:::::-:".~{,:}_.~
                                                                                                                                                                                                                                                                                                                                  •              ,,,,j"•       •'
                                                                                                                                                                                                                                                                                                                                                                                                        ;-:-:~         ::.. ;:· -":'·':-:;:;·.:,
                                                                                                                                                                                                                                                                                                                                                                                                                                 I        ",,       ),>
                                                                                                                                                                                                                                                                                                                                                                                                                                                            ·.r,··,··.t . ._:.,.
                                                                                                                                                                                                                                                                                                                                                                                                                                                              .~\•;,_'' I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ··- · ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ,.J




                         ·cojiJn>iHe;{ cons!I(~?;: qr;~otl~fJ'~Y'~~~j~~:;;,:: ); ; ,' •. . • • '',~"'' i,'J',,; <                                                                                                                                                                                                                                                                                           . ' .,·::~,~;; ' ,ij '"~· •. :.
                                                      ,We have h~ld. thatjury:,~g\lirient that iftjects faCts out,si<fe the i~.¢6fd is noricoristit\ltio_~af
                                                                                                          ._...                                               ., .                                                                            .                 ·.:                                          ·.··       . . •'     -· ._:--.               .. ·:•·                            :;•,':

                                                           .-· :. . ·. ·. .                         :_. :.;_ .•                     ·::·~_..-_ .·-:--        . >. _. .' ... :_::·~·,):',';·... ·,_·                                                  .;.,:_._.·>·- .'... ·:;_.· . . · ·-·.· "">·.:.-.. <:-- . _.;"/-;_:<::-:.~ . .7~- ·.'·.-:·.·                                . :." ::·:·'::... ' ·:::.<~;.:.::·- .. :.-.. .
                                                                                                                                                                                                                                                                                                                                                                                      61
                              error.          60
                                                           As such;
                                                               ,,
                                                                    it is .. governed
                                                                              .       by Texas
                                                                                        .  ..... Rule
                                                                                                  . . . ()f
                                                                                                         _,..
                                                                                                              App'ell~te
                                                                                                                     .  .
                                                                                                                          PtOcedrireA4.2(b).
                                                                                                                            .     .     .
                                                                                                                                        .               .•                                                                    '                                                  ,'            .                                   .                 .                    .
                                                                                                                                                                                                                                                                                                                                                                                              .   Rule
                                                                                                                                                                                                                                                                                                                                                                                                   .   442(b).>
                                                                                                                                                                                                                                                                                                                                                                                                       ...    ,.,                    '·'.'                                  ., .,._.



                              pr9Vides,                         ·;~Y~~:r~;:_~_:;,·_•._~-·-~f,Jfe~~ty, ~rt~~~ ~~1~d~nS~f.~e~t~u~st~4~righ~~i,/ ·'                        ::·-:~.                           ·-                                                                     :·.\"'· :.. '··.-· . ;;:,:,.                                   . ;-:;:,:.£" . .:-:r--:                    r;. ::_·..                      . ·.- ·>·'~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ....
                                              ._•. ; ; •.··.:::--..• --.-- ·:•\t,;··,)~::.,·••:; ,.·::''\.-.:).~:---··:•_· __ -_· .....·.,:/i;:-.i ;~. •: --- _:: !': ',_·._ ;_'!_.:'•.::::·;;j;:;;:~/_. ·.:.·- ;: ·)·····/::,_ f\.: _:L . -:•. '. ·
                        __ -_ '_, .•• 7 _<::.
                                                      5:- •- Qui(lrjrv; S.tcjie, 9:.s.)V.3dJ33,:154 ere~. Cij¢.~_App';-199.9) ("E,ttof'e){is_ts. wlj¢rifacu(ri9f

                              ;~~~~~~.~~~j.f•'ii:ilt)il!~;~~~\t,:.o?t1f~":m:~ . §l,ffi•.:34~.;~:fd·;:;.7·;;:~~
                                           Lagrone; 942 S;W'.7<i !;it ~19 (citih'gHemandez v:§_iate, 819. S.W.2&806; 820(Te~: Ctim.'
                                    .___, _ ; .
                                                       56

                        _App., _ 1_,__9_ 9_f))i:,-:>·-,. . . ·· -· .-(~; ;. ·-- .·.-·.··.-.-·._~,,_'·_.:_.;·_-\_.·'_:•_. . ,.,._ .•, •: ... -_-. :-·.- . -.-- .:.--·._:···- .:··--.. _. . . . ·-'·---·----- . .·.··
                                      .     - .. .        '.               -~-... ·!:": ;:_··;_ .         . . "';:"· .. :<    ~          .. ·...• ;- ;:;<...                   .... -~·. :-.
                                   -'}t ·.:.·_.;\·.··. >.... ---.:.. ;,:::--._.-.y•..-:-;;·.,, .•. ···_,_': ·•.-· ::- -·.-. ,-_·/ .• .:.·•.. .. -<c·--: ..·.. ,_. _-.-.•.. .,.. _,_.·: ...
                                                      :- _ · MoS/iiy v. ·stat£?, 9~~ s.w.2_d~749~~259 (Tex. Gr4Jt. App; ·1998); ·                                                                                                                                                                                                                                   '·
                          ., ·-· ·.              .·_-: .:··.'.··.' ·.. ._-: ·. .:;                                       ·."::'·:-~_/-.~~-~----··.-             .._~-: :· ..-:.:;· ...../                                ·.                       .·:-·.-:.,:.. :i·. .·_ :-t:__::.-: · .··.' -_.:. _;_- . . .;- _.·._-.:_:;_::.
                                                ' : s8__· -/_j.'-, _ · ·                                                                    • · · ··                                       ,_ ,                                          .- . . -. ·     i:-_   · _:· :·· _ .·._:-_• _ ._ ••._ -._-. -_·_·    · _            ,--.-· ·-- ·
                                                                                                                                                                                                                                                                                                                                                                                           ' ..         ,   ..._. ..
                                                                  .IU,                                                                       . _:.·, .. · ._:_::··.-                                                                                                                       . _.::"           ..

         ,{·_"'; .·                               •'
                                                         9
                                                                  Compare TEX. R. APP. P.44.2( ~) ~11(1 TEx. R. AP~. P. 44.2(6); ..                                                                                                                                                                                                                                      . ·:.·     ........
:.-/;·: ·.·                                                                                                                     .      '~             .. '     . ·. :.-··                                                                                                                                                     ·:   ,:

 : :·. v
                          .     '     k!artinez V· State; ~:~.3d 677, 692 ('I'_~x.
                                       • _·
                                                      60
                                                                                             App:: 2000)(;'Co~~ntsupori rpatter~ • . . .,        17                                                                                                                   critri.
                           outside the:; recor.d; while out~i~e tl1e pe~ssiqle a!~as ofj~.!clf~erit, d(> not appear to raise any       ·-
                           un!que.cortcems thatwotlldrecruire us:to assign 'constirutionalstatus. We shall therefore apply the
                         . standard of harm- for ncinconstitiitional error.';) .. ·see Btowiz·v: State{270 S.W.3d 564, 572-(Tei
                           Crini.App. 2008) (stating improper-argument error that'arose.wheti prosecutor "delved into matters
                           that were well outside the record" was nonconstitutional in nature). ·
                                                     .          . .
                                                      61
                                                                 Martinez; 17S.W~3dat 692 ..



                                                                                                                                                                                                                                                                                                                                                                                                               -------,
                                                                                                                                                                                                                                                                                                                                                                                                            : 011.63·
                                             Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 215 of 257
                                                                                                                                                                                                       '_., .


                                                                                        .....                                                                                                                '"·::··

                                                                                        . . ~·
                                                                                                                                                                                                   .    ,;    .

      o·_,·.



                                                            .   ;· ..                           .,
                                                                                                                                        ;.: .                                                                                                                                   . CRDZ-GARCIA~2
                                                                                    ··:."·.          ':··:                              ·.;:                                                                                                                                                                                   ···::


                                                    .bedisr~g~~~~·u62 .• :The~ef9re~,~.l~ss .~e'sta.r~·l'in,~~r.~~~r}tiry ar~~nt error affected ~ppellant's ··•·· ·:· .·
                        ··., . .
...   -;{~:·;:~.        ,;.   _,.
      •;:•. =·.-.
      .,.,._

                                                     substantial rights', it\viil
                                                                                                      ..:. .:",!:·:·.
                                                                                                                                           n~i call fotateVerslil.ot a~~.~~i~f scorivlctiori;63
                                                                                                                                                                              ·; ... ·.. ,,:.::·,_·:·             ·;·,,: ., ... ··:··        ",:, .·.;:·,:'
                                                                                                                                                                                                                                                                                                        '·


                                                   . ..· . . ;;. f~~~±li;~f,~~j~',*;~]~1.~ sU~~~~·~i~l; )~Was thei•rote~3rrl)fui, ilii•,
       ·:.,·.
          ,, ...




                                                     <:c;>illtlgo~                                   at.th,ree (actors: ( 1) the,seyerityofth~ 1Disc;o,n4uct, (2) any c.ur~tive measures employed'
                                                     . . ,· .' ;                                                 .                 , ·,> ' '       ·.,)}<;           (      \ . :: '' .                           .
                                                   .•. to coriect.the miscond~ct,' ancl{3) t11e' c~ithlnty ofconvicdon without 'the ~isconduct,64                                                                                                                                                                                  ... '



                                                    ..   ·.,_....-... ·:                                                                                                                                                                                                                                                                                                         ··:·   ::.· .
                                                                                                                                                                                                                                                                                                                                                                     .: -"·~·
                                                                                                                                                                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                                                                                                                                                                          ...,


                                                                                                                   ;· ·.::; '/J... .                                                                                                              : ._,_. ,; .. ,:.•~. :···. . . ·~' .                                                          . .. ,: ';;· .....··: .


                                    .'. ;;         . Atlgf!JQ,·,b~t:instea,9                                                       r,et~ted ()nly ~0 th~:.se~:u.~l                                           a,ssa,ultilleged)o                     ~~v~                taken place. prior tb the.·.                                                              ' ' ..

                                       · .· · .·    kiJ,;~~J£ 'rii~' ~X#~~J;&i.~d~~·~/£~~·~.~ ~Jo~i·~j~~·i~ual assaul{~xatt>s ~atslie ·.. '· · .•·•.·.
                                              . ·.· ... •.·,' • :/" ,,·<~·/..;. '.::,>:·· .. . · :-···,.; . , . .····: ·:· : ;·,, .. :: . ~:< .:.: ;: :·,: :. :..                                                                                                                              !   :    .        •       .    ·.:          ·.




 0
      ~-~. ·o~.~.~.r.~.~y'~.~.~8~e.~.~.·r.c.[.~.~.~.[.1.1.'gh~.~.~.~.~.~ .ti.~.;.:.:.~.·i.t..~~ .~.~J~.~.·.~,~.
  '·y::·. ·.. ;_:~ .. ;,~:···.                                             .    '                                ..... ··. "\, ,. ...
                                                                                                                                                          ..
                                                                                                                                                         - ·.· ,-.            ·..,, ..... .. . ... . .            .. .        ·.··· ..   . . ..
                                                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                                                                      . '.                ~J           0~.....       .       ...



      :; .;: :                      ···•· · ·. ·•   s~~~itt.\"~ '\oi;¥~~~ or~ariiieS~~:~P~;~.':J1i~ ~~~fni \Vas rilad~ ~ the lllid~e oia
 ·li;~~}r ·· •· .· . cie. ,~~ j~~~t~r;~;.Jw~bf£~\g~.~tth• ;~.;'.~ :~ ~; P~t¢.~~r~ev6f·~p~e~ ·. . . ·
                                     '!
                                                    the statement dr ~~turned to the top~c Qf$e sexual assa~lt after appellant's objection. We find the
                                                   .· sev~riij.~f'~e ~;sc~~d~~·tto :~~~~;i~t:; '"{!,_':: : < .                                                                                                         ..· .· ': ·. :...: ·· ·                                     · .· · ..
          :,·;.'
                                                                                                      ,..                              . '·, ·.                      '.>..: ·. >::._; .:
                                                                               With. n!~peCt .to cw;a,tive measllf.~s,. die t:rial COUrt immediJtely n!minded the jmy .that .
      ~   ';Y·.::. ;: -.


                                                                                                .-    .·     ;                                    ·. i
                                                                                                       '.

                                                    stateni~nts ~a~e incl~sing ar~ents are ~ot evid~nce, 'd~cre~ing th~likelihood. that jurors would

               -.   .. ··
                    ·                                                          62
                                                                                        TEX. R. APP.P. 44.2(b).
                                                                               63
                                                                                        Jd.; Martinez, 17 S.W.3d at 692.
                                                                               64
                                                                                    .   Mosl~, 983 S.W.2d at 259; Martinez, 17 S.W.3d at 692-93.



                                                                                                                                                                                                                                                                                                             :01164
·: ... ·<,·:·.··
                                                                •
                   Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 216 of 257
                                                                      •




                                                                    . ..
                                                                          .




                                                                                                                              CRUZ-GARCIA-43

                      . attach significance to the improper statement.                             Although this does not amount to a curative

                           instruction, it weighs in favor                    of the error being harmless. 65
                                   Lastly, appellant's conviction was relatively certain, even without the misconduct As                                                             '.             ;•..



                           disctissed extensively above, there was direcfand circumstantial evid~nce connecting appella1lt to .·.
                                                                                                                                                                                             ·:.·          ....


                           Angelo's kidnapping and murder. Based upon the evidence before the jury, it is highly unlikely that .·.·

                           the prosecutor's mi~statement
                                        •'         .
                                                         impacted
                                                               .
                                                                  app~li~t'
                                                                  '· . .
                                                                            s convfction.
                                                                                . .
                                                                                          Appeltant' s. ·. eighth point                     of error is
                           ovel'l1lied.
                                                                                                                                                                                      .. :'··(: ...... '
                                                                                                                                                                                     . ~_;


                                   In his     nillth point of error, appel\aD.t complains that the prosecutor injected her personal                            ,., ;(,·.. ;i,                         ·.·; ..
                                                                                                                                                          ~ ' ... '        _·   :: ·:. . ·: .' .

                           beliefs into her closing argument.
                                                       .
                                                              Appellant
                                                                 .' .
                                                                        contends that th~ following
                                                                                            ..
                                                                                             '
                                                                                                    argument was improper:                                            ·.

                                   [The State]: We askyou to fmd hiin guilty as a party because what we believed
                                   happened i~ the defendapt directed and encouraged-,· ·

                                   [D~fen§~.c~unsel]: 'objection toputtingbeliefs into argtunent, Your Honor•. It's
                                   improper>.· ·

                                   [The court]: That will be overruled.

                           It is improper for (prosecutor to inject her opinion into statements                     m~de before the jury. How~ver,
                                                                                                                                       66
                                                                                                                                                              .· .
                                             .,   ··.'·.-····


                      ·.
                           it·. is
                                .·
                                   proper. for a. pr~secutor to argue
                                                                  .
                                                                      her.opinion
                                                                       .. . . . .
                                                                                  where
                                                                                    -
                                                                                        that
                                                                                         .
                                                                                             ~pinion·
                                                                                              .. .  .
                                                                                                      is base~
                                                                                                          .
                                                                                                               upon eviden<;e
                                                                                                                ~    .,• . ..
                                                                                                                              in. the



                                 .. As stated above,            pemiis~i_ble jury argument· generally falls. into: one of four . categofies: .

                           sttmmation of the evideriee;· reasonable deduetieas from the evidence, answers to arguments of.· • · ·: :: ;. ·


                                              . ' .                                 ..   .
                                   65
                                        Freeman, 340 S.W.3d at 728-29.
                                   66
                                        Johnson v. State, 698 S.W.2d 154, 167 (Tex. Crim. App. 1985).
                                   67
                                   Wolfe v. State, 917 S.W.2d270, 281 (Tex. Crim. App. 1996)(quotingMcKayv. State, 701
                           S.W.2d 23,37 (Tex. Crim. App. 1985)).
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 217 of 257




                                                                                                                                                                                                                        CRUZ~GARCIA-44

    opposing counsel, arld pleas for law eilforcem~nt. 68

                       We conclude that the prosecutor's discussion of what the State believed happened was a

    summation
        ..
              of the evidence presented
                                .
                                .
                                        attrial. Rudy
                                                  .~--
                                                      testified that
                                                                  .
                                                                     ap~~llant
                                                                         ·.
                                                                               kidnappedAngelo,
                                                                                         .  .
                                                                                                drove .              .         .                 ··.                   ··'        .-··.·.                                                                 .

                                                                                                                                                                                                                                                                                                          . ,,·
    him to Baytown, and then ordered Roger to.kill to him. AfterAngel~'s death;.hppell~t..ordered                                                                                                                                                                                                 -:·_.   . .'-.-




    Rudy and Roger to submerge Angelo's body. Even if the prosecutor's statbritent kjectedher ~pinion
         •                              •                                                                    .                                   •          -_.,                : ..           ·-.         .• .             ·-   • ..        ·-·:..1,,            .·'   ·'   .
                                                                                                                                                 '·.·'·;'.·::(_                                                                                                                      : : : .' .i ; ,.: . ~ .


    into her argument, her opinion Wag suffi~iently ~upported                                                                                               by th~ ~viden~e pr~se,nted attrial.
                       Evenassuming a~~endo that~~ pr~sec~t~r;' s.argumen~\y~ i~p}op~r, .H was h~iess: JW)' ·. ·~ ·.. , :: .·.

    argumerit'erroris
             ••                     •
                                            anal~edfor harm unde;:t~x~s Rtil~~fAp~ellatePtC>cedure44.2(b).~9 Under the.·.
                                               •••••         •       •                     •         •           •                 ; .. ••                         •   .--·.      •                  ·.:                •               ••          •••       1
                                                                                                                                                                                                                                                                                             .....             ·,




    44.2(b) standard, error will not req~ire reversal unless it affects a substantial right. 70 To determine

   whether
       . .
           erroraffects a substantialright
                            . ..
                                           in .the improper-jury~at"g\llnent realm, we weigh the,thiee
                                                                             '       :                                             . .                 . .         .           ··'.                                                                  .



   ·facto~S •· disctissed above:. . fue severity
                                          .
                                                                                                   of.~~   •misconclttct,
                                                                                                    . . . ..
                                                                                                         ·      .   .
                                                                                                                          .any
                                                                                                                         _,.- .
                                                                                                                                C~nitiye
                                                                                                                                   . ...
                                                                                                                                         meas~CS
                                                                                                                                               .
                                                                                                                                                 •taken, and
                                                                                                                                                         .   the
                                                                                                                                                             ..
                                                                                                                                                                                                                                                                                 ·                      ''·




             · Here, any possible ritisconduct was not severe.. Afterreadingthe prosecutor's stat~ment in .

   th.e Context .of the entire record of jury arguments;· W~ C()nclude th~ prosecutor •· was merely
                  . .       .                  . _,... '         .        :> .. '              .     .                    ~                  .   .      .          .           ..:.. .' ....         ..' .        '· ·-~ . .                 .fJ>         •




  . suminarb:ingthe Stlte.;s theory ~fth,e case artd not suggesting tothejury that she'had o~tside ,                                                                                                                                                                                         ···

   kliowledge about contested facts:                                                i ··

        • : iuither, while the .n:~al                                            'coUrt diet·: not                   tak{any steps to cure .the error, the Pf()Secutor .· ·.
                                                                                                                                                                                                                                                                                     •   .   .'    ·,

  . hnmediatety rephtased.her statement and said, "Wlrat the evidence supports is that the defend:mt.


                  68
                        Davis, 329 S.W.3d ~t 821. ·
                  69
                        Martinez, 17 S.W.3d at 692.
                  70                           .         .               ... '.
                        TEX.            R. APP. P. 44.2(b).
                  71
                        Mosley, 983 S.W.2d at 259.




                                                                                                                                                                                                                                                         :01166
                        Case 4:17-cv-03621
                                ... ··.··  Document 24-1 Filed:,,_on
                                            . :··-
                                                                   ...., .09/24/19 in~-·····
                                                                                      TXSD Page 218 of 257
                                                                                                                                                                                                                .         -·•·... -....
                                                                                                                                                                                                                                                                                                   ._.,~




                                                          -. -~ ·.·




                                                                                                                                                                                                                      '    ..
                                                     ..                                                                                                                                                                         ··.•··                               ••   :       >   ••                        CRUZ-GARCIA-45
        :--:.::                            :.:·:.-


                         ..•. dire~ ~d'~~c.?r~~og¥i? kiftJhetittle h~f~ This quasiccurative measure works in favor
            ··.·'




                                 ofthe efl:o~. bbing harmles~~ 72 ' . :,. :· '· .                                                                                                       .'.··


                                                      .
                                                          ~d~tiori~uy>'app~ll~t·s. ccmvictionwas ;elatively certain, even absent the 'prosecutor's
                                                          .     . ' .. .           ... ! : ·.--   .   •. ::.   ' ·, ':·.: :··.~" .";_: ·.~:. ··' _.:.~_;· :. ;: _·. ': ~ ::· .....:         '                   .          ..            . . ..     ..                        .                .           .   , ..



                                                                         Ap~ell~t~-~ rihi~:~'gi~~tiidrrpt-is oveifuled:' : ·.·
                                                                                                                                                                                                                                                                                                                                                                          .r'- ,:

                                statement:
                                       . .•                                .\                                   ,. . ·. _.-.:~~-~-    ·,\1r:..                                          :. . . . . . .•                      :-.'- •:;. ."-:: .. _i,. '
                                                                . ·.·; :: ·.: .·                                  ·./.' .· •..j.' ~ ·. ~............. '.                                      ., '::·--.. ~- __ ,          :. ' •. -: ........ .

                                                              ./ . ,                                                                   · . .·· · 111; PuniShine'nt
                                       ·'"·~.,...-·(..                                                                                                                              '    .-. \~;-:·;.               .·("·;   ,.·. · .. ·      .. :'
                               ...........-~. ..:                                                              . . <.,-:-).-.:_. -_.-:_. .-..v,··.-;..:'·,·.·.':::;:·                   . .-·:·;~-;.~ 1 ·- .;                · ·   ·=-     -~=.• ·~+:-:-~

                                4. Miti~~t'-n~~vldenc~:i~~~':'i:Sh~~:?t· , .                                                                                                                                                         . . : .....-..: .·                                    .       .       .          .                          ·. · . · "

                                      :",;:j~::~~· ;~~;~~~;~~i~~~~~ ~)'f,~:'• ·~f¥~t;;o~;:.~ij.tf/~i;~~ c9~·~~fd ~hen i(:~} >
                           • ·ifsri#ame~_tqe St~te's~·e.ars*yppj~¢~q.n.sJo~Q iteln.s 9fevi~en~c:l he.~ffered'q~~ ~he puhi,s~eilh
                           :;,.:';>                           ·t_:::./5'.:,,;                       _:::_·::,}'i~/;y{\:t</i:!~··: :._.::<~i:·<-·.' . ··,,_/.::,';' :_:·~<.,.' ·. '\·;·· ·•:.··.·{it/>.'' ..
                    ·      ·phase oftii~l~ :~~ frrsfpi¢~~ Of.~vWence, ~;:p~ptaine~_ofinpoin,f()ferrqnix, was a'seri~sofl:J~bJ~                                                                                                                                                          · ,; · ·
                                                                                                                                                                           . .,:·                           ..
                              . ·; ;~.~:; : .:·;·;. :..':_·.,;~~~,:.-/"> ~- ~-;-~.~:_. >; .,: ·: :·· ·.·~ ·~·-." '<.;~ .-' _·:.- ~- ~ -~ ;: ~: ·: ·.· :·~:. _. . ':·.· ;,. ~<~ ~:-. -~-·: :_,/~:.:-· ~;-~·.(_~;_A}:·:.-:_::::< . : ·. ." . . _'.. .. ; ·. . ·'. . . <''    ', '.
                             stiidy ceri.ificate_s: that)lppeJlaAt.e~ed; ...yhile in9ar,cerate'd in ~erto Ri~.o. The ~e~O~d piec.{of
                             :..-.:·.-. ··:~·-·:~.···.·.-:·. . ··-~-:.-....:·. · ·. ':.:·'_"'·!\?·: .... :.~:;.·.·-~-·. ·.... -.-.,~.:.-·\: .. · ... ' ' .. ·, ·, ··.·.                                                                                                 . ·-·;_ '.·:=:·

                                                                                                                                                                                                                                                                                                                                                                                          ...




                                                                                                                                                                                                                                                               :_   .. ;··                                                  -.l         •
                                                                                                                                                                                                                                                                                                                                                               .. - ...    .-·.
                                                                                                                                                                                                                                                                                                                          '.·•· ....

                                                                                                                                                                                                                                    :.. --· ... ,-·;·.-   __   .·': .·                                                     .      ··.       '·.· .-.·__: ___   ·.           .
                                                                                                                                                                                                                                                                                                                                                                          ··.··::
                                                                                                                                                                                                                                                                                                                                                                                    ·-,




                          .·       .· •.. Hdwid~v. St~t~,-lj5.. S~W.3d 72, ~5 rre~:Crim. App. 2004)("Althoughapro~ec\lto~·~
                                                      '
                                                          72
                                                                .

                                self~corr~ctive ac_tion mi~fn<,lt carry ihe same weigllt as a tri~H·courfs 'irtstruction to_ disregru.-9. it
... :   .
                             is ~evertheless a relevant: consideration in detenninfug harm and c~m~ in the appropriate ' , .
                           ·.circumstances, reriqer ari inlproper comment harmless."), SeeC(lnales ~. State,98 S.W.3d690~ 695~ ·
                             96 (Tex. Grim. App~ 2003) (holding that a prosecutor's misstatement ofthelaw was harmless when~
                             immediately following the misstatement, the prosecutor corrected his mistake).             ·     ·
                                                          73
                                                                      We~therred,lS S.W.3dat 5~2.
                              Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in~-­
                                                                                   TXSD Page 219 of 257
                              . ·.·•
                                                                                                                                                                                                                                               .,~




                                                                                                                                                                                                                                                                                 CRUZ-GARCIA-46

                                              . app~~l. 74 We begin with appellant's sixth point of error. Appellant attempted to offerhis owrt Bible
                                                                                                                                                                                                                                                    .   ·· ..

                                        . _st)ldy certiflcates tbrougli hisbrothe~, Joel ciuz~Garcia._- The-State objected that thccet1ificates'were

                                   .....•·.   '
                                                  hears~y;'and
                                                   .
                                                  ~·    . . ·• .
                                                                 the trial court sustainedtheobjection.
                                                                                       ..   .   .   -                                                                                                                   .
                                                                                                                                                                                                                            Appellaptnow
                                                                                                                                                                                                                              .    . '. . :
                                                                                                                                                                                                                                            complains
                                                                                                                                                                                                                                            .    .. :;·.
                                                                                                                                                                                                                                                         thatthe
                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                 trial. COurt'S
                                                                                                                                                                                                                                                                        :'.:. .                                 ·.~·,
                                                                                                                                                                                                                                                                                                                                 .   ·~   ",



                                                     .    ..
                                            ·. rulirig e?{~lti~ng the certificates froni evi4ence violated his right to put fo~_ ~:compiete'defense.: .·
                                            :.·:··:

                                                                 · ·:A qrimin~ defendanCsright 'to present relevant evidence is not absolute.
                                                                                                                                    Iri~t~ad,- itis ·. _·                                                                                                                                 75


                                            ...        ,_,, ..              ,.     .,
                                                                                   •••     ,l·,.l··


                                                                                      ·. ·. •·
                                                                                            ::,:
                                                                                               . .  .
                                                                                                       ·.


                                                                                                       ... - .:· ·~: :.
                                                                                                            ':·
                                                                                                                              ·....


                                                                                                                             ... ..
                                                                                                                                  .·    _,',:: ..... .
                                                                                                                                           _;,:.: ... ·. .
                                    .· . subj~ct ~o· reasonable restriCtions that accommodate other legjUmat~ i~t~rests in tlie ¢riminaJ trial
                                                                                                                                                                 .,   .


                                                                                                                                                                      :   :
                                                                                                                                                                                   .•


                                                                                                                                                                                    .         . ·.·
                                                                                                                                                                                                                                                    .


                                                                                                                                                                                                                                                                ;
                                                                                                                                                                                                                                                                    •        .    '


                                                                                                                                                                                                                                                                                 ..·.;.
                                                                                                                                                                                                                                                                                               •••         ,.                .




                                        pr~~e~s. .Where mitigat~ng ·evidence com~s in an obje~rl~n~~~~ f~~,-~neither the Texas· .n~~ the
                                                                                  76



                                 .-.-· Unit'~~-;:s~-t~~ c6n~d~ti~~s:;eq;e· i~a~i~sion?'. The ConJd~iio~.·i~ i~~licat~d_ 2~Iyit~; ,
                                                               ·            •·..                                                           ... ·.. · ,·•    ·,



                                                  evicie~ti~ rule                                            being                          ~niployed tC> exclude evidepc~ is ap~lied arbitrarily or unjustly and its :.·               ·'·,


                                        .:application effe~tively preciudes a defehdant froth' putting forth a defense, 78                                                                                                                                                                                                            ''(·
                                                                                                                                                                                                                                                                                                                                          ~   ;. .. . .

                                                                                                                                                                                        ·...,.. ·.

                                                  •·-_·: · ·:.):Iere; ~ppe:ll~t;s'ptofferedevidencewas litnit~d byili¢~pp_li¢atiori of the hearsay rule: The _>
                                                  .·, . ... ;<·;.·:-·:;.!:>:.=· ·_:,·.-: . =-....:.· .... · :·.·. ·<:· -: . :. . :.r.'·.:· ·... ··: ·: ..".::·,<·. .:;,;.:-., . .-.,·.· ...-:. ·:·. . .· ·:.._:· .... :. _-;.··.<·:::-·..( . :.. : . :::· ··.···
                                  .-·_ _ · IUle:~g~~sthearsay prohibits tll~ ~dmission of out~okcofut~tat¢rh~rtt~ offered to prove their tfuth. 79                                                                                                                                                                       .
                                        ·- ··.. :::,";>:                '    I'                                                                                                                               :   ,'
                                                                   :···;_:.::,-                       ,..          j,                  ' .. '-: _.:·: ...


                                                               ·.··.···
                                                                                                                          ..- ._:._;· ..-··
                                                                                                                                                                                                     .<   .
                                       ,.                                                                               ·..            .         .                                                                                                                                             .   .   '




                                       . •. . .~ 0:;,.a States., &hefferL~23 ti.s. ·
                                            relev~t eyid¢pce is not t1Illimited, but ratheriSSl1bject to reason!lble restrictions,"); L'ey/isy. State,' _
                                                                                                                                                                                                                       303;308   (199~n;.: ~~f~dan(';~~f to·~esent                                                      ·.·•.

                                            815 ~.w.~.~S(j(),,5q8 (Tex,' Crip;t; APP~J9.9J){''Althougb~e. . .Eig}itttAmendmen(t() tpeUnit~d--.- _
                                            States ¢oJ:i~titu~!on asswes thatno person shall be pufto deatl}'\vitli()U~ the oppqrtUnityto>bring .·..
  ~      ' \       ':   ...                 before th~_sen,tenc:irtg authority all evidence ofmitigatmg circumstances, the Constitu:tiondoes not _:- .
                                            assUre that the evidence be received in a foim which is otherwise objectionable.").                  . .
... ,,,_,:·_ .. ·.




                                                      1d;;See .Re~ieriav.State,206 S.W.3d~89,697(Tei
                                                          ... _.
                                                                      77
                                                                                                                       App. 2006) (concluding that                                                                                      Crim.
      · ..     _:.·.
                                            admission of constitutionally relevant evidence is not required if it is otherwise objectionable under
                                            state law). •·                                                              .
                                                                      .                                       .·              .             ..                                '•            .·.           .                       .            .;         .
                                                                          78
                                                                                   Potierv. State, 68 S.W.3d 657, 662 (Tex. Crim. App. 2002).
                                                                       79
                                                                                   TEX.               R. Evm. 801(d) (\\'est 2014).
                                             Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 220 of 257




                                                                                                                                                                                                                                                                                                                                                       CRUZ-:-GARCIA-47
                                                                                                                                                                                                                                                                                                                                                                                               -"·''


                                                   .Appellant's certificates were indeed hearsay because they each contained out-of-court statements that .
                                                                      .                                                                                                                                                                                                                                                               .                       -~                                '




                                                   appell_ant was offering for their truth. As hearsay, the evidence wa~ inadmissible unless itftt within·

                                                   an exception or exclusion. 80 • _Appellant, as the pr.oponent qf th~ evidence, bore the burden of
                                                                                                                                                                                                                                                                                                                                                                                                                                     .   ·.,, ..: :
                                                   articulatin:g' an exception or exclusion wider which the Bible stUdy certificates would be properly:. -··

                                                   admissible. 81 Appellant offered no such exceptions ..                                                                                                                                                                                                                                                                                                                                      ·~:




                                                                      .   App~llant now a~s~$ .t4at the Bibi~. :)rudy ce~ifi~it~s werea~~~¥le und~rTe~as Rules .

                                                   forfelt~d his ert6r by failing to allege his hearsay exceptions ~ the trial_cow1; ~f! hol'd thllt none have.
                                                   merit. ·

                                                                          Fi~st, appellant's certificates do not qualify as. Rec~rds of a ·Religibu~ Organization under· ... : ·.
                                                                                                                                                                          '          .                                             .              ...                   .                       •.·                .·                                                                 .       -.




                                                   Rule 803(11) because t!J.ey are not st~tel#~nt~. ofbirth,!JHlfTJag~~ clivprc'e,death, legltiritacy, ancestry, ' ..

                                                   r~iaclonship,. or·'otherfad ~fpersori: histJ~. · Second,'~;;-~li~~t's ~·e~ificat~s d·~jiot quali~ as':.. ;:· ·. ·
                                               .                           .        ·... ,: .       ·.·       .                                             _._.                         .                . . . . · ·'t· . . ·                          .               • ·..   r/:·:_.· __ ~ ·.~_;-:.:.·. -;· · .... ~..                               .~-                  .                .... _.·.                   .. .. ·.
                                                   Family Records under Rule 803( 1~)because they are not statements of fact concerning petsohal
                                                                                        '                         .· . . . . . . .              ;                              .                     .                     .                                '               "         .                                 .        ..           '        ....             .                     ·· .. , .              '.
                                                                                                                                                                                                                                                                                                                                                                                                                          or·.
                                                   family   history,
                                                     . . .. .   . . .
                                                                                                                  n~r are they
                                                                                                                    ..
                                                                                                                                  contained.. ·itt. any of the documents
                                                                                                                           .. .. . .   .            .   .           . ..
                                                                                                                                                                         Ji~~~d in
                                                                                                                                                                                .
                                                                                                                                                                                   Rule
                                                                                                                                                                                    .
                                                                                                                                                                                        803( 13).. T~rd,
                                                                                                                                                                                             '   '    .   '           '.       : .' . '   ;   '                     .                     •''             ..       ~.            .        '       •.                             .'       .               .                   ..
                                                                                                                                                                                     .·;:·. ...- ..

                                                   appe(lat;tt's certificates do not meet th~ t~qwtements ili RUle 863(~9) becawetltey don~t concern ··. . · ,
                                                          . : .:.;, .'-.·.· '
                                                                   . .       '           ~~--. ' . ; ·.· :· ....: .;·-· . ··. : . . -<·.·. . ;. ... ~··... . ·,· ··:. ·. i·~:·......
                                                   a perso,h' sbirth, ~doptioil, niarriag;e, diyorce, death, legitilllacy, relationship[ aric~itry, ~t oth~i f~ct
                                                      :         ·,.       -~.   •               •         •              •~   ••           ••               •      • ••       • '·                   ••        •• •                                         ,, • • •            ,.,                   •   '-   :        • I_   •;:    ..... ••                ••   .'       ,. •                    ' •       :·




                                                   ofpersonalor f~ily hist~ry.Lastly, appellant's certificates do not qualify uil~~r Rul;e 804(b)(3)                                                                                                                                                                                                                                                                                 ,;..
 ·,·  .... ;·,
·.·;•,.,·.....
.....
    ,. ::.;:: .. ··
                                                   because appellm~t has failed to establish the tmavailahility of the certificates' declarant. Fl:lrther, .the ·· ·. .
                                                                                                                                                                                                                                                  . :'



·::.·:
''"-;·'.·
                                                   certificates do not cont~fu                                                                          any statements about the declarant's own birth, adoption, marriage,
; ; i• ;.. ~·; ':-

                     . . ·.,_··
                                                                          80
                                                                                     Valle v. State, 109 S.W.3d 500, 505 (Tex. Crim. App. 2003).
                                                                                                                                   .                                                                          ....         .                                    .                                          .                                                                                              .        ·.·.

                                                                          81
                                                             Martinez v. State, 178 S.W.3cl 806, 815 (Tex. Crim. App. 2005) ("The State, as the
            ·.·      '··     ..                    proponent of the evidence, had the burden of demonstrating. the applicability of that exemption or
                      '    ...~ ;: '; . ..         exception.").
                                                                                            •
           Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 221 of 257
                               a~                     .•w           .
                                                                                                       .                                                           . · .... ,.: ..




                                                                                                              CRUZ-GARCIA-48
                                                                                                                                                            ;:·.,·
                   I                                                    .. .                       .            '


               ancestry, or fact of personal or family. history, nor do they contain statements about any of the

               foregoing with r~spect to a person relate9 to or intimately associated with the. declarant.

               Additionally, appellant's Bible study certificates .do not be·ru: "persuasive assurances of ·
                         .    .                             .


               trusnvorthiness," which weighs in favorofthe trial court's exclusi<>n. 82 . ·

                                  The rule excluding hearsay that does not fit wifuin an exception .or exclusion is n?t an                      .:. .    .
                                                                                                                                                ... ·........                 ·:


               arbi,trary rule, ~or w.as it. ~bitrarily or ~justly
                                                             .
                                                                   applied to· appellan(
                                                                   .'
                                                                                              83
                                                                                                       Instead, the rule represents a

               reasonablere~triction on the admission of evidence th~~ accommo4at~s other legitimate criminal-trial
               interests, namely, ensuring the reliability of evide~ce.~ 4 .··.
                                                                                                                                                  .                  .      ·::
                                                                                                                                                           ·<: ·:-- ... ·

                                  Whlle appellant contends that the hearsay ~eshould give way in favor of his right to put
                                                                                                                                                           ..~· : :~ -
                                                                                                                                        .

               on a defense, "[t]he! fact that appellant was notable
                                                                   .
                                                                     to. present his case in the form he desired does

              not amount to cc:msti~tional error when he was not prevented from presenting th9 substance of his
                                          .   •''
                                                    ,·.:.




                                                                                                                                            .    ' -:· ~




                       . ·.
                                  82
                                       See Valle, 109 S.WJd at506(afft~ing.the ex~lu:sion ~fhearsayevi.dence bec·~~~e it did · .. ,
              not meet an exception to the hearsay rule an~· did not be~ persuasive assuz:ahces oftrustworiliiness). · · .· •·,.
                      8 ~ Potier, 68 ~.'W.3d at 662.·(".These caSes show that the e~Cl~sion ofrelevai1t, :ll1aterial, . · •·
                       ·. · .

              important evidence by the application of particular .r:ules that are arbitrary ordisproportionate to their .. · . ·.. '. <:
              purposes may otTend the Constitution. They also. show that c~mrtsare free to apply evidentiary rules . ·
              that are not arb.itrary and unjruitifieq.."). · · · • ·. ·        · ····              ·

                                                                                                      ii~itation on ..
                             ·84 !d. at 666 (holding thatthe hearsay nile, when properly applied, is avalid
               a defendant's evidence); See Renteria, 206 S.W.3d at 697. ("[S]tate and federal ruleniakers have
:--.:
   ...         broad latitude under the Constitution to establishrules exCluding evidence from crimi11al trials. Such
 :'.'···
               rules do not abridge an accused's right to present a.defense so long.as they 'are not'arbitrary' or
             · 'disproportionate to the purposes they are designed to serve,' Moreover, we have found the
               exclusion of evidence to be unconstitutionally arbitrary only where it has infringed upon a weighty ·
               interest of the accused."). See Valle, 109 S.W.3d at 506 (holding that defendanfs hearsay evidence
              that was not within an exception and that did not bear "persuasive assurances of trustworthiness" was
              properly excluded).          ·       ·            . .




                                                                                                                        :01:170
                                        Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 222 of 257




                                                                                                                                                                                          CRUZ-GARCIA-49

                                                defense to the jury. "85 Because appellant was not prevented from presenting the substance of his
         '~:·.:   :.;'· .       .
        .<~:~~/;~ ·-':·.<.:.
                                                defense, the trial court did not abuse its discretion whell it sustained the State's hearsay objection and                                                                            "1:,        ·.·=,·




                                                excluded appellant's Bible study certificates. Appellant's sixth point of error is overruled.

                                                              Turnirlg now to appellant's se~enthpomt of error, appellant once again contends that the tri~l
                                                                                 . ·...·
                                                                                                                           .                                                     ..                      ..       '                             :"··· ...



'
    <        I    •   <     '

        ·;.:)) ~: ... ;::;· .
                                               coUrt violated his. right to put
                                                                             .
                                                                             '
                                                                                forth
                                                                                  ·..
                                                                                      a meaningful
                                                                                           . ·. .
                                                                                                   defense when it sustained
                                                                                                                     .     ..
                                                                                                                              the State's
                                                                                                                                      .
                                                                                                                                          hearsay           ,;

                                                                                                                  ~   ..
                                               objection
                                                    .
                                                         to.. testimony apout
                                                                         ·.·.•
                                                                               whether, .appellant
                                                                                            .
                                                                                                   worked
                                                                                                    .
                                                                                                          as an ·i~formant f~r various federal
                                                                                                                                   ·,       ..
                                                                                                                                               law               ..
                                                                                                   ~                                                                                                          .
                                               enforcement agencies in.the UnitedStat~s.                                       Bu~ a~airi, app~llari~'s right to the admission of evide~~e
                                               in his defense is not absohite; 86 If defense eviden·ce is presented in a· form th_at violates the rules of·. . .· ·

        ·:;::\~/.:;..               _          evidence, and those rules are not                              bei~g arb-itrarily applie~, it is not propedy admissible.                             87
                                                                                                                                                                                                                                 ,,:;
                                                                                                                                                                                                                                       . '"·'



        ~:rf._N.:}:;··                                       Thetestiniony appellabt attempted to elicit throtigh Puerto ~can police officer, Agent Juan
        ::_;:.\::. ·;:::·:.
.• -~-.\~'j·>·· ·:>::: ..
                                               DeJesus Rodriguez, about appellanCs work.· a5 'a feqeral informant: was hearsay because Ag~nt -~ :·....
                                                                                           .           • ..                    ' ; \':                  .    •        .   .•l'                                                   .    , .•         ;,




                                               Rodriguez had no 'personal knowledge of appellant's work and had learned about this alleged work-· ..

                                               onlythrough. conversations
                                                                     .
                                                                          with other    agents. Because
                                                                                 .· .. " . .      .  ...
                                                                                                         the
                                                                                                          ' '.
                                                                                                              t~stimony
                                                                                                                   .
                                                                                                                        about what other agents told
                                                                                                                                            '    .                                    '       ·'.

                                                                                                                                                                                                                                             . :_..,)      ...
                                               Agent Rodriguezwa~ an out~of-coUrt statement beiri.g offered for its truth, the State's hearS!lY
                                                                                                                                                                                                                                              .. ,,,._.·

                                           .        ·.                  .   '.                 '




                                               objection ~as proper. 8 ~ .•
                                                                                                                                  ..    '       '   .

                                                             In resp~nse to the State's obje~tion, ~ppellat1t offere'd no app~iCable exceptions orexclusions.
                                                                                                                                                                                                                                              . :· ..
                                                                                                                                                                                                                      .   ·.   :•".          ··.: __-,:: ..




                                                             85
        :·_:.:·'·· __ :··. i,. . .
         ...,·:···
                                                         ·Valle, 109 S.W.3d at 507; See Potier, 68 S.W.3d at 665 ("We llold that the exclusiOn of
        ·'       ·::".'
                                               a defendant's evidence will be constitutional.error onlyifthe evidence forms such a vital portion of
                                               the case that exClusion effeCtively precludes the defendant from presenting a defense.") .
        . ',"

                                                                      Scheffer; 523 U.S. at 308; Lewis, 815 S.W .2~ at 568 .
        . . ·.· "·,..
                                                             86


                                                             87
                                                         See Potier, 68 S.W.3d at 666 (holding that the hearsay rule is a valid limitation on a
                                                                  .

                                               defendant's evidence when it is correctly applied).
                                                             88
                                                                  TEX.           R. Evm. 801 (West 2014).
       Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 223 of 257




                                                                                                                                                                                                                                                                            CRUZ,.GARCIA-50

                 to the hearsay. .rule. Appellant
                                          .
                                                  now asserts
                                                      . .
                                                              that
                                                               .
                                                                    Agent
                                                                   .' . .
                                                                          Rodriguez's
                                                                           . . . .. .
                                                                                      testimo11y
                                                                                             .·.
                                                                                                 was
                                                                                                  .
                                                                                                     .admissible under                       ~-                                                        ·.
                                                            .                               .                                 .                   .                           ;    ·.                         . .                                     .   .            ·.


                 Texas Rule ofEvidence 803(21 ). Again, \Vithout deciding~hether appellanthas forfeited this claim,

                 we hold that it lacks merit. Agent                                                                                        Ro~igu~z' s testiclo11y did not concern appellant's character
                among appeilant' s associates or within his community, so it does not meet the requirements of Rule

                803(21).
                                                                     ·· ... ·
                                      The .exclusion ofAgent Rodriguez's testiinony as hearsay did .no~ effectively preclude
                                                                '·. ·, ..
.   ....
                appellant rr?m puttihg on a. ~efense, and the application qfthe. he~ay rule was riot arbitrary or ..
                                                 ·. ';,'.                                                                                         :}'·                        ;_-._ ..            :>''\·::·       ·i··,.

                \lnjilst:
                 ·.
                                      Consequ~ntly, the· trial court did: riot .a.bilse'
                                       '                                         .
                                                                                         i~ di§c~~tio11::when
                                                                                        ,...
                                                                                           .·  '··.· . ·..                             '                                                 .                                              :'
                                                                                                                                                                                                                                                                        it ·sustained the State's

                                                                                                                                                                         App~Uant's sev~nthp~intof error is overruled.
                                                                                                                                                                                                                                                                                                                 .   ·:·:·.

                objection and. excluded
                      ,.        .·-
                                        appellant's evidence.
                                                      ·', .                                                                                                                                  -·                               .                   '
                                                                                                                                                                                                                                                                                                            -···: ':

                B. Improper JuryArgument

                     ... Iti his tenth and: eleventh points
                           .                          ....
                                                            of erro~~ appellant
                                                                      ..    -·
                                                                                colnplains
                                                                                .
                                                                                '      .
                                                                                           qf improper jury argument ...
                                                                                         ·\·:.                  :-                                    ·'       ·'·       ,'                          •.                           ······;                          .             .                      '



               · during the punishment ~hase oftfjal. . In point qferrortel1, appellarit complains that t~e trial court
                                                                                                                                                                /·   .

               . erred ~hen it overruleclh{s
                                .    ·-  .. ...
                                                objection
                                                  .
                                                          to,· part
                                                                .··
                                                                    of
                                                                     .
                                                                       the·.. State'
                                                                               .  ,.
                                                                                     sargumen~,
                                                                                         ·. ... . which
                                                                                            - _   . .
                                                                                                        he
                                                                                                         .
                                                                                                           contends
                                                                                                                .
                                                                                                                    went6utside
                                                                                                                        .
                                                                                                                                .· .                                                                                                                                                     '


                                                                                                                                                                                                                                        . I·,
                                                                                                                                                                                                                                             . ''

                the r~cord. Ouring her punishlilent summation, the prosecutor stat(:d: .·
                               ;':.   ..   ..:.. .....~,... :           .   ·. :~·· :           .·   .... ·.             ;
                                                                                                               ..~:: .. .:.       ;"         .             .     '   .                                      . . :_'...   ·:   .          . . .'       .       ..



                               Who is.orch~~~atln~ th1s'de~i?\Vho is O!ch~~tr~ti~g all the criminal conduct tll~f
                               he's involved in'tfomall the evideiice· that you've JJ.eard? Him. He is the boss, And
                               that'swhyw~eiihetold ~oger tostahthat little boy, he did. And Roger will pafthe
                             . prl9e for tltat Whf)ll h~s turn C001eS~)JUt don't take the blame off ()f the man who told
                           ·. hiiil to do it Don'fexcuse him: Because I will tell you right now, if it were up to
                               Roger alone,            · would         · alive.  ·.         ··                         ·

                Appellant objected thatthe last sentence was outside· the record. The trial court 'overruled the

               objection and in~tructed the jury that the argwhents rif counsel are not evidence. Appellant.ilow
           .   ·.        :·:          ..    :··. . ......·:.
                                                   ·'        .· ·.· ·.. ··' . . .              .                     '                                                                                                        '



               complains of this ruling on appeal.· In response, the State contends appellant forfeited his error with
                                :                                                   ..                                                       .                                                              .·                      .                                                .

               respect to this argument, or alternatively, ·that the statement was a proper deduction from the ·




                                                                                                                                                                                                                                                                                         -;.·.,:.•.,.
                                                                                                                                                                                                                                                                                                                   •
                         . ··    .-...
                                      Case
                                       ·.  4:17-cv-03621 Document ··:.-24-1
                                                                        ..,. . Filed on 09/24/19 in TXSD Page 224 of 257
                        '' ..
                          ~                                                                        ··:._-_::- .·
                                                                                                                                                                                                                                                                                                                           .'



 , ...
         .-:- .. :.:.




                                                                                                                                                                                                                                                                                                                                                     CRUZ-GARCIA~51

                                                    eVidence..··

                                                                                   Assunrlng:w#h6~nl~~iding that error was preseryed, we agree with the State's contention· .
                                                                                                                 . ,·              '.:··-:

                                                    that the stat~m·~~f~il~ a prdper ded~ction from the ~,;idence. Throughout trial, the jury heard ample
                                                                                                                                                                                                                                                                                                                                                                                                                                        ..
                                                :;~vi.deAce J}~~~~il~t;s·r6'1~ ~s~~ ;iri~~addr ofthe violenc~ that ~aided on the night Angelo died..·
                                                                                                                                                                                                                                                                                                                                                                                                                                ·:_ •' ~-- ·-



                                              .
                                                                  ,'.                                                                 : "!,";.',',:-··                                                              _:_--,:



                                                 R~d}/testifled: $.~t a~pe~la:fit w~. in ch¥ge and orden~d Angelo's. death because Angelo saw .
                                                       ::·.        ··.    ,' '..          .   ,, .. ·-· • . . _../, •.         •     •       ... .             ..       ·.-.-       •     !                  ,_,-.., ;    ~      . ••      .·."                                        ..                                 . ., •       .                       '               .    .                .
                                                                                                                                                                                                                                                                                                                                                                                                                            ·
                                                    -~.-~-:·.·\~r---·=-               . . . :-:. -··.::-,.-.~::_.::_ •.~~<.;-~-: . 1::.,';.-:.._. .. <-..·-···~·-::..:!'.:.-.:--·.-~·-::·:f.--:-:·; __ . ~, .•:-.-                                     ·_.__ ;· · .:-:--,___.__   - ·.. __·,- ·_.·-       ... -.._. :--.n.~:_-_,-                    _./~ .·            ...... ,:._ · ..- -.         - ..-. ·.
                                                    appelhip.ts.exu(llly. ~~sat+[tiftg Piati~: Jb.~'prosecut()r's statement th~t; ifitwereup 'to Roger, Angelo·                                                                                                                                                                                                                                                      ....
                                                                                                                                                                                                                                                                                                                                                                                                                      -.·


                                                    wo~ld~~;~.;~:-~~i~::·:·~as,, ~e;ely,a re:t~i~~ent of what was already before the jury as the State's                                                                                                                                                                                                                                                         ...,.:
                                                                                                                                                                                                                                                                                                                                                                                                                 -


                                          : . ·,;....:._.                                          i->·,::~:r···?::                              . ·:.,. . ,-:.; </ .                                                      1'           • •                   .·,.                    . . .· •                 •        .. ·                         ,. . .·            .•    ·~:       ·•   •           ,.

                                            •:'. th~otY()(iJs.c.~s~·:~d.w~ ~·ph>P,'¢,r~d~d\lctionfrom the eviden~e presented ~t trial. Appellaitt'S tenth •·· . ·
                                                    poi~t:i.~~~~; i~;iy~rrrited.                                                                                                    } .,                                      ' . ,.                                                                      .        .
                                                                                                                                                                                                                                                                                                                                                                                                                     '·;-.:

                                                                                                                        .~ ·< :·                            .· .; :: .>.·

                                                                         ·· I~ his··~ley~~th poiJt~feitor;.app~Jlant complains that the.triatcol.ut erred when it deriie~ his .·
                                                                               .      1:·-                                            .::._.;"._·                                       _, . __ ..._


                                .·.          .... m9~i~~fora misfri~(·a~~tilD;prciper·}lU)' ~gume~t fro~ the State during ~losingargwrents inJ1te.

                                         ·. ··•··   p~~~~~~r~has~·~{~~i~,~~;·elr~~t:$om~lail1s th~tth~ ··stat~'w~nt 6~tside the re~ord·~he~it
                                                                   , _..,_                    ...· ; .                             -. r · ·, ,:__ I:.:~;:,i ·-~-..                    . :·. .
                                                    ,: . ·?_;_.-.,-. :,.::_(·\:·_:',_._._-. ·,.,;· .. ·,·-- :...                                                    .:_, ;:.,:-_· . ;-.;~, _:\                                                    :~

                                                •· ar~#~~;::··~h~t~~~s:~:i·}f.ti~y~~tt?·¥iniMiz~tlie escape.attempt. Justintalkedto you about that.

                                                    Wh~t d() y~\.1 th~ \-:-happened
                                                -.. \< ~ ~~--=:·:','~r-. -_:. - .<t~ .
                                                                                                          ~ft~f h~' ~~eriipted
                                                                                                    T-:· ·.:_,~: :·::,._·--: -_:~>
                                                                             --::-. :· -.. -:--- -::·:·;: . ··:·_.. -._; -.:-_ -,-:_ ·, ···: :· ---
                                                                                                                                                    to escape? you think he mi~t have wound up In
                                                                                                                                                                                          ~
                                                                                                                                                     '·: - -:- . ... _.: - ._:· .. -·. - -_ -                                           --~.;.-
                                                                                                                                                                                              - , . _ -- -_ ·. . . ,. .. . -... _ - , -___ . .·                                                                                        ~




,::::.:.· ;•··r.;.
t'·.:_:·:;>~{  ;, .
~···. ·: : : "I:'..
                                            · . a~Dj~!t~~\~j~;J~t:·~;~:d~~~~ust.We~ hfu
                                                                                   : :·            -·-.-. . .               ·. ,-:.. ·' : .. .                                                                           :. ''   .. .' .
                                                                                                                                                                                                                                                                                               obj6cti:ri..             The~~ rnstiUcredilie.·
                                                                                                                                                                                                                                                                                                                            '. .           ,·~; ..
                                                                                                                                                                                                                                                                                                                                                          court

                                                jury tb ·~·disreg~dthe)ast co~ent by '[the'prosecutbr]and,.n~t                                                                                                                                                                                                         consid6r' itfor:iliy reason."
··::.·:-:_.. ·:
. ·.. _·,·.
                                                                                               .   ·. ·_,:·;··,        ,'
                                                                                                                                                                                    .
                                                                                                                                                                                : .-.

                                              · Appellant tlieh ttiove~.foi··a n1istxi~l, which was denied. Appellant now eomplains·of this 'de~iaL.
                                                      •       •                                      •                       \•          ''          • ..       •               .         .            '··                       •'I          •   •                        .      •     ",,           .   ..       •               •             .   ''            ,'              •.            '




                                                    w~: review a tria( co~' s _refusal to grant a Jl1istrial for an abu~e pf discretion. sq                                                                                                                                                                                                                        Unless the trial




                                                                              89
                                                                                              Hawkins, 135 S.W.3d at 77.
::   ;:   .·.
                Case 4:17-cv-03621 Document
                                       :.·  24-1 Filed on 09/24/19 in TXSD Page 225 of 257
                                                                                                                  •                                 '
                                                                                                                                                        .


                                                                                                                                                                 .




                                                                                                                                                                                                                                                                                                                                                                                                                ,__,:~   ...
                                                                                                                                                                                                                                                                                                                                                                                                            · ,..
                                                                                                                                                                                                                                                                                                                                   CRUi-GARCIA-52
                                                                                                                                                                                                                                                                                                                                       .     . ...                     '•'·.! . .




                      court's ruling was outside the zorie of reasonable disagreement, it wm notbe•distmp~dbriappba[9° . ·..

                                       .. A mistrial will be required only in extreme circumstances where t1te improp~(coltd~tti~s()
                                                                                                                                                                                                                                                                                                                                              .. ·_;.

                      harmful that coJ1tinujng with the trial wol,lld be wasteful and futile. 91 we apply tllt: s~~th.ree- factor .
                                              • ~ ..           •                                                                                                     .. ·.. ·.. ·,                                                                                                          ' ..                                                  • 1,:· ..



                      test articrilated ·inMosle/1
                         .                .·.                      .                           '                      .                .         ·..
                                                                                                                                                                artd extended in Martine;; to evaluate ''wheth~r the tri!ll' ~·ciilrt
                                                                                                                                                                               .·                   .         ·'    .           .  .
                                                                                                                                                                                                                                      abused    . .      .     .                                       .         ·;   ..           '                    •,
                                                                                                                                                                                                                                                                                                                                                                                                                     .·.:.•

                  . .its discretion· in den~ing ~ ~stria! for' improper argument. " 94
                                                                                       :::...· ···:··                                                                         '.''·,·



                              Th~f~~t'f~ctqr.. ~Jt~~~~:~e
                                 ·.       . . . ""·;  -
                                                           ~eveqty of the mi'~·cq'ridtl~t. ,When rl~terminl~1gth~s_~·ve,rity
                                                                        ~        ..       .            .. .
                                                                                                                             of                . . ·. ' · " . .                                .                   .. . .      '                      ..       '•   . . ....   .. . .                                 .. :•   ~·       ..     ..                 . .. . "·                         ·....       ·...

                      the niisc~nd~ct, we iti~k ~{~·~ m~~i'tud~·~f the preju,di_ci~~~ff;ct ahd w~~t~et th~ m~scon~ud~ ~as· .•. ·

                  .··~i~j()~~ifesrix,~l~ffo~f,)l[~.~·~;~~ndt>C;h~w.S .,;igQt;..,;;;.i~ prej¥\?;ai~J{ciwas:
                      ~hutri~{                         The
                                                       . .     . , ........iefere~~~·toa~inistrative
                                                           State';s         ·  ..:      ..... ..·. ·.
                                                                                                      segregation
                                                                                                          .   .:. .
                                                                                                                    was brlef
                                                                                                                         .
                                                                                                                              and was                            '.:                                                                     ·,·\
                                                                                                                                                                                                                                                                                                                                            p'erh~ps the most
                                                                                                                                                                                                                                                                                                                                              :                              '; .. ·          ...· ..·   .·' .·

                      beni~ eVid".ri~ dffe;ed again~; api)~ti3J!I@ring ~e punishment. p~aie.                                                                                                                                                                                                                                                                 .   ,,

                         ... ·. :: Seco~d, \0e ex~ine cmative 'measW"es tatce~ by the trlal COurt~ 'Here, the tri~i COurt stistairf~d' .

                      appell~t;  ~·~bje.~tidn j~ ~~~~~~~~~:·~~j·~·tcJJsre;~d ~h~pros~cut~~· s··~tat~~erii;, .-6~&rili~,;·an ·• · .· .·
                            : . . .. r                                             ·~?·,/' ·:; .. ·                                                         . , : ·.·· .                 .\.             . :· ·~...         .. . . . : .: -.:..:·:: -: : ·.

                  .
                   . instiudti'on
                           . .
                                  to disregatdwill
                                      , .. ' ' ·.·
                                                   suifide,ri~ly'ieiievehilnn~
                                                    ··. . .
                                                       :               .  .·.
                                                                               eX:cept
                                                                                ...
                                                                                       ~ithrespectto
                                                                                        .. .  ' ..
                                                                                                     ~e most inflllllm1atory
                                                                                                               ......     ',

                             '•:   ...                                                             .·.            ·._ ..           :
                                                                                                                                                                                                                                                                                                                                                                                                                    ·.· ....
                                                                   ·.       ·.·.                                                                                         ..• .

                                                                                                                                                                                                                                                        '•.                                                                                                                              ·,                    •.·..''
                                                                                                                                                                                         .":.·          ...

                                                                                                    ~         . .:                                                                                                                                                                                                                                                                                   .·,· ..
                                                                                        ....  ~    : ·, . '       .       .



                                                                                                                                                                                                                                       =.••     :··   .·.:·,




                             • >
                                         90
                                                 Archi~       v.· State, 22. i's\¥:3<1695, 699 (Tex.. . . Cfim.
                                                     :--:: ·' .    .         :         ~...                  ..
                                                                                                                App;2oo7); •··
                                                                                                                           .. .                             .            •'             ~·.   ':·                       .                                                       ..      .          .

                                                                                                                                                                                                                                                                                                                                                                                  .";•

                        · · · 9• HaWklns:l35s.w.3dat77. ·.·                                                                                                                                                                                                         . '

_,·.:·...
                                Mo~lejJ, 983 S.W.2d at 259 (establishing the three-factor test for determinittg when
                         • ·.·•.. ·.
                                         92

                      improper jury argument during'the ~lt phase is harmfulf                          · ·
                                         93 · Martinez;                                                   i1 S.W.3d.at 693. (exten<iing.the Mosley three-factor test to apply to improper
                   jury argument during· the ptmishmerit phase of trial). ·                                                                                                                                                                                                                                · ·
                                                           .                 .~. .                                    '       .·           .                         .              .                    .
                                         94
                                                Hawkins, 135 S.W.3d.at 77.
                                                                                                                              .            .                                                  .          .                     .
                                       95
                                                 Mosley, 983 S.W.2d at 259; Brown, 270 S.W.3d at 573.



                                                                                                                                                                                                                                                                                                                                                                 .    ··-   ·----·-
                                                                                                                                                                                                                                                                                                                                                             : 01:~174" .--I
                 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 226 of 257




                                                                                                                                                                                                                                                                     CRUZ-GARCIA-53

                     statements. 96 The statement at issue wa~ not so inflammatory,9' and the trial court's actions
 .,
  ,··..   ,·



                     "sufficiently ameliorated any potential.harm."98

                                           Lastly, we examine the certainty of the punishment assessed, absent the improper argument ·

                     DUring the punishment phase ~f trial, the jwy heard evide~ce that appellant murdered another

                     individual for flirting with app~llant 's gk,lfriend, and that appellant kidnapped, tortured, and held for
                                                                             .·   •         I               .




                     rans~m .tWoteen~g~;~· i~ Puerto Rico... ....Given
                                                              .  _.. .
                                                                       the severity.. of
                                                                       ::             . .the punishment
                                                                                          . . ..    :· .
                                                                                                         evidence, we. cannot
                                                                                                                            .·
                                                                                                                               s'ay                    __                            ,._;·       '                                         . .
                                                                                                                 ·.·      ·.                                                                         ·.·.,'_'·;'·'•'




                     that, absent the State's ~eference to a~inlstrative: ~bgtegati6n, appellant wo~d have received
                                                                                                                                                                                                                             . ·,._.
                                                                                                                                                                                                                                                                                                          a•   :./·   .· .

                                                                                                                                                                                                               •.·


                     ditier~nt~ent~hce ....The triai court did nqt abll$e its discreti~n when· it ~~~led appellanfs moti()n for
                     a mistrial. Appellant's eleventh p~irit ~f ert~r is overruled.

                     C. MotionforNew Trial
                             ·.                                   .                                 .                                              .                             .           .


                              .. In his tWel~ and finalpointoferror, appellant asse~ that th~ trial court erred ~hen it denied , .. ·.•
                                       •                                    '•    '       '',                   ,'             '                            I            '   '                                       •                 •       •             '                •                       •




                     his motion
                          .    .
                                 for a new t:rial b~sed
                                                      ..
                                                         on. . allegedjurymisconduct
                                                                   . . .
                                                                                     dUring
                                                                                        . ..
                                                                                             the pl.lnishment phase.
                                                                                              . . . ... ,._     .
                                                                                                                     Appellant . . .,          '                ,.                                                                                                                                         ~




                     also contends that the trialcourt erred wheii it refused his request foran evidentiary hearing on his
                      •                          •   ••                                         •           '                                                        •                                      l'           •                 .                     •                     · · . · , •.




                    motion. 'Although thetrial court heard argument on appellant'.s motion for new trial, testimony at
                                                   .....
                    the hearing was restrict~dt() affidavits. We' revievv a trialcourt's decision to hold a live h(:~i~g on

                    amotion for new ;trial,                                                 as well as the rUiingon such motion, for~ abu8e of discretion.
                                                                                                                                             : .·:- . .
                                                                                                                                              ,;,•                                                             •     I
                                                                                                                                                                                                                                                                         99       Atrial-~ourt ..
                          .......          ·.·            .           ·...            .                 .            .·            .• ...   :·' .• .·. ·.········.··             ·. . ···                   . .···            ........             ·   ·..


                                           96
                                                 Longv. State, 823. S.W.2d 259, 269 (Tex~ 'crim. App~ 1991).

                           <n Se~ Martinez,)7 S.W3d at 691 (holding that the prosecutor's statement about facts ·. ·.
. •·:
                    outside the record was not so extreme that it could not be cured by an instruction .to disregard) ..

                                  ·.
                                           98
                                                      Archie, 221 S.W.3d at 700 (holding that sustaining an objection to the                                                                                                                                                  pr~secutor's
                    comment on the. defendant's failure to testify combined with an instruction to ·disregard was .
                    sufficiently ameliorative of any potential harm such that the error did not require reversal) ..
                                           99
          _,.;
                                                     Holden v. State, 201 S.W.3d 761, 763 (Tex. Crim. App. 2006); State v. Zalman, 400
                                                                                            ·                                                                                                                                                                             (continued ... )
                                          Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 227 of 257




                                                                                                                                                                                   CRUZ-GARCIA-54

                                              abuses        its discretion in denyi~g a motion for new trial only if no reasonable view ofthe record could
                                                        .                                               ·-                          ..

                                             support the trial cotirt's ~ing. 100
                                                                                                                                                                                       )


                                                            The jury began its
                                                                            -
                                                                               punishment
                                                                                .
                                                                                          deliberations on the afternoon
                                                                                                         .'           .
                                                                                                                         of Thursday, July 18, 2013 .
                                                                                                                     .·.    i



                                             The .following
                                                   . . . ·. .
                                                              mornitlg, Friday
                                                                         .
                                                                              ;July 19, the jurors resumed theif punishment deliberations.
                                                                              .                                                .
                                                                                                                                           At some· .    '                    ~




                                             point during their discussion, juror Casey Guillotte asked her f~llo~ jurors how they were going to

                                             emotionally cope \Villi their verdict. Ms. Guiilotte testified by ~ay of af'fidavit that her inquiry                                                                 came
                                             after the jurY bacl al.ready agreed on each of the special issues. Theother affidavits 'received by the . ,, . ...·
                                                                :>.<··....... .
                                                                           ·"1:'




                                                       . . ~e
                                            . trial. .pourt               aPtbigtt~us
                                                                          .
                                                                                      a8. t~ when her que~tion
                                                                                                          .
                                                                                                               \,Va~ posed...                        '       .



                                                            li1re~ponse to this inqUiry, several jurors offered words of encouragement Then, j~

                                             foreman Matthew Clinger pulled his. Bible from his . overnight. bag and directed Ms.. Guillotte
                                                                                                                                      .
                                                                                                                                             to ·

                                             several passages. Mr. Clinger told Ms. Guillotte. that he felt comforted by passages in the book~f
                                                                                                              :,:_
                                                                -;'•                                                                                             '.··-

                                             Romans. Both Mr. Clinger and Ms. Guillotte testified through theiraffid~vits th~tMr. Clinger never·

                                             ~ead aloud                 from       hisBib~e.                                    Juror Angela Bowman's affidavit indicates th~t Mr.             Clinger "read :: :

                                            scripturesfrom the Bible;'; but she does not i~ditate those scriptures w.ere read aloud to the entire ..· ·. · ':.
                                                                                   ,. .!._•.-.·                                                                                                                            ·._.   __   :,




                                                   ·.       .             ..·       .                                 ·:        .            '   .                   .   ·.   ,.   .       .   ·.        :.       .   ..

                                                  ·.. ···At approxhnately
                                                                 . . . .
                                                                          3:20 p.m., Ms. Bowman
                                                                                            .
                                                                                                sertt a ·.note
                                                                                                           :·. .
                                                                                                                 to the judge asking to. -
                                                                                                                                                                                               speak~ith her
                                                                                                                                                                                                    ..        .        .
                                                                                     ,;   "-'-   :·-~    ..                                                                                                                  .-         _·.   ·,



                                             privately. Aft~r disc~sing                                                    tile request with the. attorneys for the State and defense, the judge spoke
                                                                                                                                                                                                                           .,.-·


    '.·,   ..'.
                   ·:·
                        :, .·
                                ..
                                 ..
                                      '      with Ms. Bowman on the reeord in her ehambers. Danagthis CQ1P!er5ation, Ms Bowman expressed .··.

                                             her desire to be replaced with an alternate j\iror because she could rtot come to an agreement with · ' ·
. :· . ·. ..   -. :.~   .




                                             ( ... continued)
                                             S.W.3d 590, 593 (Tex. Crim. App. 2013).
                                                        100
                                                                       Holden, 201 S.W.3d at 763.

 •.
                                                                             .D.:
                                                                                                                                                                                              -
                      Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 228 of 257
                                                                                                         'J~                                                                                              .
                                                                             .                       t'1i                                                                                                 .




                                                                                                                                                                                                                   CRUZ-GARCIA-55.

                           the remaining eleven jurors. Ms. Bowman also expressed hesitancy at the idea of having to be·
                                                                   .                                                                                                                          .
 :··.·.':.·.·:
                           sequestered overtheweekend. The trial judge told Ms. Bowman that she wasunable to replaceher ·

                           with an alternate simply because she was disagreeing with the other jurors and urged Ms. Bowman

                           to continue deliberating. ·

                                           Approximately one hot.ir later, the jury returned its punishment verdict in such a way that the
                                                                                                                                                                                                                                                                       ..... ·
                                                                                                                                                                                                                                                                      ·... ·
                           trial   co~ would sente~c~                                                          appellant to                     d·~ath~        The trial coul't _polled the                        jw}l, and each jtiror
                                                                                                                                                                                                                                                   :,:=. .:-.·
                          confirmed that the verdict renderedwas his or her true and correct verdict. ·                                                                                                                                            .   ··:-:          ...
                                                                                                                    ,_                                                                                                                                   . . .... ·~·
                                                                                                                                                                                                                                                        ·· .... .
                                                                                                                                                                                                                                                              .· ..... , .:.
                                           Later that e\rel1ing:_Mario Madrid; cme of appellant's trial attorneys, received a phone .can··                                                                                                                       ., ._.;


r:-· .-. . : ..:,.
 I     ''        '        froni Ms. Bow:rnan in which she told him that sh~ had been pressured by the otherjurors to return_.
·~-:   .. .,_·)· ·.
                          a verdict that would result in a death sentence and that the verdict actually rendered was not her

                          person~ verdict. -Mr.
                                   '       ...
                                                Madrid brought this to the artention of··. the trial court by way of an affidavit·-.
                                            .. . .     '                 .                                                   . ..
                                                                                                                             ;      . .       ,.··                                                            ,.    .     '       .
                                                                                                                                                                                                                                               .
                                                                        ··· .. \

                                .. . t~
                          attached                    appellanf~ motion
                                                                  .     for new' trial.                                                              .
                                       .         :                      .        .               .          .                                    .

                                       . Appelhmt complain~'that alleged jury misconduct tainted the verdict on punishment because
                                                                                                                                                                                                                                                          .    ,:   ...... :.::·'

                         - of the foreman '.s Blble                                          r~acllng during dCliberations. · Appellant asserts that 1h:is reading was an .. . .                                                                                .-
                                                                                                                         , .... :··.'

                          outsi4e influ_enceth~t inappropriately ~pa~ted                                                                                      the verdict~ ofJurorsAngelaBowman and Casey . ·
                          Guill~tte,
                                :           ·.
                                                     so affidavits to that effect were admissibl~ un,.der Rule 606(b. ). , At the ·hearing on the .
                                                                                     .       .       .          .                       . .              ..    '·.·   ··,   ·.   ',.,   . .       .   .                       .       '   .·

                          motion for new trial, the State objected to_ the admission of ariy affidavits regarding jury :

                          deliberations, but                           ~tepat~d affidavits from M£.- Glinger and Ms. G11illotte should the trial c~urt< ...... :·:.··
                             :.·                 .         .   :                         .

                          choose to ~dm.it affidavits. \

                                           Inquiring into the deliberative processes of a jury to ferret out misconduct has been probibi ted .
                                            •                                              •
           Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 229 of 257
                                                      '.
                                                                                                      .
                                                  '
                                                                                                  '




,·,'.·,.




                                                                                                          CRUZ-:GARCIA-56

               in this country, save for a few, narrow exceptions. 101 This state currently recognizes only two

               exceptions to this general rule. 102 First, jurors may testify about their deliberations to rebut an

               accusation that a juror was unqualified to 'serve, and second, jurors may testify about whether an                                 · :·

               outside influence was improperly brought to bear upon their deliberations. 103

                          This Court has never detenrunedwhether reference to the Bible during jury deliberations is

               an ~utside influence. Today we hold thatitis not.
                                                                                                                               .   .. .           ~:   ;. ~;     .



                          'fhis Court first explained in McQuame .v. State that an outside inflUence is one .that .

               originates "from a s~trrce o~tside of the jury room alid()ther than fro~ the jurors themselves." 104

               But, as we later explained in Colyer         "~ State;. this does not riecessaril~ ~ncompass ~very influence, ..·
               originating from outside the physical jury cJ.eliberation room. 105 ''The 'outside influence' exception                        '    .... ' '      ~.   '•




               to Rule 606(b) does not include influences or inform:1tiori that are unrelated to trialissues.';106                        .   ·('·          ·.


                          Here, the alleged "outside influence'; that appellant ~omplains ofisa scripture from the Bible· ..




                          FED. R. Evm. 606(b)(2)("Ajuror ~ay testify about whether: (A) extraneous prejudicial ·. ;. ·
                            0
                 . · .· · .' '"
               information was improperly_brought to thejiuy' s attention; (B) an outside inthience ~as improperly ··.·
              ·broughtt() bear on         any               a
                                       juror; or (C) mistake was made in entering the verdict form."); TEX. R. .
               EVID;· 606(b)(2) ("A juror may testify:. (A) about whether an 'outside influence was improperly
                                                                   a
               brought to bear on any juror; or{B) torebut clairp that ajuror\vas notqualified to serye.").             . · . ··.·.
                                                                                                                               ·.·.       ,;··         ·'             r:·


                         102
                                  TEX. R. Evm. 606(b)(2).
                         103Jd.


                         104
                                  McQ1.1.arrie v. State, 380 S.W:3d 145, 154 (Tex. Crim. App~ 2012).

                           Colyer v. State, 428 S.W.3d 1i 7; -127 (Tex.Crim.App. 2014) (holding thata telephone
                         105

               ·call from a juror's physician that the juror's daughter was sick did not qualify as an "outside
                influence" for the purposes of Rule 606(b) despite the fact that it did indeed originate from a source
             .. outside the jury room).

                         106      !d.




                                                                                                               :01178                 i
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 230 of 257
                                                                                          •                            .
                                                                                                                                       .
                                                                                                                                           '                                                                                                                                  ~
                                                                                                                                                                                                                                                                              .,4

                                                                                                                                                                                                                                                                                                                                                                          ·':r :




                                                                                                                                                                                                                                                                                                      CRUZ-GARCIA-57
                                                                                                                                                                                                                                                                                                                                                          ... _;.   -~ ·i.   ·, .




       _that the jury foreman recommended to another jurorin an effort to comfort her. While this scripture • . .
                                                                                                                                                                                                                                                                                                                                                                             .      '• ..
         did literally come from outside the jury room, as neither the Bible rior any of its contents were ever

         offered into evidence, we cannot say that it meets the definition of "outside influence" this Co~ .·.                                                                                                                                                                                                                                             ·..      ~·.

               .                           ·'                                                     .   .



         established                             in McQuarrie.
                                                                                          .                                .                                ··.           .

                              When a jury has before it evidence that wa~not offered attrial, or subjeCt to cross;.
                                   .                                                                                                       ·. . .                 ·.

         examination, a d~fendant' s ~ight t~ a fair arid impartialj~ may be compromis~d. This compronuse .
                                                                                                                           ... ·''·.
                                                                                                                       . _.,.
                                                                                                                                                                                                              '       '                 .   ···.:
                                                                                                                                                                                                                                                              ·.>.·..
                                                                                                                                                                                                                                                                        .                         .                          ··,     .


         occurs, hmv~yer,,only whJii tll~, outside evidence ~~ in1:1lfence relates directly to aquestioi1 of fact. '

         left to    th~ j·fi&~~ de~~rmi~~tiin :d improperlyi~tltience~ ·th;t\~erdict. .
                      .                •                 .   !                        .                       •                                •        .                               •·              •.•                    ,··.··               ·-:.···        ..          ·'.·   .•.




                          Referring
                             .
                                    to the Bible
                                            . .
                                                 did not.directly relate to a fact
                                                 .. .                           .... .
                                                                                      at issue
                                                                                          .
                                                                                               before' the jury in appellant's
.,\
        case, and the jury was not called                                                                                                                         upo~ to decide ~ fact iss~e based on anytlung otherthan the '•·
        evidence properly adqljtted before it Ha4 th,e foremanmerely n!~ited a.Bible verse from me~ory, :. ' .·
                          ~    .
                              ·. . .
                                                                                                                                                   ,··
                                                                                                                                                                                                                  , ' ':·
                                                                                                                                                                                                                                                                            -~·-·

        ·we co~ld not 6onsider it an.. :outSid~
           '                           ··.·..
                                                influ~nce.
                                                  . . .        ·..·.. .. e~id.imce
                                                           ·.Indeed;·       . .. ·
                                                                                   of su~h a recitation would. no~have
                                                                                                              '•




        even beertadmissible per
                               .                             '                    .                   :
                                                                                                                   the constraints ofRule ~06(b). 1 il1
                                                                                                                               .                   . .· .              .•· • .     .·        ..       ,j. ;. ·. ·.• ~.. :         .




                          The fact that the foreman in.this insta~ce n!fefte,d ajurorto the Bible verse instead of quoting~' .•..
               . ·.... '..... ;._               .: :_,           :-;:' ·. :._..               .       . .. .                       .                .         . '.:~_: ... · ·,.                  .       .               .·                                                            .                    .           .                      _:.
                   . < :.
       .it frozn
           . .
                 niemory. is a. distinction
                                ,.......      ..Without a differenc-e.'''·
                                         ·...... ··.,''.        ';'  . .
                                                                     '
                                                                           Either. .v/ay,
                                                                                     .
                                                                                                                                                                                                                                                                                      'there is no _• evidence. that Jhe
                                                                                                                                                                                                                                                                                            .   ·.·    ,·.                               .. .
                                                                                                                                                                                                                                                                                                                                                      ·
                                   .-..                                                                                                                                                                                                                                                                                            .'.   ~-



      .. biblical
          .. .
                  reference·
                      . .
                             rellite4·
                               .
                                       t~the. fa~ts
                                               .. -
                                                    .at                                                   '        "
                                                                                                                                                                                    issu~ ·in         ·"'('· ·.
                                                                                                                                                                                                                               this            ~ase;             and,
                                                                                                                                                                                                                                                                   . ..
                                                                                                                                                                                                                                                                        it was.. therefore
                                                                                                                                                                                                                                                                                  .. .:·-·
                                                                                                                                                                                                                                                                                                                 ~ot an outside
                                                                                                                                                                                                                                                                                                                   ...



       . iriflu~nce ~der R~l~ 606(b) ''.titd -~-inte~}eted,by
                                                       . ..  .
                                                               this
                                                                  .
                                                                    Court
                                                                     .
                                                                          i~ };fcQuarrie
                                                                               .       .
                                                                                         andColyer.
                                                                                          .    .  ..
                                                                                                    10
                                                                                                       R .. '




               . to?. Our analysis is gtlid¢d by the 4th Circuit's analysis in Robinsonv. Polk, where the court .·..
       was presented. with a factually analogous situation and determined that, because the Bible reading .
                                                                                                                                                                                                                                                                                                                                                          .....
       did not go to a fact at issue 1n the case, and bec~u8eajuror merely quoting the J3ible from meniory '
                                                                                                                                                                                                                                                                                                                                                                      .'··



       "assUredly would not be considered an improper influence," there was no improper outside influence .
       in violation of Rule 606(b). Robinson v. Polk,438 F.3d 350 (4th Cir. 2006).
                     108
                  We are mindful of the fact that the 5th Circuit has held that the Bible can be an external
       influence on the jury, but the facts of that case distinguish it from this one:                       .




                                                                                                                                                                                                                                                                                                                    : 0:1179 . !!
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 231 of 257
                       ..                                ..
                                                                                          •                                                                                                                                                            •
                                                                                                                                                                                                                                                                                                  CRUZ-GARCIA-58

                                Because the Bible was not an outside influence, the trial court erred when it admitted State

           and defense affidavits describingjury deliberations. Additionally, because the affidavits describing · ·· ·
                                                                                                                                                                                                                                   '                        .        ,:

           the inner goings-on ofthe jury's deliberations were iinproperly admitted, any livetestimony to that
                                                 .                         .                           .                                                     .                                                                                                                                               .

           effect would have ·been inadnlissible under Rule 606(b). as welL· Eveii had the affidavits been

          admissible, it was within the trial court's discretion t~ rule on a m'otion for new trial on affidavits

 ,_       witho~t oral
                  .
                       te~timony.
                              ·.·
                                  io. 9 Either \Vay, the trial coUrt dfd, not abuse
                                                                              ·.    .
                                                                                     i~s discretiot~whenit denied ...· ·· ··                                                        -·                                  .                                       ·'



          ap~ellan:t•s tequest
             .            .
                               f~r.· an evidend~
                                          .  ·-.·. .
                                                     hearillg on his mbtion,' for new triaL
                                                         '·            .           '                                   •,'                        :                     ..                                                    ·~            '



          ··· -·.•...    ~ \Vhen.citize~s ~e s~l~c_t~d
                                                 ..
                                                       f~r jw)r s~rvice, 'the .taw doe~ n~t ask Jbem: to set a·side every~:.: -   -,



          personal or moral directive
                               . .
                                      to which they adhere, nor will this
                                                                       .
                                                                          Court do
                                                                                 .
                                                                                   the
                                                                                    .·
                                                                                       same by holding that                                                                                                                                                                                ~-




          .reference to such adirective dUring jUry deliberations is improper.                                                                                                                                                                                  Iftrialatt~meys are troubled by
          jurors
              ··. ·.
                     who
                      .
                         call
                          ''
                              :upon such. beliefs
                                           .
                                                    4uring their deliberations~
                                                ··.. ·.··             . . .
                                                                                 this .. t;rouble. isbetter
                                                                                . .                  ' .
                                                                                                            addressed
                                                                                                             .
                                                                                                                      in voir                                                                                                                           '

                                         ~·                            ?                                                                                                                                                           ~

          dire than it is in'by way ofa motion for ne~ trial.
                                                                                                                                      '\:

                               Thejucy foreman's reference. ~o his Bible in an attempt to comfort his fellow juror was not

          an OUtside.                            influ~nce
                                                     .  ' improp'erly
                                                                   . .
                                                                       broughtto
                                                                          . . . ..·
                                                                                    bear
                                                                                       . .
                                                                                          on. the jury'S
                                                                                                     . -.. deliberations,
                                                                                                                 .        and affidavits to that                                                                                                                              .             ·.·
                                                                                                                                             .· ..
                                                                                                                                                                                                              '




          effect
             .
                 w~re ..not properly
                           ' :.   .
                                     adinissible   under·. Rule 606(b)...
                                             . '. ·. .                 ..
                                                                          Regardless,
                                                                               .
                                                                                      although
                                                                                      '   .
                                                                                               the    trial court erred
                                                                                                ·-.;:....            ..
                                                                                                                        ·. ·                                     '                                                                                ·:.           ·,                                                                 '   '•

                        -r:·                                                                                   ~<-.:                                                                                                                       -:· ·.. ,
      .
          in admiuihg: th~ affidavits, the trial court did not abuse its discretion when it,oveiruledappellant' s .·. ·
                                     ;           •   '        '.   ~   '       .   .   :, . :: ':: •   •                     ; '. '    . I   •'       :' '       '. •        . ·•    . '   •:   "   •..   '       :"·       ' :        '    .'   . :                      '   '   ::   '          .' .   '       '   -   '·:   .            ~   '




          motionfoinew tri~I. Appellant's twelfth pqintoferror is overruled. .

                               We affinn the judgment of the ti ial cow t.
                                             .                                                             .
           ..                  .         ~                                                     .

          Delivered: Oct(}ber 28, 20 15
          Do Not Pub,Iish .·.




                               109
                                             Holden, 201 S.W.3d at 763.
                                    •                                                      •
            Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 232 of 257                  •




                                   .         .                       .                             '

                                  .                                                                ..

                                                                   tl

                                                 Harris County Criminal District Docket Sheet

            THE STATE OF TEXAS VS. CRUZ-GARCIA, OBEL •·      ...                                  Bond: $0
            Cause No.: 138479401010-3 Court: 337th                                                Next Setting:
            Offense: CAPITAL MURDER                 Level: C LE:wel Felony                        Case Disposition: Disposed
            Charging Instrument: On Appeal CCA                                                    Case Status: Appeal
                                                                                                  Defendant Status: JAIL
            GENERAL ORDERS OF THE COURT



                                                                                                                               ...···.'   .


..
:
                                                                                                                           .      i ·. ·•···•·.·.
                   4/19/2013     GRAND JURY ACTION: Relndictment GJ COURT: 338
                                 OFFENSE: .CAPITAL MURDER           C Level Felony
                                 BOND AMOUNT: $0         .
                                 Pre·vious Case Number: 1289188
                   4/19/2013     CAPIAS ISSUED-INDICTMENT
                                 BOND AMOUNT: $0
                   4/19/2013     Precept issued to serve copy of Indictment

                   4/23/2013.    The defendant filed a swam pauper's oath, and JUDGE MAGEE, HOLLY RENEE ·              .
     .:',                         ordered CORNELIUS, R. P.                       appointed as Appointed Defense Attorney
                   4/23/2013     nie defendant filed a sworn pauper's oath, and JUDGE MAGEE, HOLLY RENEE
                                  ordered MADRID, MARIO appointed as Appointed Defense Attorney
                   4/23/2013     MOTION FILED: TRANSFER PRIOR MTS .

                  4/23/2013      MOTION FILED: NTC OF REINDICTMENT

                  4/23/2013      ORDER: GRNT TRANSFER PRIOR MOTIONS

                   5/2/2013·     BENCH WARRANT ISSUED
                                 ISSUED FOR SPN: 01206555 MARTINEZ, CAMELO, Bench Warrant Material Witness For Prosecution
                   5/3/2013      MOTION FILED: DISCLOSE EXPRT

                  5/6/2013       ORDER: GRANTED DISCLOSE EXPERTS

                  5/20/2013      Precept issued to serve copy of veniremen

                  5/23/2013      MOTION FILED: STS:NTC OF TRANSLTR

                  6/3/2013       Defendant CRUZ-GARCIA, OBEL appeared with counsel CORNELIUS, R. P..




                                                                                                                                     Page 1 of 22

                                                                                                                       9/1/2015 3:05:52 PM
                                                                        •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 233 of 257
                   A1\
                   .,.J                                                        .



                              Harris County Criminal District Docket Sheet

     6/3/2013   Defendant CRUZ-GARCIA, OBEL 41ppeared i~ person with Counsel CORNELIUS, R. P ..
                Interpreter FLORES, MARILU & DE LA TORRE, MAURICO
                TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                Court Reporter: RODRIGUEZ, MARY ANN
                Judge Presiding: MAGEE, HOLLY RENEE

                9:45AM THE COURT CAME TO ORDER, ALL PARTIES WERE PRESENT AND ANNOUNCED READY.

                10:00 AM THE COURT EXCUSED JUROR #9 AND #59 BY AGREEMENT.

                10:10 AM 85 GOOD MEN AND WOMEN WERE SEATED AS PROSPECTIVE JURORS. THE COURT
                INSTRUCTED THE JURORS AS TO THE LAW.

                10:15 AM THE COURT BEGAN VOIR DIRE.
                12:00 NOON THE JURORS WERE EXCUSD FOR LUNCH BREAK.
                THE FOLLOWING JURORS WERE STRUCK BY AGREEMENT: NOS.1, 3, 6, 8, 9, 10, 12, 16, 18, 20,23, 26, 27,
                29, 30,36,39,47,48,49,50, 51, 55,.59,61,63, 65,66, 67, 71, 73, 75, 77, 79, 80,81, 82,85.

                1:00 PM niE COURT CAME TO ORDER AND         83 JURORS WERE SEATED.
                1:10PM THE FOLLOWING JURORS WERE STRUCK BY FOR. STATE CAUSE: NOS. 21, 32, 33, 42. ·

                1:50 PM THE COURT RECESSED FOR A SHORT BREAK.

                2:05 PM THE COURT CAME TO ORDER. NO.        2 JUROR WAS SWORN AND INDIVIDUAL VOIR DIRE BEGAN.
                3:15 PM JUROR #2 CALUAG, JOSHUA WAS SELECTED AS THE 1ST JUROR. JUROR #4 BOLL OM TOOK
                THESTAND.                              .

                4:25PM JUROR #4 WAS EXCUSED FROM THE COURT ROOM AND MATIERS WERE DISCUSSED
                OUTSIDE HIS PRESENCE, .                                        .     .

                4:35PM JUROR #4 WAS STRUCK BY THE DEFENSE (1ST PEREMPTORY). JUROR #5.JORDAN TOOK THE
                STAND.

                5:40PM JUROR #5 WAS SELECTED AS THE 2ND JUROR. JUROR #7 TOOK THE STAND.

                6:10PM JUROR #7 GONZALEZ WAS STRUCK FOR STATE'S CAUSE.

                COURT STAFF WAS INSTRUCTED TO RETURN@ 8:30AM. COURT STANDS IN RECESS UNTIL 06-04-13



     6/3/2013   MOTION FILED: LIMINE

     6/3/2013   ORDER: GRANT LIMINE

     6/3/2013   Continued 6/04/2013 09:00AM Jury Trial ..

     6/4/2013   Defendant CRUZ-GARCIA, OBEL appeared with counsel CORNELIUS, R. P ..




                                                                                                         Page   2 of 22
                                                                                                  9/1/2015 3:05:52 PM
                                                                                                   --------.--
                                                                                                   : 01182 -:
        Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 234 of 257
                                                                  ... '·

                                      Harris County Criminal District Docket Sheet
              6/4/2013    Defendant CRUZ-GARCIA, OBEL ilppeared iQ person with Counsel CORNELIUS, R. P.. ·
                          Interpreter HERNANDEZ, ROLANDO
                          TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                          Court Reporter: RODRIGUEZ, MARY ANN
                          Judge Presiding: MAGEE, HOLLY·RENEE

                          9:05AM THE COURT CAME TO ORDER, ALL PARTIES WERE PRESENT AND ANNOUNCED READY.

                         9:10AM THE STATE AND DEFENSE AGREED TO STRIKE JUROR #11, WILLIS, RACHEL. JUROR #14
.. -:                    TOOK THE STAND •

                         10:15 AM THE STATE AND DEFENSE AGREED TO STRIKE JUROR #14 KIRKPATRICK. JUROR #13 TOOK
                         THE STAND.

                         11:15 AM THE STATE MOTIONED TO STRIKE JUROR #13, MCPHERSON FOR CAUSE I MOTION DENIED.
                         STATE MADE 1ST PEREMPTIVE STRIKE.                  .     .            .
                                .                              '
                         11:25 AM JUROR #15 TOOK THE STAND. THE STATE AND DEFENSE AGREED TO STRIKE.

                         11:30 AM THE STATE AND DEFENSE AGREED TO STRIKE JUROR #17.

                         THE COURT RECESSED FOR LUNCH BREAK UNTIL 1PM

                         1:05PM THE COURT CAME TO ORDER, AND JUROR #2, RODRIGUEZ, ADELA TOOK THE STAND.

                         2:00PM THE DEFENSE MADE THE 3RD PEREMPTIVE STRIKE ON JUROR #22, RODRIGUEZ. JUROR #19
                         TO.OK THE STAND.    .       .

                         2:25 PMTHE STATE AND DEFENSE AGREED TO STRIKE JUROR #19, MASEMENE, TSEPISO. JUROR #24·
                         TOOK THE STAND.                                                   .

                         2:30PM BOTH SIDES AGREED TO STRIKE, JUROR #24, PARAGAS, EDWIN. LEGAL MATTERS WERE
                         DISCUSSED AND JUROR #31, MALONE, RAND I AND JUROR #37,TOWSE-PAULK, DANA WERE STRUCK
                         BY AGREEMENT.

                         2:45PM THE COURT STAND ADJOURNED UNTIL 06-05-.13@ 8:30AM.




             6/4/2013    Continued 6/05/2013 09:00AM Jury Trial

             6/5/2013    Defendant CRUZ-GARCIA, OBEL appeared with counsel CORNELIUS, R. P ..




                                                                                                                    Page 3 of 22

                                                                                                             9/1/2015 3:05:52 PM

                                                                                                             :01i83
                              •
           Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 235 of 257
                                     ''


                                          Harris County Criminal District Docket Sheet

               6/5/2013    Defendant CRUZ-GARCIA, OBEL appeared in.person with Counsel CORNELIUS, R. P./ MADRID, MARIO
                           Interpreter HERNANDEZ, ROLANDO ·
                           TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                           Court Reporter: RODRIGUEZ, MARY ANN
                           Judge Presiding: MAGEE, HOLLY RENEE

                           9:00AM THE COURT CAME TO ORDER, ALL PARTIES WERE PRESENT AND ANNOUNCED READY ..
                           LEGAL MATIERS WERE DISCUSSED.        .

                           9:10AM JUROR #25, GENAW, LINDA TOOK THE. STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                           10:00 AM THE STATE STRUCK JUROR #25. JUROR #28, SANCHEZ, OLA TOOK THE STAND.

                           10:40 AM THE STATE AND DEFENSE ACCEPTED JUROR #28, SANCHEZ, OLGA.

                           10:45 AM JUROR #34, EMERT, ALLYN TOOK THE STAND.

                           11 :30 AM THE STATE MADE A MOTION AND USED 3RD PEREMPTORY TO STRIKE JUROR #34, EMER,
                           ALLYN

                           11:45 AM THE COURT RECESSED FOR LUNCH UNTIL 1PM.

                           1:00PM THE COURT CAME TO ORDER AND LEGAL MATIERS WERE DISCUSSED.

                           1:05PM JUROR #35, JOHNSON, MARCELLA TOOK THE STAND.

·... :.:                   1:55PM THE DEFENSE MADE A MOTION AND USED 4TH PEREMPTORY TO STRIKE JUROR
                           #3S,JOHNSON MARCELLA. JUROR #38, BROWN,      scan
                                                                         TOOK THE sTAND

                           2:30PM THE STATE EXERCISED 4TH PEREMPTORY STRIKE. JUROR #40, MONTGOMERY, WAYNE
                           TOOK THE STAND ·

                           3:35PM THE STATE AND DEFENSE ACCEPTED MONTGOMERY, WAYNE AS JUROR #4
                               .~     .       .                     .
                           MATIERS WERE DISCUSSED. THE STATE AND DEFENSE AGREED TO STRIKE JUROR #52 LOWRANCE,
                           MICHAEL AND #54 QUINTANILLA, ELSY.

                           3:55PM THE COURT STAFF WAS INSTRUCTED BY THE COURT TO RETURN 06-06-13@ 8:30AM.



               6/5/2013    Continued 6/06/2013 09:00AM Jury Trial




                                                                                                                Page 4 of22

                                                                                                         9/1/2015 3:05:52 PM

                                                                                                          :0.1184
              6/6/2013
                             •                                                  •
         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 236 of 257
                                     .'


                                          Harris County Criminal District Docket Sheet
                                                                                        '




                         Defendant CRUZ-GARCIA, OBEL appeared in,.Person with .Counsel CORNELIUS, R. P. & MADRID, MARIO
                         lnterpreter:HERNANDEZ, ROLANDO & FLORES, MARILU
                         TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                         Court Reporter: RODRIGUEZ, MARY ANN
                         Judge Presiding: MAGEE, HCLL Y RENEE

                         AT 9:03AM COURT CAME TO ORDER, ALL PARTIES PRESENT AND READY, AT THIS TIME JUROR #41
                         MCDONALD WAS SEATED FOR INDIVIDUAL VOIR DIRE.

                         AT 9:41AM ST MADE A MOTION TO EXCUSE JUROR#41 FOR CAUSE WHICH WAS DENIED BY THE
                         COURT. AT 9:43AM STATE EXERCISED 5TH PEREMPTORY STRIKE AND EXCUSED JUROR#41
                         MCDONALD.

                         AT 9:48AM JUROR #44 CLARK WAS SEATED FOR INDIVIDUAL VOIR DIRE. AT 9:50AM BOTH SIDES
                         AGREED TO STRIKE JUROR #44 CLARK.

                         AT 9:52AM JUROR #45 CHAMBERS WAS SEATED AND VOIR DIRE BEGAN. AT 10:10AM ST MADE A
                         MOTION TO STRIKE JUROR FOR CAUSE. AT 10:23AM JUROR #45 WAS EXCUSED AND MATTERS WERE
                         ADDRESSED OUTSIDE OF HER PRESENCE. AT 10:30AM JUROR #45 RETURNED TO OPEN COURT AND
                         QUESTIONNING CONTINUED; AT THIS TIME THE COURT GRANTED             srs
                                                                                     MOTION AND EXCUSED JUROR
                         #45 CHAMBERS.

                         AT 10:33AM JUROR #46 BROWN TOOK THE STAND AND VOIR DIRE BEGAN. AT 11:22AM JUROR #46
                         BROWN WAS EXCUSED BY DEFENSE 5TH PEREMPTORY STRIKE,

                         AT 11:26AM THE COURT RECCESSED FOR LUNCH.

                         AT 1:01PM ALL PARTIES PRESENT AND JUROR #53 ZINK WAS SEATED FOR INDIVIDUAL VOIR DIRE. AT.
                         1:57PM JUROR#53 ZINK WAS EXCUSED FORA MOMENT. AT 2:00PM JUROR#53 ZINK RETURNED TO
                         OPEN COURT, AT THIS TIME DEFENSE USED 6TH PEREMPTORY 'sTRIKE TO EXCUSE HIM.

                         AT 2:03PM JUROR #57 PEREZ TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN, AT 2:06PM STATE
                         MADE A MOTION TO STRIKE JUROR #57 PEREZ FOR CAUSE, AT THIS TIME THE COURT GRANTED
                         STATE'S MOTION.

                         AT 2:17PM BOTH JUROR #56 BALL AND JUROR #60 MIXON WERE EXCUSED BY AGREEMENT.

                         AT 2:22PM COURT INSTRUCTED EVERYONE TO RETURN 6/7/13 BY 9AM, AT THIS TIME COURT
                         ADJOURNED .
.,   .
             6/6/2013    Defendant CRUZ-GARCIA, OBEL appeared with counsel CORNELIUS, R. P.,

             6/6/2013    Reset By Court, 6/07/2013 09:00 AM Jury Trial

             6/7/2013    Defendant CRUZ-GARCIA, OBEL appeared with counsel CORNELIUS, R. P ..




                                                                                                                   Page 5 of 22
                                                                                                        9/1/2015 3:05:52 PM
                                                                                                            '··   .-    ..   -.   . ..

                                                                                                         :01185
                               •                                                   •
             Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 237 of 257
                                                                                          ..
                                                                                          .




                                          Harris County Criminal District Docket Sheet

                 6nt2013     Defendant CRUZ-GARCIA, OBEL appeared i~ person with Counsel CORNELIUS, R. P..
                             lnterpreter:HERNANDez: ROLANDO & MARILU FLORES
                             TISE, NATALIE & WOOD~. JUSTIN appeared for the State.
                             Court Reporter:RODRIGUEZ; MARY ANN
                             Judge Presiding: MAGEE, HOLLY RENEE

                             AT 9:08AM ALL PARTIES PRESENT AND READY, AT THIS TIME JUROR #5~ CHAYKOSKY TOOK THE
                             STAND FOR INDIVIDUAL VOIR DIRE. AT 9:26AM BOTH SIDES AGREED AND STRUCK JUROR #58.

                             AT 9:29AM JUROR ~2 DENMAN WAS SEATED AND VOIR DIRE BEGAN. AT 10:13AM JUROR #62 WAS
                             EXCUSED SO MATTERS COULD BE DISCUSSED. AT 10:15AM JUROR #62 DENMAN RETURNED TO OPEN
                             COURT, ATTHIS TIME THE STATE USED THEIR 6TH PEREMPTORY STRIKE.

                             AT 10:16AM THE COURT TOOK A BREAK.

                             AT 10:19AM JUROR #70 ANDERSON WAS SEATED FOR INDIVIDUAL VOIR DIRE. AT 11:13 JUROR WAS
                             EXCUSED AND MATTERS WERE DISCUSSED. AT 11 :14AM JUROR #70 ANDERSON RETURNED TO OPEN
                             COURT, AT THI~ TIME THE DEFENSE. USED THEIR 7TH PEREMPTORY STRIKE.

                             AT 11:17AM JUROR #69 RIVERA TOOK THE STAND FOR INDIVIDUAL VOIR DIRE. AT 11:40AM JUROR
                             WAS EXCUSED AND MATTERS WERE DISCUSSED. AT 11 :42AM VOIR DIRE WITH JUROR #69 RIVERA
                             CONTINUED.Af12:06PM JUROR WAS EXCUSED AND MATTERS WERE DISCUSSED OUTSIDE HER
                             PRESENCE. AT 12:12PM JUROR #69 RIVERA RETURNED TO OPEN COURT, AT THIS TIME THE COURT
                             GRANTED STATE'S CHALLENGE FOR CAUSE.

                             AT 12:14PM THE COURT TOOK A BREAK.

                             AT 1:.i:17PM JUROR #64 PYPER WAS SEATED FOR INDIVIDUAL VOIR DIRE. AT 1:18PM JUROR WAS
                             EXCUSED AND MATTERS WERE ADDRESSED. AT1:21PM JUROR #64 PYPER RETURNED TO OPEN
                             COURT, AT THIS TIME BOTH SIDES ACCEPTED HER AND THE COURT ADMONISHED HER AS TO THE
                             LAW.

                             AT 1:24PM THE COURT TOOK A SHORT BREAK.

                             AT.1:26PM·JUROR #72 BOWERS WAS SEATED AND VOIR DIRE BEGAN. AT 2:06PM JUROR WAS
                             EXCUSED FOR A MOMENT. AT 2:07PM JUROR #72 BOWERS RETURNED TO OPEN COURT AND AT THIS
                             TIME STATE USEDTHIERITHPEREMPTORY STRIKE TO EXCUSE HIM.

                             AT 2:10PM COURT GAVE INSTRUCTIONS TO BOTH PARTIES TO RETURN 6/10/13 AT 9AM AND THEN
                             ADJOURNED.                                                           .
                 6/7/2013    Reset By Court, 6/10/2013 09:00AM Jury Trial




.....   ·'




                                                                                                                    Page 6 of 22

                                                                                                             9/1/2015 3:05:52 PM
      6/10/2013
                                                            --~- I

                                                                        •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 238 of 257



                                 Harris County Criminal District Docket Sheet
                                                                               .
                                                                               -




                   Defendant CRUZ-GARCIA, OBEL ,flppeared ip person with Counsel CORNELIUS, SKIP & MADRID, MARIO
                   Interpreter: HERNANDEZ, ROLANDO & MARILU FLORES
                   TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                   Court Reporter:RODRIGUEZ, MARY ANN.
                   Judge Presiding: MAGEE, HOLLY RENEE

                   9:05AM ALL PARTIES WERE PRESENT AND ANNOUNCED READY.

                   9:10AM JUROR #43 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                   10:10 AM THE DEFENSE USED 8TH PEREMPTORY TO STRIKE JUROR #43. LEGAL MATIERS WERE
                   DISCUSSED A
                                                               '
                   10:30 AM. JUROR #76 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                   11:15 AM THE STATE AND DEFENSE ACCEPTED JUROR #76.

                   JUROR 11221N THE NEXT PANEL IS EXCUSED BY THE STATE AND DEFENSE.

                   11 :25 AM JUROR #78 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                  11:30AM THE STATE AND DEFENSE AGREED TO STRIKE FOR CAUSE. THE COURT RECESSED FOR
                  LUNCH.

                  1:00 PM THE COURT CAME TO ORDER. THE STATE AND DEFENSE AGREED TO STRIKE FOR CAUSE
                  JUROR #102 & JUROR #88.

                  1:05PM JUROR #83 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                  2:05 PM THE STATE AND DEFENSE AGREED TO STRIKE .FOR CAUSE.

                  2:10PM JUROR #84 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                  3:10PM THE STATE AND THE DEFENSE AGREED TO ACCEPT JUROR #84.

                  COURT ADJOURNED UNTIL 06-11-13 9:00AM




    6/10/2013     Continued 6/11/2013 09;00 AM Jury Trial




                                                                                                        Page 7 of 22

                                                                                                 9/1/2015 3:05:52 PM
                     Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 239 of 257
                                                                                '   I



                                                   Harris County Criminal District Docket Sheet

                         6/11/2013   Defendant CRUZ-GARCIA, OBEL qppeared IIJ. person with Counsel CORNELIUS, SKIP & MADRID, MARIO
                                     lnterpreter:HERNANDEZ, ROLANDO & MARILU FLORES                  ·
                                     TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                                     Court Reportef:RODRIGUEZ, MARY ANN
                                     Judge Presiding: MAGEE, HOLLY RENEE

                                     10:00 AM ALL PARTIES WERE PRESENT AND ANNOUNCED READY. LEGAL MATIERS WERE
                                     DISCUSSED.

                                     10:10 AM THE STATE AND DEFENSE AGREED TO EXCUSE JUROR #86 UNTIL 06-12-2013@ 9AM

                                     10:25 AM 65 GOOD MEN AND WOMEN WERE SEATED AS PROSPECTIVE JURORS: THE COURT BEGAN.
                                     ADMONISHED THE PANEL AS TO THE LAW..

                                     12:10 PM THE JURY PANEL RECESSED FOR LUNCH UNTIL 1:00PM. THE STATE AND DEFENSE MADE
                                     CAUSE/AGREEMENTS.                                   .     .  .

                                     1:15PM THE COURT CAME TO ORDER AND THE JURY PANEL WAS SEATED. INDIVIDUAL JURORS
                                     WERE CALLED TO THE. BENCH FOR QUESTIONING BY BOTH SIDES.

                                     1:SO PM THE STATE AND DEFENSE AGREED TO EXCUSE THE FOLLOWING JURORS FOR CAUSE, NOS:
                                     86,87,as. 90, 94, 100; 102, 103, 104, 105, .106~ 108,114, 116, 118, 119, 120, 121, 122,123, 124, 125, 126, 131,
                                     133; 134, 135, 138,142, 144, 145, 146,.147. THE STATE MADE MOTIONS AND THE COURT GRANTED 8TH
                                     PEREMPTORY STRIKE FOR JUROR #94 AND 9TH PEREMPTORY STRIKE FOR JUROR #120 ..

                                     2:00PM JUROR #89 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                                     2:55PM THE COURT GRANTED THE STATE'S 10TH PEREMPTORY FOR JUROR #89.

                                     3:00PM JUROR #91 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                                     3:45PM THE DEFENSE MOTIONED AND COURT GRANTED 9TH PEREMPTORY STRIKE FOR JUROR #91.

                                     3:55PM JUROR #92 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                                     4:35 PM THE DEFENSE STRUCK JUROR #92 - 11TH PEREMPTORY.

                                     4;45 PM STAND ADJOURNED UNTIL 06-12-13@ 9AM
                         6/11/2013   Defendant CRUZ-GARCIA,. OBEL appeared with counsel CORNELIUS, R. P..

                         6/11/2013   Reset By Court, 6/12/2013 09:00AM Jury Trial




-~-.   '



           .   ~·'




                                                                                                                                      Page 8 of 22

                                                                                                                              9/1/2015 3:05:52 PM
     6/12/2013
                    •     '
                                                                        •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 240 of 257
                              .




                                  Harris County Criminal District Docket Sheet
                                                                              .
                                                                                  .




                  Defendant CRUZ-GARCIA, OBEL,appeared ill person with Counsel CORNELIUS, SKIP & MADRID, MARIO
                  lnterpreter:HERNANOEZ, ROLANDO & MARILU FLORES
                  TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                  Court Reporter:RODRIGUEZ, MARY ANN
                  Judge Presiding: MAGEE, HOLLY RENEE

                  8:50AM ALL PARTIES WERE PRESENT AND ANNOUNCED READY. LEGAL MATIERS WERE DISCUSSED.

                  8:55AM JUROR #86 CAME BEFORE THE BENCH AND THE COURT ADMONISHED HIM AS TO THE LAW
                  REGARDING HIS ABSENCE FROM THE COURT 06-}1-2013@ 9:30AM

                  9:10AM JUROR #93 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                  10:20 AM THE STATE AND DEFENSE ACCEPTED JUROR #93.

                  10:30 AM JUROR #95 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN. 10:35 AM JUROR #95
                  RETIRED TO THE HALL AND ~EGAL MATIERS WERE DISCUSSED.

                  10:40 AM JUROR #95 RETURNED TO THE STAND AND VOIR DIRE RESUMED.

                  11:00 AM DEFENSE MOTION FOR CAUSE WAS GRANTED BY THE COURT ON JUROR #95.

                  11:00 AM JUROR #96 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                  12:00 NOON THE DEFENSE MOTIONED AND THE COURT GRANTED STRIKE FOR CAUSE OF JUROR                #9~.
                  12:05 PM JUROR #97 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                 1:00 PM THE STATE AND DEFENSE ACCEPTED JUROR #97 AS THE 9TH JUROR.

                 1:05 PM THE COURT RECESSED FOR 30 MINUTE LUNCH.

                 1:35PM JUROR #98 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                 2:15PM THE STATE USED 10TH PEREMPTORY CHALLENGE FOR JUROR#98.

                 2:20PM JUROR #99 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                 2:30 PM JUROR #99 WAS STRUCK FOR CAUSE BY THE COURT .

                 2:35PM JUROR #101 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                 2:40 PM THE COURT GRANTED MOTION TO STRIKE Jl)ROR #1 01.

                 2:45PM JUROR #107 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                 3:30PM THE STATE ACCEPTED JUROR #107 AND THE DEFENSE EXERCISED 10TH PEREMPTORY.




    6/12/2013    Reset By Court, 6/13/2013 09:00AM Jury Trial

    6/13/2013    Defendant CRUi-GARCIA, OBEL appeared with counsel CORNELIUS, R. P ..




                                                                                                       Page 9 of 22 ·

                                                                                                9/1/2015 3:05:52 PM
                                                                                                -·                      1.
                                                                                                : 011.89 ''
                            •
         Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 241 of 257
                                                                                 ~
                                                                                 .,~
                               .       .
                                                           ,.
                                       Harris County Criminal District Docket Sheet
              6/13/2013   Defendant CRUZ-GARCIA, OBEL ~ppeared in, person with Counsel CORNELIUS, SKIP & MADRID, MARIO
                          lnterpreter:HERNANDEZ, ROLANDO & MARILU FLORES
                          TISE, NATALIE & WOOD, JUSTIN appeared for the State..
                          Court Reporter:RODRIGUEZ, MARY ANN
                          Judge Presiding: MAGEE, HOLLY RENEE

                          9:00AM ALL PARTIES WERE PRESENT AND ANNOUNCED READY. MATTERS WERE DISCUSSED.

                          9:05AM JUROR #109 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN .

                          .10:05 AM THE DEFENSE MOTIONED TO STRIKE JUROR #109 AND THE COURT GRANTED MOTION ...

                          10:10 AM JUROR #110 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                          10:45 AM THE STATE AND DEFENSE ACCEPTED JUROR #110 AS JUROR #10.

                          10:50 AM JUROR #111 TOOK THE STAND       AND INDIVIDUAL VOIR DIRE BEGAN.
                          11:05 AM THE STATE MOTIONED FOR CAUSE AND THE COURT GRANTED THE MOTION FOR CAUSE.

                          11:15AM JUROR#112TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN

                          11:35 AM STATE MOTIONED TO STRIKE JUROR #112 FOR CAUSE.THE COURT GRANTED MOTION.
<   ,:



                          THE COURT RECESSED FOR LUNCH.

                          1:10PM THE COURT CAME TO ORDER. JUROR #113 TOOK THE STAND AND INDIVIDUAL VOIR DIRE
                          BEGAN.                 .                                                 .

                          1:25 PM THE STATE AND THE DEFENSE AGREED. TO STRIKE JUROR #113

                          1:30PM JUROR #115 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                          2:00PM THE STATE EXCERCISED #11TH PEREMPTORY STRIKE ON JUROR #115.

                          2:05 PM JUROR #117 TOOK THE STAND AND INPIVIDUAL VOIR DIRE BEGAN.

                          2:20 PM THE DEFENSE MOTIONED TO STRIKE JUROR #117 FOR CAUSE. THE COURT GRANTED THE
                          MOTION.        .

                          2:25PM JUROR #127 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                          3:25PM THE DEFENSE MOTIONED TO STRIKE JUROR #127 FOR CAUSE AND THE COURT GRANTED
                          THEMOTION.                .                                                  .

                          3:30PM THE COURT ADJOURNED. UNTIL FRIDAY, 06-14-13@ 8:30AM
             6/13/2013    Continued 6/14/2013 09:00AM Jury Trial

             6/14/2013    Defendant CRUZ-GARCIA, OBEL appeared with counsel CORNELIUS, R. P ..




                                                                                                             Page 10 of 22

                                                                                                       9/1/2015 3:05:52 PM
                 6/14/2013
                                                                        '   I


                                                                                     •
             Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 242 of 257


                                            Harris County Criminal District Docket Sheet
                                                                                              <
                                                                                              <




                               Defendant CRUZ-GARCIA, OBEL appeared in. person with Counsel CORNELIUS, SKIP & MADRID, MARIO
                               lnterpreter:HERNANDEZ, ROLANDO & MARILU FLORES
                               TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                               Court Reporter:RODRIGUEZ, MARYANN
                               Judge Presiding: MAGEE, HOLLY RENEE

                               9:00AM ALL PARTIES WERE PRESENT AND ANNOUNCED READY. MATIERS WERE DISCUSSED.

                               9:10 AM JUROR #128 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                               9:55AM THE STATE ACCEPTED JUROR #128 AND THE DEFENSE MOTIONED TO EXERCISE
                               PEREMPTROY STRIKE. THE COURT GRANTED MOTION.

                               1<0:00 AM JUROR #129 TO THE STAND AND INDIVIDUAL VOIR DIRE BEGAN. <

                               10:45 AM THE DEFENSE MOTIONED TO STRIKE JUROR #129 FOR CAUSE. THE COURT GRANTED THE
                               MOTION.

                               10:50 AM JUROR #130 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                               11:10 AM THE STATE MOTIONED TO STRIKE JUROR #130 FOR CAUSE AND THE COURT GRANTED THE
•·:                            MOTION.

                               11:15 AM JUROR #132 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                               11:20 AM THE STATE MOTIONED TO STRIKE JUROR #132 FOR CAUSE. THE COURT GRANTED THE
                               MOTION.
 <. <
                               11:40 THE COURT RECESSED FORLUNCH. <

                               12:20 PM THE COURT CAME TO ORDER, ALL PARTIES WERE PRESENT AND ANNOUNCED READY.

                               12:25 PM JUROR #136 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                               1:20PM STATE MOTION FOR 12TH PEREMPTORY STRIKE ON JUROR #136. THE COURT GRANTED THE
                               STRIKE .
        .<
                               1:25PM JUROR #137 TORRES, LEONARD TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                               2:20PM THE STATE AND DEFENSE ACCEPTED JUROR #137.

                               THE COURT RECESSED FOR SHORT BREAK.

                               2:45PM JUROR #139 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                               3:35PM THE DEFENSE EXCERCISED 13TH PEREMPTORY STRIKE. THE COURT GRANTED STRIKE.

                               3:40PM JUROR #140 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                               4:35PM THE DEFENSE EXERCISED 14TH PEREMPTORY STRIKE FOR JUROR #140.

                               THE COURT ADJOURNED UNTIL MONDAY@ 9AM.
                 6/14/2013 <   MOTION FILED: FUND OUT-ST WITNESS

                 6/14/2013     MOTION FILED: FUND OUT-STWITNESS

                 6/1412013     ORDER: GRNT OUT-ST WITNESS $2;374

                 6/14/2013     ORDER: GRNT OUT-ST WITNESS $2,215

                 6/14/2013     Continued 6/17/2013 09:00AM Jury Trial

                 6/17/2013     Defendant CRUZ-GARCIA, OBEL appeared with counsel CORNELIUS, R. P ..




                                                                                                                   Page 11 of 22

                                                                                                             9/1/2015 3:05:52 PM

                                                                                                              :01191
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 243 of 257
                                                          ,,   I
                                                ,,
                             Harris County Criminal District Docket Sheet
    6/17/2013   Defendant CRUZ-GARCIA, OBEL appeared ira person with Counsel CORNELIUS, SKIP & MADRID, MARIO
                lnterpreter:HERNANDEZ, ROLANDO & MARILU FLORES
                TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                Court Reporter:RODRIGUEZ, MARY ANN
                Judge Presiding: MAGEE, HOLLY RENEE

                9:00AM ALL PARTIES WERE PRESENT AND ANNOUNCED READY. MATIERS WERE DISCUSSED.

                9:10AM JUROR #141 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                9:35 AM THE COURT RECESSED FOR A SHORT BREAK.

                9:55AM THE COURT CAME TO ORDER AND JUROR #141 TOOK THE STAND AND INDIVIDUAL VOIR
                CONTINUED.

                10:i5 PM THE STATE AND THE DEFENSE ACCEPTED JUROR #141 AS JUROR #12 ..

                THE COURT RECESSED FOR A SHORT BREAK.

                11:45 AM THE COURT CAME TO ORDER. JURPR #143 TOOK THE STAND AND INDIVIDUAL VOIR DIRE
                BEGAN;

                11:30 AM THE STATE AND THE DEFENSE ACCEPTED JUROR #143 AS THE 1ST ALTERNATE JUROR.

                11:40 AM JUROR #148 TOOK THE STAND AND INDIVIDUAL VOIR DIRE BEGAN.

                12:25 PM THE STATE ACCEPTED JUROR #148 AND THE DEFENSE USED 15TH PEREMPTORY STRIKE

                12:30 PM JUROR #149 TOOK THE STAND AND.INDIVIDU.AL VOII:~ DIRE. BEGAN.

                1:20 PM THE STATE AND THE DEFENSE ACCEPTED JUROR #149 AS THE 2ND ALTERNATE JUROR.

                1:30PM THE COURT STAND ADJOURNED UNTIL WEDNESDAY, 06-19-.13@ 9AM




    6/17/2013   Continued 6/18/2013 09:00 AM Jury Trial

    6/18/2013   Defendant CRUZ-GARCIA, OBEL appeared with counsel CORNELIUS, R. P ..

    6/18/2013   Continued 6/19/2013 09:00 AM Jury Trial




                                                                                                     Page 12 of 22

                                                                                               9/1/2015 3:05:52 PM

                                                                                                :01192
          Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 244 of 257



                                         Harris County Criminal District Docket Sheet
               6/19/2013   Defendant CRUZ-GARCIA, OBEL appeared in. person with Counsel CORNELIUS, SKIP & MADRID, MARIO
                           Interpreter: HERNANDEZ, ROLANDO & MARILU FLORES
                           TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                           Court Reporter:RODRIGUEZ, MARY ANN
                           Judge Presiding: MAGEE, HOLLY RENEE

                           9:15AM ALL PARTIES WERE PRESENT AND ANNOUNCED READY FOR THE MOTIONS HEARING. LEGAL
                           MATTERS WERE DISCUSSED.

                           9:45AM THE STATE BEGAN OPENING STATEMENT.

                           9:50AM THE STATE BEGAN TESTIMONY.

                           10:35 AM THE COURT RECESSED FOR A SHORT BREAK.

                           10:50 AM THE STATE'S TESTIMONY CONTINUED.

                           11:40 AM THE STATE BEGAN CLOSING.

                           11:45 AM THE DEFENSE BEGAN CLOSING.




\·,.'•:




                                                                            - ..

              6/19/2013    MOTION FILED: NTC INT USE PRIORS

              6/19/2013    Reset By Agreement Of BothPartles, 7/03/2013 09:00AM Jury Trial

              6/20/2013    MOTION FILED: PYMT OUT-ST WITNESS

              6/20/2013    ORDER: GRANT PYMT OUT -ST WITNESS
          '
               7/3/2013    Defendant CRUZ-GARCIA, OBEL appeared in person with Counsel MADRID, MARIO
                           lnterpreter:MARILU FLORES
                           TISE, NATALIE appeared for the State.
                           Court Reporter: RODRIGUEZ, MARY ANN.
                           Judge Presiding: MAGEE, HOLLY RENEE

                           1:00 PM ALL PARTIES
                                         .   .
                                               WERE PRESENT AND ANNOUNCED
                                                                       .
                                                                          READY FOR THE MOTIONS HEARING.

                           RULINGS WERE MADE BY THE COURT.

                           1:30PM ALL PARTIES WERE INSTRUCTED TO RETURN MONDAY, 07-08-13@ 10AM.

                           LEGAL MATTERS WERE DISCUSSED.

              7/3/2013     Reset By Operation Of Law, 7/08/2013 09:00AM Jury Trial




                                                                                                              Page 13 of 22

                                                                                                        9/1/2015 3:05:52 PM
                                 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 245 of 257

                                                                                                           ·~
                                                              Harris County Criminal District Docket Sheet
                                      7/8/2013   Defendant CRUZ-GARCIA, OBEL appeared i11 person with Counsel CORNElL US, SKIP & MADRID, MARIO
                                                 lnterpreter:MARILU FLOREs & HERNANDEZ,ROLANDO
                                                 TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                                                 Court Reporter: RODRIGUEZ, MARY ANN
                                                 Judge Presiding: MAGEE, HOLLY RENEE

                                                 10:15 AM ALL PARTIES WERE PRESENT AND ANNOUNCED READY. LEGAL MATIERS WERE
                                                 DISCUSSED.

                                                 10:25 AM THE INDICTMENT WAS READ AND THE DEFENDANT WAS ARRAIGNED OUTSIDE THE
                                                 PRESENCE OF THE JURY.

                                                 10:30 AM LEGAL MATIERS WERE DISCUSSED.

      ..                                         10:45AM THE JURY WAS SWORN AND SEATED. THE STATE READ THE INDICTMENT. THE WITNESSES
                                                 WERE SWORN AND THE RULE WAS INVOKED. THE DEFENDANT PLED "NOT GUlL TY". THE STATE
      . .
                                                 BEGAN OPENING STATEMENT•
..     '~

 ..         ·'
                                                 11:05 AM THE DEFENSE BEGAN OPENING STATEMENT .
.....                                            11:15 AM THE STATE BEGAN TESTIMONY.
                 ..                               12:15 PM THE JURY RETIRED AND THE COURT RECESSED FOR SHORT LUNCH BREAK.                          .
                      '·
                                                 1:40PM THE STATE RESUMED TESTIMONY.

                                                 2:45 PM THE COURT RECESSED FOR A BREAK.

                                                 3:10PM THE COURT CAME TO ORDER THE JURY WAS SEATED AND THE STATE CONTINUED
                                                                                                                                             •..       ....... -
                                                 TESTIMONY

                                                 5:25PM THE COURT STAND ADJOURNED UNTIL TUESDAY, 07-09-13@ 10AM




                                      ~/8/2013   Reset By Operation Of Law, 7/09/2013 09:00AM Jury Trial

                                      7/9/2013   Defendant CRUZ-GARCIA, OBEL appeared with counsel CORNELIUS, R. P..

                                      7/9/2013   Defendant CRUi-GARCIA, OBEL appeared in person with Counsel CORNEILUS, SKIP & MADRID, MARIO
                                                 lnterpreter:MARILU FLOREs & HERNANDEZ,ROLANDO                 .                        .
                                                 TISE, NATALIE & WOOD, JUSTIN appeared for the State ..
                                                 Court Reporter:RODRIGUEZ, MARY ANN .·
                                                                                                                                                               '.
                                                 Judge Presiding: MAGEE, HOLLY RENEE     '
     '•.
                                                                                                                                                          ..
..     .. ·.·                                    10:15 AM ALL PARTIES WERE PRESENT AND ANNOUNCED READY.
                                                                                                                                                          .    .
 ··.. ,:_. ·;·.            ,_.
     ....
                                                 10:20 AM THE JURY WAS SEATED AND THE STATE RESUMED TESTIMONY .
      : .~.
                                                 11 :55 AM THE JURY RETIRED AND THE COURT RECESSED FOR LUNCH.
       '

                                                 1:20 PM THE COURT CAME TO ORDER, THE JURY WAS SEATED AND THE STATE CONTINUED
                                                 TESTIMONY.

                                                 2:30PM THE JURY RETIRED TO THE JURY ROOM. LEGAL MATIERS WERE DISCUSSED OUTSIDE THE
                                                 PRESENCE OF THE JURY.

                                                 3:05PM THE JURY WAS SEATED AND THE STATE CONTINUED TESTIMONY.

                                                 4:30 P~ THE COURT STAND ADJOURNED UNTIL WEDNESDAY, 07-10-13@ 10AM.




                                      7/9/2013   Reset By Operation Of Law, 7/10/2013 09:00AM Jury Trial



                                                                                                                                       Page 14 of 22

                                                                                                                                 9/1/2015 3:05:52 PM

                                                                                                                                 :.0.11.94 .
                        7/10/2013
                                        •
                    Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 246 of 257
                                                 '




                                                                                              •
                                                     Harris County Criminal District Docket Sheet
                                                                                                   .




                                     Defendant CRUZ-GARCIA, OBEL9ppeared ~ith counsel CORNELIUS, R. P ..

                        7/10/2013    Defendant CRUZ-GARCIA, OBEL appeared in person with Counsel CORNEILUS, SKIP & MADRID, MARIO
                                     lnterpreter:MARILU FLOREs & HERNANDEZ,ROLANDO         ,
                                     TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                                     Court Reporter:RODRIGUEZ, MARY ANN
                                     Judge Presiding: MAGEE, HOLLY RENEE

                                     10:15 AM ALL PARTIES WERE PRESENT AND ANNOUNCED READY. THE JURY WAS SEATED AND THE
                                     STATE BEGAN TESTIMONY.

                                     11:30 AM THE JURY RETIRED AND LEGAL MATTERS WERE DISCUSSED OUTSIDE THEIR PRESENCE.

  ..                                 11:50 AM THE JURY WAS SEATED AND THE STATE RESUMED TESTIMONY .

                                     12:10 PM THE COURT RECESSED FOR LUNCH

                                    1;35 PM THE COURT CAME TO ORDER, THE JURY WAS SEATED AND THE STATE CONTINUED
                                    TESTIMONY.
'.'
      .-                            2:30 PM THE JURY RETIRED AND THE COURT RECESSED FOR A SHORT BREAK.
·:• ' · · '

                                    2:50 PM THE JURY WAS SEATED. THE STATE RESTED AND THE DEFENSE BEGAN CROSS-
                                    EXAMINATION .
..
                                    4:30 PM THE COURT RECESSED FOR A SHORT BREAK.

                                    4:45PM THE COURT CAME TO ORDER, THE JURY WAS SEATED AND THE STATE CONTINUED
            ··~-·
                                    TESTIMONY.
                                                                                                                                       ..
                                    5:30PM THE JURY RETIRED AND MATTERS WERE DISCUSSED.

                                    5:35PM THE COURT STAND ADJOURNEDUNTIL THURSDAY, 07-10-13@ 9AM




                        7/10/2013   Reset By Operation Of Law, 7/11/2013 09:00AM Jury Trial
           ''
                        7/11/2013   Defendant CRUZ-GARCIA, OBEL appeared with counsel CORNELIUS, R. P ..

                        7/11/2013   Defendant CRUZ-GARCIA, OBEL appeared in person with Counsel CORNEILUS, SKIP & MADRID, MARIO
                                    lnterpreter:MARILU FLORES & HERNANDEZ,ROLANDO
                                    TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                                    Court Reporter:RODRIGUEi, MARY ANN
                                    Judge Presiding: MAGEE, HOLLY RENEE

                                    10:10 AM ALL PARTIES WERE PRESENT AND ANNOUNCED READY. THE JURY WAS SEATED AND THE
                                    STATE BEGAN TESTIMONY.

                                    10:35 AM THE JURY RETIRED AND LEGAL MATTERS WERE DISCUSSED OUTSIDE THEIR PRESENCE.
                                                               '.
                                    10:50
                                       ,,. AM THE jURY WAS SEATED AND THE STATE RESUMED TESTIMONY.
                                                                                        .

                                    12:20 PM THE COURT RECESSED FOR LUNCH UNTIL.2:00 PM

                                    2:15PM THE COURT CAME TO ORDER, THE JURY WAS SEATED AND THE STATE CONTINUED
                                    TESTIMONY.

                                    3:30PM THE JURY RETIRED AND LEGAL MATTERS WERE DISCUSSED.·

                                    3:40PM THE JURY WAS SEATED AND TESTIMONY CONTINUED.

                                    4:40PM THE JURY RETIRED AND LEGAL MATTERS WERE DISCUSSED.

                                    4:50PM THE JURY WAS SEATED AND INSTRUCTED To RETURN FRIDAY, 07-12-13@ 10AM.. LEGAL
                                    MATTERS WERE DISCUSSED OUTSIDE THE PRESENCE OF THE JURY.




                       7/11/2013    Reset By Operation Of Law, 7/1212013 09:00AM Jury Trial



                                                                                                                     . Page 15 of 22

                                                                                                                 9/1/2015 3:05:52 PM
                      Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 247 of 257




                             7/12/2013
                                                            Harris County Criminal District Docket Sheet
                                                                                                        •   '
                                                                                                                '




                                              Defendant CRUZ-GARCIA, OBEL appeared with counsel CORNELIUS, R. P..
                                                                                                                 '




                             7/1212013        Defendant CRUZ-GARCIA, OBEL appeared in person with Counsel CORNEILUS, SKIP & MADRID, MARIO
                                              lnterpreter:MARILU FLORES & HERNANDEZ,ROLANDO
                                              TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                                              Court Reporter.RODRIGUEZ, MARY ANN
                                              Judge Presiding: MAGEE, HOLLY RENEE

                                              10:50 AM ALL PARTIES WERE PRESENT AND ANNOUNCED READY. LEGAL MATIERS WERE
                                              DISCUSSED OUTSIDE THE PRESENCE OF THE JURY

                                              12:35 PM THE JURY RECESSED FOR LUNCH.                                                                            ·'



                                              2:00 PM THE JURY RETURNED TO THE JURY ROOM.
~.   ;.   ..
                                              2:30PM THE JURY WAS SEATED AND INSTRUCTED TO RETURN MONDAY, 07-15-13@9 AM. LEGAL
                                              MATTERS WERE DISCUSSED OUTSIDE THE PRESENCE OF THE JURY.

                                                                                                                                                  ,' ~'


                                         '<                                                                                                       r-.
                                                                                                                                                              ,·,·

                                                                                                                                                              ·,
                    ----~------~-.~.
                                                                                                                                                                    '
                                                                                                                                                          .    '
                                              10:35AM THE JURY RETIRED AND LEGAL MATTERS WERE DISCUSSED OUTSIDE THEIR PRESENCE ..                                   '
                                                                                                                                                          ;I··.
                             7/1212013        Reset By Operation Of Law, 7/15/2013 09:00AM Jury Trial
               ..                                       "              . -·      "'                            -·-·                    ...   --   ~--   ~~




                             7/15/2013        Defendant CRUZ-GARCIA, OBEL appeared with counsel CORNELIUS, R. P..




                                                                                                                                                                    .,•'_..;.




                                                                                                                                 Page 16 of 22

                                                                                                                           9/1/2015 3:05:52 PM
                  7/15/2013
                                 •
             Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 248 of 257
                                        .'
                                             .




                                                                                        •
                                                 Harris County Criminal District Docket Sheet
                                                                                             .




                              Defendant CRUZ-GARCIA, OBEL appeared ig person with Counsel CORNEILUS, SKIP & MADRID, MARIO
                              lnterpreter:MARILU FLORES & HERNANDEZ,ROLANDO
                              TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                              Court Reporter: RODRIGUEZ, MARY ANN
                              Judge Presiding: MAGEE, HOLLY RENEE

                              9:10AM ALL PARTIES WERE PRESENT AND ANNOUNCED READY. LEGAL MATIERS WERE DISCUSSED
                              OUTSIDE THE PRESENCE OF THE JURY.

                              9:15AM THE JURY WAS SEATED AND THE COURT READ THE CHARGE.

                              9:45AM THE STATE BEGAN CLOSING STATEMENTS.

                              10:05 AM THE DEFENSE BEGAN CLOSING STATEMENTS.

                              11:00 AM THE STATE BEGAN FINAL CLOSING STATEMENTS.                                            ..
-··;.
                              11:30 AM THE JURY RETIRED TO DELIBERATE GUlLTOR INNOCENCE.

                              12:15 PM THE JURY RECESSED FOR LUNCH.

                              12:45 PM THE JURY RESUMED DELIBERATION.

                              1:55PM THE JURY WAS SEATED AND THE COURT REPORTER READ BACK TRANSCRIPT.

                              2:00PM THE JURY RETIRED
                                                 .
                                                      AND CONTINUED TO DELIBERATE.
                                                                                .

                              4:20PM THE JURY WAS SEATED. THE JURY FOUND THE DEFENDANT GUlL TY. THE JURY WAS
                              POLLED AND THE VOTE WAS UNANIMIOUS.

                              4:25PM THE JURY AND STAFF WERE INSTRUCTED TO RETURN@ 10AM, TUESDAY, 07/16/13




    ·, ' :

                 7/15/2013    Reset By Operation Of Law, 7/16/2013 09:00AM Jury Trial

                 '7116/2013   Defendant CRUZ-GARCIA, OBEL appeared with counsel CORNELIUS, R. P ..




                                                                                                                 Page 17 of 22

                                                                                                           9/1/2015 3:05:52 PM


                                                                                                           : 0:1:197             i
                                                                                          •
                Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 249 of 257
                                                                                                 '
                                                                                             '



                                             Harris County Criminal District Docket Sheet
                    7/16/2013   Defendant CRUZ-GARCIA, OBEL a'ppeared ill person with Counsel CORNEILUS, SKIP & MADRID, MARIO
                                lnterpreter:MARILU FLORES & HERNANDEZ, ROLANDO
                                TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                                Court Reporter: RODRIGUEZ, MARY ANN
                                Judge Presiding: MAGEE, HOLLY RENEE

                                9:45AM ALL PARTIES WERE PRESENT AND ANNOUNCED READY. LEGAL MATTERS WERE DISCUSSED
                                OUTSIDE THE PRESENCE OF THE JURY.

                                10:30 AM THE JURY WAS SEATED AND THE STATE BEGAN PUNISHMENT OPENING STATEMENT.

                                10:35 AM THE DEFENSE WAIVED PUNISHMENT OPENING STATEMENT. THE WITNESSES WERE SWORN
                                AND THE STATE BEGAN PUNISHMENT TESTIMONY.

                                11:30 AM THE JURY RETIRED AND LEGAL MATTERS WERE DISCUSSED OUTSIDE THEIR PRESENCE.

                                11:40 AM THE JURY WAS SEATE AND THE STATE RESUMED TESTIMONY.

                                12:30 PM THE JURY RETIRED AND THE COURT RECESSED FOR LUNCH.
.   :.·.

                                2:00PM THE COURT CAME TO ORDER AND THE JURY WAS SEATED. THE STATE RESUMED
                                PUNISHMENT TESTIMONY.                                         .

                                2:20PM THE JURY RETIRED AND LEGAL MATTERS WERE DISCUSSED.
                                                                                                                                     '
                                4:15PM THE JURY RETIRED AND LEGAL MATTERS WERE DISCUSSED OUTSIDE THEIR PRESENCE .
    ..,·.· ..
                                4~20 PM THE COURT RECESSED FOR A SHORT BREAK.
                                                ....                      -·                                                    - .
                                4:35PM THE COURT CAME TO ORDER, THE JURY WAS SEATED AND THE DEFENSE BEGAN CROSS-·
                                EXAM.

                                4:40PM THE JURY RETIRED AND LEGAL MATTERS WERE DISCUSSED. THE COURT RECESSED FOR A
                                SHORT BREAK.

                                5:00PM THE JURY WAS SEATED AND THE DEFENSE CONTINUED CROSS-EXAM.

                                5:05pm THE JURY AND THE COURT WERE INSTRUCTED TO RETURN 07-17-13@ 10 AM.



                    7/16/2013   Reset By Operation Of Law, 7/17/2013 09:00AM Jury Trial

                    7/17/2013   Defendant CRUZ-GARCIA, OBEL appeared with counsel CORNELIUS, R. P..




     .   ;,




                                                                                                                     Page 18 of 22

                                                                                                               9/1/2015 3:05:52 PM

                                                                                                                  01::198
          Case 4:17-cv-03621 ~
                             Document 24-1 Filed on 09/24/19 in TXSD Page 250 of 257
                              .,.a
                                        Harris County Criminal District Docket Sheet
               7/17/2013   Defendant CRUZ-GARCIA, OBEL appeared ifl person with Counsel CORNEILUS, SKIP & MADRID, MARIO
                           lnterpreter:MARILU FLORES & HERNANDEZ, ROLANDO
                           TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                           Court Reporter: RODRIGUEZ, MARY ANN.
                           Judge Presiding: MAGEE, HOLLY RENEE

                           10:00 AM ALL PARTIES WERE PRESENT AND ANNOUNCED READY. LEGAL MATIERS WERE
                           DISCUSSED OUTSIDE THE PRESENCE OF THE JURY. THE WITNESSES WERE SWORN AND THE RULE
                                               ;
                           WAS INVOKED.

                           10:15 AM THE JURY WAS SEATED AND THE STATE CONTINUED PUNISHMENT TESTIMONY.

                           10:30 AM THE JURY WAS SEATED AND THE STATE BEGAN PUNISHMENT OPENING STATEMENT.

                           12:20 PM THE JURY RETIRED AND THE COURT RECESSED FOR LUNCH.
i" '.•.
                           1:50PM THE COURT CAME TO ORDER AND THE JURY WAS SEATED AND THE DEFENSE RESUMED
                           CROSS-EXAM PUNISHMENT TESTIMONY.

                           3:05 PM THE JURY RETIRED AND THE COURT RECESSED FOR A SHORT BREAK.
                                                 -   ~·                   .   .            .
                           3:20PM THE JURY WAS SEATED AND THE STATE RESUMED PUNISHMENT TESTIMONY.

                           4:15PM THE JURY RETIRED AND LEGAL MATIERS WERE DISCUSSED.

                           4:20 PM THE COURT RECESSED FOR A BREAK.
                                                                                                                           ..
                           4:50PM THE JURY WAS..SEATED
                                                 .
                                                       AND TESTIMONY CONTINUED.                                                ., ..

                           5:05PM THE JURY WAS INSTRUCTED TO RETURN 10 AM, THURSDAY, 07-18-13. THE JURY RETIRED.
                           LEGAL MATIERS WERE DISCUSSED. THE COURT WAS INSTRUCTED TO RETURN@ 9:30AM.

                           5:10PM THE COURT STAND ADJOURNED.




               7/17/2013   Reset By Operation Of Law, 7/18/2013 09:oo-AM Jury Trial

              7/18/2013    Defendant CRUZ-GARCIA, OBEL appeared with counsel CORNELIUS, R. P..




                                                                                                               Page 19 of 22

                                                                                                         9/1/2015 3:05:52 PM

                                                                                                        :01.199
                                                 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 251 of 257



                                                                               Harris County Criminal District Docket Sheet
                                                     7/18/2013   · Defendant CRUZ-GARCIA, OBEL appeared in person with Counsel CORNEILUS, SKIP & MADRID, MARIO
                                                                   lnterpreter:MARILU FLORES & HERNANDEZ, ROLANDO
                                                                   TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                                                                   Court Reporter:RODRIGUE2, MARY ANN
                                                                   Judge Presiding: MAGEE~ HOLLY RENEE

                                                                  10:40 AM THE COURT CAME TO ORDER AND ALL PARTIES WERE PRESENT AND ANNOUNCED READY.
                                                                  LEGAL MATIERS WERE DISCUSSED OUTSIDE THE PRESENCE OF THE JURY.

                                                                  10:55 AM THE JURY WAS SEATED ANDTHE DEFENSE BEGAN PUNISHMENT TESTIMONY.

               ·•,·.·
                                                                  12:45 PM THE JURY RETIRED AND THE COURT REGESSED FOR LUNCH·

                                                                  2:15PM THE COURT CAME TO ORDER AND LEGAL MATTERS WERE DISCUSSED OUTSIDE THE
                                                                  PRESENCE OF.THE JURY.
..                                                                2:30PM THE JURY WAS SEATED AND DEFENSE PUNISHMENT CONTINUED .
..
                     :-.1:
         ...                                                      3:05 PM THE DEFENSE ~EST AND THE COURT READ THE CHARGE .
                                                                                                                                                                                      ..
                                             .                    3:15PM THE JURY
                                                                               . RETIRED
                                                                                  . .. ' ' . .AND
                                                                                               . COURT
                                                                                                    .  RECESSED
                                                                                                       '.       . FOR A BREAK.
                                                                                                                                                                 "
                                                                                                                                                                     '·.~.   ,. t"'·· .     .'   ~




                                                                  3:30PM THE JURY WAS SEATED AND THE STATE WAIVED THE RIGHT TO OPEN WITH CLOSING
                                                                  STATEMENTS. THE DEFENSE BEGAN CLOSING.                              .
                                                     ·'
                        ..
                                                                 4:20PM THE ST~TE BEGAN FINAL CLOSING.
                                        ·,                         .                               .
                                                                 5:20PM THE JURY RETIRED TO DELIBERATE PUNISHMENT.
.   ~,    *""'                                                                 ·-- . . - ·-·         ..                                                              ...               .   .......
                                                                 6:10PM THE JURY WAS SEATED. THE COURT INSTRUCTED THE JURY REGARDING THE SEQUESTER.
                                                                 THE COURT STANDS ADJOURNED UNTIL FRIDAY, 07-18-13@ 8:30AM                                                       ·'

         ·.·.'.
                                                     7/18/2013    Reset By Operation Of Law 7/19/2013 09:00AM Jury Trial
                                                                                                                                                                           . '
                                                     7/19/2013    Defendant.CRU~-GARCIA, OBEL appeared with counsel CORNELIUS, R. P ..
                                                                                          '·
           ..                                        7/19/2013   Defendant CRUt·GARCIA; OBEL 'appeared In person with Co!Jnsel CORNEILUS, SKIP & MADRID, MARIO
                :;                                               lnterpreter:MARILU FLORES & HERNANDEZ, ROLANDO
                                                                 TISE, NATALIE & WOOD,_ JUSTIN appeared for the State.
                                                                 Court Reporter:RODRIGUEZ, MARY ANN .
                                                                 Judge. Presiding: MAGEE, HOLLY RENEE

                                                                 9:20AM THE JURY RETIRED TO THE JURY ROOM TO BEGAN DELIBERATING ..
                                                                                                                                                                                           ..
                                                                 12:45 PM THE JURY RECESSED FOR LUNCH.

                                                                 2:00PM THE JURY RETIRED TO RESUME DELIBERATIONS.
         ....                                                                                  -
                                                                 4:30 PM THE JURY WAS SEATED AND THE VERDICT WAS READ: SPECIAL ISSUES: . #1 =YES, #2=YES,: .

                        .    ~
                                 ..
                                 ,..
                                                                 #3=NO •
                                   ..
                                                                 4:33PM THE JURY WAS THANKED AND EXCUSED FROM FURTHER SERVICE .
                        .:,
                                                                 4:35PM THE COURT WILL ASSESS PUNISHMENT MONDAY, 07-22-13.
                                                     7/19/2013   Coritlnued 7/22/2013 09:00AM Sentencing

                                                     7/22/2013   The defendant filed a swam pauper's oath, and JUDGE MAGEE, HOLLY RENEE
                                                                  ordered HILL, WAYNE T. appointed as Appointed Atty On Appeal    ·
                                                     7/22/2013   Appeal BOND SET AT $0
                                                                 BAIL OPTIONS ORDERED: $0 APPEAL BOND PER JGE MAGEE
                                                     1/22/2013   ORDER: APPT COUNSEL ART 11.071

                                                     7/22/2013   ORDER: PREP STMT FACT APPEAL GRNTD

                                                     7/22/2013   ORDER: DEF REMAIN ON ORIGINAL BOND

                                                     7/2212013   Delivery Order Issued
                                                                 Location: Texas Department of Criminal Justice awaiting mandate
                                                     7/2212013   Notice of Appeal Filed



                                                                                                                                                       Page 20 of 22

                                                                                                                                                 9/1/2015 3:05:52 PM
                                                                                                                •
                                 Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 252 of 257
                                                                                                                        <

                                                                                                                    -




                                                                   Harris County Criminal District Docket Sheet
                                         7/22/2013   Defendant CRUZ~GARCIA, OBEL appeared ira person with Counsel CORNEILUS, SKIP & MADRID, MARIO
                                                     lnterpreter:MARILU FLORES & HERNANDEZ,ROLANDO
                                                     TISE, NATALIE & WOOD, JUSTIN appeared for the State.
                                                     Court Reporter:RODRIGUEZ, MARY ANN
                                                     Judge Presiding: MAGEE, HOLLY RENEE

                                                     9:05AM THE COURT CAME TO ORDER ALL PARTIES WERE PRESENT AND ANNOUNCED READY.

                                                     THE COURT SENTENCED THE DEFENDANT TO DEATH.

                                                     9:09 AM THE COURT THANKED AND EXCUSED THE STATE AND DEFENSE.

                                     <   7/22/2013   Continued 9/20/2013 09:00AM Motion for New Trial Hearing
                                                               '
                                         7/26/2013   ORDER: ATIORNEY FEE VOUCHER
                                                     FEE AMOUNT: $60,000
                                         7/29/2013   ORDER: ATIORNEY FEE VOUCHER
                                                     FEE AMOUNT: $88,266
                                         7/30/2013   Assigned to Court of Criminal Appeals

                                          8/7/2013   ORDER: CCA #AP-77,025
     --
                                         8/19/2013   MOTION FILED: NEW TRIAL
(:

                                         8/21/2013   MOTION FILED: SUPPLEMENT NEW TRIAL
          ·,'                                                              __ , .
               ---- ··-   •···                        --   <                                                                                               <<   <




                                          9/9/2013   ORDER: ATIORNEY FEE VOUCHER
                                                     FEE AMOUNT: $1,682
                                         9/12/2013   MOTION FILED: LIVE WITNS EVID HRNG

                                         9/12/2013   Researched, 5/27/2015 09:00AM Other

                                         9/16/2013   ORDER: DENIED LIVE WITEVID HEARIN

                                         9/19/2013   MOTION FILED: FOR NEW TRIAL

                                         9/20/2013   Defendant CRUZ-GARCIA, OBEL appeared with counsel HILL, WAYNE T ..
          ,_
                                         9/20/2013   Defendant CRUZ-GARCIA, OBEL appeared in person with Counsel HILL, WAYNE
                                                     TISE, NATALIE appeared for the State.
                                                     Court Reporter: RODRIGUEZ, MARY ANN
                                                     Judge Presiding: MA(3EE, HOLLY RENEE

                                                     10:30 AM THE COURT CAME TO ORDER, ALL PARTIES WERE PRESENT AND ANNOUNCED READY. THE
                                                     DEFENDANT BEGAN MOTION FOR NEW TRIAL HEARING.

                                                     11:30 AM MOTION OF NEW TRIAL WAS DENIED.


                                         9/20/2013   Continued 9/12/2013 09:00AM Other

                                         1/29/2014   MOTION FILED: EX PARTE FOR FUNDS

                                         1/29/2014   ORDER: GRNT EXPARTE FOR FUNDS

                                         1/29/2014   ORDER: GRNT JUROR QUESTIONAIRE

                                     1/29/2014       ORDER: GRNT COPY OF SEALED 172-173

                                         2/6/2014    BENCH WARRANT RETURN
                                                     ISSUED FOR SPN: 01206555 MARTINEZ, CAMELO, Bench Warrant Material Witness For Defendant
                                     4/29/2014       ORDER: EX PARTE TRL TRNSCRPT GRNTD

                                     5/21/2014       ORDER: ATTORNEY FEE VOUCHER
                                                     FEE AMOUNT: $1,306


                                                                                                                                           Page 21 of22

                                                                                                                                   9/1/2015 3:05:52 PM
                                                                                                                                    ---   - -----   ----   ~----


                                                                                                                                   :01201
                   •                                                   •
Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 253 of 257
                           '-
                                -




                                Harris County Criminal District Docket Sheet -

    5/21/2014   ORDER: ATTORNEY FEE VOUCHER
                FEE AMOUNT: $1,750
                                                         .
    6/24/2014   ORDER: GRNT EXPARTE TRANS SPA·

    9/22/2014   MOTION FILED: PAY INVEST! MAX

    9/22/2014   ORDER: ATTORNEY FEE VOUCHER
                FEE AMOUNT: $20,173
    9/22/2014   ORDER: OPAY INVEST! MAX 20173

    912312014   ORDER: SEAL DEF.EXHIBIT 1 GRANTED .

    10/9/2014   MOTION FILED: PAY INVESTI MAX

    10/9/2014   ORDER: GRNiPAY INVEST 1~025.00

    10/9/2014   ORDER: ATTORNEY FEE VOUCHER
                FEE AMOUNT: $1;025                                                                         .
    4/20/2015   MOTION FILED: UNOP 90EXT ST WRTAPP

    4/28/2015   MOTION FILED: UN OPOSSED 90DYS EXT

    4/28/2015   MOTION FILED: INTIAL 90DYS EXT

    4/28/2015   MOTION FILED: BRADY V MARYLAND

    4/28/2015   ORDER: GRNT DISCLOSURE BRADY V MAR

    4/28/2015   ORDER: GRNT 90 DAYS EXT HAB APP

    4/30/2015   MOTION FILED: DISCL BRDY V MARYLAN

    5/11/2015   MOTION FILED: REQ FOR DISCLOSURE

    5/27/2015   Reset By Operation Of Law 6/10/2015 09:00 AM Other

    6/10/2015   Defendant CRUZ-GARCIA, OBEL appeared with counsel HILL, WAYNE T ..




                                                                                           Page 22 of 22

                                                                                     9/1/2015 3:05:52 PM

                                                                                     : 01202-
                     Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 254 of 257

                                                                        I).   ..   ·~

                      "'·
          THE STATE OF TEXAS                                                                          D.A. LOG NUMBER:I950720
          vs.                                                                                         CJIS TRACKING NO.: 9165103092-DOOI
           OBEL CRUZ-GARCIA                               SPN: Oll34368                               BY: KS DA NO: 050795683 AGENCY:HPD
                                                          DOB: WM 07/08/1967                          0/R NO: 105758592
                                                          DATE PREPARED: 4/18/2013                    ARREST DATE:

          NCIC CODE: 090710                              RELATED CASES: REFILE
          FELONY CHARG~ CAP_\T AI,.,l~IU~R    ·.
                       ~      l/~tt} ~
''_,'.
          CAUSE NO:                                                                                    BAIL: $NO BOND
          HARRIS COUNTY DISTRICT COUR NO: 337                                                          PRIOR CAUSE NO: 1289188
          FIRST SETTING DATE:



          IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

           The duly organized Grand Jury of Harris County, Texas, presents in the District Court of Harris County, Texas, that in Harris County, Texa
           6BEL CRUZ-GARCIA, hereafter styled the Defendant, heretofore on or about SEPTEMBER 30, 1992, did then and there unlawfully, while i
         · thts course of committing and attempting to commit the KIDNAPPING of ANGELO GARCIA, JR., intentionally cause the death o(ANGELC
           G~CIA, JR:, by STABBING ANGELO GARCIA JR. WITH A DEADLY WEAPON, NAMELY A SHARP INSTRUMENT;                                       . .
           ;-l



   -~ · •. It i~. ftirther presented that in Harris County, Texas, OBEL CRUZ-GARClA, h-ereafter styled the Defendcmt: heretofore on or abOut SEPTEMBEI
     ·· ·' JO, 1992, did then and there unhiwfully while in the course of committing and attempting to commit the KIDNAPPING of ANGELO GARCli
          Jit, intentionally cause the death of ANGELO GARCIA JR. by AN UNKNOWN MANNER AND MEANS.                                      .
 ..




           ·It is further presented that in Harris                                                led the Defendant, heretofore        t SEPTEMBEF
           3d;. 1992, did then and there u         lly while in the course of committin attempting to commit.the BURG           OF A BUILDfNG ownec
         . bypli\NA GARCIA, int to~ally cause the death of ANGELO GA , AJR. by AN UNKNOWN MA                            AND MEANS.

          ~{i~ furthe~                       Co~n~,
                       presented that in Harris   ~ ~-      , BEL_ CRUZ-~A.RCIA, hereafte~   s                    heretofor~
                                                                                                    · fi'l'£?efendant,  on or about s_ EPT
                                                                                                                                         __ J;:MBEB
          30,: 1992, d1d then and there unlawfully w e m the course of comm1ttmg and attem    g to commit the AGGRAVATED SEXUM:"fSSAULT ol
          DIANA GARCIA~ intentionally ca_9.9 the death of ANGELO GARCIA J                 y STABBING ANGELO GARCIAJriJTH,A· DEADLY
          ~~PON, NAME~ Y A SHA~I'ISTRUMENT.                                _. .         _    .        . ·.     .       ? ..             . . ··
         ·._It is further presented that i~s County, Texas, OBEL _ - ARCIA, hereafter styled the t!~ heretofore on or about S . _EMBER
          30, 1992, did the~_   ~dt ~~~~~fulfy while in the co of committing and attempting to  mit-the AGGRAVATED S      L ASSAU~£~,pJ
          DIANA GARCIA,        ent10nally cause the death o _   GELO GARCIA JR. by AN UN          OWN MANNER AND M             S.          . ·      ~i ~

            ·
                                  ~~s         /. 1 "/, :s--4                  .         .       . -·FILED
                                                                                                     ·· -.                                       :~~·~
                                                                                                                                                  ;: - c'




         AGAINST THE PEACE AND DIGNITY OF THE STATE.                                        Foreman                     338th

                                                                                              ,{l~LJ.dA--
                                                                                        FOREMAN OF THE GRAND JURY

                                                                       INDICTMENT
            Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 255 of 257



                                                                    CASE No. 1384 79401010
                                                            INCIDENT No./TRN: 9165103092D001
                                                                                         ~

   THE STATE OF TEXAS                                                                        §            IN THE 337TH DISTRICT
                                                                                             §
   vs.                                                                                       §            COURT
                                                                                             §
   CRUZ-GARCIA, OBEL                                                                         §            HARRIS COUNTY, TEXAS
                                                                                             §
  SID: TX04421988                                                                            §
                                                        .      .             ·.                                                  .                       .


                       JUDGMENT OF CONVICTION BY JURY- CAPITAL MURDER·
                                                                                             Date Judgment
  Judge Presiding:            HoN.RENEE MAGEE                                                E~tered:
                                                                                                                         07/22/13
                              TISE, NATALIE                                                  Attorney for              CORNELIUS, R. P.
 . Attorney for State:
                              WOOD, JUSTIN                                                   Defendant:                MADRID MARIO
   Offense for WhicliDefendant Convicted:
   CAPITAL MURDER
< -~Charging Instrument:                                                                     Statute for Offense:
.· :INDICTMENT                                                                               NIA
-"-Date of Offense:
   9/30/1992 .
   Degree of Offense:                                                                        Plea to Offense:
  . CAPITAL MURDER                                                                           NOT GUILTY
  ·verdict of Ju1•y:                                                                         Findings on Deadly Weapon:
  GUILTY                                                                                     YES-NOT A FIREARM
 :.:-Plea to 1• 1 Enhancement                                             Plea to 2nd Enhancement/Habitual
· - P~ragraph:                                  NIA                       Paragraph:                             N/A
   ..bD.u-;ngs on 1•1 Enhancement                                         Findings on 2nd
     Paragmph:                                  NIA                       Enhancement/Habitual Paragraph:        N/A
     Punished Assessed by:                                   Date Sentence Imposed:·                · Date Sentence to Commence;.
  JURY                                                      . 07/22/13 .                                                     07/22/13        .
. --Pjinishment and Place
   ofConfincment:
  .·Fine:                                                                                                        · Restitution Payable to:
 ,$NIA                                                                                                             NIA.
                                                                                                                                     r
                       From 2/12/2010 to 7/15/2013                  l''rom          to                    From          to
  Time                 From         to                  From            to                       . From     to
  Credited:
                       If Defendant is to serve sentence jn county jajl or is giyen credit toward fine and costs, enter d'ays credited below.
                       NIA DAYS            NOTES: NIA                                                                                                ("l.Crm"
          All pertinent information, namea aad alllie&lim.aata iadieated al!e"e 1ue iaeeFperated iate ~he language of the jadgment below by tefetence;ljj
             This cause was called for trial in.      County, Texas. The State appeared by her District Attorney.                     .   C)
             Counsel/ Waiver of Counsel (select one)                                                                                      ·~~b
    ~ Defendant appeared in person with Counsel. .                                                                                        "':ib
                                                                                                                                          ~
  0     Defendant knowingly, intelligently, and voluntarily waived the right to representation by counsel in writirig in open court.
             It appeared to the Court that defendant was ~1entally competent and hadpleaded as shown above to the charging
   instrument. Both parties announced ready for trial. A jury of twelve individuals was selected, impaneled, and sworn. The
  · lNDICTMEN'I' was read to the jury, and defendant entered a plea to the charged offense. The Court received the plea and entered it
 · of record.
             The jury hear'd th&,evidenct;! submitted and argument of counsel. The Court charged the jury~~ to}t~,du~,.to determine the
   guilt or innocence of defend~rit, and the jury retir~d to consider tht1 widence. Upon returning to operi'dourt; tHe jury delivered its
   verdict in the presence of DMendant and defense counsel.
           . The Court recei~~d; the verdict and ORDERED it entered upon the minutes of the Court.
             The jury heard ~Vidence relative to the question of punishment.. The Court charged the jury ancl it. retired to consider the
   special issues set out in the jury charge. After due deliberation, the jury was brought into Court, and, in open court,_it returned its
   answers to the special issues as indicated below.                                                               -     i 204                   0
                   CRUZ-GARCL<\, OBEL Judgment of Conviction by Jury--Capital Murder (Stat• ,;eek~ DeRthL 13S479401010_3.tlocx                       Page I of 3
          Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 256 of 257



          The jury found beyond a REASONABLE DOUBT that there is a probability that defendant would commit criminal acts of violen
   that would constitute a continuing threat to society.
      L8J Yes (unanimous)                                   ' ~.. "
      0 No (by at least 10 jurors)                                                                                         _
          The jury found beyond a REASONABLE DOUBT that considering all the evidence, including the circumstances of the offense, tl
   defendant's character and background, and the personal moral culpability of the defendant, that there is a sufficient mitigatii
   circumstance or circumstances to warrant that a· sentence of life imprisonment without parole rather than a death sentence 1
   imposed?                                               ·
      0 Yes (by at least 10 jurors)
 ~- J8fNo (unanimous)
 Special Issues to be included if necessary:
 (If defendantis found GUILTY as a party under TEX. PEN. CODE§§ 7.01,7.02) -                      ·                ·          _
 ~The jury found beyond a REASONABLE DOUBT that the defendant actually caused the death of the deceased or did not actually caw
 th~ death of the deceased but intended to kill the deceased or another or anticipated that a human life would be tak,en;
    r2SJ' Yes (unanimous)
  ·. 'd   No (by at least 10 jurors)
__ (if defendant has a mental impairment or defect)
. The jury found from a PREPONDERANCE OF THE EVIDENCE that defendant is a person with:
     0 Mental illness                                                        .                                                                     _               .
     0 Mental retardation                                      .                                                                ·   _   .     . :.,_ ·<~~)i:~l'H
  -- .      - The Court FINDS Defendant committed the above offense and ORDERS! ADJUDGES AND DECREES                                      isth~t' D~ ttNH~ fit
                                                                                                                                                        1      1
 GUILTY of the above offense.                                                                                           .            .· ·
                The Court ORDERS Defendant punished as indicated above. The Court ORDERS that the State of Texas shall recover all
  costs of the prosecution from the Defendant and that exE!cution will issue.
    .           Punishment Options.                                                                .                               .
  0 Confinement in Institutional Division. The Court ORDERs the authorized agent of the State of Texas or the Sheriff of this
  Courity to take, safely convey, and deliver Defendant to the Director, Institutional Division, TDCJ. The Court ORDERS • · .• .
                 be
 •-Defendant to confined for the period and in the manner indicated above. The Court ORDERS TDCJ to make withdrawals 'trom the
  D~fendant's inmate account as such funds become available. The Court ORDERS TDCJ to pay such funds td'the individual/ agency
  iH~d :~hove until the ordered restitution, court fees, costs, and fines are paid in full. TEX. Gov'T ConE § 501.014. The Coitrt ORDERS
 ·Def~~gant remanded to thtfcustody of the Sheriff of this county until the Sheriff can obey the directions of this sentence. _-.· · . ,
  C«rn~ath. The Court ORDERS the authorized agent of the State of Texas or the Sheriff of this County to take, safely conyey; arid
 'cfJi.J.;vei' Defendant to the Director, Institutional Division, TDCJ. Defendant shall be confined in said Institutional Divisl'on in
  accordance with the provisions of the law governing the Te~as Department of Criminal Justice, Institutional Division until a· date of
  ~~J~ution of the said Defendant is imposed by this Court after receipt in this Court of mandate of affirmance fro~ the Court                            of·.
  ch~.lnal Appeals of the State of Texas. The Court Orders Defendant remanded to the custody of the Sheriff of this county until the
_ ShESbff can obey the directions of this sentence. · . .                                                  _ .            _        .

.:«
  -·

· . _.
          ·     Execution            · · ·        -.
         The Court ORDERS Defendant's sentence EXECUTED. .
                                                                              ·                                ..
                                                                                                                ·
                                                                                                                   ·
                                                                                                                     ..     · _·
                The Court ORDERS that Defendant is given credit noted above on this sentence fcir the' time spent incarcerate~.
                                                                                                                                 ·


·- · ·          The Court further ORDERS Defendant to pay restitution to the person(s) named above in the amount specified ..-
                                     Furthermore. the following special findings or orders apply;
  Deadly Weapon.        -       ·     ·    ·       . ._ ·         .     .    .. · ·           ·
 . The Court FINDS Defendant used or exhibited a deadly weapon, namely, A SHARP INSTRUMENT, during the
   comm1ss1on of a felony offense or during immediate flight therefrom or was a party to the offense and knew that a
   deadly weapon would be used or exhibit d; TEX. CODE CRIM. PROC. art. 42.12 §3g.

 Signed and entered on July                           , 2013
           .                                    'tv


  N~c Appeal Filed:   JUl 2 2 . 201          Mandate Rec'd:_ _ _ _ ___. ____

  After Mandate Received, Sentence to Begin Date is: _ _ _ _ _ _ _ _ _ __

  Received o n - - - - - - - - - - - - - a t - - - - - - - - - - - AM I PM
 By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , Deputy Sheriff of Harris County

\1h               CRUZ-GARCIA, OBEL Judgment of Conviction by Jury .. Capital Murder ~~t.ato seek• DeathL138479401010_3.rlocx
                  Case 4:17-cv-03621 Document 24-1 Filed on 09/24/19 in TXSD Page 257 of 257




                                                            CERTIFICATE OF THE CLERK

                                                               APPLICANT IN CUSTODY


                      THE STATE OF TEXAS                                     { IN THE 337th DISTRICT COURT

                      COUNTY OF HARRIS .                                     { OF HARRIS COUNTY, TEXAS
·... •.



                      I, CHRJS DANIEL, District Clerk of Harris County, Texas, do hereby certify that the


•.'
          '. <'
                      foregoing          IP..Dw   pages contain true and correct copies of original records now in my

                      lawful custody and possession relating to cause number 1384 794-A including the
                                                                                             .
                      petition, all answers filed by the State, the Order of the Court (entered on the 29TH day

                      of DECEMBER,A.D., 2016) and each document, the inclusion of which was thereby

                      ordered.



                     · I further certify the Applicant OBEL CRUZ-GARCIA is in the custody of the Texas

                      Department of Criminal Justice Institutional Division.



                      Witness my hand and seal of said Court at Houston, Texas, on this the 31~~ day of

                      JANUARY, 2017.



                                                                     CHRIS DANIEL, District Clerk
                                                                             nty, Texas




                     PAGE   I   OF   I                                                                         REV.   01-02-04
                                                                                                                :01206·
